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post period     client   product   job      job name                                               inv date      vendor                          AP desc                         inv #          function   amount      AP check date    AP check #
       200511   cephal   scepme      7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       11/28/2005   Marc Irwin Sharfman, MD, PA     Honoraria, Miami Mtg            hon112805      honor       $ 1,000 00       11/30/2005     54000896
       200404   cephal   pcepam      4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   A. C. Jungreis                  ACTIQ Speaker Trn Mtg.          hon033004      honor       $ 1,000 00         4/7/2004     50106046
       200405   cephal   scepme      4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   A. Hussam Armashi               Honoraria, South Carolina Mtg   hon051904      honor       $ 1,000 00        5/26/2004     54000165
       200709   cephal   scepme     11882   2007 Cephalon Speaker Training #4                        9/20/2007   Abby Nasternak                  Honoraria                       hon092007      honor       $   500 00        9/26/2007     54003119
       200404   cephal   pcepam      4927   Speaker Training Meeting-Scottsdale-OOP - April           4/7/2004   Abdullah Kalla                  ACTIQ Speaker Trn Mtg           hon040704      honor       $ 1,000 00         4/7/2004     50106004
       200709   cephal   scepme     10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Abdulmajeed Kadri               Honoraria                       hon083007      honor       $ 1,000 00         9/5/2007     54003061
       200407   cephal   scepme      4934   Consensus Meeting- Rhode Island-OOP - July                7/1/2004   Abelardo Acosta                 Honoraria, Consensus Mtg. RI    hon070104      honor       $ 1,000 00         7/7/2004     54000236
       200305   cephal   pcepam      3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA     5/30/2003   Abraham Kabazie (Jack)          Honoraria                       hon053003      honor       $ 2,000 00         6/4/2003     50103267
       200308   cephal   pcepam      3865   Chicago Consultants Meeting, 8/22/03                     8/12/2003   Abraham Kabazie (Jack)          Honoraria                       hon081203      honor       $ 2,000 00        8/13/2003     50103917
       200309   cephal   pcepam      3866   Hershey Consultants Meeting, 9/19/03                     9/11/2003   Abraham Kabazie (Jack)          Honoraria                       hon091103      honor       $ 2,000 00        9/11/2003     50104105
       200401   cephal   pcepam      4911   Consultant Meeting-Boca Raton-OOP - January               1/7/2004   Abraham Kabazie (Jack)          Honoraria, Boca Raton           ckr010704      honor       $ 2,500 00        1/14/2004     50105149
       200403   cephal   pcepam      4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Abraham Kabazie (Jack)          Speaker Training Mtg, Dallas    hon031604      honor       $ 1,000 00        3/24/2004     50105911
       200403   cephal   pcepam      4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Adam Arredondo                  Speaker Training Mtg, Dallas    hon031604      honor       $ 1,000 00        3/24/2004     50105895
       200403   cephal   scepme      4931   Consensus Meeting- New Orleans-OOP - April               3/31/2004   Adam Arredondo                  Consensus Meeting               hon033104      honor       $ 1,000 00        3/31/2004     54000082
       200509   cephal   scepme      7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Adam Arredondo                  Honoraria, Las Vegas            hon090705      honor       $ 1,000 00        9/21/2005     54000662
       200403   cephal   pcepam      4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Adam Sackstein, MD              Speaker Training Mtg, Dallas    hon031604      honor       $ 1,000 00        3/24/2004     50105919
       200509   cephal   scepme      7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Adam Sackstein, MD              Honoraria, Las Vegas Meeting    hon090705      honor       $ 1,000 00        9/14/2005     54000630
       200302   cephal   pcepam      2956   AAPM Conference - 02/17/03                               2/17/2003   Adrian Bartoli, MD              New Orleans Symposia            021703 lb      honor       $   200 00        2/17/2003         2318
       200302   cephal   pcepam      2956   AAPM Conference - 02/17/03                               2/17/2003   Adrian Blotner, MD              New Orleans Symposia            021703 lb      honor       $   200 00        2/17/2003         2302
       200704   cephal   scepme     10904   2007 Cephalon Consultants Meeting #1                      4/2/2007   Aimee F. Hansen                 Honoraria, CPF Los Angeles      hon040207      honor       $ 1,000 00         4/4/2007     54002393
       200606   cephal   scepme      8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Alan K. Gruskin, MD, PA         Honoraria, Cephalon PF Mtg      hon061606      honor       $ 1,000 00        6/21/2006     54001331
       200402   cephal   pcepam      4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   Albert Ray                      Actiq Consensus Mtg, March 04   hon021904      honor       $   200 00        2/25/2004     50105347
       200610   cephal   scepme      9635   CPF 06 FBT Speaker Training West                         10/9/2006   Alex DeJesus                    Honoraria, Fentora Spkr Trng    hon100906      honor       $   500 00       10/13/2006     54001800
       200704   cephal   scepme     10904   2007 Cephalon Consultants Meeting #1                      4/2/2007   Alexander Chen                  Honoraria, CPF Los Angeles      hon040207      honor       $ 1,000 00         4/4/2007     54002388
       200804   cephal   scepme     13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Alexander Pujol                 /0804                           ckr 033108 rmm honor       $   500 00         4/2/2008     54003658
       200604   cephal   scepme      8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Alfonso Morales, MD             Honoraria, PF Spkr Training     hon041006      honor       $   500 00        4/19/2006     54001068
       200706   cephal   scepme     11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Alfonso Morales, MD             Honoraria, Fentora Spkr Trng    hon061107      honor       $   500 00        6/13/2007     54002679
       200804   cephal   scepme     13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Alfonso Morales, MD             /0804                           ckr 041008 rmm honor       $   500 00        4/16/2008     54003698
       200610   cephal   scepme      9635   CPF 06 FBT Speaker Training West                         10/9/2006   Alfredo C. Ramierez, MD, PLLC   Honoraria, Fentora Spkr Trng    hon100906      honor       $   500 00       10/13/2006     54001837
       200606   cephal   scepme      8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Allen Sloan                     Honoraria, Cephalon PF Mtg      hon061606      honor       $ 1,000 00        6/21/2006     54001351
       200610   cephal   scepme      9634   CPF 06 FBT Speaker Training East                         9/30/2006   Allen Sloan                     Honoraria, Fentora Spkr Trng    hon093006      honor       $   500 00        10/4/2006     54001752
       200707   cephal   scepme     11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Allen Sloan                     Honoraria, Fentora Spkr Trng    hon062907      honor       $   500 00        7/11/2007     54002843
       200805   cephal   scepme     13419   EAST CPCF CONSULTANT MEET NG                              5/8/2008   Allen Sloan                     /0805 Honorarium                ckr 050808 rmm honor       $ 1,000 00        5/14/2008     54003835
       200403   cephal   pcepam      4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Allison Gorski                  Speaker Training Mtg, Dallas    hon031604      honor       $ 1,000 00        3/24/2004     50105903
       200705   cephal   scepme     10906   2007 Cephalon Consultants Meeting #2                     5/25/2007   Allison Gorski                  Honoraria, CPF Boston           hon052507      honor       $ 1,000 00        5/30/2007     54002533
       200510   cephal   scepme      7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        10/3/2005   Amanda A. Zimmerman             Honoraria, Miami, FL            hon100305      honor       $ 1,000 00        10/6/2005     54000766
       200709   cephal   scepme     10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Amanda Molohey                  Honoraria                       hon083007      honor       $ 1,000 00         9/5/2007     54003066
       200509   cephal   scepme      7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Amer Khouri, MD                 Honoraria, Las Vegas            hon090705      honor       $ 1,000 00        9/21/2005     54000669
       200705   cephal   scepme     10906   2007 Cephalon Consultants Meeting #2                     5/21/2007   Amy Traylor                     Honoraria, CPF Boston           hon052107      honor       $ 1,000 00        5/23/2007     54002520
       200706   cephal   scepme     11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Amy Traylor                     Honoraria, Fentora Spkr Trng    hon061107      honor       $   500 00        6/13/2007     54002689
       200804   cephal   scepme     13176   2008 CPCF AAD Speaker Training East                      4/30/2008   Amy Traylor                     /0804 Honorarium                ckr 043008 rmm honor       $   500 00         5/7/2008     54003808
       200403   cephal   pcepam      4925   Consultant Convention-AAPM-Orlando-OOP - March            3/8/2004   Andre Williams                  Actiq Consultants Mtg, AAPM     hon030804      honor       $   200 00        3/10/2004     50105640
       200404   cephal   scepme      4932   Consensus Meeting- Washington DC-OOP - April              4/5/2004   Andreas Syllaba                 Consensus Mtg, Wash DC          hon040504      honor       $ 1,000 00         4/7/2004     54000098
       200405   cephal   scepme      4937   Consensus National Meeting-San Francisco-OOP - May       4/26/2004   Andreas Syllaba                 Honoraria, San Francisco        hon042604      honor       $ 2,000 00         5/5/2004     54000153
       200511   cephal   scepme      7133   Laguna NOV Cephalon PFConsultants OOP Only              11/28/2005   Andreas Syllaba                 Honoraria, Dana Point Mtg       hon112805      honor       $ 1,000 00       11/30/2005     54000889
       200510   cephal   scepme      7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Andrew A. Konen                 Honoraria, Dana Point, CA       hon101705      honor       $ 1,000 00       10/19/2005     54000789
       200404   cephal   pcepam      4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Andrew Hesseltine MD, Inc.      ACTIQ Speaker Trn Mtg.          hon033004      honor       $ 1,000 00         4/7/2004     50106044
       200611   cephal   scepme      9635   CPF 06 FBT Speaker Training West                        10/30/2006   Andrew Hesseltine, MD           Honoraria, Fentora Spkr Trng    hon103006      honor       $   500 00        11/8/2006     54001919
       200606   cephal   scepme      8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Andrew J. Will, MD, PA          Honoraria, Cephalon PF Mtg      hon061606      honor       $ 1,000 00        6/21/2006     54001362
       200610   cephal   scepme      9634   CPF 06 FBT Speaker Training East                         9/30/2006   Andrew J. Will, MD, PA          Honoraria, Fentora Spkr Trng    hon093006      honor       $   500 00        10/4/2006     54001763
       200608   cephal   scepme      9633   CPF 06 FBT Speaker Training Chicago                      8/17/2006   Andrew Kaufman                  Fentora Speaker Training        hon081706 slp honor        $   500 00        8/23/2006     54001606
       200709   cephal   scepme     11882   2007 Cephalon Speaker Training #4                        9/20/2007   Andrew Kaufman                  Honoraria                       hon092007      honor       $   500 00        9/26/2007     54003116
       200606   cephal   scepme      8898   CPF Consultant Meeting 2 OOP Only                        6/26/2006   Andrew Klymiuk                  Honoraria, Cephalon PFC Mtg     hon062606      honor       $ 1,000 00        6/28/2006     54001374
       200604   cephal   scepme      8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Angela Miliman                  Honoraria, PF Spkr Training     hon042406      honor       $   500 00        4/26/2006     54001104
       200607   cephal   scepme      9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Angela Miliman                  Honoraria, CPF Speaker Trng     hon072406      honor       $   500 00        7/26/2006     54001536
       200706   cephal   scepme     11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Angela Miliman                  Honoraria, Fentora Spkr Trng    hon061107      honor       $   500 00        6/13/2007     54002678
       200804   cephal   scepme     13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Angela Miliman                  /0804                           ckr 033108 rmm honor       $   500 00         4/2/2008     54003653
       200605   cephal   scepme      8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Anil K. Sharma, MD              Honoraria, Miami Beach          hon050906      honor       $ 1,000 00        5/10/2006     54001154
       200509   cephal   scepme      7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Anindya K. Sen                  Honoraria                       hon092305      honor       $   500 00        9/28/2005     54000704
       200711   cephal   scepme     10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Ann C. Morrill                  /0710 Honoraria                 hon111207      honor       $ 1,000 00       11/20/2007     54003352
       200402   cephal   pcepam      4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   Anne Xavier                     Actiq Consensus Mtg, March 04   hon021904      honor       $   200 00        2/25/2004     50105362
       200611   cephal   scepme      8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Anthony Alexander, MD           Honoraria, CPF Consultant Mtg   hon112006      honor       $ 1,000 00       11/29/2006     54002070
       200611   cephal   scepme      9635   CPF 06 FBT Speaker Training West                        10/30/2006   Anthony Fasano, DO              Honoraria, Fentora Spkr Trng    hon103006      honor       $ 1,000 00        11/8/2006     54001914
       200611   cephal   scepme      9635   CPF 06 FBT Speaker Training West                        10/30/2006   Anthony Fasano, DO              Honoraria, Fentora Spkr Trng    hon103006      honor       $ 1,000 00       12/20/2006     54002202
       200611   cephal   scepme      9635   CPF 06 FBT Speaker Training West                        10/30/2006   Anthony Fasano, DO              Honoraria, Fentora Spkr Trng    hon103006      honor       $   500 00         1/3/2007     54002233
       200707   cephal   scepme     11099   2007 Cephalon Speaker Training Boston                     7/3/2007   Anthony Fasano, DO              Honoraria                       hon070307      honor       $   500 00        7/11/2007     54002798
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200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Anthony Francis Valdez, MD   Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002089
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Anthony G. Rogers, MD        Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001348
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Anthony G. Rogers, MD        Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002086
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Anthony Guarino              Honoraria, PF Spkr Training      hon041006      honor   $     500 00    4/19/2006   54001054
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Anthony Guarino              Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001517
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Anthony Guarino              Honoraria, Fentora Spkr Trng     hon061107      honor   $     750 00    6/13/2007   54002669
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Anthony H Guarino            Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105905
200406   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                   6/8/2004   Anthony H. Wheeler           Consensus Mtg. Charleston, SC    hon060804      honor   $   1,000 00    6/16/2004   54000206
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        8/30/2004   Anthony H. Wheeler           Honoraria, Consensus Mtg         hon083004      honor   $   2,000 00     9/1/2004   54000348
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Anthony H. Wheeler           Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001358
200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only                6/9/2006   Anthony J. Colantonio, MD    Honoraria, CPF Spkr Training     hon060906      honor   $     500 00    6/14/2006   54001238
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Anthony J. Colantonio, MD    Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001504
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Anthony Rock                 Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002643
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Anuj Sharma                  /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003360
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Anwuli Okoli                 Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001345
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   April Hazard Vallerand       Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106186
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   Arthur J. Deluigi, DO        Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001913
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July                7/1/2004   Arthur Taub, PC              Honoraria, Consensus Mtg. RI     hon070104      honor   $   1,000 00     7/7/2004   54000256
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Ashraf E. Mohamed, MD        Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001733
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Ashrat Hanna, MD             Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001142
200612   cephal   scepme   10010   FENTORA AHSP Advisory Board                              12/5/2006   Asmaa Bazzi                  Honoraria, CPF Costa Mesa        hon120506      honor   $     500 00   12/13/2006   54002158
200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only                6/9/2006   Atif Malik, MD, PC           Honoraria, CPF Spkr Training     hon060906      honor   $   1,000 00    6/14/2006   54001241
200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only                6/9/2006   Atif Malik, MD, PC           Honoraria, CPF Spkr Training     hon060906      honor   $     500 00    1/30/2008   54003511
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Aziz F. Awad, DO             Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001191
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   B. Todd Sitzman              Actiq Consensus Mtg, March 04    hon021904      honor   $     200 00    2/25/2004   50105351
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/17/2003   B. Todd Sitzman, MD          New Orleans Symposia             021703 lb      honor   $     200 00    2/17/2003       2310
200612   cephal   scepme   10010   FENTORA AHSP Advisory Board                              12/5/2006   Banji Adereti                Honoraria, CPF Costa Mesa        hon120506      honor   $     500 00   12/13/2006   54002156
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Barbara Borbeck              Honoraria                                 83007 honor   $   1,000 00     9/5/2007   54003050
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/26/2004   Barry Odegaard               Selva Consensus Meet - 8/20-22   hon072604      honor   $   1,000 00    7/28/2004   54000310
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   Bart Gatz                    Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   1,000 00    2/18/2004   54000033
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Bart Gatz                    Honoraria, Las Vegas             hon090705      honor   $   1,000 00    9/21/2005   54000667
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/31/2006   Bart Gatz                    Honoraria, CPF Spkr Training     hon073106      honor   $     500 00     8/2/2006   54001564
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Bart Gatz                    Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002554
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Bart Gatz                    /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003691
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Bart Gatz                    /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003758
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   Bejan Daneshfar, MD          Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001912
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Benjamin Heath               Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002081
200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY               6/9/2006   Benjamin Meeks               Honoraria, CPF Spkr Training     hon060906      honor   $     500 00    6/14/2006   54001255
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Benjamin Meeks               Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001535
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Benjamin Meeks               Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002835
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Benjamin Meeks               /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003651
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   Benjamin Wall                Actiq Consensus Mtg, March 04    hon021904      honor   $     200 00    2/25/2004   50105359
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/17/2003   Benjamin Wall, MD            New Orleans Symposia             021703 lb      honor   $     200 00    2/17/2003       2308
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/30/2004   Bennett Davis                Selva Consensus Meet-8/20-22     hon073004      honor   $   1,000 00     8/3/2004   54000321
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    10/15/2007   Benny J. Sanchez             Honoraria                        hon101507      honor   $   1,000 00   10/24/2007   54003233
200806   cephal   scepme   12278   West CPCF Consultant Meeting                             6/25/2008   Benny J. Sanchez             /0807 Honoraria                  ckr 062508 rmm honor   $   1,000 00    6/30/2008   54004130
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/26/2004   Berj Kalamkarian, Inc.       Selva Consensus Meet - 8/20-22   hon072604      honor   $   1,000 00    7/28/2004   54000306
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                      4/2/2007   Berj Kalamkarian, Inc.       Honoraria, CPF Los Angeles       hon040207      honor   $   1,000 00     4/4/2007   54002394
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Bernard R. Canlas, MD        Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001134
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Bernard R. Canlas, MD        Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001088
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Bernard R. Canlas, MD        Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001502
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/20/2007   Bernard R. Canlas, MD        Honoraria                        hon092007      honor   $     500 00    9/26/2007   54003110
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                             5/20/2008   Bernard R. Canlas, MD        /0805 Honorarium                 ckr 052008 rmm honor   $   1,000 00    5/21/2008   54003875
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Bernard R. Rogers            Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001742
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Bernard R. Rogers            Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002684
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Bernard Wilcosky             ACTIQ Speaker Trn Mtg            hon033004      honor   $   1,000 00     4/7/2004   50106070
200401   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            1/27/2004   Bernard Wilcosky             Selva Consensus Mtg, Feb 04      hon012704      honor   $   1,000 00    1/28/2004   54000018
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Bernard Wilcosky             Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001227
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Bernard Wilcosky             Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001558
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Beth Reid                    Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001220
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Beth Reid                    Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001838
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     5/21/2007   Beth Winke                   Honoraria, CPF Boston            hon052107      honor   $   1,000 00    5/23/2007   54002523
200402   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            2/11/2004   Beverly Hurwitz              Consensus Mtg, Feb 6-8, 2004     hon021104      honor   $   1,000 00    2/18/2004   54000035
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Beverly Hurwitz              Honoraria, Las Vegas Meeting     hon090705      honor   $   1,000 00    9/14/2005   54000623
200403   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April               3/17/2004   Bhadresh Bhakta, MD          Consensus Meeting, New Orleans   hon031704      honor   $   1,000 00    3/24/2004   54000064
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        10/3/2005   Bhadresh Bhakta, MD          Honoraria, Miami, FL             hon100305      honor   $   1,000 00    10/6/2005   54000740
200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY               6/9/2006   Bhadresh Bhakta, MD          Honoraria, CPF Spkr Training     hon060906      honor   $     500 00    6/14/2006   54001253
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200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Bhadresh Bhakta, MD              Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001499
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Bhadresh Bhakta, MD              Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002549
200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      5/20/2008   Bhadresh Bhakta, MD              /0805 Honorarium                 ckr 052008 rmm honor   $     500 00    5/21/2008   54003861
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/17/2003   Bill Carstens, MD                New Orleans Symposia             021703 lb      honor   $     200 00    2/17/2003       2315
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only               11/7/2005   Bingumal R. Manawadu, MD         Honoraria, Dana Point, CA        hon110705      honor   $   1,000 00    11/9/2005   54000869
200806   cephal   scepme   12278   West CPCF Consultant Meeting                             6/25/2008   Bingumal R. Manawadu, MD         /0807 Honoraria                  ckr 062508 rmm honor   $   1,000 00    6/30/2008   54004128
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Binod Sinha, MD                  Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001750
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/25/2007   Binod Sinha, MD                  Honoraria                        hon092507      honor   $     500 00    10/3/2007   54003161
200610   cephal   pcepot   10040   BTP Blue Diesel Keyword Analysis                        10/25/2006   Blue Diesel                                                       006707-00      honor   $   7,890 00
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Bonnie A. Wilensky               Honoraria, PF Spkr Training      hon041006      honor   $     500 00    4/19/2006   54001081
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Bonnie A. Wilensky               Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001559
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Bonnie A. Wilensky               Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002851
200805   cephal   scepme   12278   West CPCF Consultant Meeting                             5/28/2008   Bonnie A. Wilensky               /0805 Honorarium                 ckr 052808 rmm honor   $   1,000 00     6/4/2008   54004012
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Bonnie A. Wilensky               /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003710
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Bradley H. Chesler, MD, PC       Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001796
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/25/2007   Bradley H. Chesler, MD, PC       Honoraria                        hon092507      honor   $     500 00    10/3/2007   54003155
200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      5/20/2008   Bradley H. Chesler, MD, PC       /0805 Honorarium                 ckr 052008 rmm honor   $     500 00    5/21/2008   54003862
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     5/21/2007   Bradley S. Cash                  Honoraria, CPF Boston            hon052107      honor   $   1,000 00    5/23/2007   54002507
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                     4/19/2007   Brazell H. Carter                Honoraria                        hon041907      honor   $   1,000 00    4/25/2007   54002444
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                     4/19/2007   Brian D. Madden                  Honoraria                        hon041907      honor   $   1,000 00    4/25/2007   54002447
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Brian K. Flanagan                Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000782
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       10/14/2005   Brian M Bothe, MD                Honoraria, Miami, FL             hon101405      honor   $   1,000 00   10/19/2005   54000804
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Brian Rodgers                    Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003071
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Bronsilava Shafran, MD, PC       Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002087
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Bronsilava Shafran, MD, PC       Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002590
200806   cephal   scepme   12278   West CPCF Consultant Meeting                             6/25/2008   Bronsilava Shafran, MD, PC       /0807 Honoraria                  ckr 062508 rmm honor   $   1,000 00    6/30/2008   54004132
200406   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May     6/8/2004   Bruce Mackey                     Consultant Mtg. Vancouver, BC    hon060804      honor   $     200 00    6/16/2004   50106541
200606   cephal   scepme    9173   Cephalon Pain Franchise Advisory Board May 2 - OOP        6/9/2006   Bruce Nicholson                  Honoraria, CPF                   hon060906      honor   $     500 00    6/14/2006   54001248
200509   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        9/23/2005   Bruce W. Irwin                   Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000691
200511   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       11/28/2005   Bruce W. Irwin                   Honoraria, Miami Mtg             hon112805      honor   $     500 00   11/30/2005   54000892
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Bruce W. Irwin                   Honoraria, PF Spkr Training      hon041006      honor   $     500 00    4/19/2006   54001059
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Bruce W. Irwin                   Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001527
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/25/2007   Bruce W. Irwin                   Honoraria                        hon092507      honor   $     750 00    10/3/2007   54003159
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   Byron D. Jones, MD, PC           Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001924
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training                  12/22/2006   Byron D. Jones, MD, PC           Honoraria, Jan 2007 Arizon Mtg   hon122206      honor   $     500 00     1/3/2007   54002242
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/21/2008   Byron D. Jones, MD, PC           /0804 Honoraria                  ckr 042108 rmm honor   $     500 00    4/23/2008   54003722
200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      5/20/2008   Byron D. Jones, MD, PC           /0805 Honorarium                 ckr 052008 rmm honor   $     500 00    5/21/2008   54003866
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   C Greg Kang                      Honoraria, South Carolina Mtg    hon051904      honor   $   2,000 00    5/26/2004   54000181
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   C Greg Kang                      Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    8/18/2004   54000328
200401   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            1/27/2004   C. Ronald McBride                Selva Consensus Mtg, Feb 04      hon012704      honor   $   1,000 00    1/28/2004   54000007
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/26/2006   Carissa Stone, MD                Honoraria, PF Spkr Training      hon042606      honor   $     500 00    4/26/2006   54001117
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Carissa Stone, MD                Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001754
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/25/2007   Carissa Stone, MD                Honoraria                        hon092507      honor   $     500 00    10/3/2007   54003162
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Carl Augustus                    Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000679
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                            5/14/2006   Carl Augustus                    Honoraria, Pain Franchise Mtg    hon051406      honor   $   1,000 00    5/17/2006   54001166
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Carl L. Smith, MD                Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001352
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only               11/7/2005   Carl M. Erickson, OD             Honoraria, Dana Point, CA        hon110705      honor   $   1,000 00    11/9/2005   54000863
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   Carlos Giron                     Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   1,000 00    2/18/2004   54000034
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                     4/11/2007   Carlos Inocencio                 Honoraria, Santa Monica, CA      hon041107 rmm honor    $   1,000 00    4/11/2007   54002424
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     5/21/2007   Carlos S. Santiago III, MD, PC   Honoraria, CPF Boston            hon052107      honor   $   1,000 00    5/23/2007   54002518
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/8/2008   Carlos S. Santiago III, MD, PC   /0805 Honorarium                 ckr 050808 rmm honor   $   1,000 00    5/14/2008   54003834
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       10/27/2006   Carol Burns                      Honoraria, CPF Consultant Mtg    hon102706      honor   $   1,000 00    11/1/2006   54001865
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/17/2003   Caroline Barton, MD              New Orleans Symposia             021703 lb      honor   $     200 00    2/17/2003       2316
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Charles Alpert, MD               Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001084
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                      4/2/2007   Charles C. Nam                   Honoraria, CPF Los Angeles       hon040207      honor   $   1,000 00     4/4/2007   54002399
200405   cephal   pcepac    5396   Actiq Concept Evolution                                  5/18/2004   Charles F. Gordon                Honoraria, Actiq Questionnaire   ckr051204      honor   $     250 00    5/19/2004   50106336
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Charles Huang, MD                Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001524
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Charles Huang, MD                Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002672
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Charles R. Szyman                Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000802
200402   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February             2/2/2004   Charles Scoggin                  Honoraria                        ckr020204      honor   $   2,500 00     2/4/2004   54000022
200401   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            1/27/2004   Charles Scoggin                  Selva Consensus Mtg, Feb 04      hon012704      honor   $   1,000 00    1/28/2004   54000015
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   Charles Scoggin                  Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   3,500 00    2/18/2004   54000045
200403   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April               3/17/2004   Charles Scoggin                  Consensus Meeting, New Orleans   hon031704      honor   $   3,500 00    3/24/2004   54000075
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April              4/5/2004   Charles Scoggin                  Consensus Mtg, Wash DC           hon040504      honor   $   3,500 00     4/7/2004   54000093
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   Charles Scoggin                  Honoraria, South Carolina Mtg    hon051904      honor   $   3,500 00    5/26/2004   54000188
200407   cephal   scepme    4935   Consensus Meeting-Chicago-OOP - August                   7/19/2004   Charles Scoggin                  Honoraria, Chicago Mtg           hon071904      honor   $   3,500 00    7/21/2004   54000286
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/26/2004   Charles Scoggin                  Selva Consensus Meet - 8/20-22   hon072604      honor   $   3,500 00    7/28/2004   54000316
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200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        8/30/2004   Charles Scoggin            Honoraria, Consensus Mtg         hon083004      honor   $   3,500 00     9/1/2004   54000342
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      8/17/2006   Charles Steven Clifton     Fentora Speaker Training         hon081706 slp honor    $     500 00    8/23/2006   54001602
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April           4/7/2004   Charles Szyman             ACTIQ Speaker Trn Mtg            hon040704      honor   $   1,000 00     4/7/2004   50106011
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/6/2008   Charles V. Barrett         /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003752
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   Charlotte DeFlumere        Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   1,000 00    2/18/2004   54000029
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Charlotte DeFlumere        Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000778
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Chong-hao Zhao             Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106191
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Chris J. Kottenstette      Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001819
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July                7/1/2004   Chris Stowe                Honoraria, Consensus Mtg. RI     hon070104      honor   $   1,000 00     7/7/2004   54000255
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        8/30/2004   Chris Stowe                Honoraria, Consensus Mtg         hon083004      honor   $   2,000 00     9/1/2004   54000345
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                      4/2/2007   Christian Moher            Honoraria, CPF Los Angeles       hon040207      honor   $   1,000 00     4/4/2007   54002398
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                             5/20/2008   Christian Nahas            /0805 Honorarium                 ckr 052008 rmm honor   $   1,000 00    5/21/2008   54003879
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/26/2004   Christine Harter           Selva Consensus Meet - 8/20-22   hon072604      honor   $   1,000 00    7/28/2004   54000303
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Christine Kasser           Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001145
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Christine Kasser           Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001530
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Christine Kasser           Honoraria, Fentora Spkr Trng     hon062907      honor   $     750 00    7/11/2007   54002833
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Christopher Creighton      Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002817
200604   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only                4/2/2006   Christopher Sikes                                           hon040206 slp honor    $     500 00     4/5/2006   54001033
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Christopher Vendryes       /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003358
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/17/2006   Cindie Dodenbier, MD       Honoraria, PF Spkr Training      hon041706      honor   $     500 00    4/19/2006   54001046
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Cindie Dodenbier, MD       Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001509
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Cindie Dodenbier, MD       Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002552
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April           4/7/2004   Claudia Campbell           ACTIQ Speaker Trn Mtg            hon040704      honor   $   1,000 00     4/7/2004   50105995
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Cong Yu                    Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001852
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Cong Yu                    Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002602
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Cong Yu                    /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003711
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/24/2004   Constantine Bouchlas       Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105322
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Corby Kessler, MD Inc.                                      hon041006      honor   $     500 00    4/19/2006   54001061
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Corby Kessler, MD Inc.     Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001531
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Corby Kessler, MD Inc.     Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002564
200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      5/20/2008   Corby Kessler, MD Inc.     /0805 Honorarium                 ckr 052008 rmm honor   $     500 00    5/21/2008   54003867
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/17/2006   Costantino Benedetti, MD   Honoraria, PF Spkr Training      hon041706      honor   $     500 00    4/19/2006   54001042
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Craig Berteau              ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106033
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/31/2006   Cynthia Payne-Smith        Honoraria, CPF Spkr Training     hon073106      honor   $     500 00     8/2/2006   54001567
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Cynthia Payne-Smith        Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002838
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Cynthia Payne-Smith        /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003656
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April              4/5/2004   Cyrus Vosough, MD          Consensus Mtg, Wash DC           hon040504      honor   $   1,000 00     4/7/2004   54000099
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Cyrus Vosough, MD          Honoraria, Fentora Spkr Trng     hon103006      honor   $   1,000 00    11/8/2006   54001961
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Cyrus Vosough, MD          Honoraria, Fentora Spkr Trng     hon103006      honor   $   1,000 00     1/4/2007   54002273
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Cyrus Vosough, MD          Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    1/24/2007   54002307
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Dale Delaney, PAC          Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001199
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Dale Delaney, PAC          Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001801
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Dan A. Teano               Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002644
200310   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03              10/15/2003   Dan Gruener, MD            Honoraria                        chr101503      honor   $   2,000 00   10/22/2003   50104358
200305   cephal   pcepam    3932   Chicago Consultants Meeting, May                          5/6/2003   Dan Gruener, MD            Honoraria, Actiq Chicago Mtg     hon050603 lb honor     $   2,000 00     5/7/2003   50102872
200403   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March              3/8/2004   Dan Gruener, MD            Actiq Consultants Mtg, HMB       hon030804      honor   $   2,500 00    3/10/2004   50105632
200408   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September            8/30/2004   Dan Gruener, MD            Honoraria, NY Consultant Mtg     hon083004      honor   $   2,500 00     9/1/2004   50106995
200504   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting                 4/26/2005   Daniel Bennett             Honoraria, ACTIQ Miami Mtg       hon042605      honor   $   2,000 00    4/27/2005   54000427
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Daniel Bennett             Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002808
200302   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting                     2/16/2003   Daniel Bennett, MD         Sundance Meeting                 021603 lb      honor   $   2,000 00    2/26/2003   50102204
200302   cephal   pcepam    3290   03/07/03 San Antonio Regional Meeting                    2/24/2003   Daniel Bennett, MD         Actiq Consultant Meeting         hon022403 lb honor     $   2,000 00    2/26/2003       2300
200303   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13          3/19/2003   Daniel Bennett, MD         Honoraria Actiq Consultant Mtg   hon031903      honor   $   2,000 00    3/26/2003   50102523
200304   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4        4/15/2003   Daniel Bennett, MD         Honoraria, Four Seasons          hon041503 lb honor     $   2,000 00    4/16/2003   50102803
200304   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03                   4/15/2003   Daniel Bennett, MD         Honoraria, La Costa              hon041503      honor   $   2,000 00    4/16/2003   50102802
200309   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03                   9/23/2003   Daniel Bennett, MD         Honoraria, Las Vegas             hon092303      honor   $   2,000 00    9/24/2003   50104171
200309   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03                9/30/2003   Daniel Bennett, MD         Honoraria                        hon093003      honor   $   2,000 00    10/8/2003   50104268
200310   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03              10/15/2003   Daniel Bennett, MD         Honoraria                        ckr101503      honor   $   2,000 00   10/22/2003   50104348
200308   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03                   7/30/2003   Daniel Bennett, MD         Honoraria                        hon073003      honor   $   2,000 00     8/6/2003   50103849
200309   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03                     9/11/2003   Daniel Bennett, MD         Honoraria                        hon091103      honor   $   4,000 00    9/11/2003   50104103
200309   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03                     9/11/2003   Daniel Bennett, MD         Honoraria                        hon091103      honor   $   2,000 00    9/30/2003   50104188
200308   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03                        8/26/2003   Daniel Bennett, MD                                          ckr082603 ddn honor    $   2,000 00     9/3/2003   50104001
200306   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03                   6/3/2003   Daniel Bennett, MD         Honoraria                        hon060303      honor   $   2,000 00    6/11/2003   50103349
200307   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03          7/16/2003   Daniel Bennett, MD         Honoraria                        hon071603b     honor   $   2,000 00    7/23/2003   50103772
200307   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03                     7/16/2003   Daniel Bennett, MD         Honoraria                        hon071603      honor   $   2,000 00    7/23/2003   50103771
200308   cephal   pcepam    4025   Actiq Medical Strategies Speaker Slide Kit               8/25/2003   Daniel Bennett, MD                                          ckr082503 ddn honor    $   1,500 00    8/26/2003   50103986
200406   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June             6/2/2004   Daniel Bennett, MD         Honoraria, Aviara Mtg            hon060204      honor   $   2,500 00     6/9/2004   50106484
200409   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October        9/15/2004   Daniel Bennett, MD         ACTIQ Consultant Mtg Las Vegas   hon091504      honor   $   2,500 00    9/22/2004   50107180
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200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   Daniel Bennett, MD           Actiq Consensus Mtg, March 04    hon021904      honor   $   2,000 00    2/25/2004   50105321
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Daniel Bennett, MD           Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $   2,000 00    4/28/2004   50106157
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Daniel Bennett, MD           ACTIQ Speaker Trn Mtg            hon033004      honor   $   2,000 00     4/7/2004   50106032
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Daniel Bennett, MD           Speaker Training Mtg, Dallas     hon031604      honor   $   2,000 00    3/24/2004   50105897
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Daniel E. Batlan, MD, PCA    Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001193
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/26/2004   Daniel Gerber                Selva Consensus Meet - 8/20-22   hon072604      honor   $   1,000 00    7/28/2004   54000298
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        8/30/2004   Daniel Gerber                Honoraria, Consensus Mtg         hon083004      honor   $   2,000 00     9/1/2004   54000336
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/17/2006   Daniel Gerber                Honoraria, PF Spkr Training      hon041706      honor   $     500 00    4/19/2006   54001051
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Daniel Gerber                Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001513
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Daniel Gerber                Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002824
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Daniel Gruener               Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001095
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Daniel Gruener               Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001516
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/20/2007   Daniel Gruener               Honoraria                        hon092007      honor   $     500 00    9/26/2007   54003113
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                             5/20/2008   Daniel H. Sajewski           /0805 Honorarium                 ckr 052008 rmm honor   $   1,000 00    5/21/2008   54003880
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Daniel K. Stubler, MD, PC    Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002088
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      8/17/2006   Daniel M. Wik, MD            Fentora Speaker Training         hon081706 slp honor    $     500 00    8/23/2006   54001615
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Daniel Remen                 Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003070
200308   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03                    8/5/2003   Daniel Sullivan              Honoraria                        ckr080503      honor   $   2,000 00     8/6/2003   50103852
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Daniel Sullivan, DO          Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001959
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Darien Behravan              Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001791
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                      4/2/2007   David A. Peterson            Honoraria, CPF Los Angeles       hon040207      honor   $   1,000 00     4/4/2007   54002400
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/26/2004   David Agnew, MD              Selva Consensus Meet - 8/20-22   hon072604      honor   $   1,000 00    7/28/2004   54000293
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   David Agnew, MD              Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002069
200811   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)            11/18/2008   David B Brushwood            /0811 St Davids PA 11/13         hon111808      honor   $   1,000 00   11/19/2008   54004412
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   David Blyweiss               Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000167
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   David Bosomworth             Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   1,000 00    2/18/2004   54000026
200407   cephal   scepme    4935   Consensus Meeting-Chicago-OOP - August                   7/19/2004   David Bosomworth             Honoraria, Chicago Mtg           hon071904      honor   $   1,000 00    7/21/2004   54000280
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       10/27/2006   David Bosomworth             Honoraria, CPF Consultant Mtg    hon102706      honor   $   1,000 00    11/1/2006   54001864
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   David Columbus, DO           Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001136
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   David Columbus, DO           Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001703
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   David Columbus, DO           Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002658
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      4/30/2008   David Columbus, DO           /0804 Honorarium                 ckr 043008 rmm honor   $     500 00     5/7/2008   54003797
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   David Cook, MD               Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001938
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/25/2007   David Cook, MD               Honoraria                        hon092507      honor   $     500 00    10/3/2007   54003156
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                       4/4/2008   David Cook, MD               /0804                            ckr 040408 rmm honor   $     500 00     4/9/2008   54003672
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   David Cook, MD               /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003756
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   David Cosgrove               Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000170
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        8/30/2004   David Cosgrove               Honoraria, Consensus Mtg         hon083004      honor   $   4,000 00     9/1/2004   54000333
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        8/30/2004   David Cosgrove               Honoraria, Consensus Mtg         hon083004      honor   $   2,000 00     2/7/2007   54002335
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       10/27/2006   David Cosgrove               Honoraria, CPF Consultant Mtg    hon102706      honor   $   1,000 00    11/1/2006   54001868
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   David Gamburg, MD            Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001942
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April           4/7/2004   David Glener                 ACTIQ Speaker Trn Mtg            hon040704      honor   $   1,000 00     4/7/2004   50106000
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       10/14/2005   David Glener, MD             Honoraria, Miami, FL             hon101405      honor   $   1,000 00   10/19/2005   54000808
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   David J. Findlay, MD         Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001806
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   David J. Findlay, MD         Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002820
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                     4/11/2007   David J. Wallenstein         Honoraria, Santa Monica, CA      hon041107 rmm honor    $   1,000 00    4/11/2007   54002428
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July               7/26/2004   David Kloth, PC              Selva Consensus Meeting          hon072604      honor   $   1,000 00    7/28/2004   54000308
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       10/27/2006   David L. Hicks, D.O.         Honoraria, CPF Consultant Mtg    hon102706      honor   $   1,000 00    11/1/2006   54001873
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   David L. Singleton, MD       Honoraria, Las Vegas             hon092005      honor   $   1,000 00    9/21/2005   54000656
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July               7/13/2004   David Levi                   Consensus Mtg., Rhode Island     hon071304      honor   $   1,000 00    7/14/2004   54000277
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April              4/5/2004   David Marshak                Consensus Mtg, Wash DC           hon040504      honor   $   1,000 00     4/7/2004   54000089
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   David R. Hillam              Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003059
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   David Ratzman                Actiq Consensus Mtg, March 04    hon021904      honor   $     200 00    2/25/2004   50105346
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              11/28/2005   David S. Seminer             Honoraria, Dana Point Mtg        hon112805      honor   $   1,000 00   11/30/2005   54000888
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/17/2003   David Shores, MD             New Orleans Symposia             021703 lb      honor   $     200 00    2/17/2003       2314
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   David Stein, MD, PhD, Inc.   Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001226
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   David Stewart                Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105924
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   David Stewart                Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   1,000 00    2/18/2004   54000047
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May       5/10/2004   David Stewart                Consensus Mtg, San Francisco     hon051004      honor   $   2,000 00    5/12/2004   54000159
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   David Stewart                Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000801
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   David Stewart                Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002847
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   David Stewart                /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003659
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Dawit Teklehaimanot, DO      Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001354
200402   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            2/11/2004   Dean Mondell                 Consensus Mtg, Feb 6-8, 2004     hon021104      honor   $   1,000 00    2/18/2004   54000042
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Dean Mondell                 Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000791
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        10/3/2005   Debbie N. Heck, MD           Honoraria, Miami, FL             hon100305      honor   $   1,000 00    10/6/2005   54000752
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Deborah Fisher               /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003344
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200511   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       11/28/2005   Deborah M. Thorpe               Honoraria, Miami Mtg             hon112805      honor   $   1,000 00   11/30/2005   54000898
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only               11/7/2005   Deborah S. Smith, MSN, NP       Honoraria, Dana Point, CA        hon110705      honor   $   1,000 00    11/9/2005   54000871
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/17/2003   Debra Elliot, MD                New Orleans Symposia             021703 lb      honor   $     200 00    2/17/2003       2306
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Debra G. Elliott                Honoraria                        hon092305      honor   $   1,000 00    9/28/2005   54000683
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Debra G. Elliott                Honoraria                        hon092305      honor   $     500 00     9/3/2008        164
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    10/23/2007   Debra Vermette                  Honoraria                        hon102307      honor   $   1,000 00   10/24/2007   54003235
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Denay L. Marino                 Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001340
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Denise CB Leete                 Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001728
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April           4/7/2004   Dennis C. Ford                  ACTIQ Speaker Trn Mtg            hon040704      honor   $   1,000 00     4/7/2004   50105998
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   Dennis George                   Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000175
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Dennis George                   Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000783
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Dennis George                   Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001091
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Dennis George                   Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001512
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Dennis George                   Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002823
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/17/2003   Dennis George, MD               New Orleans Symposia             021703 lb      honor   $     200 00    2/17/2003       2311
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April           4/7/2004   Dennis Patin                    ACTIQ Speaker Trn Mtg            hon040704      honor   $   1,000 00     4/7/2004   50106008
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Dianne Zelman                   Honoraria, ACTIQ Consult. Mtg.   hon042004b     honor   $     200 00    4/28/2004   50106190
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/24/2004   Dirk Parvus                     Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105343
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Divakara Kedlaya                Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003062
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/26/2004   Dixie Erickson                  Selva Consensus Meet - 8/20-22   hon072604      honor   $   1,000 00    7/28/2004   54000296
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Dmitriy Buyanov                 Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002074
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April           4/7/2004   Dmitry Arbuck                   ACTIQ Speaker Trn Mtg            hon040704      honor   $   1,000 00     4/7/2004   50105993
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Dmitry M. Arbuck                Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000774
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/17/2006   Dmitry M. Arbuck                Honoraria, PF Spkr Training      hon041706      honor   $     500 00    4/19/2006   54001039
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Dmitry M. Arbuck                Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001493
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Dmitry M. Arbuck                Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002806
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Dmitry M. Arbuck                /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003635
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   Donald Erb                      Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   1,000 00    2/18/2004   54000031
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Donald Holzer                   Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001335
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Donald J. Schneider             Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003072
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        10/3/2005   Donald L. Boos                  Honoraria, Miami, FL             hon100305      honor   $   1,000 00    10/6/2005   54000741
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   Donald L. Mingione, MD          Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   1,000 00    2/18/2004   54000041
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Donald N. Harline, MD           Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000785
200301   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting                     1/10/2003   Donald Taylor, MD               Consultant's Mtg. Boca Raton     ckr011003 lb   honor   $   2,000 00    1/15/2003   50101857
200303   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting                 3/19/2003   Donald Taylor, MD               Honoraria Actiq Consultant Mtg   hon031903      honor   $   2,000 00    3/26/2003   50102559
200304   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting                  4/2/2003   Donald Taylor, MD               Honorarium                       ckr040203 lb   honor   $   1,500 00     4/2/2003   50102676
200305   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA     5/30/2003   Donald Taylor, MD               Honoraria                        hon053003      honor   $   2,000 00     6/4/2003   50103270
200309   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03                9/30/2003   Donald Taylor, MD               Honoraria                        hon093003      honor   $   2,000 00    10/8/2003   50104277
200308   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03                     8/12/2003   Donald Taylor, MD               Honoraria                        hon081203      honor   $   2,000 00    8/13/2003   50103919
200307   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03          7/16/2003   Donald Taylor, MD               Honoraria                        hon071603      honor   $   2,000 00    7/23/2003   50103779
200305   cephal   pcepam    3932   Chicago Consultants Meeting, May                          5/6/2003   Donald Taylor, MD               Honoraria, Actiq Chicago Mtg     hon050603 lb honor     $   2,000 00     5/7/2003   50102878
200401   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January               1/7/2004   Donald Taylor, MD               Honoraria, Boca Raton            ckr010704      honor   $   2,500 00    1/14/2004   50105153
200409   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October        9/15/2004   Donald Taylor, MD               ACTIQ Consultant Mtg Las Vegas   hon091504      honor   $   2,500 00    9/22/2004   50107184
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Donald Taylor, MD               Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105925
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Donald Taylor, MD               Honoraria, Las Vegas             hon090705      honor   $   1,000 00    9/21/2005   54000675
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Donald Taylor, MD               Honoraria, PF Spkr Training      hon041006      honor   $     500 00    4/19/2006   54001079
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Donald Taylor, MD               Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001756
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training                  12/22/2006   Donald Taylor, MD               Honoraria, Jan 2007 Arizon Mtg   hon122206      honor   $     500 00     1/3/2007   54002251
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     5/21/2007   Donald Taylor, MD               Honoraria, CPF Boston            hon052107      honor   $   2,500 00    5/23/2007   54002519
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Donald Taylor, MD               Honoraria                        hon083007      honor   $   2,500 00     9/5/2007   54003075
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    10/15/2007   Donald Taylor, MD               Honoraria                        hon101507      honor   $   2,500 00   10/24/2007   54003234
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Donald Taylor, MD               Honoraria, Fentora Spkr Trng     hon062907      honor   $   1,500 00    7/11/2007   54002848
200805   cephal   scepme   12278   West CPCF Consultant Meeting                             5/28/2008   Donald Taylor, MD               /0805 Honorarium                 ckr 052808 rmm honor   $   2,500 00     6/4/2008   54004011
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                       4/4/2008   Donald Taylor, MD               /0804                            ckr 040408 rmm honor   $   2,500 00     4/9/2008   54003675
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Donald Taylor, MD               /0805 Honorarium                 ckr 050508 rmm honor   $   2,500 00     5/7/2008   54003776
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                     4/11/2007   Donald Wain Allen               Honoraria, Santa Monica, CA      hon041107 rmm honor    $   1,000 00    4/11/2007   54002418
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July                7/1/2004   Dong Ko                         Honoraria, Consensus Mtg. RI     hon070104      honor   $   1,000 00     7/7/2004   54000243
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April              4/5/2004   Doreen Patel                    Consensus Mtg, Wash DC           hon040504      honor   $   1,000 00     4/7/2004   54000091
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May       4/26/2004   Doreen Patel                    Honoraria, San Francisco         hon042604      honor   $   2,000 00     5/5/2004   54000148
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Douglas D. Pritchard            Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000701
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Douglas D. Pritchard            Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001110
200811   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)             11/7/2008   Douglas D. Pritchard            /0811 St Davids PA 11/13         hon110708      honor   $   1,000 00   11/12/2008   54004392
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/17/2006   Douglas Gourlay, MD             Honoraria, PF Spkr Training      hon041706      honor   $   2,000 00    4/19/2006   54001052
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Douglas Gourlay, MD             Honoraria, PF Spkr Training      hon042406      honor   $   3,000 00    4/26/2006   54001093
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/26/2004   Douglas Grant                   Selva Consensus Meet - 8/20-22   hon072604      honor   $   1,000 00    7/28/2004   54000299
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                       8/7/2006   Douglas J. Jorgensen, DO, CPC   Honoraria, CPF Speaker Trng      hon080706      honor   $     500 00     8/9/2006   54001576
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Douglas J. Jorgensen, DO, CPC   Honoraria, Fentora Spkr Trng     hon061107      honor   $   1,000 00    6/13/2007   54002673
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200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Douglas J. Jorgensen, DO, CPC   Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00   11/19/2008   54004422
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Douglas Molin                   ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106049
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Dwayne E. Jones, MD             Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001528
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Dwayne E. Jones, MD             Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002561
200807   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      7/16/2008   Dwayne E. Jones, MD             /0807 Honorarium                 ckr 071608 rmm honor   $     500 00    7/23/2008   54004219
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Eddie Sassoon                   /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003356
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July                7/1/2004   Edgar Ross, MD                  Honoraria, Consensus Mtg. RI     hon070104      honor   $   1,000 00     7/7/2004   54000249
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Edgar Ross, MD                  Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001956
200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    7/16/2007   Edgar Ross, MD                                                   hon071607      honor   $     500 00    7/18/2007   54002903
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      4/30/2008   Edgar Ross, MD                  /0804 Honorarium                 ckr 043008 rmm honor   $     500 00     5/7/2008   54003805
200606   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        6/26/2006   Edmund Pasimio                  Honoraria, Cephalon PFC Mtg      hon062606      honor   $   1,000 00    6/28/2006   54001375
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Edmund Pasimio                  Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001830
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Edward Allegra                  Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001694
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Edward Chen, MD                 Honoraria, Las Vegas             hon090705      honor   $   2,000 00    9/21/2005   54000664
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Edward Chen, MD                 Honoraria, Las Vegas             hon090705      honor   $   1,000 00    9/22/2005   54000677
200406   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May     6/8/2004   Edward Covington                Consultant Mtg. Vancouver, BC    hon060804      honor   $     200 00    6/16/2004   50106535
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        10/3/2005   Edward G. Myers                 Honoraria, Miami, FL             hon100305      honor   $   1,000 00    10/6/2005   54000759
200806   cephal   scepme   12278   West CPCF Consultant Meeting                              6/9/2008   Edward Manougian                /0806 Honorarium                 ckr 060908 rmm honor   $   1,000 00    6/11/2008   54004034
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Edward Michna                   Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001732
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Edward Michna                   Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002677
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Edward Michna                   /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003652
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     9/20/2007   Edward S. Bocian                Honoraria                        hon092007      honor   $   1,000 00    9/26/2007   54003132
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April              4/5/2004   Edward Soriano                  Consensus Mtg, Wash DC           hon040504      honor   $   1,000 00     4/7/2004   54000095
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Edward Soriano                  Honoraria, Las Vegas Meeting     hon090705      honor   $   1,000 00    9/14/2005   54000632
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Edward Soriano                  Honoraria, PF Spkr Training      hon042406      honor   $   1,000 00    4/26/2006   54001115
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Edward Soriano                  Honoraria, PF Spkr Training      hon042406      honor   $     500 00    1/30/2008   54003514
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Edward Soriano                  Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002594
200606   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                            6/26/2006   Edwin Colon, MD                 Honoraria, Cephalon PFC Mtg      hon062606      honor   $   1,000 00    6/28/2006   54001383
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Edwin Villalobos                ACTIQ Speaker Trn Mtg            hon033004      honor   $   1,000 00     4/7/2004   50106068
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       10/14/2005   Elaine E. Olson, MD             Honoraria, Miami, FL             hon101405      honor   $   1,000 00   10/19/2005   54000816
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Elaine Gwosdz-Gilman            /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003346
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   Elena Robinson, MD              Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001931
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       10/27/2006   Elizabeth Butterworth           Honoraria, CPF Consultant Mtg    hon102706      honor   $   1,000 00    11/1/2006   54001866
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Elizabeth R. Anderson-Doze      /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003339
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     5/21/2007   Elizabeth Rosenbaum             Honoraria, CPF Boston            hon052107      honor   $   1,000 00    5/23/2007   54002517
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Ellen K. Sullivan               Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001552
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                     4/11/2007   Emil Soorani                    Honoraria, Santa Monica, CA      hon041107 rmm honor    $   1,000 00    4/11/2007   54002427
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Emmanuel Devotta                Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001708
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Englok Yap                      Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106189
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       10/14/2005   Eric R. Haynes                  Honoraria, Miami, FL             hon101405      honor   $   1,000 00   10/19/2005   54000810
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Eric R. Haynes                  Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001945
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/25/2007   Eric R. Haynes                  Honoraria                        hon092507      honor   $     500 00    10/3/2007   54003158
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      4/30/2008   Eric R. Haynes                  /0804 Honorarium                 ckr 043008 rmm honor   $     500 00     5/7/2008   54003800
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Eric R. Haynes                  /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003761
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Erik van Ginkel                 Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000707
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Erin McMenamin, MSN, CRNP       Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001951
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Erin McMenamin, MSN, CRNP       Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002676
200509   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        9/23/2005   Ernest S. Hodges                Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000690
200511   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       11/28/2005   Ernest S. Hodges                Honoraria, Miami Mtg             hon112805      honor   $     500 00   11/30/2005   54000891
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Ernest S. White                 /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003359
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Ernestina H. Saxton             Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001840
200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        6/12/2007   Ernestina H. Saxton             Honoraria, Fentora Spkr Trng     hon061207      honor   $     500 00    6/20/2007   54002705
200806   cephal   scepme   12278   West CPCF Consultant Meeting                             6/25/2008   Ernestina H. Saxton             /0807 Honoraria                  ckr 062508 rmm honor   $   1,000 00    6/30/2008   54004131
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       10/27/2006   Ester Pollard, MD, FACP         Honoraria, CPF Consultant Mtg    hon102706      honor   $   1,000 00    11/1/2006   54001877
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              11/28/2005   Eugene Fishman, MD              Honoraria, Dana Point Mtg        hon112805      honor   $   1,000 00   11/30/2005   54000883
200608   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        8/16/2006   Eugene Gosy                     Cephalon Pain Franchise Mtg      hon081606 slp honor    $   1,000 00    8/23/2006   54001616
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Eugene Gosy                     Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002637
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/24/2004   Eugene Pereira                  Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105344
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Fadil Yunis                     Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002650
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/20/2007   Felix Brizuela                  Honoraria                        hon092007      honor   $     500 00    9/26/2007   54003109
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                       4/4/2008   Felix Brizuela                  /0804                            ckr 040408 rmm honor   $     500 00     4/9/2008   54003671
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              11/28/2005   Felix E. Roque                  Honoraria, Dana Point Mtg        hon112805      honor   $   1,000 00   11/30/2005   54000886
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Felix E. Roque                  Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001839
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Felix E. Roque                  Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002840
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                     4/11/2007   Felix F. Carpio-Cedraro         Honoraria, Santa Monica, CA      hon041107 rmm honor    $   1,000 00    4/11/2007   54002421
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Felix R. Muniz                  /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003354
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Fernando Avila                  ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106029
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200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Fernando T. Avila, MD         Honoraria, PF Spkr Training      hon041006      honor   $     500 00    4/19/2006   54001041
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Fernando T. Avila, MD         Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001789
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training                  12/22/2006   Fernando T. Avila, MD         Honoraria, Jan 2007 Arizon Mtg   hon122206      honor   $     500 00     1/3/2007   54002234
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Fernando T. Avila, MD         Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002547
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   Francis Brooks                Actiq Consensus Mtg, March 04    hon021904      honor   $     200 00    2/25/2004   50105323
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   Francisco Torres              Actiq Consensus Mtg, March 04    hon021904      honor   $     200 00    2/25/2004   50105355
200402   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            2/11/2004   Frank Li                      Consensus Mtg, Feb 6-8, 2004     hon021104      honor   $   1,000 00    2/18/2004   54000039
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     9/20/2007   Franklin H. Baroi             Honoraria                        hon092007      honor   $   1,000 00    9/26/2007   54003130
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Franklin Perry                Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105917
200401   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            1/27/2004   Franklin Perry                Selva Consensus Mtg, Feb 04      hon012704      honor   $   1,000 00    1/28/2004   54000010
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May       4/26/2004   Franklin Perry                Honoraria, San Francisco         hon042604      honor   $   2,000 00     5/5/2004   54000149
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/31/2006   Franklin Perry                Honoraria, CPF Spkr Training     hon073106      honor   $     500 00     8/2/2006   54001568
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Franklin Perry                Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002580
200606   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                            6/26/2006   Fred Liebowitz, MD, PA        Honoraria, Cephalon PFC Mtg      hon062606      honor   $   1,000 00    6/28/2006   54001385
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Fred Nowroozi                 Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106177
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Frederick E. Youngblood, MD   Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001562
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Frederick E. Youngblood, MD   Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002856
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only               11/7/2005   Fredric Feit, MD              Honoraria, Dana Point, CA        hon110705      honor   $   1,000 00    11/9/2005   54000864
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     5/25/2007   Fredric Feit, MD              Honoraria, CPF Boston            hon052507      honor   $   1,000 00    5/30/2007   54002532
200612   cephal   scepme   10010   FENTORA AHSP Advisory Board                              12/5/2006   Funmi Adereti                 Honoraria, CPF Costa Mesa        hon120506      honor   $     500 00   12/13/2006   54002157
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Gabriele Stiller              Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003073
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April           4/7/2004   Garry Jennings                ACTIQ Speaker Trn Mtg            hon040704      honor   $   1,000 00     4/7/2004   50106003
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       10/27/2006   Garry Jennings                Honoraria, CPF Consultant Mtg    hon102706      honor   $   1,000 00    11/1/2006   54001874
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Garry Jennings                Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002638
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Gary Bohay                    Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003049
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       10/14/2005   Gary H. Wright, MD            Honoraria, Miami, FL             hon101405      honor   $   1,000 00   10/19/2005   54000824
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/17/2006   Gary H. Wright, MD            Honoraria, PF Spkr Training      hon041706      honor   $     500 00    4/19/2006   54001082
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Gary H. Wright, MD            Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001561
200604   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only                4/2/2006   Gary Manley                                                    hon040206 slp honor    $     500 00     4/5/2006   54001031
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July                7/1/2004   Gary Polykoff                 Honoraria, Consensus Mtg. RI     hon070104      honor   $   1,000 00     7/7/2004   54000246
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April           4/7/2004   Gary Wright                   ACTIQ Speaker Trn Mtg            hon040704      honor   $   1,000 00     4/7/2004   50106012
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Gary Wright                   Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002854
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Gavin Awerbuch                Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001324
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Geeti Gohari                  Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002636
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                             5/20/2008   Geeti Gohari                  /0805 Honorarium                 ckr 052008 rmm honor   $   1,000 00    5/21/2008   54003876
200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY               6/9/2006   George Alhaj                  Honoraria, CPF Spkr Training     hon060906      honor   $     500 00    6/14/2006   54001252
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   George Alhaj                  Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001490
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   George Alhaj                  Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002805
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   George Baylor, MD             Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001936
200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4                       10/10/2007   George Baylor, MD             Honoraria                        hon101007      honor   $     500 00   10/16/2007   54003190
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      4/30/2008   George Baylor, MD             /0804 Honorarium                 ckr 043008 rmm honor   $     500 00     5/7/2008   54003794
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/17/2003   George Donahue, MD            New Orleans Symposia             021703 lb      honor   $     200 00    2/17/2003       2312
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   George H. Peacock, MD, PC     Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002084
200509   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        9/23/2005   George Kevin Perdue           Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000699
200511   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       11/28/2005   George Kevin Perdue           Honoraria, Miami Mtg             hon112805      honor   $     500 00   11/30/2005   54000894
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   George P. Carbone, MD         Honoraria, Las Vegas Meeting     hon090705      honor   $   1,000 00    9/14/2005   54000619
200401   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            1/27/2004   George Perdikis               Selva Consensus Mtg, Feb 04      hon012704      honor   $   1,000 00    1/28/2004   54000009
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   George Perdikis               Honoraria, Las Vegas Meeting     hon090705      honor   $   1,000 00    9/14/2005   54000629
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   George Perdikis               Honoraria, PF Spkr Training      hon041006      honor   $     500 00    4/19/2006   54001072
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   George Perdikis               Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001831
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   George Perdikis               Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002579
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   George Perdikis               /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003702
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    10/23/2007   George Restea                 Honoraria                        hon101507      honor   $   1,000 00   10/24/2007   54003240
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                            5/14/2006   George Tuttle, MD             Honoraria, Pain Franchise Mtg    hon051406      honor   $   1,000 00    5/17/2006   54001174
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Gerald Arnoff, MD             Honoraria, Las Vegas             hon090705      honor   $   1,000 00    9/21/2005   54000661
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Gerald Arnoff, MD             Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001190
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Gerald Arnoff, MD             Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001085
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Gerald Arnoff, MD             Honoraria, CPF Speaker Trng      hon072406      honor   $   3,000 00    7/26/2006   54001494
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Gerald Arnoff, MD             Honoraria, Fentora Spkr Trng     hon093006      honor   $   3,000 00    10/4/2006   54001696
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Gerald Arnoff, MD             Honoraria, Fentora Spkr Trng     hon100906      honor   $   3,000 00   10/13/2006   54001788
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training                    1/8/2007   Gerald Arnoff, MD             Honoraria                        hon010807      honor   $     500 00    1/10/2007   54002280
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Gerald Arnoff, MD             Honoraria, Fentora Spkr Trng     hon061107      honor   $   1,500 00    6/13/2007   54002654
200309   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19               9/30/2003   Gerald Aronoff, MD            Honoraria                        hon093003      honor   $   2,000 00    10/8/2003   50104267
200308   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03                   7/30/2003   Gerald Aronoff, MD            Honoraria                        hon073003      honor   $   2,000 00     8/6/2003   50103848
200308   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03                     8/12/2003   Gerald Aronoff, MD            Honoraria                        hon081203      honor   $   2,000 00    8/13/2003   50103915
200308   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03                        8/26/2003   Gerald Aronoff, MD                                             ckr082603 ddn honor    $   2,000 00     9/3/2003   50104000
200403   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March              3/8/2004   Gerald Aronoff, MD            Actiq Consultants Mtg, HMB       hon030804      honor   $   2,500 00    3/10/2004   50105626
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200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Gerald Aronoff, MD          ACTIQ Speaker Trn Mtg            hon033004      honor   $   2,000 00     4/7/2004   50106028
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/23/2005   Gerald Chatman              Honoraria, Las Vegas             hon092305      honor   $   1,000 00    9/23/2005   54000678
200806   cephal   scepme   12278   West CPCF Consultant Meeting                              6/9/2008   Gerald Chatman              /0806 Honorarium                 ckr 060908 rmm honor   $   1,000 00    6/11/2008   54004030
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   Gerald M. Sacks, MD, Inc.   Honoraria, Las Vegas             hon092005      honor   $   2,000 00    9/21/2005   54000654
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   Gerald M. Sacks, MD, Inc.   Honoraria, Las Vegas             hon092005      honor   $   1,000 00    1/30/2008   54003513
200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY               6/9/2006   Gerald M. Sacks, MD, Inc.   Honoraria, CPF Spkr Training     hon060906      honor   $     500 00    6/14/2006   54001256
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Gerald M. Sacks, MD, Inc.   Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001540
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training                  12/22/2006   Gerald M. Sacks, MD, Inc.   Honoraria, Jan 2007 Arizon Mtg   hon122206      honor   $     500 00     1/3/2007   54002247
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Gerald M. Sacks, MD, Inc.   Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002587
200403   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April               3/17/2004   Gerald Myers                Consensus Meeting, New Orleans   hon031704      honor   $   1,000 00    3/24/2004   54000071
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Gerald S. Asin              Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002071
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     5/21/2007   Gerald Weiss MD Inc.        Honoraria, CPF Boston            hon052107      honor   $   1,000 00    5/23/2007   54002522
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                     4/19/2007   German Lasala               Honoraria                        hon041907      honor   $   1,000 00    4/25/2007   54002446
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April              4/5/2004   Gerson Sternstein           Consensus Mtg, Wash DC           hon040504      honor   $   1,000 00     4/7/2004   54000096
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May       5/10/2004   Gerson Sternstein           Consensus Mtg, San Francisco     hon051004      honor   $   2,000 00    5/12/2004   54000158
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                            5/14/2006   Gerson Sternstein           Honoraria, Pain Franchise Mtg    hon051406      honor   $   1,000 00    5/17/2006   54001173
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Gerson Sternstein           Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001753
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Gerson Sternstein           /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003774
200811   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)             11/5/2008   Gerson Sternstein           /0811 St Davids PA 11/13         hon110508      honor   $   1,000 00   11/12/2008   54004389
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Glenn Davis, MD             Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001137
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     5/21/2007   Glenn Davis, MD             Honoraria, CPF Boston            hon052107      honor   $   1,000 00    5/23/2007   54002508
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/8/2008   Glenn Davis, MD             /0805 Honorarium                 ckr 050808 rmm honor   $   2,000 00    5/14/2008   54003827
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/8/2008   Glenn Davis, MD             /0805 Honorarium                 ckr 050808 rmm honor   $   2,000 00    6/18/2008   54004109
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/8/2008   Glenn Davis, MD             /0805 Honorarium                 ckr 050808 rmm honor   $   1,000 00    6/23/2008   54004112
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Gloria M. Ramirez, MD       Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000794
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    10/15/2007   Gonzalo Pares, MD           Honoraria                        hon101507      honor   $   1,000 00   10/24/2007   54003229
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Gorden Mortensen            Speaker Training Mtg, Dallas     hon031604      honor   $   2,000 00    3/24/2004   50105915
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Gorden Mortensen            Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00   12/28/2005   50110710
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Gordon Freedman             Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001714
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Gordon Freedman             Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002665
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Gordon Freedman             /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003643
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Gordon Freedman             /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003757
200811   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)             11/5/2008   Gordon Freedman             /0811 St Davids, PA 11/13        hon110508      honor   $   1,000 00   11/12/2008   54004385
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Gordon L. Mortensen, MD     Honoraria, PF Spkr Training      hon041006      honor   $     500 00    4/19/2006   54001069
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     9/20/2007   Grace A. Haynes             Honoraria                        hon092007      honor   $   2,000 00    9/26/2007   54003134
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     9/20/2007   Grace A. Haynes             Honoraria                        hon092007      honor   $   1,000 00   11/20/2007   54003375
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     5/21/2007   Grace Forde                 Honoraria, CPF Boston            hon052107      honor   $   1,000 00    5/23/2007   54002509
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   Grace Stonerock, PC         Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000190
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Grace Stonerock, PC         Honoraria, Cephalon PF Mtg       hon061606      honor   $   2,000 00    6/21/2006   54001353
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Grace Stonerock, PC         Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    1/30/2008   54003515
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/24/2004   Graegory Chang              Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105326
200406   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May     6/8/2004   Graves Owen and             Consultant Mtg. Vancouver, BC    hon060804      honor   $     200 00    6/16/2004   50106545
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Gray Barrow                 /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003340
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Greg F. Powell, P.C.        Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001217
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Greg F. Powell, P.C.        Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001833
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Greg F. Powell, P.C.        Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002582
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   Gregory Ball, MD            Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001908
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/20/2007   Gregory Ball, MD            Honoraria                        hon092007      honor   $     500 00    9/26/2007   54003106
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Gregory Gullo               Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002828
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/21/2008   Gregory Gullo               /0804 Honoraria                  ckr 042108 rmm honor   $     500 00    4/23/2008   54003721
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   Gregory J. Gerber, MD       Honoraria, Las Vegas             hon092005      honor   $   1,000 00    9/21/2005   54000647
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Gregory J. Gerber, MD       Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001811
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Gregory J. Gerber, MD       Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002555
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Gregory S. Rihacek, MD      Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001741
200606   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        6/26/2006   Gregory Skie                Honoraria, Cephalon PFC Mtg      hon062606      honor   $   1,000 00    6/28/2006   54001377
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Gregory Skie                Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001845
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   Grigory Kizelshteyn, MD     Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001926
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Grigory Kizelshteyn, MD     Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002566
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      4/30/2008   Grigory Kizelshteyn, MD     /0804 Honorarium                 ckr 043008 rmm honor   $     500 00     5/7/2008   54003802
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Guadalupe Palos             Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001827
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                     4/11/2007   Gustavo Galeano             Honoraria, Santa Monica, CA      hon041107 rmm honor    $   1,000 00    4/11/2007   54002422
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   Hal S. Blathan              Honoraria, Las Vegas             hon092005      honor   $   1,000 00    9/21/2005   54000640
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                            5/14/2006   Hammam Akbik, MD            Honoraria, Pain Franchise Mtg    hon051406      honor   $   1,000 00    5/17/2006   54001165
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Hammam Akbik, MD            Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001083
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Hammam Akbik, MD            Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001489
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Hammam Akbik, MD            Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002546
200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                     7/3/2007   Hans Koritz M.D.            Honoraria                        hon070307      honor   $     500 00    7/11/2007   54002799
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200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    10/15/2007   Harlan J Borcherding           Honoraria                        hon101507      honor   $   1,000 00   10/24/2007   54003237
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April           4/7/2004   Harold Cordner                 ACTIQ Speaker Trn Mtg            hon040704      honor   $   1,000 00     4/7/2004   50105997
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      8/17/2006   Heather Nath                   Fentora Speaker Training         hon081706 slp honor    $     500 00    8/23/2006   54001612
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Heather Nath                   Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002576
200305   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03                  5/21/2003   Heather R. Scullin             Honoraria                        hon052103      honor   $   2,000 00    5/27/2003   50103123
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Heather R. Scullin             Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000703
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       10/27/2006   Hector Cases                   Honoraria, CPF Consultant Mtg    hon102706      honor   $   1,000 00    11/1/2006   54001867
200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                     7/3/2007   Heechin Chae                   Honoraria                        hon070307      honor   $     500 00    7/11/2007   54002797
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Heechin Chae                   /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003639
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   Hemal Mehta, MD                Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001929
200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                     7/3/2007   Hemal Mehta, MD                Honoraria                        hon070307      honor   $     500 00    7/11/2007   54002801
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Hemant Yagnick                 Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001765
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Hemant Yagnick                 Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002855
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                       4/4/2008   Hemant Yagnick                 /0804                            ckr 040408 rmm honor   $     500 00     4/9/2008   54003676
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Henry Crowley, DO              Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001939
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   Henry Eugenio                  Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000172
200606   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                            6/26/2006   Henry Wroblewski               Honoraria, Cephalon PFC Mtg      hon062606      honor   $   1,000 00    6/28/2006   54001387
200811   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)            11/18/2008   Henry Wroblewski               /0811 St Davids PA 11/13         hon111808      honor   $   1,000 00   11/19/2008   54004413
200606   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only                6/9/2006   Hildegarde Berdine             Honoraria, CPF                   hon060906      honor   $     500 00    6/14/2006   54001237
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/24/2004   Hong Shen                      Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105349
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Honorio Benzon                 Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106158
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Howard A. Heit, MD, FACP, PC   Honoraria, PF Spkr Training      hon041006      honor   $   4,000 00    4/19/2006   54001057
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/22/2008   Howard A. Heit, MD, FACP, PC   /0804 Honoraria                  ckr 042208 rmm honor   $   2,500 00    4/23/2008   54003731
200804   cephal   scepme   13180   2008 CPCF AAD Slide Deck                                 4/22/2008   Howard A. Heit, MD, FACP, PC   /0804 Slide Deck                 ckr 042208 rmm honor   $   3,500 00    4/23/2008   54003733
200406   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June             6/2/2004   Howard A. Heit, PC             Honoraria, Aviara Mtg            hon060204      honor   $   2,500 00     6/9/2004   50106485
200409   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October        9/15/2004   Howard A. Heit, PC             ACTIQ Consultant Mtg Las Vegas   hon091504      honor   $   2,500 00    9/22/2004   50107182
200409   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October          9/22/2004   Howard A. Heit, PC             Honoraria, Naples                hon092204b     honor   $   2,500 00    9/29/2004   50107225
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Howard Gregg Diamond           /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003343
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Howard Hoffberg                ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106045
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Howard J. Hoffberg             Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000786
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Howard J. Hoffberg             Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001097
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Howard J. Hoffberg             Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001721
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Howard J. Hoffberg             Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002831
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Howard J. Hoffberg             /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003645
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Howard J. Hoffberg             /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003763
200811   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)             11/5/2008   Howard J. Hoffberg             /0811 St. Davids, PA 11/13       hon110508      honor   $   1,000 00   11/12/2008   54004386
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Howard M. Cohen                Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001197
200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY               6/9/2006   Howard M. Cohen                Honoraria, CPF Spkr Training     hon060906      honor   $     500 00    6/14/2006   54001254
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Howard M. Cohen                Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001797
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    10/15/2007   Howard W. Popp                 Honoraria                        hon101507      honor   $   1,000 00   10/24/2007   54003231
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/8/2008   Howard W. Popp                 /0805 Honorarium                 ckr 050808 rmm honor   $   1,000 00    5/14/2008   54003833
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   Hung-Shing Tsang               Actiq Consensus Mtg, March 04    hon021904      honor   $     200 00    2/25/2004   50105356
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Ingrid Rule                    Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001222
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     9/20/2007   Ingrid Rule                    Honoraria                        hon092007      honor   $   1,000 00    9/26/2007   54003135
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                             5/20/2008   Irfan A Alladin                /0805 Honorarium                 ckr 052008 rmm honor   $   1,000 00    5/21/2008   54003874
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/17/2003   Irv Colvin, MD                 New Orleans Symposia             021703 lb      honor   $     200 00    2/17/2003       2305
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   J. Brett Ironside, MD          Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001922
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/24/2004   J. Fred Stoner                 Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105352
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   J. Patrick Couch               ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106037
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Jack E. Scariano, MD           Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001747
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Jack Goldberg, MD              Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001092
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Jack Goldberg, MD              Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001716
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Jack Kabazie, MD               Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001948
200401   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            1/27/2004   Jack Rook                      Selva Consensus Mtg, Feb 04      hon012704      honor   $   1,000 00    1/28/2004   54000013
200404   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March               4/5/2004   Jack Scariano Jr., MD          ACTIQ Spkr Trn Mtg               hon040504      honor   $   1,000 00     4/7/2004   50106009
200403   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April               3/17/2004   Jacob E. Abraham               Consensus Meeting, New Orleans   hon031704      honor   $   1,000 00    3/24/2004   54000063
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May       4/26/2004   Jacob E. Abraham               Honoraria, San Francisco         hon042604      honor   $   2,000 00     5/5/2004   54000141
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Jacob E. Abraham               Honoraria, Las Vegas Meeting     hon090705      honor   $   1,000 00    9/14/2005   54000616
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Jacob E. Abraham               Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001188
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    7/17/2007   Jacob E. Abraham                                                hon071707 slp honor    $     500 00    7/25/2007   54002911
200805   cephal   scepme   12278   West CPCF Consultant Meeting                             5/28/2008   Jacob E. Abraham               /0805 Honorarium                 ckr 052808 rmm honor   $   1,000 00     6/4/2008   54004000
200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      5/20/2008   Jacob E. Abraham               /0805 Honorarium                 ckr 052008 rmm honor   $     500 00    5/21/2008   54003859
200406   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May     6/8/2004   Jacob Rosenburg                Consultant Mtg. Vancouver, BC    hon060804      honor   $     200 00    6/16/2004   50106546
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Jacquie Mouton                 Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002083
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Jahan Imani                    Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003060
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Jairo D. Libreros              Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000695
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   James A. Boesiger              Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002550
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200805   cephal   scepme   12278   West CPCF Consultant Meeting                             5/28/2008   James A. Boesiger             /0805 Honorarium                 ckr 052808 rmm honor   $   1,000 00     6/4/2008   54004001
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   James A. Boesiger             /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003687
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   James Barrett                 ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106030
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                     4/11/2007   James Baumann                 Honoraria, Santa Monica, CA      hon041107 rmm honor    $   1,000 00    4/11/2007   54002419
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   James D. Gallant, MD          Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002078
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   James D. Gallant, MD          Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002822
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   James Dambrogio, DO           Honoraria, Las Vegas             hon092005      honor   $   1,000 00    9/21/2005   54000642
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   James Darren McCoy            Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001342
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   James Darren McCoy            Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001731
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   James D'Olimpio, MD           Honoraria, Fentora Spkr Trng3    hon103006      honor   $     500 00    11/8/2006   54001940
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   James Harrold, Jr.            Actiq Consensus Mtg, March 04    hon021904      honor   $     200 00    2/25/2004   50105332
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/31/2006   James I. McMillen, MD, FACR   Honoraria, CPF Spkr Training     hon073106      honor   $     500 00     8/2/2006   54001566
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training                  12/22/2006   James I. McMillen, MD, FACR   Honoraria, Jan 2007 Arizon Mtg   hon122206      honor   $     500 00     1/3/2007   54002243
200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                     7/3/2007   James I. McMillen, MD, FACR   Honoraria                        hon070307      honor   $     500 00    7/11/2007   54002800
200510   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/30/2005   James I. Rho                  Honoraria, Las Vegas             hon093005      honor   $   1,000 00    10/6/2005   54000763
200805   cephal   scepme   12278   West CPCF Consultant Meeting                             5/28/2008   James I. Rho                  /0805 Honorarium                 ckr 052808 rmm honor   $   1,000 00     6/4/2008   54004006
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   James I. Rho                  /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003704
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   James J. Worden               Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001363
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   James Kim                     Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001722
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   James M. Gaither              Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002077
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   James M. Gaither              Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002821
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      4/30/2008   James M. Gaither              /0804 Honorarium                 ckr 043008 rmm honor   $     500 00     5/7/2008   54003799
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   James M. Kelly                Honoraria, Las Vegas             hon092005      honor   $   1,000 00    9/21/2005   54000651
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   James M. Kelly                Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001817
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   James M. Kelly                Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002563
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   James Murphy                  Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   1,000 00    2/18/2004   54000043
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   James P. Barrett, MD, PhD     Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001497
200606   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                            6/26/2006   James P. Bressi, DO           Honoraria, Cephalon PFC Mtg      hon062606      honor   $   1,000 00    6/28/2006   54001382
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   James P. Bressi, DO           Honoraria, Fentora Spkr Trng     hon093006      honor   $   1,000 00    10/4/2006   54001698
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   James P. Bressi, DO           Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    12/5/2008        208
200606   cephal   scepme    9173   Cephalon Pain Franchise Advisory Board May 2 - OOP        6/9/2006   James Rathmell, MD            Honoraria, CPF                   hon060906      honor   $     500 00    6/14/2006   54001249
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   James Thacker                 ACTIQ Speaker Trn Mtg            hon033004      honor   $   1,000 00     4/7/2004   50106066
200401   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            1/27/2004   James Thacker                 Selva Consensus Mtg, Feb 04      hon012704      honor   $   1,000 00    1/28/2004   54000017
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April             4/12/2004   James V. DiCanio              Consensus Mtg, Wash DC           hon041204      honor   $   1,000 00    4/14/2004   54000130
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May       4/26/2004   James V. DiCanio              Honoraria, San Francisco         hon042604      honor   $   2,000 00     5/5/2004   54000146
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   James V. DiCanio              Honoraria, Las Vegas             hon090705      honor   $   1,000 00    9/21/2005   54000665
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   James V. DiCanio              Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001138
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   James V. DiCanio              Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001090
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   James V. DiCanio              Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001508
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training                  12/22/2006   James V. DiCanio              Honoraria, Jan 2007 Arizon Mtg   hon122206      honor   $     500 00     1/3/2007   54002236
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   James V. DiCanio              Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002659
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   James V. DiCanio              /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003640
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/24/2004   James Worden                  Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105361
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Jamie A. Miles                Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000790
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Jamie A. Miles                Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001822
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training                  12/22/2006   Jamie A. Miles                Honoraria, Jan 2007 Arizon Mtg   hon122206      honor   $     500 00     1/3/2007   54002244
200604   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only                4/2/2006   Janice Lindsey                                                 hon040206 slp honor    $     500 00     4/5/2006   54001029
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/26/2004   Jashvant G. Patel             Selva Consensus Meet - 8/20-22   hon072604      honor   $   1,000 00    7/28/2004   54000312
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Jashvant G. Patel             Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001215
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       10/27/2006   Jason Doran                   Honoraria, CPF Consultant Mtg    hon102706      honor   $   1,000 00    11/1/2006   54001870
200811   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)             11/5/2008   Jay E Bowen                   /0811 St. Davids PA 11/13        hon110508      honor   $   1,000 00   11/12/2008   54004384
200408   cephal   scepme    4935   Consensus Meeting-Chicago-OOP - August                   8/13/2004   Jayme Matchinski                                               hon081304b     honor   $   1,000 00    8/18/2004   54000329
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        8/30/2004   Jayme Matchinski              Honoraria, Consensus Mtg         hon083004      honor   $   2,000 00     9/1/2004   54000340
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   Jayson Hymes, MD              Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001921
200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        6/12/2007   Jayson Hymes, MD              Honoraria, Fentora Spkr Trng     hon061207      honor   $     500 00    6/20/2007   54002703
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Jean Brosius                  Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106160
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Jean Claude Krusz, MD, PhD    Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002082
200806   cephal   scepme   12278   West CPCF Consultant Meeting                              6/9/2008   Jean You                      /0806 Honorarium                 ckr 060908 rmm honor   $   1,000 00    6/11/2008   54004037
200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                     7/3/2007   Jeff Edwards                  Honoraria                        hon070307      honor   $     500 00    7/11/2007   54002897
200302   cephal   pcepam    3290   03/07/03 San Antonio Regional Meeting                    2/24/2003   Jeff Gudin, MD                Actiq Consultant Meeting         hon022403 lb honor     $   3,000 00    2/26/2003   50102207
200303   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13          3/19/2003   Jeff Gudin, MD                Honoraria Actiq Consultant Mtg   hon031903      honor   $   2,000 00    3/26/2003   50102532
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Jeffery Steger                Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106182
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/24/2004   Jeffery Tiede                 Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105354
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Jeffrey C. Reinking           Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000795
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/17/2006   Jeffrey C. Reinking           Honoraria, PF Spkr Training      hon041706      honor   $     500 00    4/19/2006   54001073
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                       8/7/2006   Jeffrey C. Reinking           Honoraria, CPF Speaker Trng      hon080706      honor   $     500 00     8/9/2006   54001580
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training                  12/22/2006   Jeffrey C. Reinking           Honoraria, Jan 2007 Arizon Mtg   hon122206      honor   $     500 00     1/3/2007   54002246
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200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA                     6/12/2007   Jeffrey C. Reinking       Honoraria, Fentora Spkr Trng       hon061207      honor   $     500 00    6/20/2007   54002704
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                   4/10/2008   Jeffrey C. Reinking       /0804                              ckr 041008 rmm honor   $     500 00    4/16/2008   54003703
200403   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February               3/8/2004   Jeffrey C. Wilkins, MD    Consensus Mtg, Feb 04              hon030804      honor   $   1,000 00    3/10/2004   54000057
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                     6/16/2006   Jeffrey C. Wilkins, MD    Honoraria, Cephalon PF Mtg         hon061606      honor   $   2,000 00    6/21/2006   54001361
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                     6/16/2006   Jeffrey C. Wilkins, MD    Honoraria, Cephalon PF Mtg         hon061606      honor   $   1,000 00     9/3/2008        167
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                     10/30/2006   Jeffrey Caudill, MD       Honoraria, Fentora Spkr Trng       hon103006      honor   $   1,000 00    11/8/2006   54001937
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                     10/30/2006   Jeffrey Caudill, MD       Honoraria, Fentora Spkr Trng       hon103006      honor   $     500 00   11/29/2006   54002126
200612   cephal   scepme   10010   FENTORA AHSP Advisory Board                           12/5/2006   Jeffrey Fudin             Honoraria, CPF Costa Mesa          hon120506      honor   $     500 00   12/13/2006   54002161
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                  8/30/2007   Jeffrey G. Randle         Honoraria                          hon083007      honor   $   1,000 00     9/5/2007   54003069
200504   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting              4/26/2005   Jeffrey Gudin             Honoraria, ACTIQ Miami Mtg         hon042605      honor   $   2,000 00    4/27/2005   54000429
200505   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting             5/17/2005   Jeffrey Gudin             Actiq Speaker Trng, La Jolla       hon051705      honor   $   2,000 00    5/18/2005   54000442
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only    10/14/2005   Jeffrey Gudin             Honoraria, Miami, FL               hon101405      honor   $   1,000 00   10/19/2005   54000809
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only            11/7/2005   Jeffrey Gudin             Honoraria, Dana Point, CA          hon110705      honor   $   1,000 00    11/9/2005   54000866
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                         5/14/2006   Jeffrey Gudin             Honoraria, Pain Franchise Mtg      hon051406      honor   $   2,000 00    5/17/2006   54001170
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                     5/25/2006   Jeffrey Gudin             Honoraria, PF Consultant Mtg       hon052506      honor   $   2,000 00    5/31/2006   54001202
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                     6/16/2006   Jeffrey Gudin             Honoraria, Cephalon PF Mtg         hon061606      honor   $   2,000 00    6/21/2006   54001332
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                    10/27/2006   Jeffrey Gudin             Honoraria, CPF Consultant Mtg      hon102706      honor   $   1,000 00    11/1/2006   54001872
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY           4/10/2006   Jeffrey Gudin             Honoraria, PF Spkr Training        hon041006      honor   $   2,000 00    4/19/2006   54001055
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only            4/24/2006   Jeffrey Gudin             Honoraria, PF Spkr Training        hon042406      honor   $   2,000 00    4/26/2006   54001096
200606   cephal   scepme    9173   Cephalon Pain Franchise Advisory Board May 2 - OOP     6/9/2006   Jeffrey Gudin             Honoraria, CPF                     hon060906      honor   $     500 00    6/14/2006   54001247
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                   7/24/2006   Jeffrey Gudin             Honoraria, CPF Speaker Trng        hon072406      honor   $   2,500 00    7/26/2006   54001518
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                      9/30/2006   Jeffrey Gudin             Honoraria, Fentora Spkr Trng       hon093006      honor   $   2,500 00    10/4/2006   54001717
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                      10/9/2006   Jeffrey Gudin             Honoraria, Fentora Spkr Trng       hon100906      honor   $   2,500 00   10/13/2006   54001813
200610   cephal   scepme   10088   FENTORA Speaker Training Refresher                   10/27/2006   Jeffrey Gudin             Honoraria, CPF Consultant Mtg      hon102706      honor   $   1,000 00    11/1/2006   54001872
200611   cephal   scepme   10088   FENTORA Speaker Training Refresher                    11/6/2006   Jeffrey Gudin             VO Record Talent Cephalon          hon110606      honor   $   2,000 00   11/15/2006   54001980
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training               12/22/2006   Jeffrey Gudin             Honoraria, Jan 2007 Arizon Mtg     hon122206      honor   $   2,500 00     1/3/2007   54002241
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                   4/2/2007   Jeffrey Gudin             Honoraria, CPF Los Angeles         hon040207      honor   $   2,500 00     4/4/2007   54002391
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                  5/21/2007   Jeffrey Gudin             Honoraria, CPF Boston              hon052107      honor   $   2,500 00    5/23/2007   54002510
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                 11/16/2007   Jeffrey Gudin             /0710                              hon111607      honor   $   5,000 00   11/20/2007   54003374
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                 10/15/2007   Jeffrey Gudin             Honoraria                          hon101507      honor   $   3,500 00   10/24/2007   54003227
200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA                     6/25/2007   Jeffrey Gudin             Honoraria, Beverly Hills           hon062507      honor   $   1,000 00    6/27/2007   54002762
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                     5/24/2007   Jeffrey Gudin             Honoraria, LA Speaker Training     hon052407      honor   $   1,500 00    5/30/2007   54002557
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                 6/29/2007   Jeffrey Gudin             Honoraria, Fentora Spkr Trng       hon062907      honor   $   2,500 00    7/11/2007   54002827
200802   cephal   scepme   11732   2007 Speaker Training Refresher                        2/6/2008   Jeffrey Gudin             /0802                              hon020608      honor   $   3,000 00    2/13/2008   54003532
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                     9/20/2007   Jeffrey Gudin             Honoraria                          hon092007      honor   $   2,500 00    9/26/2007   54003114
200805   cephal   scepme   12278   West CPCF Consultant Meeting                          5/28/2008   Jeffrey Gudin             /0805 Honorarium                   ckr 052808 rmm honor   $   3,000 00     6/4/2008   54004003
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                    4/4/2008   Jeffrey Gudin                                            804 ckr 040408 rmm honor   $   3,000 00     4/9/2008   54003673
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                           5/5/2008   Jeffrey Gudin             /0805 Honorarium                   ckr 050508 rmm honor   $   3,000 00     5/7/2008   54003759
200309   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19            9/30/2003   Jeffrey Gudin, MD         Honoraria                          hon093003b     honor   $   2,000 00    10/8/2003   50104270
200304   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4     4/15/2003   Jeffrey Gudin, MD         Honoraria, Four Seasons            hon041503 lb honor     $   2,000 00    4/16/2003   50102718
200309   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03                9/23/2003   Jeffrey Gudin, MD         Honoraria, Las Vegas               hon092303      honor   $   2,000 00    9/24/2003   50104172
200309   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03             9/30/2003   Jeffrey Gudin, MD         Honoraria                          hon093003      honor   $   2,000 00    10/8/2003   50104269
200308   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03                  8/12/2003   Jeffrey Gudin, MD         Honoraria                          hon081203      honor   $   2,000 00    8/13/2003   50103916
200309   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03                  9/11/2003   Jeffrey Gudin, MD         Honoraria                          hon091103      honor   $   5,000 00    9/11/2003   50104104
200308   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03                     8/26/2003   Jeffrey Gudin, MD                                            ckr082603 ddn honor    $   2,000 00     9/3/2003   50104003
200307   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03       7/16/2003   Jeffrey Gudin, MD         Honoraria                          hon071603      honor   $   3,000 00    7/23/2003   50103773
200308   cephal   pcepam    4025   Actiq Medical Strategies Speaker Slide Kit            8/25/2003   Jeffrey Gudin, MD                                            ckr082503 ddn honor    $   1,500 00    8/26/2003   50103987
200408   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September         8/30/2004   Jeffrey Gudin, MD         Honoraria, NY Consultant Mtg       hon083004      honor   $   2,500 00     9/1/2004   50106996
200409   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October     9/15/2004   Jeffrey Gudin, MD         ACTIQ Consultant Mtg Las Vegas     hon091504      honor   $   3,500 00    9/22/2004   50107181
200409   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October     9/22/2004   Jeffrey Gudin, MD         Honoraria, Las Vegas               hon092204      honor   $   2,500 00    9/23/2004   50107222
200409   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October       9/22/2004   Jeffrey Gudin, MD         Honoraria, Naples                  hon092204b     honor   $   2,500 00    9/29/2004   50107224
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March           3/16/2004   Jeffrey Gudin, MD         Speaker Training Mtg, Dallas       hon031604      honor   $   2,000 00    3/24/2004   50105906
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August              7/26/2004   Jeffrey Kesten            Selva Consensus Meet - 8/20-22     hon072604      honor   $   1,000 00    7/28/2004   54000307
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only             9/7/2005   Jeffrey Kesten            Honoraria, Las Vegas Meeting       hon090705      honor   $   1,000 00    9/14/2005   54000625
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                   8/17/2006   Jeffrey Kesten            Fentora Speaker Training           hon081706 slp honor    $     500 00    8/23/2006   54001607
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                     5/24/2007   Jeffrey Kesten            Honoraria, LA Speaker Training     hon052407      honor   $     500 00    5/30/2007   54002565
200805   cephal   scepme   12278   West CPCF Consultant Meeting                          5/28/2008   Jeffrey Kesten            /0805 Honorarium                   ckr 052808 rmm honor   $   1,000 00     6/4/2008   54004005
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                   4/10/2008   Jeffrey Kesten            /0804                              ckr 041008 rmm honor   $     500 00    4/16/2008   54003697
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                      10/9/2006   Jeffrey L. Edwards., MD   Honoraria, Fentora Spkr Trng       hon100906      honor   $     500 00   10/13/2006   54001803
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                   3/31/2008   Jeffrey L. Edwards., MD   /0804                              ckr 033108 rmm honor   $     500 00     4/2/2008   54003642
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only           9/23/2005   Jeffrey M. Cox            Honoraria                          hon092305      honor   $     500 00    9/28/2005   54000682
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                         5/14/2006   Jeffrey M. Cox            Honoraria, Pain Franchise Mtg      hon051406      honor   $   1,000 00    5/17/2006   54001168
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                   7/24/2006   Jeffrey M. Cox            Honoraria, CPF Speaker Trng        hon072406      honor   $     500 00    7/26/2006   54001506
200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                 7/16/2007   Jeffrey M. Cox                                               hon071607      honor   $     500 00    7/18/2007   54002901
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only           11/28/2005   Jeffrey Pierson           Honoraria, Dana Point Mtg          hon112805      honor   $   1,000 00   11/30/2005   54000884
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March           3/16/2004   Jeffrey Reinking          Speaker Training Mtg, Dallas       hon031604      honor   $   1,000 00    3/24/2004   50105918
200401   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February         1/27/2004   Jeffrey Reiser            Selva Consensus Mtg, Feb 04        hon012704      honor   $   1,000 00    1/28/2004   54000011
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200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only               11/7/2005   Jeffrey Reiser              Honoraria, Dana Point, CA        hon110705      honor   $   1,000 00    11/9/2005   54000870
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Jeffrey S. Pierce, OD       Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001109
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Jeffrey S. Pierce, OD       Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001737
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Jeffrey S. Pierce, OD       Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/14/2007   54002699
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Jeffrey S. Pierce, OD       /0804                            ckr 033108 rmm honor   $   1,000 00     4/2/2008   54003657
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Jeffrey S. Pierce, OD       /0804                            ckr 033108 rmm honor   $     500 00    8/25/2009        225
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Jeffrey S. Pierce, OD       /0805                            ckr 050508 rmm honor   $   2,000 00    5/14/2008   54003838
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Jeffrey S. Pierce, OD       /0805                            ckr 050508 rmm honor   $   1,000 00    8/25/2009        225
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      4/30/2008   Jennifer Bolen              /0804 Honorarium                 ckr 043008 rmm honor   $   2,500 00     5/7/2008   54003795
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Jennifer Buchanan           Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106161
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Jennifer P. Schneider, MD   Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001111
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Jennifer P. Schneider, MD   Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001542
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/20/2007   Jennifer P. Schneider, MD   Honoraria                        hon092007      honor   $     500 00    9/26/2007   54003124
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/21/2008   Jennifer P. Schneider, MD   /0804 Honoraria                  ckr 042108 rmm honor   $     500 00    4/23/2008   54003727
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Jerome T. Watson            Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001357
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Jerrold Rosenberg, MD       Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001955
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Jerrold Rosenberg, MD       Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002841
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      4/30/2008   Jerrold Rosenberg, MD       /0804 Honorarium                 ckr 043008 rmm honor   $     500 00     5/7/2008   54003804
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Jerrold Rosenberg, MD       /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003770
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Jiaping Sun                 /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003357
200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only                6/9/2006   Jill Elaine Nelson          Honoraria, CPF Spkr Training     hon060906      honor   $     500 00    6/14/2006   54001242
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Jill Elaine Nelson          Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001538
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Jill Elaine Nelson          Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002681
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Jill Mushkat                Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106176
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   Joel Granick, MD            Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001917
200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4                       10/10/2007   Joel Granick, MD            Honoraria                        hon101007      honor   $     500 00   10/16/2007   54003192
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Joel Joselevitz, MD, P A.   Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001206
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                            5/14/2006   Joel Kreitzer               Honoraria, Pain Franchise Mtg    hon051406      honor   $   1,000 00    5/17/2006   54001171
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Joel Kreitzer               Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001723
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/17/2006   Joel S. Hochman, MD         Honoraria, PF Spkr Training      hon041706      honor   $     500 00    4/19/2006   54001058
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Joel S. Hochman, MD         Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001523
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Joel S. Hochman, MD         /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003348
200509   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        9/23/2005   Joelle M. Krizner           Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000692
200511   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       11/28/2005   Joelle M. Krizner           Honoraria, Miami Mtg             hon112805      honor   $     500 00   11/30/2005   54000893
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Joesph Valenza              ACTIQ Speaker Trn Mtg            hon033004      honor   $   1,000 00     4/7/2004   50106067
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/24/2004   John Bruce Obray            Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105342
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   John C. Nwofia              Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   1,000 00    2/18/2004   54000044
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   John Durfey                 Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   1,000 00    2/18/2004   54000030
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     5/21/2007   John F. Almquist            Honoraria, CPF Boston            hon052107      honor   $   1,000 00    5/23/2007   54002506
200606   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        6/26/2006   John F. Peppin              Honoraria, Cephalon PFC Mtg      hon062606      honor   $   1,000 00    6/28/2006   54001376
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   John Flores, MD             Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001915
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     9/20/2007   John Flores, MD             Honoraria                        hon092007      honor   $   1,000 00    9/26/2007   54003133
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                      4/2/2007   John G. Finch               Honoraria, CPF Los Angeles       hon040207      honor   $   1,000 00     4/4/2007   54002389
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                     4/19/2007   John H. Addison             Honoraria                        hon041907      honor   $   1,000 00    4/25/2007   54002443
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   John H. Harney              Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000688
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    10/15/2007   John H. Harney              Honoraria                        hon101507      honor   $   1,000 00   10/24/2007   54003228
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   John Jason Goodman          Actiq Consensus Mtg, March 04    hon021904      honor   $     200 00    2/25/2004   50105330
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/24/2004   John Keun-Sang Lee          Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105338
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   John Knab                   Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001818
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/8/2008   John Knab                   /0805 Honorarium                 ckr 050808 rmm honor   $   1,000 00    5/14/2008   54003829
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   John Mikuszis               Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001148
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      8/17/2006   John Mulder, MD, PC         Fentora Speaker Training         hon081706 slp honor    $     500 00    8/23/2006   54001610
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   John Mulder, MD, PC         Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002573
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   John Mulder, MD, PC         /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003699
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   John Nelson                 ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106050
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                       8/7/2006   John Patrick Couch          Honoraria, CPF Speaker Trng      hon080706      honor   $     500 00     8/9/2006   54001575
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   John Patrick Couch          Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002816
200806   cephal   scepme   12278   West CPCF Consultant Meeting                             6/25/2008   John Patrick Couch          /0807 Honoraria                  ckr 062508 rmm honor   $     500 00    6/30/2008   54004126
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   John Peppin                 ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106052
200408   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 8/30/2004   John Porter                 Honoraria, Aviara Mtg            hon083004      honor   $   1,000 00     9/1/2004   54000353
200402   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            2/11/2004   John Sturman                Consensus Mtg, Feb 6-8, 2004     hon021104      honor   $   1,000 00    2/18/2004   54000048
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May       4/26/2004   John Sturman                Honoraria, San Francisco         hon042604      honor   $   2,000 00     5/5/2004   54000152
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/31/2006   John Tyler Jr., MD          Honoraria, CPF Spkr Training     hon073106      honor   $     500 00     8/2/2006   54001569
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/20/2007   John Tyler Jr., MD          Honoraria                        hon092007      honor   $     500 00    9/26/2007   54003126
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/21/2008   John Tyler Jr., MD          /0804 Honoraria                  ckr 042108 rmm honor   $     500 00    4/23/2008   54003728
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/17/2003   John Vallin, MD             New Orleans Symposia             021703 lb      honor   $     200 00    2/17/2003       2309
200404   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April               4/12/2004   John W. East                Consensus Mtg., April 2004       hon041204      honor   $   1,000 00    4/14/2004   54000132
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200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                     5/25/2006   John W. Nelson, MD      Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001213
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                      10/9/2006   John W. Nelson, MD      Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001826
200401   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February         1/27/2004   John W. Ritter          Selva Consensus Mtg, Feb 04      hon012704      honor   $   1,000 00    1/28/2004   54000012
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only           11/28/2005   John W. Ritter          Honoraria, Dana Point Mtg        hon112805      honor   $   1,000 00   11/30/2005   54000885
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                 10/23/2007   Jon P. Burdzy           Honoraria                        hon102307      honor   $   1,000 00   10/24/2007   54003226
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                    10/27/2006   Jonathan Karsten        Honoraria, CPF Consultant Mtg    hon102706      honor   $   1,000 00    11/1/2006   54001875
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March           3/16/2004   Jonathan M. Greer       Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105904
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June               5/19/2004   Jonathan M. Greer, MD   Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000179
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only     10/3/2005   Jonathan M. Greer, MD   Honoraria, Miami, FL             hon100305      honor   $   1,000 00    10/6/2005   54000749
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                          5/9/2006   Jonathan M. Greer, MD   Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001141
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                  6/11/2007   Jordan Fersel           Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002634
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only            4/24/2006   Jorge Leal, MD          Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001102
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                      9/30/2006   Jorge Leal, MD          Honoraria, Fentora Spkr Trng     hon093006      honor   $   1,000 00    10/4/2006   54001727
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                      9/30/2006   Jorge Leal, MD          Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    12/5/2008        209
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                      9/30/2006   Jose Contreras          Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001705
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only            4/24/2006   Joseph Bloom            Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001087
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                      9/30/2006   Joseph Bloom            Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001697
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April           4/5/2004   Joseph Fred Stoner      Consensus Mtg, Wash DC           hon040504      honor   $   1,000 00     4/7/2004   54000097
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May    5/10/2004   Joseph Fred Stoner      Consensus Mtg, San Francisco     hon051004      honor   $   2,000 00    5/12/2004   54000160
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                          5/9/2006   Joseph Fred Stoner      Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001157
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only            4/24/2006   Joseph Fred Stoner      Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001118
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                   7/24/2006   Joseph Fred Stoner      Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001551
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                     5/24/2007   Joseph Fred Stoner      Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002597
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                   3/31/2008   Joseph Fred Stoner      /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003660
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                 11/12/2007   Joseph J. Alshon        /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003338
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                     5/25/2006   Joseph Oei              Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001214
200612   cephal   scepme   10010   FENTORA AHSP Advisory Board                           12/5/2006   Joseph P. Gomes         Honoraria, CPF Costa Mesa        hon120506      honor   $     500 00   12/13/2006   54002163
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                   7/24/2006   Joseph R. Ineck         Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001526
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                      10/9/2006   Joseph S. Gabriel       Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001810
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April       3/30/2004   Joseph Shurman          ACTIQ Speaker Trn Mtg.           hon033004      honor   $   2,000 00     4/7/2004   50106058
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April       3/30/2004   Joseph Shurman          ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     6/2/2004   50106432
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                     5/25/2006   Joseph Shurman, MD      Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001223
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                      10/9/2006   Joseph Shurman, MD      Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001843
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training               12/22/2006   Joseph Shurman, MD      Honoraria, Jan 2007 Arizon Mtg   hon122206      honor   $     500 00     1/3/2007   54002248
200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA                     6/12/2007   Joseph Shurman, MD      Honoraria, Fentora Spkr Trng     hon061207      honor   $     500 00    6/20/2007   54002706
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                   4/10/2008   Joseph Shurman, MD      /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003705
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March           3/16/2004   Joseph Statkus          Speaker Training Mtg, Dallas     hon031604      honor   $   2,000 00    3/24/2004   50105923
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March           3/16/2004   Joseph Statkus          Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00     9/3/2008        472
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only             9/7/2005   Joseph Statkus, MD      Honoraria, Las Vegas Meeting     hon090705      honor   $   1,000 00    9/14/2005   54000633
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July             7/1/2004   Joseph Valenza          Honoraria, Consensus Mtg. RI     hon070104      honor   $   1,000 00     7/7/2004   54000259
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September     8/30/2004   Joseph Valenza          Honoraria, Consensus Mtg         hon083004      honor   $   2,000 00     9/1/2004   54000347
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                          5/9/2006   Joseph Valenza          Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001160
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only            4/24/2006   Joseph Valenza          Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001119
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                   7/24/2006   Joseph Valenza          Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001553
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                  5/21/2007   Joseph Valenza          Honoraria, CPF Boston            hon052107      honor   $   1,000 00    5/23/2007   54002521
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                     9/20/2007   Joseph Valenza          Honoraria                        hon092007      honor   $     750 00    9/26/2007   54003127
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                   3/31/2008   Joseph Valenza          /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003661
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                   4/30/2008   Joseph Valenza          /0804 Honorarium                 ckr 043008 rmm honor   $     500 00     5/7/2008   54003809
200811   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)          11/5/2008   Joseph Valenza          /0811 St. Davids PA 11/13        hon110508      honor   $   1,000 00   11/12/2008   54004391
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April        4/7/2004   Joseph Zolot            ACTIQ Speaker Trn Mtg            hon040704      honor   $   1,000 00     4/7/2004   50106013
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July             7/1/2004   Joseph Zolot            Honoraria, Consensus Mtg. RI     hon070104      honor   $   1,000 00     7/7/2004   54000261
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                    8/7/2006   Joseph Zolot            Honoraria, CPF Speaker Trng      hon080706      honor   $     500 00     8/9/2006   54001583
200403   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February               3/8/2004   Josephine Tan           Consensus Mtg, Feb 04            hon030804      honor   $   1,000 00    3/10/2004   54000056
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May    4/26/2004   Josephine Tan           Honoraria, San Francisco         hon042604      honor   $   2,000 00     5/5/2004   54000154
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                      9/30/2006   Joshua Dion             Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001710
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                 6/11/2007   Joshua Dion             Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002660
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                   3/31/2008   Joshua Dion             /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003641
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                     10/30/2006   Joshua Greenspan, MD    Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001943
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                      9/30/2006   Joshua Wellington       Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001761
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                     5/24/2007   Joshua Wellington       Honoraria, LA Speaker Training   hon052407      honor   $   3,000 00    5/30/2007   54002600
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                  5/25/2007   Josiah K. Lilly         Honoraria, CPF Boston            hon052507      honor   $   1,000 00    5/30/2007   54002534
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                     9/20/2007   Josiah K. Lilly         Honoraria                        hon092007      honor   $     500 00    9/26/2007   54003118
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only             9/7/2005   Joy M. White, MD        Honoraria, Las Vegas Meeting     hon090705      honor   $   1,000 00    9/14/2005   54000634
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March           3/16/2004   Joy Susan Pendergrass   Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105916
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only            4/24/2006   Joy Susan Pendergrass   Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001108
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                   7/24/2006   Joy Susan Pendergrass   Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001539
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                   8/17/2006   Juan Gargiulo           Fentora Speaker Training         hon081706 slp honor    $     500 00    8/23/2006   54001604
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200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Judith Scheman-Baumann      Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106180
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Judson Somerville           Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001847
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Judson Somerville           Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002844
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Judy M. Pinsonneault        Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003067
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Jules A. Preudhomme         Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000700
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Jules A. Preudhomme         Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001151
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Jules A. Preudhomme         Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001739
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Julian Grove, MD            Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001944
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Julian Grove, MD            Honoraria, Fentora Spkr Trng     hon061107      honor   $   3,000 00    6/13/2007   54002668
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Julian Grove, MD            Honoraria, Fentora Spkr Trng     hon062907      honor   $   3,000 00    7/11/2007   54002826
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/20/2007   Julian Grove, MD            Honoraria                        hon092007      honor   $   3,000 00    9/26/2007     543112
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Julian Grove, MD            /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003692
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Julie Greenway              Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001330
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                            5/14/2006   Julie J. Chen, MD           Honoraria, Pain Franchise Mtg    hon051406      honor   $   1,000 00    5/17/2006   54001167
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Julie W. Colliton, MD       Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001198
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Julie W. Colliton, MD       Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001798
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     9/10/2007   Julie W. Colliton, MD       Honoraria                        hon091007      honor   $   1,000 00    9/13/2007   54003089
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Justin Wasserman            Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001162
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Justin Wasserman            Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001554
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Justin Wasserman            Honoraria, LA Speaker Training   hon052407      honor   $     750 00    5/30/2007   54002598
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      4/30/2008   Justin Wasserman            /0804 Honorarium                 ckr 043008 rmm honor   $     500 00     5/7/2008   54003810
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Justin Wasserman            /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003777
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Kamal Kabakibou, MD, PC     Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000787
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Kamal Kabakibou, MD, PC     Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001099
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Kamal Kabakibou, MD, PC     Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001529
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Kamal Kabakibou, MD, PC     Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002562
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Karen V. Warner, MD         Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001161
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Karen V. Warner, MD         Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002648
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   Karen Wiedeman, PA-C        Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001933
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Karim Rasheed               Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002085
200205   cephal   pcep      1948   Long-Term Safety Flashcard                               5/13/2002   Karl Doghramji, MD          pcep 1948                        ckr051302      honor   $     100 00    5/22/2002   50100471
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   Kasra Amirdelfan, MD        Honoraria, Las Vegas             hon092005      honor   $   1,000 00    9/21/2005   54000639
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Kasra Amirdelfan, MD        Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001786
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/21/2008   Kasra Amirdelfan, MD        /0804 Honoraria                  ckr 042108 rmm honor   $     500 00    4/23/2008   54003719
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Kassamali Jamal             Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105910
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Kathleen (Kay) Gannon       Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105901
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Kathleen Lemanek            Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106174
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Kathleen Murphy-Ende        Honoraria, PF Spkr Training      hon041006      honor   $     500 00    4/19/2006   54001047
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Kathleen R. Gannon, DO      Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001715
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       10/14/2005   Kathleen S. Rathbun, Inc.   Honoraria, Miami, FL             hon101405      honor   $   1,000 00   10/19/2005   54000817
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Kathlene R. Hodges          Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001720
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Kathlene R. Hodges          Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002670
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Kathlene R. Hodges          /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003695
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Kathlene R. Hodges          /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003762
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Kathryn Herndon, MD         Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001144
200404   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March               4/5/2004   Kavita Gupta                ACTIQ Spkr Trn Mtg               hon040504      honor   $   1,000 00     4/7/2004   50106001
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Keela Ann Herr              Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106170
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July                7/1/2004   Keith Zora                  Honoraria, Consensus Mtg. RI     hon070104      honor   $   1,000 00     7/7/2004   54000262
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Kenneth Barngrover          Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001325
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/30/2004   Kenneth Goldberg            Selva Consensus Meet-8/20-22     hon073004      honor   $   1,000 00     8/3/2004   54000322
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Kenneth J. Galang           Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000684
200403   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April               3/17/2004   Kenneth Kurt                Consensus Meeting, New Orleans   hon031704      honor   $   1,000 00    3/24/2004   54000070
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Kenneth Kurt                Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000694
200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only                6/9/2006   Kenneth L. Kirsh            Honoraria, CPF Spkr Training     hon060906      honor   $     500 00    6/14/2006   54001240
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       10/27/2006   Kenneth L. Pollack          Honoraria, CPF Consultant Mtg    hon102706      honor   $   1,000 00    11/1/2006   54001878
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Kenneth M. Hurwitz, MD      Honoraria, Las Vegas Meeting     hon090705      honor   $   1,000 00    9/14/2005   54000624
200301   cephal   pcepac    2094   Revised 2002 Journal Ad                                  1/16/2003   Kenneth Schwartz                                             ckr011603 lb   honor   $     150 00    1/29/2003   50101968
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Kenneth Staggs              Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105922
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April             4/12/2004   Kenneth Sun                 Consensus Mtg, Wash DC           hon041204      honor   $   1,000 00    4/14/2004   54000133
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Kenneth Sun                 Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001960
200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4                       10/10/2007   Kenneth Sun                 Honoraria                        hon101007      honor   $     500 00   10/16/2007   54003194
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/8/2008   Kenneth Sun                 /0805 Honorarium                 ckr 050808 rmm honor   $   1,000 00    5/14/2008   54003836
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Kevin A. Drew               Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001712
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Kevin E. Gorin              Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000686
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Kevin G. Drew               ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106039
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   Kevin G. Drew               Honoraria, Las Vegas             hon092005      honor   $   1,000 00    9/21/2005   54000646
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Kevin Gorin                 ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106041
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200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Kimberly Dane Graham, MD       Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001094
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   Kimberly LoBue                 Actiq Consensus Mtg, March 04    hon021904      honor   $     200 00    2/25/2004   50105339
200612   cephal   scepme   10010   FENTORA AHSP Advisory Board                              12/5/2006   Kimie Fuse                     Honoraria, CPF Costa Mesa        hon120506      honor   $     500 00   12/13/2006   54002162
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                             5/20/2008   Krishna Nader                  /0805 Honorarium                 ckr 052008 rmm honor   $     600 00    5/21/2008   54003878
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Kurt V. Gold, MD, PC           Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105902
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   Kurt V. Gold, MD, PC           Honoraria, Las Vegas             hon092005      honor   $   1,000 00    9/21/2005   54000648
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/31/2006   Kurt V. Gold, MD, PC           Honoraria, CPF Spkr Training     hon073106      honor   $     500 00     8/2/2006   54001565
200806   cephal   scepme   12278   West CPCF Consultant Meeting                             6/25/2008   Kurt V. Gold, MD, PC           /0807 Honoraria                  ckr 062508 rmm honor   $   1,000 00    6/30/2008   54004127
200404   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March               4/5/2004   Kyle S. Matsumura              ACTIQ Spkr Trn Mtg               hon040504      honor   $   2,000 00     4/7/2004   50106007
200404   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March               4/5/2004   Kyle S. Matsumura              ACTIQ Spkr Trn Mtg               hon040504      honor   $   1,000 00     5/5/2004   50106252
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   L. Dean Poppe, PS              Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106179
200612   cephal   scepme   10010   FENTORA AHSP Advisory Board                              12/5/2006   Lan Anh Do                     Honoraria, CPF Costa Mesa        hon120506      honor   $     500 00   12/13/2006   54002160
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        10/3/2005   Larry A. Pearce                Honoraria, Miami, FL             hon100305      honor   $   1,000 00    10/6/2005   54000762
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      8/17/2006   Larry C. Driver, MD            Fentora Speaker Training         hon081706 slp honor    $     500 00    8/23/2006   54001603
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Larry C. Driver, MD            Honoraria, Fentora Spkr Trng     hon062907      honor   $     750 00    7/11/2007   54002818
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     9/10/2007   Larry Escstein                 Honoraria                        hon091007      honor   $   1,000 00    9/13/2007   54003090
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only               11/7/2005   Laura Giffin Audell, MD        Honoraria, Dana Point, CA        hon110705      honor   $   1,000 00    11/9/2005   54000861
200202   cephal   pcepac    1829   Patient Profile Flash Card                               2/18/2002   Lauren Shaiova, MD             Palio- ACTIQ honorarium          ckr021802      honor   $   2,000 00    2/27/2002   45104127
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Lauren Shaiova, MD             Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001749
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/17/2003   Lawerence Poree, MD            New Orleans Symposia             021703 lb      honor   $     200 00    2/17/2003       2319
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Lawrence Adams, MD             Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001935
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Lawrence Aronowitz             Honoraria, PF Spkr Training      hon041006      honor   $     500 00    4/19/2006   54001040
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Lawrence Aronowitz             Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001495
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/26/2004   Lawrence Glass                 Selva Consensus Meet - 8/20-22   hon072604      honor   $   1,000 00    7/28/2004   54000297
200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only                6/9/2006   Lawrence Jay Epstein           Honoraria, CPF Spkr Training     hon060906      honor   $     500 00    6/14/2006   54001239
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Lawrence Jay Epstein           Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001510
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Lawrence Jay Epstein           Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002662
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Lawrence Miller, APC           Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001211
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Lawrence Miller, APC           Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001823
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Lawrence Probes PLLC           ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106054
200401   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            1/27/2004   Lawrence Rowlands              Selva Consensus Mtg, Feb 04      hon012704      honor   $   1,000 00    1/28/2004   54000014
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Lawrence Rowlands              Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000797
200806   cephal   scepme   12278   West CPCF Consultant Meeting                             6/25/2008   Lawrence Rowlands              /0807 Honoraria                  ckr 062508 rmm honor   $   1,000 00    6/30/2008   54004129
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                     4/11/2007   Lawrence W. Bence              Honoraria, Santa Monica, CA      hon041107 rmm honor    $   1,000 00    4/11/2007   54002420
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   Lawrence Weil, MD              Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001932
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Lee T. Snook                   Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001546
200408   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                  8/9/2004   Leo Langlois                   Consensus Mtg, Aviara            hon080904      honor   $   1,000 00    8/11/2004   54000325
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Lido Chen, MD, Inc.            Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001195
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April              4/5/2004   Lily Yuan                      Consensus Mtg, Wash DC           hon040504      honor   $   1,000 00     4/7/2004   54000101
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   Linda Cheek                    Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000169
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Linda Cheek                    Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001326
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/17/2003   Linda Wolbers, MD              New Orleans Symposia             021703 lb      honor   $     200 00    2/17/2003       2317
200509   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        9/23/2005   Lisa Banchik, MD, PA           Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000680
200511   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       11/28/2005   Lisa Banchik, MD, PA           Honoraria, Miami Mtg             hon112805      honor   $     500 00   11/30/2005   54000890
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   Lisa Columbia                  Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   1,000 00    2/18/2004   54000028
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/26/2004   Lisa Sparks                    Selva Consensus Meet - 8/20-22   hon072604      honor   $   1,000 00    7/28/2004   54000320
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        8/30/2004   Lisa Sparks                    Honoraria, Consensus Mtg         hon083004      honor   $   2,000 00     9/1/2004   54000344
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Lisa Sparks                    Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001225
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Lisa Sparks                    Honoraria, PF Spkr Training      hon041006      honor   $     500 00    4/19/2006   54001078
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Lisa Sparks                    Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001848
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Lisa Sparks                    Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002596
200805   cephal   scepme   12278   West CPCF Consultant Meeting                             5/28/2008   Lisa Sparks                    /0805 Honorarium                 ckr 052808 rmm honor   $   1,000 00     6/4/2008   54004010
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Lisa Sparks                    /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003708
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Liza H. Leal, MD               Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001820
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                      4/2/2007   Liza H. Leal, MD               Honoraria, CPF Los Angeles       hon040207      honor   $   2,500 00     4/4/2007   54002396
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     5/21/2007   Liza H. Leal, MD               Honoraria, CPF Boston            hon052107      honor   $   2,500 00    5/23/2007   54002513
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Liza H. Leal, MD               Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002568
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Liza H. Leal, MD               /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003648
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    10/15/2007   Lorraine M. Rudder             Honoraria                        hon101507      honor   $   1,000 00   10/24/2007   54003241
200806   cephal   scepme   12278   West CPCF Consultant Meeting                              6/9/2008   Lorraine M. Rudder             /0806 Honorarium                 ckr 060908 rmm honor   $   1,000 00    6/11/2008   54004036
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Louann Hart, ARNP              Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001143
200505   cephal   pcepos    6818   OraVescent Brand Planning                                5/23/2005   Louis A. Morris & Assoc. Inc                                    hon052305      honor   $     975 00     6/8/2005   50109277
200507   cephal   pcepos    6818   OraVescent Brand Planning                                7/18/2005   Louis A. Morris & Assoc. Inc   Cephalon Panning - Honorarium    hon071805      honor   $     300 00    7/27/2005   50109927
200504   cephal   pcepos    6818   OraVescent Brand Planning                                3/29/2005   Louis A. Morris & Assoc. Inc   Honoraria                        hon032905      honor   $     300 00    4/20/2005   50108835
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Louis Spagnoletti              ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106060
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Louis Spagnoletti              Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001155
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Louis Spagnoletti              Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001116
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200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Louis Spagnoletti       Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001548
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training                  12/22/2006   Louis Spagnoletti       Honoraria, Jan 2007 Arizon Mtg   hon122206      honor   $     500 00     1/3/2007   54002250
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Louis Spagnoletti       Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002595
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      4/30/2008   Louis Spagnoletti       /0804 Honorarium                 ckr 043008 rmm honor   $     500 00     5/7/2008   54003806
200811   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)             11/5/2008   Louis Spagnoletti       /0811 St. Davids PA 11/13        hon110508      honor   $   1,000 00   11/12/2008   54004387
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July                7/1/2004   Louis Valente           Honoraria, Consensus Mtg. RI     hon070104      honor   $   1,000 00     7/7/2004   54000260
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                      4/9/2007   Lucy Moore                                               hon040907      honor   $   1,000 00     4/9/2007   54002417
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/25/2007   Luigi DeSantis          Honoraria                        hon062507      honor   $   1,000 00    6/27/2007   54002759
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Luigia Notaristefano    ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106051
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/24/2004   Lynette Green Mack      Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105340
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Lynette Green Mack      ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106047
200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4                       10/10/2007   Lynn Dahl               Honoraria                        hon101007      honor   $     500 00   10/16/2007   54003191
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      4/30/2008   Lynn Dahl               /0804 Honorarium                 ckr 043008 rmm honor   $     500 00     5/7/2008   54003798
200301   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting                     1/10/2003   Lynn Webster, MD        Consultant's Mtg. Sundance, UT   ckr011003 lb   honor   $   2,000 00    1/15/2003   50101858
200304   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03                   4/15/2003   Lynn Webster, MD        Honoraria, La Costa              hon041503      honor   $   2,000 00    4/16/2003   50102721
200307   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03                     7/16/2003   Lynn Webster, MD        Honoraria                        hon071603      honor   $   2,000 00    7/23/2003   50103780
200408   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September            8/30/2004   Lynn Webster, MD        Honoraria, NY Consultant Mtg     hon083004      honor   $   2,500 00     9/1/2004   50106999
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   Lynn Webster, MD        Actiq Consensus Mtg, March 04    hon021904      honor   $     200 00    2/25/2004   50105360
200505   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting                5/17/2005   Lynn Webster, MD        Actiq Speaker Trng, La Jolla     hon051705      honor   $   2,000 00    5/18/2005   54000444
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   Lynne Carr Columbus     Actiq Consensus Mtg, March 04    hon021904      honor   $     200 00    2/25/2004   50105325
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                     4/11/2007   Lynne Pirie             Honoraria, Santa Monica, CA      hon041107 rmm honor    $   1,000 00    4/11/2007   54002426
200701   cephal   scepme   10010   FENTORA AHSP Advisory Board                              1/23/2007   Mable Hwang                                              hon012307      honor   $     500 00    1/31/2007   54002328
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/24/2004   Mahamud Kara            Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105336
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Mahendra R. Sanapati    Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001746
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Mahendra R. Sanapati    Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002685
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Mahmood Ahmad, MD       Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001692
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/20/2007   Mahmood Ahmad, MD       Honoraria                        hon092007      honor   $     500 00    9/26/2007   54003104
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Maia Chakerian          Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106162
200401   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            1/27/2004   Maia Chakerian          Selva Consensus Mtg, Feb 04      hon012704      honor   $   1,000 00    1/28/2004   54000003
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May       4/26/2004   Maia Chakerian          Honoraria, San Francisco         hon042604      honor   $   2,000 00     5/5/2004   54000144
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Maia Chakerian          Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000775
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Manish Singh, MD        Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001958
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    7/17/2007   Manish Singh, MD        Honoraria, Denver Spkr Trng      hon071707      honor   $     500 00    7/25/2007   54002917
200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      5/20/2008   Manish Singh, MD        /0805 Honorarium                 ckr 052008 rmm honor   $     500 00    5/21/2008   54003871
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Manjul D. Derasari      Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002075
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   Mannie Joel, Inc        Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001923
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Marc A. Loev            Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000696
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Marc Gerber             ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106040
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   Marc Gerber             Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000176
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        8/30/2004   Marc Gerber             Honoraria, Consensus Mtg         hon083004      honor   $   2,000 00     9/1/2004   54000337
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        10/3/2005   Marc Gerber             Honoraria, Miami, FL             hon100305      honor   $   1,000 00    10/6/2005   54000748
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      8/17/2006   Marc Gerber             Fentora Speaker Training         hon081706 slp honor    $     500 00    8/23/2006   54001605
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training                  12/22/2006   Marc Gerber             Honoraria, Jan 2007 Arizon Mtg   hon122206      honor   $     500 00     1/3/2007   54002238
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Marc Gerber             Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002667
200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      5/20/2008   Marc Gerber             /0805 Honorarium                 ckr 052008 rmm honor   $     500 00    5/21/2008   54003864
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Marc Kornfield          Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001337
200301   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting                     1/10/2003   Marc Sharfman, MD       Consultant's Mtg. Boca Raton     ckr011003 lb   honor   $   2,000 00    1/15/2003   50101852
200310   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03              10/15/2003   Marc Sharfman, MD       Honoraria                        ckr101503      honor   $   2,000 00   10/22/2003   50104386
200401   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January               1/7/2004   Marc Sharfman, MD       Honoraria, Boca Raton            ckr010704      honor   $   2,500 00    1/14/2004   50105150
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Marcia D. Wolf, MD      Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001164
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Marcia D. Wolf, MD      Honoraria, Fentora Spkr Trng     hon093006      honor   $   1,000 00    10/4/2006   54001764
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Marcia D. Wolf, MD      Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    11/8/2006   54001972
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/24/2004   Maria Carmen Espiritu   Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105328
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Marilou Oh              Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001150
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Mario J. Comesanas      Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001704
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Marion Good             Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106167
200404   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March               4/5/2004   Mark Bodack             ACTIQ Spkr Trn Mtg               hon040504      honor   $   1,000 00     4/7/2004   50105994
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April              4/5/2004   Mark Coleman            Consensus Mtg, Wash DC           hon040504      honor   $   1,000 00     4/7/2004   54000084
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May       4/26/2004   Mark Coleman            Honoraria, San Francisco         hon042604      honor   $   2,000 00     5/5/2004   54000145
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                      4/2/2007   Mark F. Brooks          Honoraria, CPF Los Angeles       hon040207      honor   $   1,000 00     4/4/2007   54002387
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   Mark G. Kantzler        Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   1,000 00    2/18/2004   54000037
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       10/14/2005   Mark G. Kantzler        Honoraria, Miami, FL             hon101405      honor   $   1,000 00   10/19/2005   54000812
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Mark Hines              Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001334
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Mark Holtsman           Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106171
200604   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only                4/2/2006   Mark Holtsman                                            hon040206 slp honor    $     500 00     4/5/2006   54001028
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Mark Holtsman           Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002671
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Mark Holtsman           /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003696
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200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Mark Kallgren             Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106173
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Mark Philips, MD          Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001952
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/20/2007   Mark Philips, MD          Honoraria                        hon092007      honor   $     500 00    9/26/2007   54003121
200511   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       11/28/2005   Mark T. Rorrer            Honoraria, Miami Mtg             hon112805      honor   $   1,000 00   11/30/2005   54000895
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Mark Thimineur            Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002645
200407   cephal   scepme    4935   Consensus Meeting-Chicago-OOP - August                   7/19/2004   Mark Workman              Honoraria, Chicago Mtg           hon071904      honor   $   1,000 00    7/21/2004   54000289
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        8/30/2004   Mark Workman              Honoraria, Consensus Mtg         hon083004      honor   $   2,000 00     9/1/2004   54000349
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        10/3/2005   Mark Workman              Honoraria, Miami, FL             hon100305      honor   $   1,000 00    10/6/2005   54000765
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Mark Workman              Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001560
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Mark Workman              Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002853
200606   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                            6/26/2006   Martin E. Hale, MD, PA    Honoraria, Cephalon PFC Mtg      hon062606      honor   $   1,000 00    6/28/2006   54001384
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   Martin Grabois            Actiq Consensus Mtg, March 04    hon021904      honor   $     200 00    2/25/2004   50105331
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Martin M. Klos, MD        Honoraria, Las Vegas             hon090705      honor   $   1,000 00    9/21/2005   54000670
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Mary B. Stegman           Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000800
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Mary Carter               Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002814
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Mary Carter               /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003638
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Mary Jean Walker          Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000803
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     9/20/2007   Mary Jean Walker          Honoraria                        hon092007      honor   $   1,000 00    9/26/2007   54003138
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   Mary Jo Curran, MD        Honoraria, Las Vegas             hon092005      honor   $   1,000 00    9/21/2005   54000641
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              11/28/2005   Mary Jo Eoff              Honoraria, Dana Point Mtg        hon112805      honor   $   1,000 00   11/30/2005   54000882
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/17/2006   Mary Jo Eoff              Honoraria, PF Spkr Training      hon041706      honor   $     500 00    4/19/2006   54001048
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Mary Jo Eoff              Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001805
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Mary Jo Eoff              Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002661
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Mary Lou Callerame        Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003051
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Mary Lou Taylor           Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106184
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     9/10/2007   Mary M. Liter             Honoraria                        hon091007      honor   $   1,000 00    9/13/2007   54003091
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Mary Stegman              ACTIQ Speaker Trn Mtg            hon033004      honor   $   1,000 00     4/7/2004   50106064
200604   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only                4/2/2006   Mary Todd                                                  hon040206 slp honor    $     500 00     4/5/2006   54001035
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Matthew Conolly           Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105898
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       10/27/2006   Matthew Doust             Honoraria, CPF Consultant Mtg    hon102706      honor   $   1,000 00    11/1/2006   54001871
200604   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only                4/2/2006   Matthew Geriak                                             hon040206 slp honor    $     500 00     4/5/2006   54001027
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Matthew L. Black          Honoraria, Las Vegas             hon090705      honor   $   1,000 00    9/21/2005   54000663
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Matthew L. Black          Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001086
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Matthew L. Black          Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001500
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Matthew L. Black          Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002809
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                       4/4/2008   Matthew L. Black          /0804                            ckr 040408 rmm honor   $     500 00     4/9/2008   54003670
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Maureen F. Cooney         Honoraria, Fentora Spkr Trng     hon093006      honor   $   1,000 00    10/4/2006   54001706
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Maureen F. Cooney         Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    1/10/2007   54002283
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     5/21/2007   Maureen M. Aaron          Honoraria, CPF Boston            hon052107      honor   $   1,000 00    5/23/2007   54002505
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   May E. Montrichard        Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000697
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   May E. Montrichard        /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003351
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Mazin A. Elias            Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000780
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Mazin A. Elias            Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001804
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Mazin A. Elias            Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002819
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Mazin A. Elias            /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003689
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Melvin Morris             Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000698
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Melvin Morris             /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003353
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Merrill Jay Mirman, DO    Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001344
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Mervet Saleh, MD          Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001153
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Mervet Saleh, MD          Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001745
200612   cephal   scepme   10010   FENTORA AHSP Advisory Board                              12/5/2006   Mervyn Miller             Honoraria, CPF Costa Mesa        hon120506      honor   $     500 00   12/13/2006   54002165
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Michael A. Lepis          Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001147
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Michael A. Lepis          Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002640
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Michael April, MD, Inc.   Honoraria, Las Vegas Meeting     hon090705      honor   $   1,000 00    9/14/2005   54000617
200606   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                            6/26/2006   Michael Brennan, MD       Honoraria, Cephalon PFC Mtg      hon062606      honor   $   1,000 00    6/28/2006   54001381
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/20/2007   Michael Brennan, MD       Honoraria                        hon092007      honor   $     500 00    9/26/2007   54003107
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Michael Brennan, MD       /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003636
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Michael Brennan, MD       /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003753
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Michael C. Fitzpatrick    Honoraria, Las Vegas             hon090705      honor   $   1,000 00    9/21/2005   54000666
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/17/2006   Michael C. Fitzpatrick    Honoraria, PF Spkr Training      hon041706      honor   $     500 00    4/19/2006   54001049
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Michael C. Fitzpatrick    Honoraria, CPF Speaker Trng      hon072406      honor   $   1,000 00    7/26/2006   54001511
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Michael C. Fitzpatrick    Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00     1/3/2007   54002270
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training                  12/22/2006   Michael C. Fitzpatrick    Honoraria, Jan 2007 Arizon Mtg   hon122206      honor   $     500 00     1/3/2007   54002237
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Michael C. Fitzpatrick    Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002553
200805   cephal   scepme   12278   West CPCF Consultant Meeting                             5/28/2008   Michael C. Fitzpatrick    /0805 Honorarium                 ckr 052808 rmm honor   $   1,000 00     6/4/2008   54004002
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/21/2008   Michael C. Fitzpatrick    /0804 Honoraria                  ckr 042108 rmm honor   $     500 00    4/23/2008   54003720
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Michael Castillo          Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003052
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200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Michael D. Aines           Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001693
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Michael D. Aines           Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002804
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Michael E. Tschickardt     Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000706
200302   cephal   pcepam    3290   03/07/03 San Antonio Regional Meeting                    2/24/2003   Michael Fitzpatrick, MD    Actiq Consultant Meeting         hon022403 lb honor     $   2,000 00    2/26/2003   50102205
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Michael Frederich          Honoraria, PF Spkr Training      hon041006      honor   $     500 00    4/19/2006   54001050
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Michael Gutkin             Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002079
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Michael J. Eastman, PA-C   Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002076
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Michael J. Eastman, PA-C   Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003055
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April           4/7/2004   Michael Kaplan             ACTIQ Speaker Trn Mtg            hon040704      honor   $   1,000 00     4/7/2004   50106005
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April              4/5/2004   Michael Kaplan             Consensus Mtg, Wash DC           hon040504      honor   $   1,000 00     4/7/2004   54000086
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Michael Kaplan             Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001100
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Michael Kaplan             Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002674
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Michael P. Azevedo, MD     Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001192
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Michael P. Azevedo, MD     Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001790
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Michael P. Azevedo, MD     Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002548
200612   cephal   scepme   10010   FENTORA AHSP Advisory Board                              12/5/2006   Michael Paquette           Honoraria, CPF Costa Mesa        hon120506      honor   $     500 00   12/13/2006   54002166
200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only                6/9/2006   Michael Rivera-Weiss       Honoraria, CPF Spkr Training     hon060906      honor   $     500 00    6/14/2006   54001244
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Michael Rivera-Weiss       Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001760
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Michael Rivera-Weiss       /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003662
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Michael S. Drury           Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003054
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   Michael Schou              Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000187
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Michael Schou              Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001112
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Michael Schou              Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001543
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Michael Schou              Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002588
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Michael Schou              /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003771
200403   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April               3/17/2004   Michael Schwartz           Consensus Meeting, New Orleans   hon031704      honor   $   1,000 00    3/24/2004   54000074
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   Michael Shell, DO, PLLC    Honoraria, Las Vegas             hon092005      honor   $   1,000 00    9/21/2005   54000655
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Michael Steuer             ACTIQ Speaker Trn Mtg            hon033004      honor   $   2,000 00     4/7/2004   50106065
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Michael Steuer             ACTIQ Speaker Trn Mtg            hon033004      honor   $   1,000 00   12/28/2005   50110711
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Michael T. Wheeler, DO     Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001359
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Michael T. Wheeler, DO     Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001555
200205   cephal   pcep      1948   Long-Term Safety Flashcard                                5/8/2002   Michael Thorpy, MD         pcep 1948                        ckr050802      honor   $     100 00    5/22/2002   50100484
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July                7/1/2004   Michael Toshok             Honoraria, Consensus Mtg. RI     hon070104      honor   $   1,000 00     7/7/2004   54000258
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        8/30/2004   Michael Toshok             Honoraria, Consensus Mtg         hon083004      honor   $   2,000 00     9/1/2004   54000346
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Michael Wasserman, MD      Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001120
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Michael Whitworth, MD      Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001963
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Michelle Rhiner            Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001740
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Michelle Rhiner            Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002585
200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      5/20/2008   Michelle Rhiner            /0805 Honorarium                 ckr 052008 rmm honor   $     500 00    5/21/2008   54003870
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Miguel A. Dominguez, MD    Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001200
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Miguel A. Garcia           Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000685
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   Miles Hyman                Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   1,000 00    2/18/2004   54000036
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Miles Hyman                Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001525
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Miles Hyman                Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002832
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Miles Hyman                /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003646
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Milton J. Klein, DO, PC    Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001336
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Mini Gupta                 Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105907
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Misha Kucherov             Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002639
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Mitchell Halter            ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106042
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Mitchell Halter            Honoraria, PF Spkr Training      hon041006      honor   $     500 00    4/19/2006   54001056
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Mitchell Halter            Honoraria, CPF Speaker Trng      hon072406      honor   $   1,000 00    7/26/2006   54001522
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Mitchell Halter            Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    12/4/2008        205
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Mitchell Halter            Honoraria, LA Speaker Training   hon052407      honor   $   1,000 00    5/30/2007   54002558
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Mitchell Halter            Honoraria, LA Speaker Training   hon052407      honor   $     500 00    12/4/2008        205
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Mitchell J. Cohen          Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002632
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     5/21/2007   Mitchell Richman           Honoraria, CPF Boston            hon052107      honor   $   1,000 00    5/23/2007   54002516
200403   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                  3/8/2004   Mitchell Simons            Consensus Mtg, Feb 04            hon030804      honor   $   1,000 00    3/10/2004   54000055
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Mitchell Simons            Honoraria, Cephalon PF Mtg       hon061606      honor   $   2,000 00    6/21/2006   54001350
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Mitchell Simons            Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00     9/3/2008        166
200603   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only         3/1/2006   Moacir Schnapp, MD         Honoraria                        hon030106      honor   $   1,000 00     3/8/2006   54001013
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    10/15/2007   Moacir Schnapp, MD         Honoraria                        hon101507      honor   $   1,000 00   10/24/2007   54003242
200606   cephal   scepme    9173   Cephalon Pain Franchise Advisory Board May 2 - OOP        6/9/2006   Mohammed Y. Alam           Honoraria, CPF                   hon060906      honor   $     500 00    6/14/2006   54001245
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Morey Weingarten           Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106188
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Mustafa A. Hammad          Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002080
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Myrdalis Diaz-Ramirez      Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105900
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Nameer Haider              Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001520
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Nameer Haider              Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002829
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200403   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April            3/17/2004   Nancy Bratanow                Consensus Meeting, New Orleans   hon031704      honor   $   1,000 00    3/24/2004   54000065
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May    5/10/2004   Nancy Bratanow                Consensus Mtg, San Francisco     hon051004      honor   $   4,000 00    5/12/2004   54000156
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May    5/10/2004   Nancy Bratanow                Consensus Mtg, San Francisco     hon051004      honor   $   2,000 00     1/4/2006   54000982
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                    11/20/2006   Nancy Bratanow                Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002073
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April       3/30/2004   Nancy E. Cross                ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106038
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only           10/17/2005   Nancy L. Sajben, MD           Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000798
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                 11/12/2007   Nassar Waddah                 /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003355
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                     10/30/2006   Nathan Hotlzberg              Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001946
200401   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February         1/27/2004   Nathan Miller, MD, Inc.       Selva Consensus Mtg, Feb 04      hon012704      honor   $   1,000 00    1/28/2004   54000008
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May    4/26/2004   Nathan Miller, MD, Inc.       Honoraria, San Francisco         hon042604      honor   $   2,000 00     5/5/2004   54000147
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY           4/10/2006   Nathan Miller, MD, Inc.       Honoraria, PF Spkr Training      hon041006      honor   $   1,000 00    4/19/2006   54001066
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY           4/10/2006   Nathan Miller, MD, Inc.       Honoraria, PF Spkr Training      hon041006      honor   $     500 00     9/3/2008        165
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August              7/26/2004   Nathan Singer                 Selva Consensus Meet - 8/20-22   hon072604      honor   $   2,000 00    7/28/2004   54000318
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August              7/26/2004   Nathan Singer                 Selva Consensus Meet - 8/20-22   hon072604      honor   $   1,000 00    1/17/2007   54002299
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                     6/16/2006   Nazim Ameer                   Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001323
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                      9/30/2006   Nazim Ameer                   Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001695
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                     10/30/2006   Neal Coleman, MD              Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001911
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                      10/9/2006   Neal Frauwirth, MD            Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001809
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                    10/27/2006   Neal Slatkin                  Honoraria, CPF Consultant Mtg    hon102706      honor   $   2,000 00    11/1/2006   54001879
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                      9/30/2006   Neal Slatkin                  Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001751
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                     5/24/2007   Neal Slatkin                  Honoraria, LA Speaker Training   hon052407      honor   $   3,000 00    5/30/2007   54002592
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                 6/29/2007   Neal Slatkin                  Honoraria, Fentora Spkr Trng     hon062907      honor   $   3,000 00    7/11/2007   54002842
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                     9/20/2007   Neal Slatkin                  Honoraria                        hon092007      honor   $   3,000 00    9/26/2007   54003125
200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                   5/20/2008   Neal Slatkin                  /0805 Honorarium                 ckr 052008 rmm honor   $     500 00    5/21/2008   54003872
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                 11/12/2007   Neil Halim                    /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003347
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                          5/20/2008   Neil Jobalia                  /0805 Honorarium                 ckr 052008 rmm honor   $   1,000 00    5/21/2008   54003877
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                  6/11/2007   Neil Meade                    Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002641
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                          5/9/2006   Nelson Lee Kohn               Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001146
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                  5/21/2007   Nelson Lee Kohn               Honoraria, CPF Boston            hon052107      honor   $   1,000 00    5/23/2007   54002512
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April           4/5/2004   Nicholas Lisnichy             Consensus Mtg, Wash DC           hon040504      honor   $   1,000 00     4/7/2004   54000088
200404   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April             4/7/2004   Nicholas Navato, DO           Consensus Mtg                    hon040704      honor   $   1,000 00     4/7/2004   54000103
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only    10/14/2005   Nicholas Navato, DO           Honoraria, Miami, FL             hon101405      honor   $   1,000 00   10/19/2005   54000815
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                      10/9/2006   Nicholas Navato, DO           Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001825
200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                     7/11/2006   Nichole Lopez                 Honoraria, CPF                   hon071106      honor   $   1,000 00    7/12/2006   54001396
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                     10/30/2006   Nichole Lopez                 Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001950
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March           3/16/2004   Nicholette Martin-Davis       Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105914
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July             7/1/2004   Nicholette Martin-Davis       Honoraria, Consensus Mtg. RI     hon070104      honor   $   1,000 00     7/7/2004   54000245
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                     5/24/2007   Nicholette Martin-Davis       Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002572
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April          4/12/2004   Nolan Tzou                    Consensus Mtg, Wash DC           hon041204      honor   $   1,000 00    4/14/2004   54000135
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                     6/16/2006   Nolan Tzou                    Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001355
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                  6/11/2007   Nolan Tzou                    Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002646
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March        2/24/2004   Norbert L. Ming               Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105341
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                     6/16/2006   Norman Marcus, MD, PC         Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001339
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only            4/24/2006   Norman Marcus, MD, PC         Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001103
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                      10/9/2006   Norman Pang                   Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001828
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                 6/29/2007   Norman Pang                   Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002837
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                 10/15/2007   Okezie Okezie                 Honoraria                        hon101507      honor   $   2,000 00   10/24/2007   54003239
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                 10/15/2007   Okezie Okezie                 Honoraria                        hon101507      honor   $   1,000 00   10/26/2007   54003259
200404   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April             4/7/2004   Omar D. Vidal, MD             Consensus Mtg                    hon040704      honor   $   1,000 00     4/7/2004   54000104
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February              2/11/2004   Orlando Florete               Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   1,000 00    2/18/2004   54000032
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                          5/9/2006   Orlando Florete               Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001140
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                           5/8/2008   Orlando Florete               /0805 Honorarium                 ckr 050808 rmm honor   $   1,000 00    5/14/2008   54003828
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                     10/30/2006   Oscar de Leon-Casasola, MD    Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001927
200608   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                         8/17/2006   Osmin Morales                 Cephalon Pain Fran. Meeting      ckr 081706 rmm honor   $   1,000 00    8/23/2006   54001600
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                    10/27/2006   Otsenre E. Matos              Honoraria, CPF Consultant Mtg    hon102706      honor   $   1,000 00    11/1/2006   54001876
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                           5/5/2008   Pamela Renee Pope             /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003768
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                  8/30/2007   Pamela Vincent                Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003076
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March        2/24/2004   Parchell D. Connally-Thorpe   Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105327
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June               5/19/2004   Patricia Adams-Graves         Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000178
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only             9/7/2005   Patricia F. Drummond          Honoraria, Las Vegas Meeting     hon090705      honor   $   1,000 00    9/14/2005   54000621
200811   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)          11/5/2008   Patricia L Sutton             /0811 St Davids PA 11/13         hon110508      honor   $   1,000 00   11/12/2008   54004390
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                   8/17/2006   Patricia L. Sutton            Fentora Speaker Training         hon081706 slp honor    $     500 00    8/23/2006   54001614
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                 7/17/2007   Patricia L. Sutton            Honoraria, Denver Spkr Trng      hon071707      honor   $     500 00    7/25/2007   54002918
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                           5/5/2008   Patricia L. Sutton            /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003775
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                     5/25/2006   Patricia Wynn-Jones           Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001229
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                      10/9/2006   Patricia Wynn-Jones           Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001851
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only           9/23/2005   Patrick Couch                 Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000681
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200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Patrick Galvas                Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106166
200408   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 8/30/2004   Patrick Hosey                 Honoraria, Aviara Mtg            hon083004      honor   $   1,000 00     9/1/2004   54000352
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Patrick Reynolds, MD          Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001954
200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        7/11/2006   Patrick Shaughnessy           Honoraria, CPF                   hon071106      honor   $   1,000 00    7/12/2006   54001397
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/17/2006   Paul A. Grant, MD             Honoraria, PF Spkr Training      hon041706      honor   $     500 00    4/19/2006   54001053
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Paul A. Grant, MD             Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001514
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Paul A. Grant, MD             Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002556
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Paul B. Brown                 /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003637
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       10/27/2006   Paul D. Dlugie, MD            Honoraria, CPF Consultant Mtg    hon102706      honor   $   1,000 00    11/1/2006   54001869
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Paul M Spector                Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001156
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Paul M Spector                Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001549
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Paul M Spector                Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002846
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Paul M Spector                /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003773
200811   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)             11/5/2008   Paul M Spector                /0811 St. Davids, PA 11/13       hon110508      honor   $   1,000 00   11/12/2008   54004388
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Paul M. Spector, DO           ACTIQ Speaker Trn Mtg            hon033004      honor   $   1,000 00     4/7/2004   50106061
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Paul Pilgram, MD, PC          Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000792
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Paul Pilgram, MD, PC          Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001832
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Paul S. Leo, MD               Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001208
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Paul S. Leo, MD               Honoraria, PF Spkr Training      hon041006      honor   $     500 00    4/19/2006   54001065
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Paul S. Leo, MD               Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002834
200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      5/20/2008   Paul S. Leo, MD               /0805 Honorarium                 ckr 052008 rmm honor   $     500 00    5/21/2008   54003868
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Paul Wand                     Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000708
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Paul Wand                     Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001962
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                      4/2/2007   Paul Warren Knoll             Honoraria, CPF Los Angeles       hon040207      honor   $   1,000 00     4/4/2007   54002395
200606   cephal   scepme    9173   Cephalon Pain Franchise Advisory Board May 2 - OOP        6/9/2006   Perry Fine                    Honoraria, CPF                   hon060906      honor   $     500 00    6/14/2006   54001246
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Perry Fine                    Honoraria, Fentora Spkr Trng     hon061107      honor   $   4,500 00    6/13/2007   54002663
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Peter Reusswig, MD            Honoraria, Las Vegas             hon090705      honor   $   1,000 00    9/21/2005   54000673
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Peter Reusswig, MD            Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001953
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Peter Reusswig, MD            Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002584
200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      5/20/2008   Peter Reusswig, MD            /0805 Honorarium                 ckr 052008 rmm honor   $     500 00    5/21/2008   54003869
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Peter Stanos                  ACTIQ Speaker Trn Mtg            hon033004      honor   $   1,000 00     4/7/2004   50106062
200612   cephal   scepme   10010   FENTORA AHSP Advisory Board                              12/5/2006   Peter Toscani                 Honoraria, CPF Costa Mesa        hon120506      honor   $     500 00   12/13/2006   54002169
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   Peyman Nazmi                  Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000183
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Phil Y.C. Chen, DO, PC        Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001196
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Phil Y.C. Chen, DO, PC        Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001795
200806   cephal   scepme   12278   West CPCF Consultant Meeting                              6/9/2008   Phil Y.C. Chen, DO, PC        /0806 Honorarium                 ckr 060908 rmm honor   $   1,000 00    6/11/2008   54004031
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Philip Fisher, DO             Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001329
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Philip Fisher, DO             Honoraria, Fentora Spkr Trng     hon093006      honor   $   1,000 00    10/4/2006   54001713
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Philip Fisher, DO             Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    12/3/2008   54004434
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Philip Fisher, DO             Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002664
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Phillip Fyman                 Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002635
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Phyllis A. Cullen, MD, Inc.   Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000777
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Phyllis A. Cullen, MD, Inc.   Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001507
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Pikes Peak                    Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001205
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Prabaal "Bobby" Dey           Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105899
200407   cephal   scepme    4935   Consensus Meeting-Chicago-OOP - August                   7/19/2004   Pramod Kerkar                 Honoraria, Chicago Mtg           hon071904      honor   $   1,000 00    7/21/2004   54000283
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        8/30/2004   Pramod Kerkar                  Honoraria, Consensus Mtg        hon083004      honor   $   2,000 00     9/1/2004   54000339
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Pratibha Bansal, MD, PC       Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105896
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    10/15/2007   R. Alan Moore                 Honoraria                        hon101507      honor   $   1,000 00   10/24/2007   54003238
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        10/3/2005   R. Charles Brownlow, MD       Honoraria, Miami, FL             hon100305      honor   $   1,000 00    10/6/2005   54000742
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   R. Charles Brownlow, MD       Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001909
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   R. Charles Brownlow, MD       Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002811
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   R. Sanford Kiser, MD          Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001207
200301   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting                     1/10/2003   R. Steven Singer, MD          Consultant's Mtg. Sundance, UT   ckr011003 lb   honor   $   2,000 00    1/15/2003   50101856
200302   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting                     2/16/2003   R. Steven Singer, MD          Sundance Meeting                 021603 lb      honor   $     500 00    2/26/2003       2301
200303   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13          3/19/2003   R. Steven Singer, MD          Honoraria Actiq Consultant Mtg   hon031903      honor   $   2,000 00    3/26/2003   50102558
200309   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19               9/30/2003   R. Steven Singer, MD          Honoraria                        hon093003      honor   $   2,000 00    10/8/2003   50104276
200304   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4        4/15/2003   R. Steven Singer, MD          Honoraria, Four Seasons          hon041503 lb honor     $   2,000 00    4/16/2003   50102720
200305   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA     5/30/2003   R. Steven Singer, MD          Honoraria                        hon053003      honor   $   2,000 00     6/4/2003   50103269
200309   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03                   9/23/2003   R. Steven Singer, MD          Honoraria, Las Vegas             hon092303      honor   $   2,000 00    9/24/2003   50104175
200305   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03                  5/21/2003   R. Steven Singer, MD          Honoraria                        hon052103      honor   $   2,000 00    5/27/2003   50103127
200307   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03          7/16/2003   R. Steven Singer, MD          Honoraria                        hon071603b     honor   $   2,000 00    7/23/2003   50103778
200307   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03                     7/16/2003   R. Steven Singer, MD          Honoraria                        hon071603      honor   $   2,000 00    7/23/2003   50103777
200305   cephal   pcepam    3932   Chicago Consultants Meeting, May                          5/6/2003   R. Steven Singer, MD          Honoraria, Actiq Chicago Mtg     hon050603 lb honor     $   2,000 00     5/7/2003   50102877
200308   cephal   pcepam    4025   Actiq Medical Strategies Speaker Slide Kit               8/25/2003   R. Steven Singer, MD                                           ckr082503 ddn honor    $   1,500 00    8/26/2003   50103990
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   R. Steven Singer, MD, PS      Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001224
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   R. Steven Singer, MD, PS      Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001844
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200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   R K. Gadi, MD                Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001916
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/17/2006   Rabia Awan Khan, MD          Honoraria, PF Spkr Training      hon041706      honor   $     500 00    4/19/2006   54001062
200403   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April               3/17/2004   Rachel Feinberg              Consensus Meeting, New Orleans   hon031704      honor   $   1,000 00    3/24/2004   54000067
200301   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting                     1/10/2003   Rafael Miguel, MD            Consultant's Mtg. Boca Raton     ckr011003 lb   honor   $   2,000 00    1/15/2003   50101850
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/24/2004   Raj Uppal                    Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105357
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Rajan Gupta                  Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105908
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Rajesh K. Patel              Honoraria, Las Vegas             hon090705      honor   $   1,000 00    9/21/2005   54000672
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Rakesh Mathur                Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001341
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Rakesh Mathur                Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001730
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only               11/7/2005   Ralph J. Zwolinski           Honoraria, Dana Point, CA        hon110705      honor   $   1,000 00    11/9/2005   54000872
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   Rama Pidikiti                Actiq Consensus Mtg, March 04    hon021904      honor   $     200 00    2/25/2004   50105345
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Ramesh Ramaswamy             Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003068
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Randal J. Lewis              Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003064
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Randale Sechrest             Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001842
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Randale Sechrest             Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002589
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   Randall E. Halley            Honoraria, Las Vegas             hon092005      honor   $   1,000 00    9/21/2005   54000649
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Randall E. Halley            Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001521
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Randall Lee Oliver, MD, PC   Honoraria, Cephalon PF Mtg       hon061606      honor   $   2,000 00    6/21/2006   54001346
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Randall Lee Oliver, MD, PC   Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00     2/6/2008   54003523
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July                7/1/2004   Randall Rissman              Honoraria, Consensus Mtg. RI     hon070104      honor   $   1,000 00     7/7/2004   54000247
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        8/30/2004   Randall Rissman              Honoraria, Consensus Mtg         hon083004      honor   $   2,000 00     9/1/2004   54000341
200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        6/12/2007   Randall Scharlach            Honoraria, Fentora Spkr Trng     hon061207      honor   $     500 00    6/27/2007   54002765
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Ratan Banik                  Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106156
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Ravi Panjabi, MD             Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001829
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Ravi Panjabi, MD             Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002578
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/21/2008   Ravi Panjabi, MD             /0804 Honoraria                  ckr 042108 rmm honor   $     500 00    4/23/2008   54003723
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     9/20/2007   Ray Bedell                   Honoraria                        hon092007      honor   $   1,000 00    9/26/2007   54003131
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Raymond L. Bedell            ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106031
200403   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April               3/17/2004   Raymond Sorensen             Consensus Meeting, New Orleans   hon031704      honor   $   1,000 00    3/24/2004   54000077
200509   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        9/23/2005   Raymond Sorensen             Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000705
200511   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       11/28/2005   Raymond Sorensen             Honoraria, Miami Mtg             hon112805      honor   $     500 00   11/30/2005   54000897
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/17/2006   Raymond Sorensen             Honoraria, PF Spkr Training      hon041706      honor   $     500 00    4/19/2006   54001077
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Raymond Sorensen             Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001547
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Raymond Sorensen             Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002845
200806   cephal   scepme   12278   West CPCF Consultant Meeting                             6/25/2008   Raymond Sorensen             /0807 Honoraria                  ckr 062508 rmm honor   $   1,000 00    6/30/2008   54004133
200408   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                  8/9/2004   Rebecca Patchin, Inc.        Consensus Mtg, Aviara            hon080904      honor   $   1,000 00    8/11/2004   54000326
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   Rebecca R. Wallace           Honoraria, Las Vegas             hon092005      honor   $   1,000 00    9/21/2005   54000657
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Rebecca R. Wallace           Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003077
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       10/27/2006   Reginald Strother            Honoraria, CPF Consultant Mtg    hon102706      honor   $   1,000 00    11/1/2006   54001880
200408   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 8/30/2004   Renee Fabrizi                Honoraria, Aviara Mtg            hon083004      honor   $   1,000 00     9/1/2004   54000351
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    10/15/2007   Rey Ximenes                  Honoraria                        hon101507      honor   $   1,000 00   10/24/2007   54003236
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Riad Laham                   Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105913
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April              4/5/2004   Riad Laham                   Consensus Mtg, Wash DC           hon040504      honor   $   1,000 00     4/7/2004   54000087
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                            5/14/2006   Riad Laham                   Honoraria, Pain Franchise Mtg    hon051406      honor   $   1,000 00    5/17/2006   54001172
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Riad Laham                   Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001101
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Riad Laham                   Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001533
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Riad Laham                   Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002567
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Riad Laham                   /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003647
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Ricardo Zarzuela, MD         Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001364
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        10/3/2005   Richard D. Lowder II, PA-C   Honoraria, Miami, FL             hon100305      honor   $   1,000 00    10/6/2005   54000754
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      8/17/2006   Richard D. Lowder II, PA-C   Fentora Speaker Training         hon081706 slp honor    $     500 00    8/23/2006   54001608
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Richard D. Lowder II, PA-C   Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002571
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Richard D. Lowder II, PA-C   /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003650
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Richard D. Lowder II, PA-C   /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003765
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April              4/5/2004   Richard Dobson               Consensus Mtg, Wash DC           hon040504      honor   $   1,000 00     4/7/2004   54000085
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Richard Dobson               Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001711
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Richard Dobson               Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002633
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Richard E. Blonsky           Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106159
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                       8/7/2006   Richard G. Bowman II         Honoraria, CPF Speaker Trng      hon080706      honor   $     500 00     8/9/2006   54001574
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/19/2007   Richard G. Bowman II         Honoraria, Fentora Spkr Trng     hon061907      honor   $     750 00    6/20/2007   54002700
200403   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March            3/8/2004   Richard H. Bundshu           Actiq Consultants Mtg, AAPM      hon030804      honor   $     200 00    3/10/2004   50105628
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Richard Haddad               /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003760
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/26/2004   Richard Harris               Selva Consensus Meet - 8/20-22   hon072604      honor   $   1,000 00    7/28/2004   54000302
200409   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        9/15/2004   Richard Harris               Consensus Mtg, Chateau Elan      hon091504      honor   $   2,000 00    9/22/2004   54000363
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Richard Harris               Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001203
200806   cephal   scepme   12278   West CPCF Consultant Meeting                              6/9/2008   Richard Harris               /0806 Honorarium                 ckr 060908 rmm honor   $   1,000 00    6/11/2008   54004032
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/24/2004   Richard Hood                 Actiq Consultant Mtg, March 04   hon022404      honor   $     200 00    2/25/2004   50105333
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200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Richard Hood                  /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003349
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Richard I. Park, MD           Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001736
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Richard Jermyn                Honoraria, PF Spkr Training      hon041006      honor   $     500 00    4/19/2006   54001060
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Richard Jermyn                Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001815
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Richard M. Sobel              /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003707
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Richard M. Sobel, MD          Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001114
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Richard M. Sobel, MD          Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001846
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Richard M. Sobel, MD          Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002687
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Richard Radnovich             Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001218
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Richard Radnovich             Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001835
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training                  12/22/2006   Richard Radnovich             Honoraria, Jan 2007 Arizon Mtg   hon122206      honor   $     500 00     1/3/2007   54002245
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Richard Radnovich             Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002583
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Robert A. Carabelli, MD       Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001135
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Robert A. Carabelli, MD       Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001700
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/20/2007   Robert A. Carabelli, MD       Honoraria                        hon092007      honor   $     500 00    9/26/2007   54003111
200604   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only                4/2/2006   Robert A. Miller                                               hon040206 slp honor    $     500 00     4/5/2006   54001032
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     9/20/2007   Robert B. Smith               Honoraria                        hon092007      honor   $   1,000 00    9/26/2007   54003136
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Robert Brown                  ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106036
200403   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April               3/17/2004   Robert Cannon                 Consensus Meeting, New Orleans   hon031704      honor   $   1,000 00    3/24/2004   54000066
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May       4/26/2004   Robert Cannon                 Honoraria, San Francisco         hon042604      honor   $   2,000 00     5/5/2004   54000143
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Robert Duarte, MD             Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001941
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Robert Fierer, MD             Honoraria, Cephalon PF Mtg       hon061606      honor   $   2,000 00    6/21/2006   54001328
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Robert Fierer, MD             Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    1/30/2008   54003508
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Robert Finnegan               Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106165
200403   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April               3/17/2004   Robert Fisher                 Consensus Meeting, New Orleans   hon031704      honor   $   1,000 00    3/24/2004   54000073
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May       4/26/2004   Robert Fisher                 Honoraria, San Francisco         hon042604      honor   $   2,000 00     5/5/2004   54000150
200403   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April               3/17/2004   Robert Fortier-Benson         Consensus Meeting, New Orleans   hon031704      honor   $   1,000 00    3/24/2004   54000068
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Robert Guirguis               Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001519
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/20/2007   Robert Guirguis               Honoraria                        hon092007      honor   $   1,000 00    9/26/2007   54003115
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/20/2007   Robert Guirguis               Honoraria                        hon092007      honor   $     500 00   10/24/2007   54003253
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      4/29/2008   Robert Guirguis               /0804 Honorarium for Meeting     ckr 042908 rmm honor   $     500 00    4/30/2008   54003751
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   Robert Kale                   Actiq Consensus Mtg, March 04    hon021904      honor   $     200 00    2/25/2004   50105335
200403   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April               3/17/2004   Robert Kravitz                Consensus Meeting, New Orleans   hon031704      honor   $   1,000 00    3/24/2004   54000069
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              11/28/2005   Robert L. Schneider, MD       Honoraria, Dana Point Mtg        hon112805      honor   $   1,000 00   11/30/2005   54000887
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Robert L. Schneider, MD       Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001841
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Robert N. Brown, MD           Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001194
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/17/2006   Robert N. Brown, MD           Honoraria, PF Spkr Training      hon041706      honor   $     500 00    4/19/2006   54001043
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Robert N. Brown, MD           Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001793
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Robert N. Brown, MD           /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003341
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Robert N. Pavy                Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001216
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Robert Ong                    Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002577
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Robert Ong                    /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003701
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   Robert P. Wills, MD           Honoraria, Las Vegas             hon092005      honor   $   1,000 00    9/21/2005   54000658
200606   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                            6/26/2006   Robert Salvage                Honoraria, Cephalon PFC Mtg      hon062606      honor   $   1,000 00    6/28/2006   54001386
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Robert Schneider              ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106056
200606   cephal   scepme    9173   Cephalon Pain Franchise Advisory Board May 2 - OOP        6/9/2006   Robert Twillman               Honoraria, CPF                   hon060906      honor   $     500 00    6/14/2006   54001251
200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    7/16/2007   Robert Vrablik                                                 hon071607      honor   $     500 00    7/18/2007   54002904
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Robin R. Ockey, PC            Honoraria, PF Spkr Training      hon041006      honor   $     500 00    4/19/2006   54001071
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                       8/7/2006   Robin R. Ockey, PC            Honoraria, CPF Speaker Trng      hon080706      honor   $     500 00     8/9/2006   54001579
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                      4/2/2007   Robyn G. Young                Honoraria, CPF Los Angeles       hon040207      honor   $   1,000 00     4/4/2007   54002403
200612   cephal   scepme   10010   FENTORA AHSP Advisory Board                              12/5/2006   Robyn Saltz                   Honoraria, CPF Costa Mesa        hon120506      honor   $     500 00   12/13/2006   54002167
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                      4/2/2007   Rocky William Mazzeo          Honoraria, CPF Los Angeles       hon040207      honor   $   1,000 00     4/4/2007   54002397
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Romanth Waghmarae             ACTIQ Speaker Trn Mtg            hon033004      honor   $   1,000 00     4/7/2004   50106069
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Romanth Waghmarae             Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001356
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Romanth Waghmarae             Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001849
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Romanth Waghmarae             Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002849
200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      5/20/2008   Romanth Waghmarae             /0805 Honorarium                 ckr 052008a rmmhonor   $     500 00    5/21/2008   54003873
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                             5/20/2008   Romanth Waghmarae             /0805 Honorarium                 ckr 052008 rmm honor   $     660 00    5/21/2008   54003881
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Ronald Bradley                Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001792
200301   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting                     1/10/2003   Rudolph Panganiban, MD        Consultant's Mtg. Boca Raton     ckr011003 lb   honor   $   2,000 00    1/15/2003   50101851
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    7/17/2007   Sackdinanh Nole Keomahathai                                    hon071707 slp honor    $     500 00    7/25/2007   54002915
200606   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                            6/26/2006   Sadaf Bazargan, MD            Honoraria, Cephalon PFC Mtg      hon062606      honor   $   1,000 00    6/28/2006   54001380
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Sadaf Bazargan, MD            Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001498
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Sadaf Bazargan, MD            Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002807
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April           4/7/2004   Sadiq Sohani                  ACTIQ Speaker Trn Mtg            hon040704      honor   $   1,000 00     4/7/2004   50106010
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/24/2003   Sagemed, Inc.                 Honoraria for meeting            ckr022403 lb   honor   $   3,000 00    2/26/2003   50102117
200301   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting                     1/10/2003   Sagemed, Inc.                                                  ckr011003 lb   honor   $   3,000 00    1/29/2003   50101965
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200301   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting                   1/29/2003   Sagemed, Inc.                                           ckr012903 lb   honor   $ 3,000 00       1/29/2003   50101966
200303   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13        3/19/2003   Sagemed, Inc.          Honoraria Actiq Consultant Mtg   hon031903b     honor   $ 3,000 00       3/26/2003   50102550
200303   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting               3/19/2003   Sagemed, Inc.          Honoraria Actiq Consultant Mtg   hon031903      honor   $ 3,000 00       3/26/2003   50102549
200411   cephal   scepme    4891   Consensus Meeting - Pain Medicine News - Journal #2    11/2/2004   Sagemed, Inc.                                           2004-143       honor   $ 3,000 00       1/12/2005   54000413
200406   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January            4/29/2004   Sagemed, Inc.                                           2004-123       honor   $ 2,000 00        6/9/2004   50106521
200406   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March           4/29/2004   Sagemed, Inc.                                           2004-123       honor   $ 2,000 00        6/9/2004   50106521
200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October      10/6/2004   Sagemed, Inc.                                           2004-141       honor   $ 3,000 00      10/27/2004   50107463
200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October       11/11/2004   Sagemed, Inc.                                           2004-145       honor   $ 3,000 00      11/23/2004   50107733
200406   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March         4/29/2004   Sagemed, Inc.                                           2004-123       honor   $ 2,000 00        6/9/2004   50106521
200403   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February          2/16/2004   Sagemed, Inc.                                           2004-107       honor   $ 5,000 00       3/31/2004   54000079
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August               6/11/2004   Sagemed, Inc.                                           2004-126       honor   $ 2,500 00        8/3/2004   54000323
200410   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September      9/14/2004   Sagemed, Inc.                                           2004-137       honor   $     500 00    10/27/2004   54000408
200508   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only            8/24/2005   Sagemed, Inc.                                           ck#1250        honor   $ (25,000 00)
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only             9/20/2005   Sagemed, Inc.                                           ck#1256        honor   $ (25,000 00)
200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only      12/2/2005   Sagemed, Inc.          Honoraria                        ck# 1275       honor   $ (25,000 00)
200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only             12/2/2005   Sagemed, Inc.          Honoraria                        ck# 1275       honor   $ (25,000 00)
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                      10/30/2006   Salvatore Campo DO     Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00     11/8/2006   54001910
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                  6/29/2007   Salvatore Campo DO     Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00     7/11/2007   54002813
200806   cephal   scepme   12278   West CPCF Consultant Meeting                           6/25/2008   Salvatore Campo DO     /0807 Honoraria                  ckr 062508 rmm honor   $ 1,000 00       6/30/2008   54004125
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                       10/9/2006   Sam Jahani, MD         Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00    10/13/2006   54001814
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                      5/24/2007   Sam Jahani, MD         Honoraria, LA Speaker Training   hon052407      honor   $     500 00     5/30/2007   54002560
200805   cephal   scepme   12278   West CPCF Consultant Meeting                           5/28/2008   Sam Jahani, MD         /0805 Honorarium                 ckr 052808 rmm honor   $ 1,000 00        6/4/2008   54004004
200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                    5/20/2008   Sam Jahani, MD         /0805 Honorarium                 ckr 052008 rmm honor   $     500 00     5/21/2008   54003865
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                    8/17/2006   Sami E. Moufawad, MD   Fentora Speaker Training         hon081706 slp honor    $     500 00     8/23/2006   54001609
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                  6/11/2007   Sami E. Moufawad, MD   Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00     6/13/2007   54002680
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                    3/31/2008   Sami E. Moufawad, MD   /0804                            ckr 033108 rmm honor   $     500 00      4/2/2008   54003654
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                            5/5/2008   Sami E. Moufawad, MD   /0805 Honorarium                 ckr 050508 rmm honor   $ 1,000 00        5/7/2008   54003766
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March            3/16/2004   Samir A. Kabbani, MD   Speaker Training Mtg, Dallas     hon031604      honor   $ 1,000 00       3/24/2004   50105912
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only      10/3/2005   Samir A. Kabbani, MD   Honoraria, Miami, FL             hon100305      honor   $ 1,000 00       10/6/2005   54000753
200403   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March          3/8/2004   Samir K. Ballas        Actiq Consultants Mtg, AAPM      hon030804      honor   $     200 00     3/10/2004   50105627
200509   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only      9/23/2005   Samuel K. Yue          Honoraria                        hon092305      honor   $     500 00     9/28/2005   54000709
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April        3/30/2004   Samuel Perov           ACTIQ Speaker Trn Mtg.           hon033004      honor   $ 1,000 00        4/7/2004   50106053
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                      5/25/2006   Samuel T. Remer, DO    Honoraria, PF Consultant Mtg     hon052506      honor   $ 1,000 00       5/31/2006   54001221
200407   cephal   scepme    4935   Consensus Meeting-Chicago-OOP - August                 7/19/2004   Samuel Yue             Honoraria, Chicago Mtg           hon071904      honor   $ 1,000 00       7/21/2004   54000290
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September      8/30/2004   Samuel Yue             Honoraria, Consensus Mtg         hon083004      honor   $ 2,000 00        9/1/2004   54000350
200511   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only     11/28/2005   Samuel Yue             Honoraria, Miami Mtg             hon112805      honor   $     500 00    11/30/2005   54000899
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                       10/9/2006   Samuel Yue             Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00    10/13/2006   54001853
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                       9/30/2006   Samyadev Datta         Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00     10/4/2006   54001707
200205   cephal   pcep      1948   Long-Term Safety Flashcard                              5/8/2002   Sandra Adams, MD       pcep 1948                        ckr050802      honor   $     100 00     5/22/2002   50100466
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                      10/30/2006   Sanford Kiser, MD      Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00     11/8/2006   54001925
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March            3/16/2004   Sanjay Gupta           Speaker Training Mtg, Dallas     hon031604      honor   $ 1,000 00       3/24/2004   50105909
200205   cephal   pcep      1948   Long-Term Safety Flashcard                              5/9/2002   Sanjay Sethi, MD       pcep 1948                        ckr050902      honor   $     100 00     5/22/2002   50100482
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                  11/12/2007   Sanjiv S. Dalvi        /0710 Honoraria                  hon111207      honor   $ 1,000 00      11/20/2007   54003342
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                      10/30/2006   Scott Hompland, DO     Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00     11/8/2006   54001920
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April            4/5/2004   Scott Mueller          Consensus Mtg, Wash DC           hon040504      honor   $ 1,000 00        4/7/2004   54000090
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                       9/30/2006   Scott Mueller          Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00     10/4/2006   54001735
200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                   7/3/2007   Scott Mueller          Honoraria                        hon070307      honor   $     500 00     7/11/2007   54002802
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                            5/8/2008   Scott Mueller          /0805 Honorarium                 ckr 050808 rmm honor   $ 1,000 00       5/14/2008   54003832
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                      5/25/2006   Scott P. Mackie, MD    Honoraria, PF Consultant Mtg     hon052506      honor   $ 1,000 00       5/31/2006   54001210
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                   8/30/2007   Scott S. Ekdahl        Honoraria                        hon083007      honor   $ 1,000 00        9/5/2007   54003056
200612   cephal   scepme   10010   FENTORA AHSP Advisory Board                            12/5/2006   Scott Strassels        Honoraria, CPF Costa Mesa        hon120506      honor   $     500 00    12/13/2006   54002168
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                      5/24/2007   Scott T. Boyd          Honoraria, LA Speaker Training   hon052407      honor   $     500 00     5/30/2007   54002551
200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only              6/9/2006   Scott Tannenbaum       Honoraria, CPF Spkr Training     hon060906      honor   $     500 00     6/14/2006   54001243
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                            5/8/2008   Scott Tannenbaum       /0805 Honorarium                 ckr 050808 rmm honor   $ 1,000 00       5/14/2008   54003837
200612   cephal   scepme   10010   FENTORA AHSP Advisory Board                            12/5/2006   Sean Chiu              Honoraria, CPF Costa Mesa        hon120506      honor   $     500 00    12/13/2006   54002159
200606   cephal   scepme    9173   Cephalon Pain Franchise Advisory Board May 2 - OOP      6/9/2006   Seddon Savage          Honoraria, CPF                   hon060906      honor   $     500 00     6/14/2006   54001250
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                   5/25/2007   Selina Xing            Honoraria, CPF Boston            hon052507      honor   $ 1,000 00       5/30/2007   54002535
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                       10/9/2006   Seth Kaufman           Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00    10/13/2006   54001816
200408   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August               8/30/2004   Shaik Saheb MD, Inc    Honoraria, Aviara Mtg            hon083004      honor   $ 1,000 00        9/1/2004   54000354
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only            10/17/2005   Shams M. Qureshi       Honoraria, Dana Point, CA        hon101705      honor   $ 1,000 00      10/19/2005   54000793
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                       10/9/2006   Shams M. Qureshi       Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00    10/13/2006   54001834
200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4                     10/10/2007   Shams M. Qureshi       Honoraria                        hon101007      honor   $     500 00    10/16/2007   54003193
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                    4/30/2008   Shams M. Qureshi       /0804 Honorarium                 ckr 043008 rmm honor   $     500 00      5/7/2008   54003803
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                            5/5/2008   Shams M. Qureshi       /0805 Honorarium                 ckr 050508 rmm honor   $ 1,000 00        5/7/2008   54003769
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April        4/20/2004   Shams Qureshi          Honoraria, Spkr Training Mtg     hon042004      honor   $ 1,000 00       4/21/2004   50106140
200403   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March          3/8/2004   Sharon E. Prohaska     Actiq Consultants Mtg, AAPM      hon030804      honor   $     200 00     3/10/2004   50105636
200403   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April             3/17/2004   Sharon E. Prohaska     Consensus Meeting, New Orleans   hon031704      honor   $ 1,000 00       3/24/2004   54000072
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200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   Shaukat Chowdhari                Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   2,000 00    2/18/2004   54000027
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   Shaukat Chowdhari                Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   1,000 00    3/31/2004   54000078
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     9/10/2007   Shawn G. Platt                   Honoraria                        hon091007      honor   $   1,000 00    9/13/2007   54003093
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Shawn M. Sullivan                Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003074
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Shereef Girgis                   /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003345
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   Sherif Nasef, MD                 Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001930
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Sherif Nasef, MD                 Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002836
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Sherif Nasef, MD                 /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003700
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only               11/7/2005   Sheryl Lavender, DO              Honoraria, Dana Point, CA        hon110705      honor   $   1,000 00    11/9/2005   54000867
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     5/21/2007   Shriharsh Pole, MD, P.C.         Honoraria, CPF Boston            hon052107      honor   $   1,000 00    5/23/2007   54002515
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   Shyam Swain                      Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000191
200407   cephal   scepme    4935   Consensus Meeting-Chicago-OOP - August                   7/26/2004   Siavash Nael                                                      hon072604 ddn honor    $   1,000 00    7/28/2004   54000309
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Siavash Nael                     Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001212
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Siavash Nael                     Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001824
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   Sidi Y. Noor                     Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000184
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Sidi Y. Noor                     Honoraria, Las Vegas Meeting     hon090705      honor   $   1,000 00    9/14/2005   54000627
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                       8/7/2006   Son Le                           Honoraria, CPF Speaker Trng      hon080406      honor   $     500 00     8/9/2006   54001578
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Son Le                           Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002570
200401   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            1/27/2004   Son T. Dinh, MD, Inc.            Selva Consensus Mtg, Feb 04      hon012704      honor   $   1,000 00    1/28/2004   54000004
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Son T. Dinh, MD, Inc.            Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000779
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April           4/7/2004   Sophia D. Leonard-Burns          ACTIQ Speaker Trn Mtg            hon040704      honor   $   1,000 00     4/7/2004   50106006
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Sophia Leonard-Burns             Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001133
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Sophia Leonard-Burns             Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001699
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Sophia Leonard-Burns             Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002812
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      4/30/2008   Sophia Leonard-Burns             /0804 Honorarium                 ckr 043008 rmm honor   $     500 00     5/7/2008   54003796
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Sophia Leonard-Burns             /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003754
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      8/17/2006   Srinivas Nalamachu               Fentora Speaker Training         hon081706 slp honor    $     500 00    8/23/2006   54001611
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Srinivas Nalamachu               Honoraria, LA Speaker Training   hon052407      honor   $   1,500 00    5/30/2007   54002574
200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      5/13/2008   Srinivas Nalamachu               /0805                            ckr 051308 rmm honor   $     500 00    5/14/2008   54003857
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Standiford Helm II, MD, Inc.     Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001204
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Standiford Helm II, MD, Inc.     Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002559
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Standiford Helm II, MD, Inc.     /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003694
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   Stanley Golovac                  Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000177
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                      4/2/2007   Stephanie Hannah                 Honoraria, CPF Los Angeles       hon040207      honor   $   1,000 00     4/4/2007   54002392
200406   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May     6/8/2004   Stephanie Jones                  Consultant Mtg. Vancouver, BC    hon060804      honor   $     200 00    6/16/2004   50106538
200606   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        6/26/2006   Stephanie Smith                  Honoraria, Cephalon PFC Mtg      hon062606      honor   $   1,000 00    6/28/2006   54001378
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Stephen B. Pociask               Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002581
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April              4/5/2004   Stephen Boyajian                 Consensus Mtg, Wash DC           hon040504      honor   $   1,000 00     4/7/2004   54000083
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                      4/9/2007   Stephen Colucci                  Honoraria                        hon040907      honor   $   1,000 00     4/9/2007   54002416
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Stephen David Watson,MD,PhD,In   Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002091
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       10/14/2005   Stephen J. Schneider             Honoraria, Miami, FL             hon101405      honor   $   1,000 00   10/19/2005   54000820
200302   cephal   pcepam    3290   03/07/03 San Antonio Regional Meeting                    2/24/2003   Stephen Landy, MD                Actiq Consultant Meeting         hon022403 lb honor     $   2,000 00    2/26/2003   50102208
200303   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting                 3/19/2003   Stephen Landy, MD                Honoraria Actiq Consultant Mtg   hon031903      honor   $   4,000 00    3/26/2003   50102535
200303   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting                 3/19/2003   Stephen Landy, MD                Honoraria Actiq Consultant Mtg   hon031903      honor   $   2,000 00     4/2/2003   50102670
200304   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03                   4/15/2003   Stephen Landy, MD                Honoraria, La Costa              hon041503      honor   $   2,000 00    4/16/2003   50102719
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/17/2006   Stephen Landy, MD                Honoraria, PF Spkr Training      hon041706      honor   $     500 00    4/19/2006   54001064
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Stephen Landy, MD                Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001725
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   Stephen Landy, MD                Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002675
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Stephen Landy, MD                /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003764
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Stephen Padnes, MD               Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001347
200705   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     5/21/2007   Stephen Padnes, MD               Honoraria, CPF Boston            hon052107      honor   $   1,000 00    5/23/2007   54002514
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   Stephen Wilson, MD               Honoraria, Las Vegas             hon092005      honor   $   1,000 00    9/21/2005   54000659
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Stephen Wilson, MD               Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001122
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Stephen Wilson, MD               Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001850
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Stephen Wilson, MD               Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002852
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Stephen Wilson, MD               /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003664
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Stephen Zebrowski                Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002651
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Steve Fanto, MD, PC              Honoraria, Las Vegas             hon090705      honor   $   1,000 00    9/21/2005   54000676
200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      5/20/2008   Steve Fanto, MD, PC              /0805 Honorarium                 ckr 052008 rmm honor   $     500 00    5/21/2008   54003863
200309   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19               9/30/2003   Steve Shoemaker, MD              Honoraria                        hon093003b     honor   $   3,000 00    10/8/2003   50104273
200304   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4        4/15/2003   Steve Shoemaker, MD              Honoraria, Four Seasons          hon041503 lb honor     $   3,000 00    4/16/2003   50102805
200304   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03                   4/15/2003   Steve Shoemaker, MD              Honoraria, La Costa              hon041503      honor   $   3,000 00    4/16/2003   50102804
200309   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03                   9/23/2003   Steve Shoemaker, MD              Honoraria, Las Vegas             hon092303      honor   $   3,000 00    9/24/2003   50104173
200309   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03                9/30/2003   Steve Shoemaker, MD              Honoraria                        hon093003      honor   $   3,000 00    10/8/2003   50104272
200310   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03              10/15/2003   Steve Shoemaker, MD              Honoraria                        hon101503      honor   $   3,000 00   10/22/2003   50104388
200308   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03                   7/30/2003   Steve Shoemaker, MD              Honoraria                        hon073003      honor   $   3,000 00     8/6/2003   50103850
200308   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03                        8/26/2003   Steve Shoemaker, MD                                               ckr082603 ddn honor    $   3,000 00     9/3/2003   50104005
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200305   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03                  5/21/2003   Steve Shoemaker, MD           Honoraria                        hon052103      honor   $   3,000 00    5/27/2003   50103124
200307   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03                     7/16/2003   Steve Shoemaker, MD           Honoraria                        hon071603      honor   $   3,000 00    7/23/2003   50103774
200305   cephal   pcepam    3932   Chicago Consultants Meeting, May                          5/6/2003   Steve Shoemaker, MD           Honoraria, Actiq Chicago Mtg     hon050603 lb honor     $   3,000 00     5/7/2003   50102875
200308   cephal   pcepam    4025   Actiq Medical Strategies Speaker Slide Kit               8/25/2003   Steve Shoemaker, MD                                            ckr082503 ddn honor    $   2,000 00    8/26/2003   50103988
200401   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January               1/7/2004   Steve Shoemaker, MD           Honoraria, Boca Raton            ckr010704      honor   $   3,500 00    1/14/2004   50105151
200403   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March              3/8/2004   Steve Shoemaker, MD           Actiq Consultants Mtg, HMB       hon030804      honor   $   3,500 00    3/10/2004   50105638
200406   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June             6/2/2004   Steve Shoemaker, MD           Honoraria, Aviara Mtg            hon060204      honor   $   3,500 00     6/9/2004   50106486
200408   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September            8/30/2004   Steve Shoemaker, MD           Honoraria, NY Consultant Mtg     hon083004      honor   $   3,500 00     9/1/2004   50106997
200409   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October          9/22/2004   Steve Shoemaker, MD           Honoraria, Naples                hon092204b     honor   $   3,500 00    9/29/2004   50107227
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   Steve Shoemaker, MD           Actiq Consensus Mtg, March 04    hon021904      honor   $   3,000 00    2/25/2004   50105350
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Steve Shoemaker, MD           Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $   3,000 00    4/28/2004   50106181
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Steve Shoemaker, MD           ACTIQ Speaker Trn Mtg            hon033004      honor   $   2,500 00     4/7/2004   50106057
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          4/26/2004   Steve Shoemaker, MD           Honoraria, Arizona               hon042604b     honor   $     500 00    4/28/2004   50106192
200404   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              4/26/2004   Steve Shoemaker, MD           Honoraria, Dallas                hon042604      honor   $     500 00    4/28/2004   50106192
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Steve Shoemaker, MD           Speaker Training Mtg, Dallas     hon031604      honor   $   2,500 00    3/24/2004   50105920
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/17/2003   Steven Abram, MD              New Orleans Symposia             021703 lb      honor   $     200 00    2/17/2003       2303
200610   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       10/27/2006   Steven Bennett                Honoraria, CPF Consultant Mtg    hon102706      honor   $   1,000 00    11/1/2006   54001863
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April           4/7/2004   Steven Chun                   ACTIQ Speaker Trn Mtg            hon040704      honor   $   1,000 00     4/7/2004   50105996
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     9/10/2007   Steven D. Passik, MD          Honoraria                        hon091007      honor   $   2,500 00    9/13/2007   54003092
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    10/15/2007   Steven D. Passik, MD          Honoraria                        hon101507      honor   $   2,500 00   10/24/2007   54003230
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/22/2008   Steven D. Passik, MD          /0804 Honoraria                  ckr 042208 rmm honor   $   2,500 00    4/23/2008   54003732
200804   cephal   scepme   13180   2008 CPCF AAD Slide Deck                                 4/22/2008   Steven D. Passik, MD          /0804 Slide Deck                 ckr 042208 rmm honor   $   3,500 00    4/23/2008   54003734
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April           4/7/2004   Steven Frost                  ACTIQ Speaker Trn Mtg            hon040704      honor   $   1,000 00     4/7/2004   50105999
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Steven L. Grenell, MD, P.C.   Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001515
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training                  12/22/2006   Steven L. Grenell, MD, P.C.   Honoraria, Jan 2007 Arizon Mtg   hon122206      honor   $     500 00     1/3/2007   54002239
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Steven L. Grenell, MD, P.C.   Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002825
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/22/2008   Steven L. Grenell, MD, P.C.   /0804 Honoraria                  ckr 042208 rmm honor   $     500 00    4/23/2008   54003730
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Steven Litman, MD             Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001949
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/25/2007   Steven Litman, MD             Honoraria                        hon092507      honor   $     500 00    10/3/2007   54003160
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      3/31/2008   Steven Litman, MD             /0804                            ckr 033108 rmm honor   $     500 00     4/2/2008   54003649
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Steven M. Simon               Honoraria, Las Vegas             hon090705      honor   $   1,000 00    9/21/2005   54000674
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Steven M. Simon               Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001113
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Steven M. Simon               Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001544
200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training                  12/22/2006   Steven M. Simon               Honoraria, Jan 2007 Arizon Mtg   hon122206      honor   $     500 00     1/3/2007   54002249
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Steven M. Simon               Honoraria, LA Speaker Training   hon052407      honor   $   1,500 00    5/30/2007   54002591
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Steven M. Simon               /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003706
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   Steven Martini, MD            Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001928
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Steven Prakken                Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001738
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/20/2007   Steven Prakken                Honoraria                        hon092007      honor   $   1,000 00    9/26/2007   54003122
200709   cephal   scepme   11882   2007 Cephalon Speaker Training #4                        9/20/2007   Steven Prakken                Honoraria                        hon092007      honor   $     500 00    8/25/2009        226
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Steven Rosen                  Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001743
200402   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February             2/4/2004   Steven Shoemaker              Honoraria                        ckr020404      honor   $   2,500 00     2/4/2004   54000023
200401   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            1/27/2004   Steven Shoemaker              Selva Consensus Mtg, Feb 04      hon012704      honor   $   1,000 00    1/28/2004   54000016
200402   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February                 2/11/2004   Steven Shoemaker              Consensus Mtg, Feb 27-29, 2004   hon021104      honor   $   3,500 00    2/18/2004   54000046
200403   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April               3/17/2004   Steven Shoemaker              Consensus Meeting, New Orleans   hon031704      honor   $   3,500 00    3/24/2004   54000076
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April              4/5/2004   Steven Shoemaker              Consensus Mtg, Wash DC           hon040504      honor   $   3,500 00     4/7/2004   54000094
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   Steven Shoemaker              Honoraria, South Carolina Mtg    hon051904      honor   $   3,500 00    5/26/2004   54000189
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July                7/1/2004   Steven Shoemaker              Honoraria, Consensus Mtg. RI     hon070104      honor   $   3,500 00     7/7/2004   54000253
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/26/2004   Steven Shoemaker              Selva Consensus Meet - 8/20-22   hon072604      honor   $   3,500 00    7/28/2004   54000317
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May       4/26/2004   Steven Shoemaker              Honoraria, San Francisco         hon042604      honor   $   3,500 00     5/5/2004   54000151
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        8/30/2004   Steven Shoemaker              Honoraria, Consensus Mtg         hon083004      honor   $   3,500 00     9/1/2004   54000343
200504   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting                 4/26/2005   Steven Shoemaker              Honoraria, ACTIQ Miami Mtg       hon042605      honor   $   3,000 00    4/27/2005   54000431
200505   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting                5/17/2005   Steven Shoemaker              Actiq Speaker Trng, La Jolla     hon051705      honor   $   3,000 00    5/18/2005   54000443
200805   cephal   scepme   12278   West CPCF Consultant Meeting                             5/28/2008   Steven Shoemaker              /0805 Honorarium                 ckr 052808 rmm honor   $   3,750 00     6/4/2008   54004008
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Steven Shoemaker              /0805 Honorarium                 ckr 050508 rmm honor   $   4,000 00     5/7/2008   54003772
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/24/2003   Steven Simon, MD              honoraria for meeting            ckr022403 lb   honor   $   2,000 00    2/26/2003   50102118
200301   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting                     1/10/2003   Steven Simon, MD              Consultant's Mtg. Sundance, UT   ckr011003 lb   honor   $   2,000 00    1/15/2003   50101855
200302   cephal   pcepam    3290   03/07/03 San Antonio Regional Meeting                    2/24/2003   Steven Simon, MD              Actiq Consultant Meeting         hon022403 lb honor     $   2,000 00    2/26/2003   50102209
200304   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13           4/2/2003   Steven Simon, MD              Honorarium                       ckr040203      honor   $   2,000 00     4/2/2003   50102675
200309   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19               9/30/2003   Steven Simon, MD              Honoraria                        hon093003b     honor   $   2,000 00    10/8/2003   50104275
200304   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4        4/15/2003   Steven Simon, MD              Honoraria, Four Seasons          hon041503 lb honor     $   2,000 00    4/16/2003   50102807
200303   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting                 3/19/2003   Steven Simon, MD              Honoraria Actiq Consultant Mtg   hon031903      honor   $   2,000 00    3/26/2003   50102556
200305   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA     5/30/2003   Steven Simon, MD              Honoraria                        hon053003      honor   $   5,000 00     6/4/2003   50103268
200304   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03                   4/15/2003   Steven Simon, MD              Honoraria, La Costa              hon041503      honor   $   2,000 00    4/16/2003   50102806
200309   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03                   9/23/2003   Steven Simon, MD              Honoraria, Las Vegas             hon092303      honor   $   2,000 00    9/24/2003   50104174
200309   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03                9/30/2003   Steven Simon, MD              Honoraria                        hon093003      honor   $   2,000 00    10/8/2003   50104274
200310   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03              10/15/2003   Steven Simon, MD              Honoraria                        hon101503      honor   $   2,000 00   10/22/2003   50104389
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200308   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03                   7/30/2003   Steven Simon, MD             Honoraria                        hon073003      honor   $   2,000 00     8/6/2003   50103851
200308   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03                     8/12/2003   Steven Simon, MD             Honoraria                        hon081203      honor   $   3,000 00    8/13/2003   50103918
200309   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03                     9/11/2003   Steven Simon, MD             Honoraria                        hon091103      honor   $   2,000 00    9/11/2003   50104106
200308   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03                        8/26/2003   Steven Simon, MD                                              ckr082603 ddn honor    $   2,000 00     9/3/2003   50104007
200305   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03                  5/21/2003   Steven Simon, MD             Honoraria                        hon052103      honor   $   2,000 00    5/27/2003   50103125
200307   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03          7/16/2003   Steven Simon, MD             Honoraria                        hon071603b     honor   $   2,000 00    7/23/2003   50103776
200307   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03                     7/16/2003   Steven Simon, MD             Honoraria                        hon071603      honor   $   2,000 00    7/23/2003   50103775
200305   cephal   pcepam    3932   Chicago Consultants Meeting, May                          5/6/2003   Steven Simon, MD             Honoraria, Actiq Chicago Mtg     hon050603 lb honor     $   2,000 00     5/7/2003   50102876
200308   cephal   pcepam    4025   Actiq Medical Strategies Speaker Slide Kit               8/25/2003   Steven Simon, MD                                              ckr082503 ddn honor    $   1,500 00    8/26/2003   50103989
200401   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January               1/7/2004   Steven Simon, MD             Honoraria, Boca Raton            ckr010704      honor   $   2,500 00    1/14/2004   50105152
200403   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March              3/8/2004   Steven Simon, MD             Actiq Consultants Mtg, HMB       hon030804      honor   $   5,000 00    3/10/2004   50105639
200406   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June             6/2/2004   Steven Simon, MD             Honoraria, Aviara Mtg            hon060204      honor   $   5,000 00     6/9/2004   50106487
200408   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September            8/30/2004   Steven Simon, MD             Honoraria, NY Consultant Mtg     hon083004      honor   $   2,500 00     9/1/2004   50106998
200409   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October          9/22/2004   Steven Simon, MD             Honoraria, Naples                hon092204b     honor   $   2,500 00    9/29/2004   50107228
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Steven Simon, MD             ACTIQ Speaker Trn Mtg            hon033004      honor   $   2,000 00     4/7/2004   50106059
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Steven Simon, MD             Speaker Training Mtg, Dallas     hon031604      honor   $   2,000 00    3/24/2004   50105921
200409   cephal   pcepas    6819   ACTIQ Brand Planning                                     9/15/2004   Steven Simon, MD             ntnl adv board consultant        hon091504 ddn honor    $     450 00    9/22/2004   50107201
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Steven Stanos                ACTIQ Speaker Trn Mtg            hon033004      honor   $   1,000 00     4/7/2004   50106063
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/19/2007   Steven Stanos                Honoraria, Fentora Spkr Trng     hon061907      honor   $     500 00    6/20/2007   54002702
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Steven T. Richey             Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000702
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Steven Y. Chun               Honoraria, Fentora Spkr Trng     hon093006      honor   $   1,000 00    10/4/2006   54001702
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Steven Y. Chun               Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00   10/29/2008        189
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Steven Y. Chun               Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002815
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Steven Y. Chun               /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003755
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Stuart A. Hartman            Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000689
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   Stuart B. Krost MD, PA       Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000693
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Stuart B. Krost MD, PA       Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001724
200405   cephal   pcepac    5396   Actiq Concept Evolution                                  5/14/2004   Stuart C. King               Actiq Questionaire               ckr051404      honor   $     500 00    5/26/2004   50106360
200405   cephal   pcepac    5396   Actiq Concept Evolution                                  5/14/2004   Stuart C. King               Actiq Questionaire               ckr051404      honor   $     250 00    1/18/2006   50110814
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Stuart Hartman               ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106043
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/26/2004   Stuart Rosenblum             Selva Consensus Meet - 8/20-22   hon072604      honor   $   1,000 00    7/28/2004   54000315
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      8/17/2006   Stuart Rosenblum             Fentora Speaker Training         hon081706 slp honor    $     500 00    8/23/2006   54001613
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Stuart Rosenblum             Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002586
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/21/2008   Stuart Rosenblum             /0804 Honoraria                  ckr 042108 rmm honor   $     500 00    4/23/2008   54003725
200808   cephal   scepme   12278   West CPCF Consultant Meeting                             8/18/2008   Sudar Tanga                  /0808 Honoraria                  ckr 081808 rmm honor   $   1,000 00    8/20/2008   54004277
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                     4/11/2007   Sue Lewis                    Honoraria, Santa Monica, CA      hon041107 rmm honor    $   1,000 00    4/11/2007   54002425
200604   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only                4/2/2006   Sunny Linnebur                                                hon040206 slp honor    $     500 00     4/5/2006   54001030
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Susan A. Dickson             Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003053
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2005   Susan B. Fleming, MD, P.C.   Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001201
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Susan B. Fleming, MD, P.C.   Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001807
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Susan B. Fleming, MD, P.C.   /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003690
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Susan I. Moreno, MD, P.C.    Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001149
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Susan I. Moreno, MD, P.C.    Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001734
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   Susan Pendergrass            Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002839
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Syed Hosain, MD              Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001947
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Sylvia Mand                  Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106175
200509   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              9/23/2005   T. Lynette Green-Mack        Honoraria                        hon092305      honor   $     500 00    9/28/2005   54000687
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   T. Lynette Green-Mack        Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001812
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only               10/3/2005   T.Z. Chen                    Honoraria, Miami, FL             hon100305      honor   $   1,000 00    10/6/2005   54000744
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        10/3/2005   Terrance R. Hartsock, PA-C   Honoraria, Miami, FL             hon100305      honor   $   1,000 00    10/6/2005   54000750
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Terry White                  Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001360
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Terry White                  Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001556
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Thalia Segal                 Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001748
200407   cephal   scepme    4935   Consensus Meeting-Chicago-OOP - August                   7/19/2004   Theodore Togliatti           Honoraria, Chicago Mtg           hon071904      honor   $   1,000 00    7/21/2004   54000288
200606   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        6/26/2006   Thomas Beamer                Honoraria, Cephalon PFC Mtg      hon062606      honor   $   1,000 00    6/28/2006   54001372
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April           4/7/2004   Thomas Hart                  ACTIQ Speaker Trn Mtg            hon040704      honor   $   1,000 00     4/7/2004   50106002
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   Thomas J. Grade, MD          Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000784
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                            5/14/2006   Thomas J. Whalen, DO         Honoraria, Pain Franchise Mtg    hon051406      honor   $   1,000 00    5/17/2006   54001175
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Thomas J. Whalen, DO         Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001762
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April              4/5/2004   Thomas L. Whitten, MD        Consensus Mtg, Wash DC           hon040504      honor   $   1,000 00     4/7/2004   54000100
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Thomas L. Whitten, MD        Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001163
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/10/2006   Thomas L. Whitten, MD        Honoraria, PF Spkr Training      hon041006      honor   $     500 00    4/19/2006   54001080
200607   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                      7/24/2006   Thomas L. Whitten, MD        Honoraria, CPF Speaker Trng      hon072406      honor   $     500 00    7/26/2006   54001557
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Thomas L. Whitten, MD        Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002601
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Thomas L. Whitten, MD        /0804                            ckr 041008 rmm honor   $     500 00    4/16/2008   54003709
200805   cephal   scepme   13419   EAST CPCF CONSULTANT MEET NG                              5/5/2008   Thomas L. Whitten, MD        /0805 Honorarium                 ckr 050508 rmm honor   $   1,000 00     5/7/2008   54003779
200404   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April                4/7/2004   Thomas M. Hart, MD           Consensus Mtg                    hon040704      honor   $   1,000 00     4/7/2004   54000102
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200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   Thomas M. Hart, MD               Honoraria, Las Vegas             hon092005      honor   $   2,000 00    9/21/2005   54000650
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only               9/20/2005   Thomas M. Hart, MD               Honoraria, Las Vegas             hon092005      honor   $   1,000 00    1/30/2008   54003509
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Thomas Miller                    ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106048
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   Thomas Miller                    Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000182
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Thomas Miller                    Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001343
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Thomas R. Greene, MD             Honoraria, Las Vegas             hon090705      honor   $   1,000 00    9/21/2005   54000668
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Thomas Rambow                    Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001219
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Thomas Sachy                     Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001349
200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        6/12/2007   Thomas Strouse                   Honoraria, Fentora Spkr Trng     hon061207      honor   $     500 00    6/20/2007   54002707
200403   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March              3/16/2004   Thomas Whalen                    Speaker Training Mtg, Dallas     hon031604      honor   $   1,000 00    3/24/2004   50105926
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   Thomas Yang, MD                  Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001934
200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        6/12/2007   Thomas Yang, MD                  Honoraria, Fentora Spkr Trng     hon061207      honor   $     500 00    6/20/2007   54002708
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/21/2008   Thomas Yang, MD                  /0804 Honoraria                  ckr 042108 rmm honor   $     500 00    4/23/2008   54003729
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only               11/7/2005   Tim Grange, MD                   Honoraria, Dana Point, CA        hon110705      honor   $   1,000 00    11/9/2005   54000865
200604   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               4/24/2006   Timothy H. Miller, MD            Honoraria, PF Spkr Training      hon042406      honor   $     500 00    4/26/2006   54001105
200407   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August                 7/26/2004   Timothy Hall                     Selva Consensus Meet - 8/20-22   hon072604      honor   $   1,000 00    7/28/2004   54000301
200606   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        6/26/2006   Timothy Hall                     Honoraria, Cephalon PFC Mtg      hon062606      honor   $   1,000 00    6/28/2006   54001373
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Timothy Tumlin                   Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106185
200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West                        10/30/2006   Todd Handel, MD                  Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001918
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July                7/1/2004   Todd Koppel                      Honoraria, Consensus Mtg. RI     hon070104      honor   $   1,000 00     7/7/2004   54000244
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Todd M. Hess, MD                 Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001719
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/17/2003   Tom Kowalkowski, MD              New Orleans Symposia             021703 lb      honor   $     200 00    2/17/2003       2304
200402   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March           2/19/2004   Tommy Adams                      Actiq Consensus Mtg, March 04    hon021904      honor   $     200 00    2/25/2004   50105319
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Tracy A. Call-Schmidt,MSN,FNP    Honoraria, Las Vegas Meeting     hon090705      honor   $   1,000 00    9/14/2005   54000618
200604   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only                4/2/2006   Tracy L. Skaer                                                    hon040206 slp honor    $     500 00     4/5/2006   54001034
200509   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only                9/7/2005   Troy D. Hunter APRN              Honoraria, Las Vegas Meeting     hon090705      honor   $   1,000 00    9/14/2005   54000622
200806   cephal   scepme   12278   West CPCF Consultant Meeting                              6/9/2008   Troy D. Hunter APRN              /0806 Honorarium                 ckr 060908 rmm honor   $   1,000 00    6/11/2008   54004033
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Universal Physician Consultant   Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002072
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Vasian L. Paden                  Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002642
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only       10/14/2005   Venkatesh Movva, MD              Honoraria, Miami, FL             hon101405      honor   $   1,000 00   10/19/2005   54000814
200510   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only        10/3/2005   Venu G. Menon, MD                Honoraria, Miami, FL             hon100305      honor   $   1,000 00    10/6/2005   54000757
200402   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            2/11/2004   Vernon Lee                       Consensus Mtg, Feb 6-8, 2004     hon021104      honor   $   1,000 00    2/18/2004   54000038
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   Vernon Lee                       Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003063
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                     4/11/2007   Vesna Giurgiev                   Honoraria, Santa Monica, CA      hon041107 rmm honor    $   1,000 00    4/11/2007   54002423
200511   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only               11/7/2005   Victor D. Contreras, MD          Honoraria, Dana Point, CA        hon110705      honor   $   1,000 00    11/9/2005   54000862
200604   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY              4/17/2006   Victor D. Contreras, MD          Honoraria, PF Spkr Training      hon041706      honor   $     500 00    4/19/2006   54001045
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Victor D. Contreras, MD          Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001799
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Victor D. Contreras, MD          /0804                            ckr 041008 rmm honor   $   1,000 00    4/16/2008   54003688
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/10/2008   Victor D. Contreras, MD          /0804                            ckr 041008 rmm honor   $     500 00    8/25/2009        224
200612   cephal   scepme   10010   FENTORA AHSP Advisory Board                              12/5/2006   Victor P. Hwang                  Honoraria, CPF Costa Mesa        hon120506      honor   $     500 00   12/13/2006   54002164
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/17/2003   Victor Rodriguez, MD             New Orleans Symposia             021703 lb      honor   $     200 00    2/17/2003       2307
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Victor Tauro, MD                 Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001158
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Victor Tauro, MD                 Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001755
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   Vidya Bethi                      Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000166
200608   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only               8/14/2006   Vincent Carlesi, MD              Honoraria, CPF Spkr Training     hon081406      honor   $     500 00    8/16/2006   54001593
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Vincent Carlesi, MD              Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001701
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Vincent Cornellier               Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106164
200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    11/12/2007   Vipul V. Kabara                  /0710 Honoraria                  hon111207      honor   $   1,000 00   11/20/2007   54003350
200510   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              10/6/2005   Viren Deasi                      Honoraria                        hon100605      honor   $   1,000 00   10/12/2005   54000769
200510   cephal   scepme    7127   NOLA Sept Cephalon PFConsultants- OOPs Only              10/6/2005   Viren Deasi                      Honoraria                        hon100605      honor   $     500 00     9/3/2008        163
200710   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4                    10/15/2007   Vivian Hernandez-Popp            Honoraria                        hon101507      honor   $   1,000 00   10/24/2007   54003232
200401   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            1/27/2004   Vladimir Fiks                    Selva Consensus Mtg, Feb 04      hon012704      honor   $   1,000 00    1/28/2004   54000005
200806   cephal   scepme   12278   West CPCF Consultant Meeting                              6/9/2008   Voldimir Markiv                  /0806 Honorarium                 ckr 060908 rmm honor   $   1,000 00    6/11/2008   54004035
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Wadid Azer                       Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002647
200405   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                  5/19/2004   Walter B. Flesner III            Honoraria, South Carolina Mtg    hon051904      honor   $   1,000 00    5/26/2004   54000174
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        8/30/2004   Walter B. Flesner III            Honoraria, Consensus Mtg         hon083004      honor   $   2,000 00     9/1/2004   54000334
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   Walter B. Flesner III            Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001139
200404   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May    4/20/2004   Warren Vallerand                 Honoraria, ACTIQ Consult. Mtg.   hon042004      honor   $     200 00    4/28/2004   50106187
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Wayne Anderson                   ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106027
200402   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            2/11/2004   Wayne Anderson                   Consensus Mtg, Feb 6-8, 2004     hon021104      honor   $   1,000 00    2/18/2004   54000024
200405   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May       4/26/2004   Wayne Anderson                   Honoraria, San Francisco         hon042604      honor   $   2,000 00     5/5/2004   54000142
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Wayne Anderson                   Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001189
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Wayne Anderson                   Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001787
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    7/17/2007   Wayne Anderson                   Honoraria, Denver Spkr Trng      hon071707      honor   $     500 00    7/25/2007   54002912
200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      5/20/2008   Wayne Anderson                   /0805 Honorarium                 ckr 052008 rmm honor   $     500 00    5/21/2008   54003860
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Wayne Woodbury                   Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001964
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   Wendy Jo Leogrande               Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001338
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200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Wendy Jo Leogrande             Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001729
200705   cephal   scepme   11101   2007 Cephalon Speaker Training LA                        5/24/2007   Wendy Jo Leogrande             Honoraria, LA Speaker Training   hon052407      honor   $     500 00    5/30/2007   54002569
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Wesley D. Foreman              Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001808
200407   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July                7/1/2004   William Acosta                 Honoraria, Consensus Mtg. RI     hon070104      honor   $   1,000 00     7/7/2004   54000237
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     8/30/2007   William B. Lujan               Honoraria                        hon083007      honor   $   1,000 00     9/5/2007   54003065
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   William Biskup                 ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106035
200404   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April             4/12/2004   William Biskup                 Consensus Mtg, Wash DC           hon041204      honor   $   1,000 00    4/14/2004   54000129
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                       8/7/2006   William Biskup                 Honoraria, CPF Speaker Trng      hon080706      honor   $     500 00     8/9/2006   54001573
200709   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3                     9/20/2007   William C. Stonecipher         Honoraria                        hon092007      honor   $   1,000 00    9/26/2007   54003137
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   William Crumbley               Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    6/21/2006   54001327
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                      4/2/2007   William E. Ashby               Honoraria, CPF Los Angeles       hon040207      honor   $   1,000 00     4/4/2007   54002386
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   William Hedrick                Honoraria, Cephalon PF Mtg       hon061606      honor   $   2,000 00    6/21/2006   54001333
200606   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        6/16/2006   William Hedrick                Honoraria, Cephalon PF Mtg       hon061606      honor   $   1,000 00    1/30/2008   54003510
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   William Hedrick                Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001718
200707   cephal   scepme   11103   2007 Cephalon Speaker Training Denver                    6/29/2007   William Hedrick                Honoraria, Fentora Spkr Trng     hon062907      honor   $     500 00    7/11/2007   54002830
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      4/30/2008   William Hedrick                /0804 Honorarium                 ckr 043008 rmm honor   $     500 00     5/7/2008   54003801
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                     4/19/2007   William Johnson                Honoraria                        hon041907      honor   $   1,000 00    4/25/2007   54002445
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   William L. Wilson              Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001228
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   William Lloyd Washington, MD   Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002090
200510   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only              10/17/2005   William R. Knight              Honoraria, Dana Point, CA        hon101705      honor   $   1,000 00   10/19/2005   54000788
200608   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago                       8/7/2006   William R. Knight              Honoraria, CPF Speaker Trng      hon080706      honor   $     500 00     8/9/2006   54001577
200406   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May     6/8/2004   William Saker                  Consultant Mtg. Vancouver, BC    hon060804      honor   $     200 00    6/16/2004   50106547
200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only                        7/24/2006   William Schlesinger, MD        Honoraria, CPF Consultant Mtg    hon072406      honor   $   1,000 00    7/26/2006   54001541
200605   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs                             5/9/2006   William Tham                   Honoraria, Miami Beach           hon050906      honor   $   1,000 00    5/10/2006   54001159
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   William Tham                   Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001757
200706   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                    6/11/2007   William Tham                   Honoraria, Fentora Spkr Trng     hon061107      honor   $     500 00    6/13/2007   54002688
200804   cephal   scepme   13176   2008 CPCF AAD Speaker Training East                      4/30/2008   William Tham                   /0804 Honorarium                 ckr 043008 rmm honor   $     500 00     5/7/2008   54003807
200402   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February            2/11/2004   William Work                   Consensus Mtg, Feb 6-8, 2004     hon021104      honor   $   1,000 00    2/18/2004   54000049
200806   cephal   scepme   12278   West CPCF Consultant Meeting                             6/25/2008   William Work                   /0807 Honoraria                  ckr 062508 rmm honor   $   1,000 00    6/30/2008   54004134
200406   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June                   6/8/2004   Winston Griner                 Consensus Mtg. Charleston, SC    hon060804      honor   $   1,000 00    6/16/2004   54000205
200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East                        10/30/2006   Xiulu Ruan, MD                 Honoraria, Fentora Spkr Trng     hon103006      honor   $     500 00    11/8/2006   54001957
200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston                     7/3/2007   Xiulu Ruan, MD                 Honoraria                        hon070307      honor   $     500 00    7/11/2007   54002803
200804   cephal   scepme   13178   2008 CPCF AAD Speaker Training West                      4/21/2008   Xiulu Ruan, MD                 /0804 Honoraria                  ckr 042108 rmm honor   $     500 00    4/23/2008   54003726
200404   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April          3/30/2004   Yogendra Bharat                ACTIQ Speaker Trn Mtg.           hon033004      honor   $   1,000 00     4/7/2004   50106034
200407   cephal   scepme    4935   Consensus Meeting-Chicago-OOP - August                   7/19/2004   Yogendra Bharat                Honoraria, Chicago Mtg           hon071904      honor   $   1,000 00    7/21/2004   54000279
200408   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September        8/30/2004   Yogendra Bharat                Honoraria, Consensus Mtg         hon083004      honor   $   2,000 00     9/1/2004   54000332
200606   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        6/26/2006   Yolanda Huet-Vaughn            Honoraria, Cephalon PFC Mtg      hon062606      honor   $   1,000 00    6/28/2006   54001379
200610   cephal   scepme    9634   CPF 06 FBT Speaker Training East                         9/30/2006   Yolanda Huet-Vaughn            Honoraria, Fentora Spkr Trng     hon093006      honor   $     500 00    10/4/2006   54001758
200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1                      4/2/2007   Yolando Suarez                 Honoraria, CPF Los Angeles       hon040207      honor   $   1,000 00     4/4/2007   54002401
200605   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only                        5/25/2006   Yong-Jian Lin, MD, PhD, Inc.   Honoraria, PF Consultant Mtg     hon052506      honor   $   1,000 00    5/31/2006   54001209
200610   cephal   scepme    9635   CPF 06 FBT Speaker Training West                         10/9/2006   Yong-Jian Lin, MD, PhD, Inc.   Honoraria, Fentora Spkr Trng     hon100906      honor   $     500 00   10/13/2006   54001821
200302   cephal   pcepam    2956   AAPM Conference - 02/17/03                               2/17/2003   Yousaf Sayeed, MD              New Orleans Symposia             021703 lb      honor   $     200 00    2/17/2003       2313
200806   cephal   scepme   12278   West CPCF Consultant Meeting                              6/9/2008   Yuriy Bukhalo                  /0806 Honorarium                 ckr 060908 rmm honor   $   1,000 00    6/11/2008   54004029
200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2                     6/11/2007   Yuting Xiong                   Honoraria                        hon061107      honor   $   1,000 00    6/13/2007   54002649
200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only                       11/20/2006   Yuting Xioug                   Honoraria, CPF Consultant Mtg    hon112006      honor   $   1,000 00   11/29/2006   54002092
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post period     client   product   job      job name
       200407   cephal   scepme      4933   Consensus Meeting-Charleston-OOP - June
       200711   cephal   scepme     10910   2007 Cephalon Consultants Meeting #4
       200406   cephal   pcepam      4928   Speaker Training Meeting-Dallas-OOP - March
       200311   cephal   pcepam      3860   Las Vegas Consultants Meeting, 10-3-03
       200710   cephal   scepme     11882   2007 Cephalon Speaker Training #4
       200710   cephal   scepme     10908   2007 Cephalon Consultants Meeting #3
       200311   cephal   pcepam      3307   East Coast National Meeting, 10/17 - 10/19
       200406   cephal   scepme      4931   Consensus Meeting- New Orleans-OOP - April
       200511   cephal   scepme      7129   Vegas OCT Cephalon PF Consultants-OOP only
       200406   cephal   pcepam      4928   Speaker Training Meeting-Dallas-OOP - March
       200406   cephal   pcepam      4928   Speaker Training Meeting-Dallas-OOP - March
       200511   cephal   scepme      7129   Vegas OCT Cephalon PF Consultants-OOP only
       200311   cephal   pcepam      3860   Las Vegas Consultants Meeting, 10-3-03
       200407   cephal   pcepam      4913   ACTIQ Consultant Meeting-San Diego-OOP - June
       200410   cephal   pcepam      4914   ACTIQ Consultant Meeting -NYC-OOP - September
       200303   cephal   pcepam      3289   02/14/03- Salt Lake City, UT Meeting
       200509   cephal   scepme      7663   ACTIQ Regional FALL Speaker Training
       200509   cephal   scepme      7663   ACTIQ Regional FALL Speaker Training
       200607   cephal   scepme      8900   CPF Consultant Meeting 3 OOP Only
       200306   cephal   pcepam      3308   West Coast National Meeting, San Diego, 5/2 - 5/4
       200405   cephal   pcepam      4912   Consultant Meeting-Half Moon Bay-OOP - March
       200706   cephal   scepme     10904   2007 Cephalon Consultants Meeting #1
       200507   cephal   scepme      7029   June 2005 - CA - Speaker Training Meeting
       200805   cephal   scepme     13176   2008 CPCF AAD Speaker Training East
       200302   cephal   pcepam      3288   01/24/03 Boca Raton Regional Meeting
       200406   cephal   pcepam      4927   Speaker Training Meeting-Scottsdale-OOP - April
       200606   cephal   scepme      8945   AAD Speaker Training Programs - 1 OOPS ONLY
       200707   cephal   scepme     11099   2007 Cephalon Speaker Training Boston
       200312   cephal   pcepam      3862   Amelia Island Consultants Meeting, 11/7/03
       200706   cephal   scepme     10906   2007 Cephalon Consultants Meeting #2
       200311   cephal   pcepam      3307   East Coast National Meeting, 10/17 - 10/19
       200308   cephal   pcepam      3869   Reynolds Plantation Consultants Meeting, 8/1/03
       200405   cephal   scepme      4932   Consensus Meeting- Washington DC-OOP - April
       200511   cephal   scepme      7129   Vegas OCT Cephalon PF Consultants-OOP only
       200305   cephal   pcepam      3306   Central National Meeting, New Orleans 4/11-4/13
       200410   cephal   pcepam      4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
       200407   cephal   pcepam      4913   ACTIQ Consultant Meeting-San Diego-OOP - June
       200706   cephal   scepme     10906   2007 Cephalon Consultants Meeting #2
       200708   cephal   scepme     11099   2007 Cephalon Speaker Training Boston
       200708   cephal   scepme     11099   2007 Cephalon Speaker Training Boston
       200406   cephal   scepme      4932   Consensus Meeting- Washington DC-OOP - April
       200406   cephal   scepme      4937   Consensus National Meeting-San Francisco-OOP - May
       200404   cephal   pcepam      4911   Consultant Meeting-Boca Raton-OOP - January
       200507   cephal   scepme      7029   June 2005 - CA - Speaker Training Meeting
       200307   cephal   pcepam      3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
       200307   cephal   pcepam      3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
       200311   cephal   pcepam      3860   Las Vegas Consultants Meeting, 10-3-03
       200609   cephal   scepme      9633   CPF 06 FBT Speaker Training Chicago
       200710   cephal   scepme     11882   2007 Cephalon Speaker Training #4
       200410   cephal   pcepam      4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
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     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200411   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200311   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200409   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200306   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200305   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting
     200407   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June
     200410   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200712   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200712   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200409   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200512   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200305   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200102   cephal   pcep      1129   Travel Expenses
     200305   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200409   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August
     200411   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200404   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
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     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200110   cephal   pcepac    1056   Actiq 2001 Concepting
     200110   cephal   pcepac    1056   Actiq 2001 Concepting
     200203   cephal   pcepac    1829   Patient Profile Flash Card
     200204   cephal   pcepac    1829   Patient Profile Flash Card
     200312   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200410   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August
     200410   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August
     200706   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200706   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200711   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200711   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200711   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200305   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200512   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
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     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200311   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200706   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200310   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200512   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200507   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200404   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200404   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200612   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200312   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200312   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200305   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200404   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February
     200404   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February
     200406   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April
     200407   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April
     200410   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April
     200409   cephal   scepme    4935   Consensus Meeting-Chicago-OOP - August
     200410   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August
     200410   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September
     200404   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
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     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200404   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200305   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting
     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200410   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200409   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200512   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200606   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only
     200612   cephal   scepme   10010   FENTORA AHSP Advisory Board
     200707   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200707   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200606   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only
     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200305   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200312   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
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     200305   cephal   pcepam    3932   Chicago Consultants Meeting, May
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200309   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03
     200309   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03
     200305   cephal   pcepam    2957   APS Conference, Chicago, 3/21
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200305   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200305   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200309   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03
     200309   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03
     200312   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200312   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200309   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200309   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200410   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200410   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200404   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March
     200404   cephal   pcepam    4925   Consultant Convention-AAPM-Orlando-OOP - March
     200412   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May
     200412   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May
     200412   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200507   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200507   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200507   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200801   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200801   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200807   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200807   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200307   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200410   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August
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     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200812   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200409   cephal   scepme    4935   Consensus Meeting-Chicago-OOP - August
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200406   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200404   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February
     200404   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February
     200406   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200407   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200712   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200407   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200407   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200601   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200404   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February
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     200409   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200404   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February
     200305   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200305   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200312   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200305   cephal   pcepam    3932   Chicago Consultants Meeting, May
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200409   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200812   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)
     200409   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August
     200307   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200409   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
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     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200411   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200307   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200307   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200411   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200712   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200601   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200601   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
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     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200307   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200512   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200306   cephal   pcepam    3932   Chicago Consultants Meeting, May
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200707   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200708   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200409   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July
     200407   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200305   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200312   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03
     200404   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200612   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200707   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200707   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200309   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03
     200309   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
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     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200307   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200708   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200708   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200305   cephal   pcepam    2957   APS Conference, Chicago, 3/21
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200311   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200707   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200305   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200812   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200612   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200708   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200307   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03
     200307   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03
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     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200612   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200407   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200812   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200712   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200305   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200305   cephal   pcepam    3932   Chicago Consultants Meeting, May
     200406   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April
     200406   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200708   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200404   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February
     200305   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200406   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
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     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200411   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200406   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April
     200406   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training
     200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200512   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200707   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200707   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200707   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200606   cephal   scepme    9173   Cephalon Pain Franchise Advisory Board May 2 - OOP
     200305   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200411   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200309   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200606   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200305   cephal   pcepam    3932   Chicago Consultants Meeting, May
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     200812   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)
     200405   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200312   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200312   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200311   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03
     200312   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200309   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200309   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200411   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200411   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200411   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200708   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200708   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200612   cephal   scepme   10010   FENTORA AHSP Advisory Board
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200601   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200601   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
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     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200512   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200512   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200610   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200610   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200607   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200607   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200512   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200607   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200607   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200606   cephal   scepme    9173   Cephalon Pain Franchise Advisory Board May 2 - OOP
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200612   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200707   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200707   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200707   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200707   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200712   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200712   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200712   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200707   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200707   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200707   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200804   cephal   scepme   11732   2007 Speaker Training Refresher
     200804   cephal   scepme   11732   2007 Speaker Training Refresher
     200712   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200712   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
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     200807   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200512   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200808   cephal   scepme   12278   West CPCF Consultant Meeting
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200702   cephal   scepme   10231   Cephalon Managed Care Speaker Training
     200404   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200305   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200512   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200706   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200309   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200612   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
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     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200404   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200711   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200312   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200305   cephal   pcepam    3932   Chicago Consultants Meeting, May
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200306   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200404   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February
     200407   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April
     200806   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200806   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200404   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200712   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200305   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200407   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200608   cephal   pceprt   10266   November Strategic Planning
     200607   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200607   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200612   cephal   scepme   10010   FENTORA AHSP Advisory Board
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200409   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July
     200410   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
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     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200812   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)
     200812   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200312   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200409   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200309   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
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     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200507   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200507   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200609   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200609   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200406   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April
     200305   cephal   pcepam    3932   Chicago Consultants Meeting, May
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200406   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200612   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200512   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200305   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting
     200312   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200306   cephal   pcepam    2957   APS Conference, Chicago, 3/21
     200306   cephal   pcepam    2957   APS Conference, Chicago, 3/21
     200306   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200306   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200306   cephal   pcepam    3290   03/07/03 San Antonio Regional Meeting
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     200306   cephal   pcepam    3290   03/07/03 San Antonio Regional Meeting
     200306   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13
     200306   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13
     200306   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200306   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200306   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03
     200306   cephal   pcepam    3932   Chicago Consultants Meeting, May
     200306   cephal   pcepam    3932   Chicago Consultants Meeting, May
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200612   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200705   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200704   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200708   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200704   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200305   cephal   pcepam    3932   Chicago Consultants Meeting, May
     200404   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200612   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200412   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200305   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200406   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200602   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
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     200404   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200712   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200712   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200311   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03
     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200707   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200305   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting
     200411   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200305   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200711   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200404   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February
     200406   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200410   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September
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     200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200305   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200311   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200608   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200406   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April
     200406   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May
     200305   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200404   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200606   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200309   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200312   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03
     200409   cephal   scepme    4935   Consensus Meeting-Chicago-OOP - August
     200410   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
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     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200512   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200512   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200711   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200702   cephal   scepme   10231   Cephalon Managed Care Speaker Training
     200702   cephal   scepme   10231   Cephalon Managed Care Speaker Training
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200806   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
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     200806   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200411   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200305   cephal   pcepam    2957   APS Conference, Chicago, 3/21
     200612   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200406   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April
     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200306   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200404   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200701   cephal   scepme   10010   FENTORA AHSP Advisory Board
     200307   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200305   cephal   pcepam    2957   APS Conference, Chicago, 3/21
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200512   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200612   cephal   scepme   10010   FENTORA AHSP Advisory Board
     200612   cephal   scepme   10010   FENTORA AHSP Advisory Board
     200612   cephal   scepme   10010   FENTORA AHSP Advisory Board
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200807   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200807   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
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     200309   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03
     200409   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July
     200410   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200305   cephal   pcepam    3932   Chicago Consultants Meeting, May
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200602   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200602   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200606   cephal   scepme    9173   Cephalon Pain Franchise Advisory Board May 2 - OOP
     200404   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200411   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200410   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
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     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200305   cephal   pcepam    2957   APS Conference, Chicago, 3/21
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200406   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200708   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200708   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200708   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200708   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200404   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February
     200404   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200712   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200808   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200807   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200807   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200812   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200507   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200507   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200608   cephal   pceprt   10266   November Strategic Planning
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200708   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200708   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
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     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200812   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)
     200812   cephal   scepme   14478   FENTORA Advisory Board - Philadelphia (EAST)
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200305   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13
     200305   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200711   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200606   cephal   scepme    9173   Cephalon Pain Franchise Advisory Board May 2 - OOP
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200311   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200707   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200612   cephal   scepme   10010   FENTORA AHSP Advisory Board
     200612   cephal   scepme   10010   FENTORA AHSP Advisory Board
     200407   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200409   cephal   scepme    4935   Consensus Meeting-Chicago-OOP - August
     200410   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200311   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03
     200307   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03
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     200307   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03
     200307   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200305   cephal   pcepam    3932   Chicago Consultants Meeting, May
     200512   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200406   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April
     200312   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200512   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200512   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200409   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July
     200410   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September
     200312   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200711   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200305   cephal   pcepam    2957   APS Conference, Chicago, 3/21
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200410   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200406   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
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     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200807   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200612   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200612   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200801   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200312   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200612   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200710   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200606   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only
     200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200305   cephal   pcepam    2957   APS Conference, Chicago, 3/21
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200406   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April
     200406   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April
     200406   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200602   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200602   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200101   cephal   pcepac     954   2001 Account/Creative Service Time
     200101   cephal   pcepac    1056   Actiq 2001 Concepting
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
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     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200606   cephal   scepme    9173   Cephalon Pain Franchise Advisory Board May 2 - OOP
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200512   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200512   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200705   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200705   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200705   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200605   cephal   pcepot    9349   Patient BBW and Medication Guide
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200509   cephal   scepme    7663   ACTIQ Regional FALL Speaker Training
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
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     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200708   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200406   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April
     200612   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200708   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200708   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200612   cephal   scepme   10010   FENTORA AHSP Advisory Board
     200612   cephal   scepme   10010   FENTORA AHSP Advisory Board
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200807   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200409   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200702   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200702   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200702   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200702   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200702   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200702   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200406   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200607   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200312   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03
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     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200310   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200608   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200701   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200701   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200312   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200411   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200411   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200305   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200311   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200407   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June
     200411   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200406   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
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     200305   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting
     200305   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting
     200305   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200312   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03
     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200307   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200708   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200708   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200303   cephal   pcepam    2956   AAPM Conference - 02/17/03
     200303   cephal   pcepam    2956   AAPM Conference - 02/17/03
     200303   cephal   pcepam    2956   AAPM Conference - 02/17/03
     200303   cephal   pcepam    2957   APS Conference, Chicago, 3/21
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200305   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200305   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200305   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200311   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03
     200312   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200309   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03
     200309   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03
     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200307   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200305   cephal   pcepam    3932   Chicago Consultants Meeting, May
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
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     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200406   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May
     200406   cephal   pcepam    4926   Consultant Convention Meeting-APS-Vancouver-OOP - May
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200612   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200806   cephal   scepme   13419   EAST CPCF CONSULTANT MEETING
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training
     200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200612   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200711   cephal   scepme   11882   2007 Cephalon Speaker Training #4
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training
     200701   cephal   scepme   10231   Cephalon Managed Care Speaker Training
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200712   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200404   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February
     200404   cephal   scepme    4930   Consensus Meeting-Orlando-OOP - February
     200406   cephal   scepme    4931   Consensus Meeting- New Orleans-OOP - April
     200406   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April
     200407   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June
     200407   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June
     200409   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July
     200409   cephal   scepme    4934   Consensus Meeting- Rhode Island-OOP - July
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     200410   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August
     200406   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May
     200410   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September
     200410   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200612   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200706   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200706   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200706   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200707   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200709   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200709   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200303   cephal   pcepam    2956   AAPM Conference - 02/17/03
     200305   cephal   pcepam    2957   APS Conference, Chicago, 3/21
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200305   cephal   pcepam    3306   Central National Meeting, New Orleans 4/11-4/13
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200305   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200305   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200311   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03
     200312   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200312   cephal   pcepam    3862   Amelia Island Consultants Meeting, 11/7/03
     200309   cephal   pcepam    3863   Nemicolin Consultants Meeting, 8/15/03
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200310   cephal   pcepam    3866   Hershey Consultants Meeting, 9/19/03
     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200307   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200309   cephal   pcepam    3876   Colorado Consultants Meeting, 8/8/03
     200305   cephal   pcepam    3932   Chicago Consultants Meeting, May
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200406   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
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     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200406   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200410   cephal   scepme    4936   Consensus Meeting-San Diego-OOP - August
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200312   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200404   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200606   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200311   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200406   cephal   pcepam    4928   Speaker Training Meeting-Dallas-OOP - March
     200305   cephal   pcepam    2957   APS Conference, Chicago, 3/21
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200409   cephal   scepme    4935   Consensus Meeting-Chicago-OOP - August
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200303   cephal   pcepam    3289   02/14/03- Salt Lake City, UT Meeting
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
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     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200607   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200309   cephal   pcepam    3865   Chicago Consultants Meeting, 8/22/03
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200305   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200311   cephal   pcepam    3860   Las Vegas Consultants Meeting, 10-3-03
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200407   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200511   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200608   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200706   cephal   scepme   11101   2007 Cephalon Speaker Training LA
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200510   cephal   scepme    7129   Vegas OCT Cephalon PF Consultants-OOP only
     200405   cephal   pcepam    4912   Consultant Meeting-Half Moon Bay-OOP - March
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200506   cephal   scepme    7027   May 2005 - FL - Speaker Training Meeting
     200307   cephal   pcepam    3868   Greenbrier Consultants Meeting, 6/20/03
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200409   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200606   cephal   scepme    8904   ACCP Pharmacy Ad Board April 06 - OOP Only
     200311   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200706   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200312   cephal   pcepam    3307   East Coast National Meeting, 10/17 - 10/19
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200411   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200512   cephal   scepme    7131   Coconut Grove Oct Cephalon PFConsultants OOP Only
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200506   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200506   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200512   cephal   scepme    7133   Laguna NOV Cephalon PFConsultants OOP Only
     200606   cephal   scepme    8945   AAD Speaker Training Programs - 1 OOPS ONLY
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200407   cephal   scepme    4933   Consensus Meeting-Charleston-OOP - June
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200312   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03
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     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200606   cephal   scepme    8946   AAD Speaker Training Programs -2 OOPS only
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200312   cephal   pcepam    3861   New Orleans Consultants Meeting, 10/24/03
     200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200712   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200712   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200404   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200711   cephal   scepme   10910   2007 Cephalon Consultants Meeting #4
     200708   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200708   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200312   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200410   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September
     200607   cephal   scepme    8896   CPF Consultant Meeting 1 OOPs
     200302   cephal   pcepam    3288   01/24/03 Boca Raton Regional Meeting
     200305   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200404   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February
     200406   cephal   scepme    4937   Consensus National Meeting-San Francisco-OOP - May
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200708   cephal   scepme   11103   2007 Cephalon Speaker Training Denver
     200806   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200806   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200306   cephal   pcepam    3308   West Coast National Meeting, San Diego, 5/2 - 5/4
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200308   cephal   pcepam    3869   Reynolds Plantation Consultants Meeting, 8/1/03
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200710   cephal   scepme   10908   2007 Cephalon Consultants Meeting #3
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200307   cephal   pcepam    3858   Baltimore Consultants Meeting, 6/6-6/8, Leesburg, VA
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200406   cephal   scepme    4932   Consensus Meeting- Washington DC-OOP - April
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200704   cephal   scepme   10904   2007 Cephalon Consultants Meeting #1
     200305   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting
     200305   cephal   pcepam    3758   4/4/03 Daufauski Island Regional Meeting
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200403   cephal   pcepam    4911   Consultant Meeting-Boca Raton-OOP - January
     200609   cephal   scepme    9633   CPF 06 FBT Speaker Training Chicago
     200407   cephal   pcepam    4913   ACTIQ Consultant Meeting-San Diego-OOP - June
     200411   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
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     200311   cephal   pcepam    3867   NYC Consultant's Meeting, 9/12/03
     200404   cephal   scepme    4929   Consensus Meeting-Laguna Beach-OOP - February
     200807   cephal   scepme   12278   West CPCF Consultant Meeting
     200411   cephal   pcepam    4916   ACTIQ Consultant Meeting -Naples- OOP - October
     200607   cephal   scepme    8900   CPF Consultant Meeting 3 OOP Only
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200805   cephal   scepme   13176   2008 CPCF AAD Speaker Training East
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200611   cephal   scepme    9634   CPF 06 FBT Speaker Training East
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200707   cephal   scepme   11099   2007 Cephalon Speaker Training Boston
     200806   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200805   cephal   scepme   13178   2008 CPCF AAD Speaker Training West
     200410   cephal   pcepam    4914   ACTIQ Consultant Meeting -NYC-OOP - September
     200406   cephal   pcepam    4927   Speaker Training Meeting-Scottsdale-OOP - April
     200410   cephal   scepme    4935   Consensus Meeting-Chicago-OOP - August
     200410   cephal   scepme    4938   Consensus National Meetin-Georgia-OOP - September
     200611   cephal   scepme    9635   CPF 06 FBT Speaker Training West
     200305   cephal   pcepam    3859   San Diego Consultants Meeting, 5/25/03
     200410   cephal   pcepam    4915   ACTIQ Consultant Meeting -Las Vegas-OOP - October
     200507   cephal   scepme    7029   June 2005 - CA - Speaker Training Meeting
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200607   cephal   scepme    8898   CPF Consultant Meeting 2 OOP Only
     200611   cephal   scepme    8902   CPF Consultant Meeting 4 OOP Only
     200707   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
     200707   cephal   scepme   10906   2007 Cephalon Consultants Meeting #2
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inv date      vendor                    AP desc                        inv #
  6/18/2004   A Hussam Armashi          Expense Reimbursement              61804
  11/6/2007   A. C. Morrill             /0710 Expense Reimbursement       110607
   4/6/2004   A. J. Kabazie             Expense Reimbursement              40604
 10/13/2003   Abby Johnson              Expense Reimbursement             101303
  10/7/2007   Abby Nasternak            Expense Reimbursement             100707
  9/17/2007   Abdulmajeed Kadri         /Expense Reimbursement             91707
 10/24/2003   Abraham Rivera            Expense Reimbursement             102403
   4/4/2004   Adam Arredando            Expense Reimbursement              40404
  10/1/2005   Adam Arredando            Expense Reimbursement             100105
  3/28/2004   Adam Arredondo            Expense Reimbursement              32804
  3/31/2004   Adam Sackstein, MD        Expense Reimbursement              33104
 10/13/2005   Adam Sackstein, MD        Expense Reimbursement             101305
 10/14/2003   Adam Sherman              Expense Reimbursement             101403
  6/14/2004   Ajai Nemani               Expense Reimbursement              61404
  9/30/2004   Al Vellinga               Expense Reimbursement              93004
   3/3/2003   Alan Brown, MD                                               30303
  8/23/2005   Alan K. Gruskin, DO       Expense Reimbursement              82305
  8/23/2005   Alan K. Gruskin, DO       Expense Reimbursement              82305
  6/25/2006   Alan K. Gruskin, DO       Expense Reimbursement              62506
  5/13/2003   Alan L. Sloan, MD, PC     Expense Reimbursement              51303
  3/23/2004   Alejandro Gil             Expense Reimbursement              32304
   5/7/2007   Alexander Chen            /Expense Reimbursement             50707
  6/20/2005   Alexander Krakovsky, MD   Expense Reimbursement              62005
   5/2/2008   Alexander Pujol           /0804 Expense Reimbursement    050208 rm
  1/26/2003   Alexdander Jungreis       Expense Reimbursement          012603 lb
  5/24/2004   Alexdander Jungreis       Expense Reimbursement              42404
   5/3/2006   Alfonso Morales, MD       Expense Reimbursement              50306
  6/26/2007   Alfonso Morales, MD       /Expense Reimbursement             62607
 11/12/2003   Allan Escher              Expense Reimbursement             111203
   6/5/2007   Allison Gorski            Expense Reimbursement              60507
 10/19/2003   Alyn Benezette            Expense Reimbursement             101903
   8/7/2003   Amanda A. Zimmerman       Expense Reimbursement              80703
  4/29/2004   Amarjeet Singh            wire payment                   ckr042904
  10/3/2005   Amer Khouri, MD           Expense Reimbursement             100305
  4/14/2003   Amitabh Goel, MD          Expense Reimbursement              41403
 10/18/2004   Amtullah Khan             Expense Reimbursement             101804
  6/15/2004   Amy E Parry               Expense Reimbursement              61504
   6/6/2007   Amy Traylor                                                  60607
  6/25/2007   Amy Traylor               /Expense Reimbursement             62507
  6/25/2007   Amy Traylor               /Expense Reimbursement             62507
  4/27/2004   Andreas Syllaba           Expense Reimbursement              42704
  5/18/2004   Andreas Syllaba           Expense Reimbursement              51804
  2/15/2004   Andrew DeMaggio           Expense Reimbursement              21504
  6/11/2005   Andrew DeMaggio, MD       ACTIQ National Speaker Trng.   exp061105
  6/16/2003   Andrew Hendrix            Expense Reimbursement              61603
  6/16/2003   Andrew Hendrix            Expense Reimbursement              61603
 10/10/2003   Andrew Hesseltine         Expense Reimbursement             101003
  8/15/2006   Andrew Kaufman, MD        Expense Reimbursement              81506
  10/7/2007   Andrew Kaufman, MD        Expense Reimbursement             100707
 10/11/2004   Andrew Konen              Expense Reimbursement             101104
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 10/4/2004   Andrew Kowal                     Expense Reimbursement           100404
 6/20/2005   Andrew W. Hessltine, MD          Expense Reimbursement             62005
  9/3/2003   Andrew Will                                                        90303
 6/28/2006   Andrew Will                      Expense Reimbursement             62806
  5/4/2006   Angela Miliman, MSN, CRNP        Expense Reimbursement             50406
 4/29/2008   Angela Miliman, MSN, CRNP        /0804 Expense Reimbursement   exp 042908
10/10/2003   Anil Kumar                       Expense Reimbursement           101003
 3/25/2004   Anil Sharma                      Expense Reimbursement             32504
  6/2/2006   Anil Sharma, MD                  Expense Reimbursement             60206
 8/20/2005   Anindya K. Sen, MD, FACP, MRCP   Expense Reimbursement             82005
 8/20/2005   Anindya K. Sen, MD, FACP, MRCP   Expense Reimbursement             82005
10/11/2004   Anindya Sen                      Expense Reimbursement           101104
10/31/2004   Anindya Sen                      Expense Reimbursement           103104
10/18/2003   Anne Cipta                       Expense Reimbursement           101803
  8/5/2003   Anthony Clavo                    Expense Reimbursement             80503
  8/5/2003   Anthony Clavo                    Expense Reimbursement             80503
 6/28/2004   Anthony Colantonio               Expense Reimbursement             62804
 1/27/2003   Anthony F. Austin-Afong          Expense Reimbursement             12703
 6/18/2005   Anthony Guarino, MD              Expense Reimbursement             61805
 4/29/2006   Anthony Guarino, MD              Expense Reimbursement             42906
 8/17/2006   Anthony Guarino, MD              Expense Reimbursement             81706
 6/24/2007   Anthony Guarino, MD              /Expense Reimbursement            62407
 4/30/2006   Anthony J. Colantonio, MD        Expense Reimbursement             43006
 8/14/2006   Anthony J. Colantonio, MD        Expense Reimbursement             81406
 4/16/2003   Anthony Rogers, MD               Expense Reimbursement             41603
 7/14/2006   Anthony Rogers, MD               Expense Reimbursement             71406
 7/14/2006   Anthony Rogers, MD               Expense Reimbursement             71406
  4/7/2003   Anthony Wheeler                  Expense Reimbursement             40703
 6/10/2004   Anthony Wheeler                  Expense Reimbursement             61004
 9/13/2004   Anthony Wheeler                  Expense Reimbursement             91304
  7/2/2006   Anthony Wheeler                  Expense Reimbursement             70206
 12/4/2003   Anuj Sharma                      Expense Reimbursement           120403
11/15/2007   Anuj Sharma                      /0710 Expense Reimbursement     111507
11/15/2007   Anuj Sharma                      /0710 Expense Reimbursement     111507
 6/26/2006   Anwuli Okoli, MD                 Expense Reimbursement             62606
 10/5/2004   Aramando Sallavanti              Expense Reimbursement             10054
10/23/2006   Arthur Jason DeLuigi, MD         Expense Reimbursement           102306
 7/25/2004   Arthur Taub                      Expense Reimbursement             72504
 1/26/2004   Atif Malik                       Boca Expense Reimbursement        12604
 9/23/2005   B. J. Daneshfer                  Expense Reimbursement             92305
 5/18/2003   Baldev Singh                     Expense Reimbursement             51803
 8/25/2003   Barbara St. Marie                                                  82503
 1/30/2001   Barlow, Andrew                                                 exp013001
 4/30/2003   Barry Odegaard                   Expense Reimbursement             43003
 8/24/2004   Barry Odegaard                   Expense Reimbursement             82404
10/28/2004   Barry Ring                       Expense Reimbursement           102804
 1/27/2004   Bart Gatz                        Boca Expense Reimbursement        12704
  3/4/2004   Bart Gatz                        Expense Reimbursement             30404
 6/14/2005   Bart Gatz                        Expense Reimbursement             61405
 10/4/2005   Bart Gatz                        Expense Reimbursement           100405
 8/13/2006   Bart Gatz                        Expense Reimbursement             81306
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 6/10/2007   Bart Gatz                 Expense Reimbursement              61007
 4/27/2008   Bart Gatz                 /0804 Expense Reimbursement     042708 rm
 4/27/2008   Bart Gatz                 /0804 Expense Reimbursement     042708 rm
 5/20/2008   Bart Gatz                 /0805 - expense reimbursement      52008
 6/22/2001   Bartlett, Wells                                           exp062201
 6/22/2001   Bartlett, Wells                                           exp062201
  3/6/2002   Bartlett, Wells                                           exp030602
 4/15/2002   Bartlett, Wells                                           exp041502
10/27/2003   Ben Lampert               Expense Reimbursement             102703
 11/5/2006   Benjamin Heath            Expense Reimbursement             110506
 11/5/2006   Benjamin Heath            Expense Reimbursement             110506
 4/25/2006   Benjamin Meeks            Expense Reimbursement              42506
 7/15/2007   Benjamin Meeks            /Expense Reimbursement             71507
 4/14/2008   Benjamin Meeks            /0804 Exp Reimbursement         exp041408
 4/14/2008   Benjamin Meeks            /0804 Exp Reimbursement         exp041408
 10/1/2004   Bennett Davis             Expense Reimbursement             100401
 8/22/2004   Berj Kalamkarian          Expense Reimbursement              82204
  5/4/2007   Berj Kalamkarian          /Expense Reimbursement             50407
  5/4/2007   Berj Kalamkarian          /Expense Reimbursement             50407
11/10/2003   Bernard Canlas            Expense Reimbursement             111003
 8/22/2005   Bernard R. Canlas, MD     Expense Reimbursement              82205
 8/22/2005   Bernard R. Canlas, MD     Expense Reimbursement              82205
 8/22/2005   Bernard R. Canlas, MD     Expense Reimbursement              82205
 8/22/2005   Bernard R. Canlas, MD     Expense Reimbursement              82205
 5/22/2006   Bernard R. Canlas, MD     Expense Reimbursement              52206
  5/3/2006   Bernard R. Canlas, MD     Expense Reimbursement              50306
 8/14/2006   Bernard R. Canlas, MD     Expense Reimbursement              81406
10/16/2007   Bernard R. Canlas, MD     /0710 Expense Reimbursement       101607
 5/19/2008   Bernard R. Canlas, MD     /0805 - expense reimbursement      51908
 6/11/2005   Bernard R. Wilcosky, MD   ACTIQ National Speaker Trng.    exp061105
 8/21/2006   Bernard R. Wilcosky, MD   Expense Reimbursement              82106
  6/5/2007   Beth Winke                Expense Reimbursement              60507
  6/5/2007   Beth Winke                Expense Reimbursement              60507
 10/4/2005   Beverly Hurwitz           Expense Reimbursement             100405
 5/17/2003   Beverly Hurwitz, MD       Expense Reimbursement              51703
 8/14/2005   Bhadresh L. Bhakta, MD    Expense Reimbursement              81405
 8/14/2005   Bhadresh L. Bhakta, MD    Expense Reimbursement              81405
 9/18/2007   Bill Stonecipher          /Expense Reimbursement             91807
10/16/2006   Binod Sinha, MD           Expense Reimbursement             101606
 10/7/2007   Binod Sinha, MD           /0710 Expense Reimbursement       100707
 10/7/2007   Binod Sinha, MD           /0710 Expense Reimbursement       100707
 4/13/2003   Bob McKeeman, MD          Expense Reimbursement              41303
 6/10/2007   Bonislava Shafran         Expense Reimbursement              61007
 6/10/2007   Bonislava Shafran         Expense Reimbursement              61007
 7/11/2008   Bonislava Shafran         /0807 - expense reimbursement      71108
 9/21/2005   Bonnie A. Wilensky        Expense Reimbursement              92105
 4/25/2006   Bonnie A. Wilensky        Expense Reimbursement              42506
 8/14/2006   Bonnie A. Wilensky        Expense Reimbursement              81406
 7/15/2007   Bonnie A. Wilensky        /Expense Reimbursement             71507
 6/16/2008   Bonnie A. Wilensky        /0806 Expense Reimbursement     061608 rm
 4/28/2008   Bonnie A. Wilensky        /0804 Expense Reimbursement     042808 rm
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 4/28/2008   Bonnie A. Wilensky       /0804 Expense Reimbursement     042808 rm
 4/28/2008   Bonnie A. Wilensky       /0804 Expense Reimbursement     042808 rm
 4/28/2008   Bonnie A. Wilensky       /0804 Expense Reimbursement     042808 rm
 10/7/2003   Bradley Chesler          Expense Reimbursement             100703
10/31/2006   Bradley Chesler          Expense Reimbursement             103106
10/31/2006   Bradley Chesler          Expense Reimbursement             103106
 10/8/2007   Bradley Chesler          Expense Reimbursement             100807
 10/8/2007   Bradley Chesler          Expense Reimbursement             100807
  6/4/2007   Bradley S. Cash          Expense Reimbursement              60407
 4/13/2007   Brazell H. Carter        /Expense Reimbursement             41307
  4/1/2004   Brent Belvin             Expense Reimbursement              40104
 9/21/2003   Brian Kim                Expense Reimbursement              92103
 9/22/2003   Brian McCarroll          Expense Reimbursement              92203
 9/17/2005   Brian Stwalley           Expense Reimbursement              91705
 6/21/2005   Bruce W. Irwin, MD       Expense Reimbursement              62105
11/29/2005   Bruce W. Irwin, MD       expense reimbursement             112905
11/29/2005   Bruce W. Irwin, MD       expense reimbursement             112905
11/29/2005   Bruce W. Irwin, MD       expense reimbursement             112905
11/29/2005   Bruce W. Irwin, MD       expense reimbursement             112905
 4/26/2006   Bruce W. Irwin, MD       Expense Reimbursement              42606
10/13/2007   Bruce W. Irwin, MD       Expense Reimbursement             101307
10/13/2007   Bruce W. Irwin, MD       Expense Reimbursement             101307
  2/8/2004   C Ronald McBride         Expense Reimbursement              20804
 4/30/2006   Carissa Stone, MD        Expense Reimbursement              43006
 7/18/2006   Carl L. Smith, MD        Expense Reimbursement              71806
  3/4/2004   Carlos Giron             Expense Reimbursement           exp030404
  6/5/2007   Carlos S. Santiago       Expense Reimbursement              60507
 5/18/2008   Carlos S. Santiago       /0805 - expense reimbursement      51808
 5/18/2008   Carlos S. Santiago       /0805 - expense reimbursement      51808
 11/6/2006   Carol Burns, RN, APN     /Expense Reimbursement            111606
 9/15/2003   Carole Agin              Expense Reimbursement              91503
10/28/2003   Cathy Clinard            Expense Reimbursement             102803
 6/14/2004   Charanjit Bahniwal       Expense Reimbursement              61404
  5/1/2006   Charles Alpert, MD       Expense Reimbursement              50106
  4/8/2003   Charles D. Wohlwend      Expense Reimbursement              40803
  2/1/2004   Charles D. Wohlwend      Boca Expense Reimbursement         20104
 8/13/2006   Charles Huang            Expense Reimbursement              81306
  4/7/2004   Charles Joachim          Expense Reimbursement              40704
 2/16/2003   Charles M. Bova, MD                                         21603
 4/16/2007   Charles Nam              Expense Reimbursement              41607
 4/16/2007   Charles Nam              Expense Reimbursement              41607
 8/24/2006   Charles S. Clifton       Expense Reimbursement              82406
 2/18/2004   Charles Scoggin          Expense Reimbursement              21804
  3/8/2004   Charles Scoggin          Expense Reimbursement              30804
 4/15/2004   Charles Scoggin          Expense Reimbursement              41504
 5/15/2004   Charles Scoggin          Expense Reimbursement              51504
10/27/2004   Charles Scoggin          Refund ck# 8877                 ck#8877
 8/10/2004   Charles Scoggin          Expense Reimbursement              81004
 9/19/2004   Charles Scoggin          Expense Reimbursement           091904b
 9/19/2004   Charles Scoggin          Expense Reimbursement              91904
 2/25/2004   Charles Szyman           Expense Reimbursement              22504
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  5/5/2004   Charles Szyman                   Expense Reimbursement              50504
 5/18/2008   Charles Van Barrett              /0805 - expense reimbursement      51808
 2/29/2004   Charlotte A. deFlumere           Expense Reimbursement              22904
 12/5/2005   Charlotte A. deFlumere           Expense Reimbursement             120505
 12/5/2005   Charlotte A. deFlumere           Expense Reimbursement             120505
 4/11/2003   Charlotte A. DeFlumere, MD, PC   Expense Reimbursement              41103
 9/15/2003   Chris Gharibo                    Expense Reimbursement              91503
 9/14/2004   Chris Stowe                      Expense Reimbursement              91404
 5/18/2008   Christian Nahas                  /0805 - expense reimbursement      51808
 8/24/2004   Christine Harter                 Expense Reimbursement              82404
 7/16/2007   Christine Kasser                 /Expense Reimbursement             71607
 9/28/2003   Christopher Dankmyer             Expense Reimbursement              92803
 2/24/2004   Christopher Malik                Boca Expense Reimbursement         22404
 2/24/2004   Christopher Malik                Boca Expense Reimbursement         22404
10/19/2004   Christopher Neumann              Expense Reimbursement             101904
10/19/2004   Christopher Neumann              Expense Reimbursement             101904
11/24/2005   Christopher Neumann              Expense Reimbursement             112405
11/24/2005   Christopher Neumann              Expense Reimbursement           112405b
11/24/2005   Christopher Neumann              Expense Reimbursement           112405c
  6/5/2006   Christopher Neumann              Expense Reimbursement              60506
 6/29/2006   Christopher Neumann              Expense Reimbursement              62906
 11/9/2006   Christopher Neumann              Expense Reimbursement             110906
  5/1/2006   Christopher Neumann              Expense Reimbursement              50106
 12/5/2006   Christopher Neumann              Expense Reimbursement             120506
 6/22/2007   Christopher Neumann              /Expense Reimbursement             62207
 6/22/2007   Christopher Neumann              /Expense Reimbursement             62207
 9/18/2007   Christopher Neumann              /Expense Reimbursement             91807
10/31/2007   Christopher Neumann              /0710 Expense Reimbursement       103107
 6/17/2008   Christopher Neumann              /0806 Expense Reimbursement     061708 rm
 6/17/2008   Christopher Neumann              /0806 Expense Reimbursement     061708 rm
 5/22/2008   Christopher Neumann              /0805 - expense reimbursement      52208
 5/22/2008   Christopher Neumann              /0805 - expense reimbursement      52208
 8/11/2003   Christopher Ryan                 Expense Reimbursement              81103
 4/13/2006   Christopher Sikes                Expense Reimbursement              41306
 9/20/2003   Christopher Stowe                Expense Reimbursement              92003
 4/23/2006   Cindie Dodenbier                 Expense Reimbursement              42306
 8/15/2006   Cindie Dodenbier                 Expense Reimbursement              81506
 6/11/2007   Cindie Dodenbier                 Expense Reimbursement              61107
 5/13/2004   Claudia E Campbell               Expense Reimbursement              51304
 6/16/2007   Cong Yu                          Expense Reimbursement              61607
 3/22/2004   Corby Kessler                    Expense Reimbursement              32204
 4/22/2006   Corby Kessler, MD                Expense Reimbursement              42206
 8/25/2003   Corinne Trusock LaFond                                              82503
 4/12/2003   Craig D. Berteau                 Expense Reimbursement              41203
  5/1/2004   Craig D. Berteau                 Expense Reimbursement              50104
 11/6/2003   Curtis Atterbury                 Expense Reimbursement             110603
 8/10/2003   Cynthia Sullivan                 Expense Reimbursement              81003
10/18/2004   D Nick Simone                    Expense Reimbursement             101804
 10/8/2004   D. B. McDonah                    Expense Reimbursement             100804
  6/5/2006   Dale Delaney, PA-C               Expense Reimbursement              60506
  6/3/2007   Dan A. Teano                     Expense Reimbursement              60307
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 5/20/2003   Dan Gruener, MD             Expense Reimbursement              52003
 3/30/2004   Dan Gruener, MD             Expense Reimbursement              33004
 10/5/2004   Dan Gruener, MD             Expense Reimbursement           exp100504
 4/23/2003   Daniel J. Sullivan, MD      Expense Reimbursement              42303
  9/5/2003   Daniel J. Sullivan, MD                                         90503
  9/5/2003   Daniel J. Sullivan, MD                                         90503
 3/11/2003   Daniel Bennett, MD          Expense Reimbursement              31103
  3/6/2003   Daniel Bennett, MD                                             30603
 4/19/2003   Daniel Bennett, MD          Expense Reimbursement              41903
  5/6/2003   Daniel Bennett, MD          Expense Reimbursement              50603
  5/1/2003   Daniel Bennett, MD                                             50103
 8/29/2003   Daniel Bennett, MD                                             82903
 8/29/2003   Daniel Bennett, MD                                             82903
11/27/2003   Daniel Bennett, MD          Expense Reimbursement             112703
 12/1/2003   Daniel Bennett, MD          Expense Reimbursement             120103
  9/8/2003   Daniel Bennett, MD                                             90803
  9/8/2003   Daniel Bennett, MD                                             90803
 8/29/2003   Daniel Bennett, MD                                             82903
 8/29/2003   Daniel Bennett, MD                                             82903
 9/17/2004   Daniel Bennett, MD          Expense Reimbursement              91704
 9/17/2004   Daniel Bennett, MD          Expense Reimbursement              91704
 3/17/2004   Daniel Bennett, MD          Expense Reimbursement              31704
 3/17/2004   Daniel Bennett, MD          Expense Reimbursement              31704
11/29/2004   Daniel Bennett, MD          Expense Reimbursement             112904
11/29/2004   Daniel Bennett, MD          Expense Reimbursement             112904
11/29/2004   Daniel Bennett, MD          Expense Reimbursement             112904
 4/22/2004   Daniel Bennett, MD          Expense Reimbursement              42204
 4/22/2004   Daniel Bennett, MD          Expense Reimbursement              42204
 4/13/2004   Daniel Bennett, MD          Expense Reimbursement              41304
 4/13/2004   Daniel Bennett, MD          Expense Reimbursement              41304
  2/4/2004   Daniel Brzusek              Boca Expense Reimbursement         20404
 6/12/2005   Daniel Gerber, MD           Expense Reimbursement              61205
 7/19/2007   Daniel Gerber, MD           /Expense Reimbursement             71907
 5/17/2005   Daniel Gruener, MD          Expense Reimbursement              51705
  5/1/2006   Daniel Gruener, MD          Expense Reimbursement              50106
 8/14/2006   Daniel Gruener, MD          Expense Reimbursement              81406
10/19/2006   Daniel J. Sullivan, DO      Expense Reimbursement             101906
11/11/2006   Daniel K. Stubler, MD       Expense Reimbursement             111106
 4/13/2003   Daniel K. Stubler, MD, PC   Expense Reimbursement              41303
 7/18/2005   Daniel S. Bennett           Expense Reimbursement              71805
 7/18/2005   Daniel S. Bennett           Expense Reimbursement              71805
 7/18/2005   Daniel S. Bennett           Expense Reimbursement              71805
10/30/2007   Daniel S. Bennett           /0707 Expense Reimbursement       103007
10/30/2007   Daniel S. Bennett           /0707 Expense Reimbursement       103007
 5/26/2008   Daniel Sajewski             /0805 - expense reimbursement      52608
 5/26/2008   Daniel Sajewski             /0805 - expense reimbursement      52608
  7/7/2003   Danilo Enriquez             Expense Reimbursement              70703
  7/4/2004   Darlene Dunay               Expense Reimbursement              70404
10/16/2006   Darren McCoy                Expense Reimbursement             101606
 4/15/2007   David A. Peterson           Expense Reimbursement              41507
 8/22/2004   David Agnew                 Expense Reimbursement              82204
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 11/5/2006   David Agnew                   Expense Reimbursement           110506
11/14/2008   David B Brushwood             /0811 expense report            111408
 1/28/2003   David Blyweiss                Expense Reimbursement         012803 lb
  8/9/2004   David Bosomworth              Expense Reimbursement             80904
 7/15/2007   David Findlay                 /Expense Reimbursement            71507
10/15/2006   David Findlay                 /Expense Reimbursement          101506
  5/5/2003   David H. Lyon                 Expense Reimbursement             50503
 9/16/2007   David Hillam                  /Expense Reimbursement            91607
 6/27/2007   David J. Columbus             /Expense Reimbursement            62707
  5/2/2008   David J. Columbus             /0804 Expense Reimbursement   050208 rm
 1/26/2003   David M. Glener, MD           Expense Reimbursement         012603 lb
 4/18/2004   David M. Glener, MD           Expense Reimbursement             41804
11/20/2005   David M. Glener, MD           Expense Reimbursement           112005
 5/24/2004   David Marshak                 Expense Reimbursement             52404
  6/5/2006   David Stein                   Expense Reimbursement             60506
  8/4/2003   David Stewart                 Expense Reimbursement             80403
 3/29/2004   David Stewart                 Expense Reimbursement             32904
  3/2/2004   David Stewart                 Expense Reimbursement             30204
  3/2/2004   David Stewart                 Expense Reimbursement             30204
 5/17/2004   David Stewart                 Expense Reimbursement             51704
11/14/2005   David Stewart                 Expense Reimbursement           111405
 7/16/2007   David Stewart                 /Expense Reimbursement            71607
 4/10/2008   David Stewart                 /0804 Exp Reimbursement       exp041008
 4/10/2008   David Stewart                 /0804 Exp Reimbursement       exp041008
 4/15/2007   David Wallenstein             Expense Reimbursement             41507
  5/6/2003   Davidn T. Earl, MD, Inc. PS   Expense Reimbursement             50603
  2/9/2004   Dean Mondell                  Expense Reimbursement             20904
12/19/2005   Debbie Heck, MD               expense reimbursement           121905
12/19/2005   Debbie Heck, MD               expense reimbursement           121905
 9/20/2004   Debbie N. Heck                Expense Reimbursement             92004
 9/27/2004   Debbie N. Heck                Expense Reimbursement             92704
11/12/2007   Debra Vermette                /0710 Expense Reimbursement     111207
 3/30/2004   Dennis Aumentado              Expense Reimbursement             33004
  6/6/2004   Dennis George                 Expense Reimbursement             60604
 4/30/2006   Dennis George                 Expense Reimbursement             43006
 7/20/2007   Dennis George                 /Expense Reimbursement            72007
 9/15/2003   Dilip Subedar                 Expense Reimbursement             91503
 9/17/2007   Divakara Kedlaya              /Expense Reimbursement            91707
 4/19/2004   Dmitri Arbuck                 Expense Reimbursement             41904
 3/30/2004   Dmitriy Buyanov               Expense Reimbursement             33004
 6/15/2005   Dmitry Arbuck, MD             Expense Reimbursement             61505
 6/15/2005   Dmitry Arbuck, MD             Expense Reimbursement             61505
11/15/2005   Dmitry Arbuck, MD             Expense Reimbursement           111505
 5/16/2006   Dmitry Arbuck, MD             Expense Reimbursement             51606
 7/15/2007   Dmitry Arbuck, MD             /Expense Reimbursement            71507
 4/14/2008   Dmitry Arbuck, MD             /0804 Expense Reimbursement   exp 041408
 6/15/2004   Don H. Ko                     Expense Reimbursement             61504
  6/8/2003   Don Milne                     Expense Reimbursement             60803
 9/16/2007   Don Schneider                 /Expense Reimbursement            91607
 1/27/2003   Donald Erb                    Expense Reimbursement         012703 lb
 2/29/2004   Donald Erb                    Expense Reimbursement             22904
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 7/23/2004   Donald Harline           Expense Reimbursement               72304
11/16/2005   Donald Harline, MD       Expense Reimbursement             111605
 6/27/2006   Donald Holzer, MD        Expense Reimbursement               62706
11/20/2005   Donald L. Boos, MD       Expense Reimbursement             112005
11/20/2005   Donald L. Boos, MD       Expense Reimbursement             112005
  3/9/2004   Donald L. Mingione, MD   Expense Reimbursement               30904
  4/9/2003   Donald Mingione          Expense Reimbursement               40903
 4/24/2006   Donald R. Taylor, MD     Expense Reimbursement               42406
10/17/2006   Donald R. Taylor, MD     Expense Reimbursement             101706
10/17/2006   Donald R. Taylor, MD     Expense Reimbursement             101706
 1/18/2007   Donald R. Taylor, MD     Expense Reimbursement               11807
  6/4/2007   Donald R. Taylor, MD     Expense Reimbursement               60407
 7/16/2007   Donald R. Taylor, MD     /Expense Reimbursement              71607
 6/17/2008   Donald R. Taylor, MD     /0806 Expense Reimbursement     061708 rm
 4/14/2008   Donald R. Taylor, MD     /0804 Expense Reimbursement     exp 041408
 5/19/2008   Donald R. Taylor, MD     /0805 - expense reimbursement       51908
 8/11/2003   Donald Schneider         Expense Reimbursement               81103
 8/11/2003   Donald Schneider         Expense Reimbursement               81103
 8/25/2003   Donald Talyor, MD                                            82503
  2/7/2003   Donald Taylor, MD        Expense Reimbursement           020703 lb
  4/9/2003   Donald Taylor, MD        Expense Reimbursement               40903
  6/9/2003   Donald Taylor, MD        Expense Reimbursement               60903
  6/9/2003   Donald Taylor, MD        Expense Reimbursement               60903
10/27/2003   Donald Taylor, MD        Expense Reimbursement             102703
  8/4/2003   Donald Taylor, MD        Expense Reimbursement               80403
 5/19/2003   Donald Taylor, MD        Expense Reimbursement               51903
 1/28/2004   Donald Taylor, MD        Boca Expense Reimbursement          12804
 3/30/2004   Donald Taylor, MD        Expense Reimbursement               33004
 4/15/2007   Donald Wain Allen        Expense Reimbursement               41507
 4/15/2007   Donald Wain Allen        Expense Reimbursement               41507
 7/26/2004   Dong Ko                  Expense Reimbursement               72604
 9/26/2004   Donovan D. Holder        Expense Reimbursement               92604
 5/16/2005   Doris Cope, MD           Expense Reimbursement               51605
  8/5/2003   Dorothy Mack             Expense Reimbursement               80503
 4/30/2006   Doug Pritchard, MD       Expense Reimbursement               43006
11/15/2008   Doug Pritchard, MD       /0811 expense report              111508
 8/22/2004   Douglas Grant            Expense Reimbursement               82204
 6/24/2003   Douglas Molin            Expense Reimbursement               62403
 4/19/2004   Douglas Molin            Expense Reimbursement               41904
 3/21/2004   Dur Huang                Expense Reimbursement               32104
  5/2/2008   Dwayne Jones             /0804 Expense Reimbursement     050208 rm
10/28/2007   E. S. White              /0710 Expense Reimbursement       102807
11/10/2003   Eddie Sassoon            Expense Reimbursement             111003
10/28/2007   Eddie Sassoon            /0710 Expense Reimbursement       102807
 7/25/2004   Edgar Ross, MD           Expense Reimbursement               72504
 11/3/2006   Edgar Ross, MD           Expense Reimbursement             110306
 11/3/2006   Edgar Ross, MD           Expense Reimbursement             110306
 6/24/2007   Edgar Ross, MD           /Expense Reimbursement              62407
 4/14/2008   Edgar Ross, MD           /0804 Expense Reimbursement     041408 rm
 4/14/2008   Edgar Ross, MD           /0804 Expense Reimbursement     041408 rm
 4/14/2008   Edgar Ross, MD           /0804 Expense Reimbursement     041408 rm
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 4/14/2008   Edgar Ross, MD                   /0804 Expense Reimbursement     041408 rm
 4/25/2003   Edgardo Salvador, MD             Expense Reimbursement              42503
10/19/2004   Edison Wong                      Expense Reimbursement             101904
10/18/2006   Edward Allegra, MD               Expense Reimbursement             101806
 3/30/2004   Edward Apicella                  Expense Reimbursement              33004
11/11/2003   Edward Chen                      Expense Reimbursement             111103
 10/3/2005   Edward Chen, MD                  Expense Reimbursement             100305
 6/16/2008   Edward Manougian                 /0806 Expense Reimbursement     061608 rm
 11/1/2006   Edward Michna                    Expense Reimbursement             110106
 6/27/2007   Edward Michna                    /Expense Reimbursement             62707
 6/27/2007   Edward Michna                    /Expense Reimbursement             62707
 4/14/2008   Edward Michna                    /0804 Expense Reimbursement     041408 rm
 4/14/2008   Edward Michna                    /0804 Expense Reimbursement     041408 rm
11/25/2005   Edward Myers, DO                 Expense Reimbursement             112005
10/17/2004   Edward Robson                    Expense Reimbursement             101704
10/17/2004   Edward Robson                    Expense Reimbursement             101704
  7/3/2003   Edward Soriano                   Expense Reimbursement              70303
 4/30/2006   Edward Soriano, DO               Expense Reimbursement              43006
 6/18/2007   Edward Soriano, DO               Expense Reimbursement              61807
 6/18/2007   Edward Soriano, DO               Expense Reimbursement              61807
 9/16/2007   Edwars Bocian                    /Expense Reimbursement             91607
  7/7/2003   Edwin Angulo                     Expense Reimbursement              70703
 4/22/2004   Edwin Villalobos                 Expense Reimbursement              42204
 11/6/2006   Elizabeth Butterworth, RN, MSN   Expense Reimbursement             110606
 6/11/2007   Elizabeth Rosenbaum              Expense Reimbursement              61107
 4/17/2007   Emil Soorani                     Expense Reimbursement              41707
10/16/2006   Emmanuel Devotta, MD             Expense Reimbursement             101606
 6/22/2003   Eric Chevelen                    Expense Reimbursement              62203
10/14/2006   Eric Haynes                      Expense Reimbursement             101406
 10/7/2007   Eric Haynes                      Expense Reimbursement             100707
 5/19/2008   Eric Haynes                      /0805 - expense reimbursement      51908
10/20/2006   Erin McMenamin                   Expense Reimbursement             102006
 6/30/2007   Erin McMenamin                   /Expense Reimbursement             63007
 6/12/2005   Ethan E. Bickelhaupt, MD         Expense Reimbursement              61205
 6/12/2005   Ethan E. Bickelhaupt, MD         Expense Reimbursement              61205
 6/12/2005   Ethan E. Bickelhaupt, MD         Expense Reimbursement              61205
 1/26/2003   Eugene A. Melvin Jr.             Expense Reimbursement           012603 lb
  6/3/2007   Eugene Gosy                      Expense Reimbursement              60307
 9/21/2004   Everett Allen                    Expense Reimbursement              92104
  6/8/2003   Eyad Dughly                      Expense Reimbursement              60803
  6/4/2007   Fadil Yunis                      Expense Reimbursement              60407
10/27/2004   Farid Manshadi                   Expense Reimbursement             102704
 4/15/2003   Felicia Cain, MD                 Expense Reimbursement              41503
 11/1/2004   Felicia Radu                     Expense Reimbursement             110104
 7/10/2007   Felix R. Muniz                   /0710 Expense Reimbursement       112507
12/20/2005   Felix Roque                      Expense Reimbursement             122005
12/20/2005   Felix Roque                      Expense Reimbursement             122005
10/24/2006   Felix Roque                      Expense Reimbursement             102406
 7/15/2007   Felix Roque                      /Expense Reimbursement             71507
 7/15/2007   Felix Roque                      /Expense Reimbursement             71507
 7/15/2007   Felix Roque                      /Expense Reimbursement             71507
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10/20/2006   Fernando Avila, MD       Expense Reimbursement           102006
10/20/2006   Fernando Avila, MD       Expense Reimbursement           102006
 6/26/2003   Florin Orza              Expense Reimbursement             62603
  2/5/2004   Forest Tennant           Boca Expense Reimbursement        20504
 10/4/2005   Foster Easley, DO        Expense Reimbursement           100405
11/18/2003   Francis Brooks           Expense Reimbursement           111803
 4/30/2004   Francis Pecoraro         Expense Reimbursement             43004
11/12/2003   Francisco Torres         Expense Reimbursement           111203
 6/12/2003   Frank Wei, MD            Expense Reimbursement             61203
 8/24/2003   Frank Worden                                               82403
10/21/2003   Franklin Perry           Expense Reimbursement           102103
 3/31/2004   Franklin Perry           Expense Reimbursement             33104
 6/20/2007   Franklin Perry           Expense Reimbursement             62007
  6/6/2006   Fred Liebowitz, MD       Expense Reimbursement             60606
 6/14/2004   Frederick Gahl           Expense Reimbursement             61404
  6/3/2007   Fredric Feit             /Expense Reimbursement            60307
 6/23/2004   G. Kevin Perdue          Expense Reimbursement             62304
 9/17/2007   Gabriele Stiller         /Expense Reimbursement            91707
  7/3/2007   Garry Jennings           /Expense Reimbursement            70307
 9/16/2007   Gary Bohay               /Expense Reimbursement            91607
 7/25/2004   Gary Polykoff            Expense Reimbursement             72504
 6/10/2004   Gary Wright              Expense Reimbursement             61004
 6/16/2005   Gary Wright, MD          Expense Reimbursement             61605
 6/16/2005   Gary Wright, MD          Expense Reimbursement             61605
 6/16/2005   Gary Wright, MD          Expense Reimbursement             61605
11/25/2005   Gary Wright, MD          Expense Reimbursement           112505
11/25/2005   Gary Wright, MD          Expense Reimbursement           112505
 4/25/2006   Gary Wright, MD          Expense Reimbursement             42506
 4/25/2006   Gary Wright, MD          Expense Reimbursement             42506
 8/13/2006   Gary Wright, MD          Expense Reimbursement             81306
  7/1/2006   Gavin Awerbuch           Expense Reimbursement             70106
 2/10/2004   Gene Mahaney             Boca Expense Reimbursement        21004
 9/25/2004   George Carr              Expense Reimbursement             92504
  4/8/2003   George Hammitt, III      Expense Reimbursement             40803
 10/5/2005   George P. Carbone, MD    Expense Reimbursement           100505
 11/4/2003   George Perdikis          Expense Reimbursement           110403
  3/2/2004   George Perdikis          Expense Reimbursement             30204
 6/12/2005   George Perdikis          Expense Reimbursement             61205
10/23/2006   George Perdikis          /Expense Reimbursement          102306
 6/22/2007   George Perdikis          /Expense Reimbursement            62207
 6/22/2007   George Perdikis          /Expense Reimbursement            62207
 4/28/2008   George Perdikis          /0804 Expense Reimbursement   exp 042808
 8/29/2005   George S. Alhaj, MD      Expense Reimbursement             82905
 8/29/2005   George S. Alhaj, MD      Expense Reimbursement             82905
 8/14/2006   George S. Alhaj, MD      Expense Reimbursement             81406
 7/15/2007   George S. Alhaj, MD      /Expense Reimbursement            71507
 5/24/2006   George Tuttle, MD        Expense Reimbursement             52406
10/20/2003   Gerald Aronoff           Expense Reimbursement           102003
 8/15/2003   Gerald Aronoff                                             81503
 8/15/2003   Gerald Aronoff                                             81503
 8/24/2003   Gerald Aronoff                                             82403
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 8/24/2003   Gerald Aronoff                                                 82403
 9/15/2003   Gerald Aronoff             Expense Reimbursement               91503
 6/23/2003   Gerald Aronoff             Expense Reimbursement               62303
 3/22/2004   Gerald Aronoff             Expense Reimbursement               32204
 4/19/2004   Gerald Aronoff             Expense Reimbursement               41904
 7/12/2004   Gerald Chatman             Expense Reimbursement               71204
  8/3/2007   Gerald M. Sacks            /Expense Reimbursement              80307
  8/3/2007   Gerald M. Sacks            /Expense Reimbursement              80307
 9/16/2003   Gerald Malanga             Expense Reimbursement               91603
 3/10/2003   Gerald Rosenberg           Expense Reimbursement               31003
11/10/2006   Gerald S. Asin, MD         Expense Reimbursement             111006
  6/3/2007   Gerald Weiss               Expense Reimbursement               60307
 10/6/2004   Gerold Weiss               Expense Reimbursement             100604
 5/22/2006   Gerson M. Sternstein, MD   Expense Reimbursement               52206
10/16/2006   Gerson M. Sternstein, MD   Expense Reimbursement             101606
 5/19/2008   Gerson M. Sternstein, MD   /0805 - expense reimbursement       51908
 10/5/2003   Gilbert Hager              Expense Reimbursement             100503
 4/14/2003   Gladstone McDowell, MD     Expense Reimbursement               41403
 5/21/2006   Glen Davis, MD             Expense Reimbursement               52106
  6/9/2007   Glen Davis, MD             /Expense Reimbursement              60907
 5/18/2008   Glen Davis, MD             /0805 - expense reimbursement       51808
 5/18/2008   Glen Davis, MD             /0805 - expense reimbursement       51808
 4/14/2003   Glenn Babus, MD            Expense Reimbursement               41403
11/15/2005   Gloria M. Ramirez, MD      Expense Reimbursement             111505
 6/16/2004   Gloria Ramirez             Expense Reimbursement               61604
10/14/2006   Gordon Freedman, MD        Expense Reimbursement             101406
 6/24/2007   Gordon Freedman, MD        /Expense Reimbursement              62407
 4/14/2008   Gordon Freedman, MD        /0804 Expense Reimbursement     exp 041408
 5/18/2008   Gordon Freedman, MD        /0805 - expense reimbursement       51808
11/20/2008   Gordon Freedman, MD        /0811 expense report              112008
 1/30/2004   Gordon Mortesen            Boca Expense Reimbursement          13004
 1/30/2004   Gordon Mortesen            Boca Expense Reimbursement          13004
  6/3/2007   Grace Forde                Expense Reimbursement               60307
10/21/2006   Greg Powell, PA-C          Expense Reimbursement             102106
 6/11/2007   Greg Powell, PA-C          Expense Reimbursement               61107
 9/24/2003   Greg Salko                 Expense Reimbursement               92403
10/30/2007   Gregg Diamond              /0710 Expense Reimbursement       103007
10/23/2006   Gregory Ball, MD           Expense Reimbursement             102306
 10/7/2007   Gregory Ball, MD           Expense Reimbursement             100707
 10/7/2005   Gregory Gerber, MD         Expense Reimbursement             100705
11/17/2006   Gregory Gerber, MD         /Expense Reimbursement            111706
 6/11/2007   Gregory Gerber, MD         Expense Reimbursement               61107
 4/25/2008   Gregory Gullo              /0804                           042508 rm
 10/5/2004   Hagop Tabakian             Expense Reimbursement             100504
10/19/2004   Hammam Akbik               Expense Reimbursement             101904
 4/30/2006   Hammam Akbik, MD           Expense Reimbursement               43006
10/28/2007   Harlan Borcherding         /0710 Expense Reimbursement       102807
10/28/2007   Harlan Borcherding         /0710 Expense Reimbursement       102807
 6/10/2007   Heather Nath               /Expense Reimbursement              61007
 6/21/2003   Heather Scullin            Expense Reimbursement               62103
 6/21/2003   Heather Scullin            Expense Reimbursement               62103
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 6/14/2004   Heechin Chae               Expense Reimbursement               61404
 6/13/2005   Heechin Chae               Expense Reimbursement               61305
 6/13/2005   Heechin Chae               Expense Reimbursement               61305
 4/18/2008   Heechin Chae               /0804 Exp Reimbursement         exp041808
 4/18/2008   Heechin Chae               /0804 Exp Reimbursement         exp041808
 2/10/2004   Heloise Demoin Westbrook   Boca Expense Reimbursement          21004
10/21/2006   Hemal Mehta                Expense Reimbursement             102106
 7/29/2007   Hemant Yagnick             /Expense Reimbursement              72907
  6/8/2004   Henry A Eugenio            Expense Reimbursement               60804
10/16/2006   Henry Crowley, DO          Expense Reimbursement             101606
 10/6/2004   Henry Eugenio              Expense Reimbursement             100604
 8/27/2003   Henry Woodward                                                 82703
 12/2/2008   Henry Wroblewski           /0812                             120208
 4/24/2006   Howard A. Heit, MD         Expense Reimbursement               42406
 4/28/2008   Howard A. Heit, MD         /0804 Expense Reimbursement     exp 042808
  6/7/2006   Howard Cohen, MD           Expense Reimbursement               60706
10/24/2006   Howard Cohen, MD           Expense Reimbursement             102406
 6/15/2004   Howard Heit                Expense Reimbursement               61504
 10/5/2004   Howard Heit                Expense Reimbursement             100504
10/19/2004   Howard Heit                Expense Reimbursement             101904
10/19/2004   Howard Heit                Expense Reimbursement             101904
 6/15/2004   Howard Kenney              Expense Reimbursement               61504
11/13/2007   Howard Popp                /0710 Expense Reimbursement       111307
 5/24/2008   Howard Popp                /0805 - expense reimbursement       52408
 4/14/2003   Howard Rosner, MD          Expense Reimbursement               41403
 3/21/2004   Ihor Kalicinsky            Expense Reimbursement               32104
 5/19/2003   Irving Wolfe, MD           Expense Reimbursement               51903
 4/25/2004   J. Fred Stoner             Expense Reimbursement               42504
 5/16/2004   J. Fred Stoner             Expense Reimbursement               51604
 5/10/2006   J. Fred Stoner             Expense Reimbursement               51006
 9/11/2006   J. Fred Stoner             Expense Reimbursement               91106
 5/12/2008   J. Fred Stoner             /0804 Expense Reimbursement     051208 rm
 5/12/2008   J. Fred Stoner             /0804 Expense Reimbursement     051208 rm
 6/12/2006   J. Fred Stoner, MD         Expense Reimbursement               61206
 7/10/2007   J. Fred Stoner, MD         /Expense Reimbursement              71007
 7/15/2007   J. Patrick Couch           /Expense Reimbursement              71507
 6/26/2008   J. Patrick Couch           /0806 Expense Reimbursement     062608 rm
 4/30/2006   Jack Goldberg, MD          Expense Reimbursement               43006
10/15/2006   Jack Goldberg, MD          Expense Reimbursement             101506
 2/19/2004   Jack Rook                  Expense Reimbursement               21904
 4/15/2003   Jack Rook, MD              Expense Reimbursement               41503
10/16/2006   Jack Scariano Jr.          Expense Reimbursement             101606
10/16/2006   Jack Scariano Jr.          Expense Reimbursement             101606
10/16/2006   Jack Scariano Jr.          Expense Reimbursement             101606
 3/29/2004   Jack Scariano Jr., MD      Expense Reimbursement               32904
 4/10/2004   Jacob E. Abraham           Expense Reimbursement               41004
 11/6/2006   Jacqueline Mouton          Expense Reimbursement             110606
 9/19/2007   Jahan Imani                /Expense Reimbursement              91907
 9/19/2007   Jahan Imani                /Expense Reimbursement              91907
 5/28/2003   Jaimini Dave               Expense Reimbursement               52803
 6/15/2008   James A. Boesiger          /0806 Expense Reimbursement     061508 rm
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 4/27/2008   James A. Boesiger              /0804 Expense Reimbursement   042708 rm
10/17/2006   James B. Kim, DO               Expense Reimbursement           101706
  8/4/2003   James Banks                    Expense Reimbursement             80403
10/28/2004   James D. Gallant               Expense Reimbursement           102804
 6/27/2006   James D. McCoy                 Expense Reimbursement             62706
 9/22/2003   James Di Canio                 Expense Reimbursement             92203
 4/25/2004   James DiCianio                 Expense Reimbursement             42504
 5/18/2004   James DiCianio                 Expense Reimbursement             51804
 5/22/2006   James DiCianio                 Expense Reimbursement             52206
 4/30/2006   James DiCianio                 Expense Reimbursement             43006
 9/22/2004   James E. Wilson                Expense Reimbursement             92204
 10/4/2004   James Evans                    Expense Reimbursement           100404
 11/5/2006   James Gallant, MD              Expense Reimbursement           110506
 7/17/2007   James Gallant, MD              /Expense Reimbursement            71707
 5/16/2005   James I. McMillen, MD          Expense Reimbursement             51605
 1/15/2007   James I. McMillen, MD          Expense Reimbursement             11507
 1/15/2007   James I. McMillen, MD          Expense Reimbursement             11507
 6/25/2007   James I. McMillen, MD          /Expense Reimbursement            62507
 11/2/2005   James M. Kelly, MD             Expense Reimbursement           110205
10/25/2006   James M. Kelly, MD             Expense Reimbursement           102506
10/25/2006   James M. Kelly, MD             Expense Reimbursement           102506
  7/5/2007   James M. Kelly, MD             /Expense Reimbursement            70507
  7/5/2007   James M. Kelly, MD             /Expense Reimbursement            70507
  7/5/2007   James M. Kelly, MD             /Expense Reimbursement            70507
 4/16/2004   James P. Barrett               Expense Reimbursement             41604
 8/12/2006   James P. Barrett, MD PhD       Expense Reimbursement             81206
 8/12/2006   James P. Barrett, MD PhD       Expense Reimbursement             81206
 5/21/2006   James P. Bressi, DO            Expense Reimbursement             52106
 10/4/2005   James P. Dambrogio, DO         Expense Reimbursement           100405
 10/4/2005   James P. Dambrogio, DO         Expense Reimbursement           100405
 5/22/2006   James P. Rathmell, MD          Expense Reimbursement             52206
 4/21/2003   James Patrick Murphy, MD       Expense Reimbursement             42103
 10/3/2005   James Rho, MD                  Expense Reimbursement           100305
 6/16/2008   James Rho, MD                  /0806 Expense Reimbursement   061608 rm
 4/27/2008   James Rho, MD                  /0804                         042708 rm
 4/27/2008   James Rho, MD                  /0804                         042708 rm
11/12/2004   James Sardo                    Expense Reimbursement           111204
 5/16/2005   James V. DiCanio               Expense Reimbursement             51605
 10/2/2005   James V. DiCanio               Expense Reimbursement           100205
 8/14/2006   James V. DiCanio               Expense Reimbursement             81406
 1/14/2007   James V. DiCanio               Expense Reimbursement             11407
 6/24/2007   James V. DiCanio               /Expense Reimbursement            62407
 4/14/2008   James V. DiCanio               /0804 Expense Reimbursement   exp 041408
 8/30/2003   James Wagner                                                     83003
  6/8/2003   James Werner                   Expense Reimbursement             60803
 6/25/2006   James Worden, MD               Expense Reimbursement             62506
 6/25/2006   James Worden, MD               Expense Reimbursement             62506
 4/27/2006   Janice L. Lindsey, RPH, BLOP   Expense Reimbursement             42706
 11/7/2006   Jason Doran                    Expense Reimbursement           110706
 2/21/2003   Jason Giles, MD                                                  22103
 5/19/2003   Jason Suh, MD                  Expense Reimbursement             51903
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11/17/2008   Jay E Bowen              /0811 expense report             111708
 4/17/2004   Jean Aaro                expense reimbursement             41704
 6/15/2008   Jean You                 /0806 Expense Reimbursement    061508 rm
10/26/2006   Jeff Edwards, MD         Expense Reimbursement            102606
10/26/2006   Jeff Edwards, MD         Expense Reimbursement            102606
 6/25/2007   Jeff Edwards, MD         /Expense Reimbursement            62507
 4/13/2008   Jeff Edwards, MD         /0804 Expense Reimbursement    041308 rm
11/11/2003   Jeff Gudin, MD           Expense Reimbursement            111103
 4/20/2003   Jeff Gudin, MD           Expense Reimbursement             42003
 4/20/2003   Jeff Gudin, MD           Expense Reimbursement             42003
 6/17/2003   Jeff Gudin, MD           Expense Reimbursement             61703
 6/17/2003   Jeff Gudin, MD           Expense Reimbursement             61703
 6/17/2003   Jeff Gudin, MD           Expense Reimbursement             61703
 12/8/2003   Jeff Gudin, MD           Expense Reimbursement            120803
10/17/2003   Jeff Gudin, MD           Expense Reimbursement            101703
11/10/2003   Jeff Gudin, MD           Expense Reimbursement            111003
 9/19/2003   Jeff Gudin, MD                                             91903
 9/19/2003   Jeff Gudin, MD                                             91903
 10/2/2003   Jeff Gudin, MD           Expense Reimbursement            100203
 10/2/2003   Jeff Gudin, MD           Expense Reimbursement            100203
  8/3/2003   Jeff Gudin, MD           Expense Reimbursement             80303
  8/3/2003   Jeff Gudin, MD           Expense Reimbursement             80303
 9/19/2004   Jeff Gudin, MD           Expense Reimbursement             91904
10/22/2004   Jeff Gudin, MD           Expense Reimbursement            102204
10/22/2004   Jeff Gudin, MD           Expense Reimbursement            102204
10/22/2004   Jeff Gudin, MD           Expense Reimbursement            102204
10/22/2004   Jeff Gudin, MD           Expense Reimbursement          102204b
10/22/2004   Jeff Gudin, MD           Expense Reimbursement          102204b
 4/14/2004   Jeff Gudin, MD           Expense Reimbursement             41404
 4/14/2004   Jeff Gudin, MD           Expense Reimbursement             41404
  6/9/2006   Jeff Jenks, MD           Expense Reimbursement             60906
  6/9/2006   Jeff Jenks, MD           Expense Reimbursement             60906
  5/5/2006   Jeff Pierce, DO          Expense Reimbursement             50506
  5/5/2006   Jeff Pierce, DO          Expense Reimbursement             50506
11/10/2006   Jeff Pierce, DO          Expense Reimbursement            111006
11/10/2006   Jeff Pierce, DO          Expense Reimbursement            111006
  7/3/2007   Jeff Pierce, DO          /Expense Reimbursement            70307
  7/3/2007   Jeff Pierce, DO          /Expense Reimbursement            70307
 5/27/2008   Jeff Pierce, DO          /0805 Expense Reimbursement    052708 rm
 5/27/2008   Jeff Pierce, DO          /0805 Expense Reimbursement    052708 rm
 9/26/2007   Jeff Randle              /Expense Reimbursement            92607
 3/30/2004   Jeff Reinking            Expense Reimbursement             33004
 12/7/2006   Jeffrey Fudin            Expense Reimbursement            120706
  6/1/2005   Jeffrey Gudin, MD        Expense Reimbursement             60105
  6/1/2005   Jeffrey Gudin, MD        Expense Reimbursement             60105
 6/11/2005   Jeffrey Gudin, MD        ACTIQ National Speaker Trng.   exp061105
 6/11/2005   Jeffrey Gudin, MD        ACTIQ National Speaker Trng.   exp061105
12/24/2005   Jeffrey Gudin, MD        Expense Reimbursement            122405
12/24/2005   Jeffrey Gudin, MD        Expense Reimbursement            122405
11/20/2005   Jeffrey Gudin, MD        Expense Reimbursement            112005
11/20/2005   Jeffrey Gudin, MD        Expense Reimbursement            112005
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 8/15/2005   Jeffrey Gudin, MD        Expense Reimbursement             81505
 8/15/2005   Jeffrey Gudin, MD        Expense Reimbursement             81505
 8/15/2005   Jeffrey Gudin, MD        Expense Reimbursement             81505
 8/15/2005   Jeffrey Gudin, MD        Expense Reimbursement             81505
 8/15/2005   Jeffrey Gudin, MD        Expense Reimbursement             81505
 8/15/2005   Jeffrey Gudin, MD        Expense Reimbursement             81505
 8/15/2005   Jeffrey Gudin, MD        Expense Reimbursement             81505
 8/15/2005   Jeffrey Gudin, MD        Expense Reimbursement             81505
 10/5/2005   Jeffrey Gudin, MD        Expense Reimbursement           100505
 10/5/2005   Jeffrey Gudin, MD        Expense Reimbursement           100505
  6/9/2006   Jeffrey Gudin, MD        Expense Reimbursement         060906b
  6/9/2006   Jeffrey Gudin, MD        Expense Reimbursement         060906b
  6/9/2006   Jeffrey Gudin, MD        Expense Reimbursement             60906
  6/9/2006   Jeffrey Gudin, MD        Expense Reimbursement             60906
 7/11/2006   Jeffrey Gudin, MD        Expense Reimbursement             71106
 7/11/2006   Jeffrey Gudin, MD        Expense Reimbursement             71106
 5/15/2006   Jeffrey Gudin, MD        Expense Reimbursement         051506c
 5/15/2006   Jeffrey Gudin, MD        Expense Reimbursement         051506c
 10/5/2005   Jeffrey Gudin, MD        Expense Reimbursement           100505
 5/15/2006   Jeffrey Gudin, MD        Expense Reimbursement         051506b
 5/15/2006   Jeffrey Gudin, MD        Expense Reimbursement         051506b
 5/15/2006   Jeffrey Gudin, MD        Expense Reimbursement             51506
  9/1/2006   Jeffrey Gudin, MD        Expense Reimbursement             90106
  9/1/2006   Jeffrey Gudin, MD        Expense Reimbursement             90106
11/15/2006   Jeffrey Gudin, MD        /Expense Reimbursement          111506
10/26/2006   Jeffrey Gudin, MD        Expense Reimbursement           102606
10/26/2006   Jeffrey Gudin, MD        Expense Reimbursement           102606
10/26/2006   Jeffrey Gudin, MD        Expense Reimbursement           102606
 3/30/2007   Jeffrey Gudin, MD        /Expense Reimbursement            33007
 3/30/2007   Jeffrey Gudin, MD        /Expense Reimbursement            33007
 4/15/2007   Jeffrey Gudin, MD        /Expense Reimbursement            41507
 4/15/2007   Jeffrey Gudin, MD        /Expense Reimbursement            41507
 6/15/2007   Jeffrey Gudin, MD        /Expense Reimbursement            61507
 6/15/2007   Jeffrey Gudin, MD        /Expense Reimbursement            61507
 12/6/2007   Jeffrey Gudin, MD        /0710 Expense Reimbursement     111507
 12/6/2007   Jeffrey Gudin, MD        /0710 Expense Reimbursement     111507
 12/6/2007   Jeffrey Gudin, MD        /0710 Expense Reimbursement     111507
 7/12/2007   Jeffrey Gudin, MD        /Expense Reimbursement            71207
 7/12/2007   Jeffrey Gudin, MD        /Expense Reimbursement            71207
 7/12/2007   Jeffrey Gudin, MD        /Expense Reimbursement            71207
  8/1/2007   Jeffrey Gudin, MD        /Expense Reimbursement            81507
  8/1/2007   Jeffrey Gudin, MD        /Expense Reimbursement            81507
  8/1/2007   Jeffrey Gudin, MD        /Expense Reimbursement            81507
  3/1/2008   Jeffrey Gudin, MD        /0802 Expense Reimbursement   exp 030108
  3/1/2008   Jeffrey Gudin, MD        /0802 Expense Reimbursement   exp 030108
 11/1/2007   Jeffrey Gudin, MD        /0710 Expense Reimbursement     110107
 11/1/2007   Jeffrey Gudin, MD        /0710 Expense Reimbursement     110107
 6/25/2008   Jeffrey Gudin, MD        /0806 Expense Reimbursement   062508 rm
 6/25/2008   Jeffrey Gudin, MD        /0806 Expense Reimbursement   062508 rm
 4/22/2008   Jeffrey Gudin, MD        /0804 Expense Reimbursement   exp 042208
 4/22/2008   Jeffrey Gudin, MD        /0804 Expense Reimbursement   exp 042208
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 6/15/2008   Jeffrey Gudin, MD            /0806 Expense Reimbursement      061508 rm
10/28/2005   Jeffrey Kesten, MD           Expense Reimbursement              102805
 6/17/2007   Jeffrey Kesten, MD           Expense Reimbursement                61707
 6/17/2007   Jeffrey Kesten, MD           Expense Reimbursement                61707
 6/15/2008   Jeffrey Kesten, MD           /0806 Expense Reimbursement      061508 rm
  5/3/2008   Jeffrey Kesten, MD           /0804 Expense Reimbursement      050308 rm
 6/13/2005   Jeffrey Reinking, MD         Expense Reimbursement                61305
 6/13/2005   Jeffrey Reinking, MD         Expense Reimbursement                61305
 6/13/2005   Jeffrey Reinking, MD         Expense Reimbursement                61305
 1/16/2007   Jeffrey Reinking, MD         /                                    11607
 2/17/2004   Jeffrey Reiser               Expense Reimbursement                21704
 2/26/2003   Jeffrey Reiser, MD                                                22603
 5/12/2003   Jennifer P. Schneider        Expense Reimbursement                51203
 6/11/2005   Jennifer Schneider, MD       Expense Reimbursement                61105
 6/11/2005   Jennifer Schneider, MD       Expense Reimbursement                61105
  5/1/2006   Jennifer Schneider, MD       Expense Reimbursement                50106
  5/1/2006   Jennifer Schneider, MD       Expense Reimbursement                50106
 8/14/2006   Jennifer Schneider, MD       Expense Reimbursement                81406
 8/14/2006   Jennifer Schneider, MD       Expense Reimbursement                81406
  7/1/2006   Jerome T. Watson, MD         Expense Reimbursement                70106
 6/19/2004   Jerome Watson                Expense Reimbursement                61904
10/26/2006   Jerrold Rosenberg, MD        Expense Reimbursement              102606
 7/15/2007   Jerrold Rosenberg, MD        /Expense Reimbursement               71507
 7/15/2007   Jerrold Rosenberg, MD        /Expense Reimbursement               71507
 4/14/2008   Jerrold Rosenberg, MD        /0804 Expense Reimbursement      exp 041408
 4/14/2008   Jerrold Rosenberg, MD        /0804 Expense Reimbursement      exp 041408
 5/18/2008   Jerrold Rosenberg, MD        /00805 - expense reimbursement       51808
 5/18/2008   Jerrold Rosenberg, MD        /00805 - expense reimbursement       51808
11/15/2003   Jesse Lipnick                Expense Reimbursement              111503
  9/2/2003   Jesus Ortega                                                      90203
10/28/2007   Jianping Sun                 /0710 Expense Reimbursement        102807
  8/3/2003   Jignesh Gandhi               Expense Reimbursement                80303
 8/11/2003   Jill Castro                  Expense Reimbursement                81103
 9/26/2005   Jill Nelson                  Expense Reimbursement                92605
  5/1/2006   Jill Nelson                  Expense Reimbursement                50106
 8/14/2006   Jill Nelson                  Expense Reimbursement                81406
 6/26/2007   Jill Nelson                  /Expense Reimbursement               62607
  6/9/2003   Joanne Leahy                 Expense Reimbursement                60903
10/25/2004   Joel Granick                 Expense Reimbursement              102504
  6/4/2006   Joel Joselevitz, MD          Expense Reimbursement                60406
  6/2/2006   Joel Kreitzer, MD            Expense Reimbursement                60206
 5/16/2005   Joel L. Granick, MD          Expense Reimbursement                51605
 10/9/2007   Joel L. Granick, MD          Expense Reimbursement              100907
 10/9/2007   Joel L. Granick, MD          Expense Reimbursement              100907
10/20/2003   John Aaron                   Expense Reimbursement              102003
 4/17/2007   John Addison                 /Expense Reimbursement               41707
 8/25/2003   John Baumeier                                                     82503
 8/10/2003   John Bissell                 Expense Reimbursement                81003
  5/7/2003   John Clark, MD               Expense Reimbursement                50703
  5/7/2003   John Clark, MD               Expense Reimbursement                50703
 11/9/2006   John Claude Krusz, PhD, MD   /Expense Reimbursement             110906
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 9/21/2003   John DeSio               Expense Reimbursement               92103
 2/21/2004   John Durfey              Boca Expense Reimbursement          22104
 2/29/2004   John Durfey              Expense Reimbursement               22904
  6/6/2007   John F. Almquist         Expense Reimbursement               60607
 4/13/2007   John G. Finch            Expense Reimbursement               41307
  8/3/2003   John Givogre             Expense Reimbursement               80303
10/28/2007   John H. Harnes           /0710 Expense Reimbursement        102807
 4/14/2003   John Harney, MD          Expense Reimbursement               41403
11/16/2003   John Huffman             Expense Reimbursement              111603
  5/4/2003   John K. Sturman          Expense Reimbursement               50403
 5/19/2008   John Knab                /0805 - expense reimbursement       51908
 5/19/2008   John Knab                /0805 - expense reimbursement       51908
 5/19/2003   John M. Conroy, MD       Expense Reimbursement               51903
 6/20/2007   John Mulder              Expense Reimbursement               62007
 4/29/2008   John Mulder              /0804 Expense Reimbursement     042908 rm
 4/29/2008   John Mulder              /0804 Expense Reimbursement     042908 rm
  7/5/2006   John Peppin, DO          Expense Reimbursement               70506
  7/5/2006   John Peppin, DO          Expense Reimbursement               70506
  4/7/2003   John Porter              Expense Reimbursement               40703
 4/14/2003   John R. Roberts, MD      Expense Reimbursement               41403
 8/12/2003   John R. Schultz          Expense Reimbursement               81203
 2/19/2004   John Sturman             Expense Reimbursement               21904
 5/22/2004   John Sturman             Expense Reimbursement               52204
 5/21/2008   John Tyler Jr.           /0805 - expense reimbursement       52108
 5/21/2008   John Tyler Jr.           /0805 - expense reimbursement       52108
  2/8/2004   John W. Ritter           Expense Reimbursement               20804
11/17/2005   John W. Ritter           Expense Reimbursement              111705
 6/15/2004   John Wrightson           Expense Reimbursement               61504
11/14/2007   Jon P.Burdzy             /0710 Expense Reimbursement        111407
 4/21/2003   Jonathan Daitch, MD      Expense Reimbursement               42103
 3/28/2004   Jonathan Greer           Expense Reimbursement               32804
  6/6/2004   Jonathan Greer           Expense Reimbursement               60604
11/20/2005   Jonathan Greer           Expense Reimbursement              112005
 5/21/2006   Jonathan Greer           Expense Reimbursement               52106
  6/6/2007   Jordan Fersel            Expense Reimbursement               60607
 8/24/2006   Joseph B. Goss           consulting service for pitch    ckr082406
  5/2/2006   Joseph Bloom, MD         Expense Reimbursement               50206
  5/2/2006   Joseph Bloom, MD         Expense Reimbursement               50206
  5/5/2003   Joseph DeLuca            Expense Reimbursement               50503
10/17/2004   Joseph Mouhanna          Expense Reimbursement              101704
12/10/2006   Joseph P Gomes           Expense Reimbursement              121006
 6/12/2005   Joseph Shurman, MD       Expense Reimbursement               61205
  7/4/2006   Joseph Shurman, MD       Expense Reimbursement               70406
10/23/2006   Joseph Shurman, MD       Expense Reimbursement              102306
 1/16/2007   Joseph Shurman, MD       Expense Reimbursement               11607
 6/13/2007   Joseph Shurman, MD       Expense Reimbursement               61307
 4/29/2008   Joseph Shurman, MD       /0804 Expense Reimbursement     exp 042908
 4/29/2008   Joseph Shurman, MD       /0804 Expense Reimbursement     exp 042908
 7/25/2004   Joseph Valenza           Expense Reimbursement               72504
 9/12/2004   Joseph Valenza           Expense Reimbursement               91204
 5/15/2005   Joseph Valenza           Expense Reimbursement               51505
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 5/21/2006   Joseph Valenza             Expense Reimbursement             52106
 4/30/2006   Joseph Valenza             Expense Reimbursement             43006
 8/13/2006   Joseph Valenza             Expense Reimbursement             81306
  6/3/2007   Joseph Valenza             Expense Reimbursement             60307
 10/9/2007   Joseph Valenza             Expense Reimbursement           100907
 4/14/2008   Joseph Valenza             /0804 Expense Reimbursement   exp 041408
11/14/2008   Joseph Valenza             /0811 expense report            111908
11/14/2008   Joseph Valenza             /0811 expense report            111908
 4/16/2003   Joseph Valenza, MD         Expense Reimbursement             41603
 4/18/2004   Joseph Valenza, MD         Expense Reimbursement             41804
10/21/2003   Joseph Zolot               Expense Reimbursement           102103
 7/26/2004   Joseph Zolot               Expense Reimbursement             72604
 8/11/2006   Joseph Zolot               Expense Reimbursement             81106
10/17/2006   Joshua Dion                Expense Reimbursement           101706
 6/24/2007   Joshua Dion                /Expense Reimbursement            62407
 4/21/2008   Joshua Dion                /0804 Expense Reimbursement   exp 042108
10/17/2006   Joshua Wellington, MD      Expense Reimbursement           101076
  9/3/2003   Josiah Lilly                                                 90303
 6/14/2005   Joy M. White, MD           Expense Reimbursement             61405
 6/13/2005   Joy Susan Pendergrass      Expense Reimbursement             61305
 6/13/2005   Joy Susan Pendergrass      Expense Reimbursement             61305
  5/1/2006   Joy Susan Pendergrass      Expense Reimbursement             50106
 8/13/2006   Joy Susan Pendergrass      Expense Reimbursement             81306
 7/16/2007   Joy Susan Pendergrass      /Expense Reimbursement            71607
 8/11/2003   Joyce Wallace              Expense Reimbursement             81103
10/28/2003   Juan-Diego Harris          Expense Reimbursement           102803
 11/1/2006   Judson J. Somerville, MD   Expense Reimbursement           110106
 9/23/2007   Judy M. Pinsonneault       /Expense Reimbursement            92307
  2/3/2003   Jules A. Preudhomme        Expense Reimbursement         020303 lb
 5/22/2006   Jules Preudhomme, MD       Expense Reimbursement             52206
 5/22/2006   Jules Preudhomme, MD       Expense Reimbursement             52206
 9/23/2003   Julia Deputy               Expense Reimbursement             92303
 6/27/2007   Julian Grove               /Expense Reimbursement            62707
 5/23/2006   Julie Chen, MD             Expense Reimbursement             52306
 10/4/2004   Julie Colliton             Expense Reimbursement           100404
 6/22/2005   Julie W. Colliton, MD      Expense Reimbursement             62205
 11/9/2006   Julie W. Colliton, MD      Expense Reimbursement           110906
 9/16/2007   Julie W. Colliton, MD      /Expense Reimbursement            91607
 9/16/2007   Julie W. Colliton, MD      /Expense Reimbursement            91607
  5/3/2006   Justin Wasserman           Expense Reimbursement             50306
 8/20/2006   Justin Wasserman           Expense Reimbursement             82006
 8/10/2003   Kai Stobbe                 Expense Reimbursement             81003
  5/2/2006   Kamal C. Kabakibou, MD     Expense Reimbursement             50206
 6/15/2004   Kamal Kabakibou            Expense Reimbursement             61504
  6/3/2007   Karen V. Warner            Expense Reimbursement             60307
10/24/2006   Karen Wiedeman             Expense Reimbursement           102406
10/10/2004   Karim Rasheed              Expense Reimbursement             10104
 11/5/2006   Karim Rasheed, MD          Expense Reimbursement           110506
10/15/2005   Kasra Amirdelfan, MD       Expense Reimbursement           101505
  5/1/2008   Kasra Amirdelfan, MD       /0804 Expense Reimbursement   050108 rm
  5/1/2008   Kasra Amirdelfan, MD       /0804 Expense Reimbursement   050108 rm
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 6/14/2004   Kassamali Jamal            Expense Reimbursement              61404
 3/29/2004   Kassamali Jamal            Expense Reimbursement              32904
 6/13/2005   Kathleen Gannon, DO        Expense Reimbursement              61305
 5/16/2005   Kathleen Murphy-Ende, MD   Expense Reimbursement              51605
 4/26/2006   Kathleen Murphy-Ende, MD   Expense Reimbursement              42606
 6/11/2005   Kathleen Rathbun, MD       ACTIQ National Speaker Trng.    exp061005
11/21/2005   Kathleen Rathbun, MD       Expense Reimbursement             112105
 5/14/2005   Kathryn J. Miller          Expense Reimbursement              51405
 5/14/2005   Kathryn J. Miller          Expense Reimbursement              51405
 3/29/2004   Kavita Gupta               Expense Reimbursement              32904
  4/4/2004   Kay Gannon                 Expense Reimbursement              40404
 8/24/2005   Kedar Deshpande, MD        Expense Reimbursement              82405
 8/24/2005   Kedar Deshpande, MD        Expense Reimbursement              82405
 9/25/2003   Kelly O'Connor             Expense Reimbursement              92503
  8/2/2006   Ken Barngrover             Expense Reimbursement              80206
  8/2/2006   Ken Barngrover             Expense Reimbursement              80206
  8/4/2003   Ken Joel                   Expense Reimbursement              80403
10/18/2004   Kenneth Galang             Expense Reimbursement             101804
 10/4/2005   Kenneth Hurwitz            Expense Reimbursement             100405
 4/10/2004   Kenneth Kurt               Expense Reimbursement              41004
 5/18/2003   Kenneth Kurt, MD           Expense Reimbursement              51803
 11/8/2006   Kenneth L. Polllack, MD    Expense Reimbursement             110806
10/22/2004   Kenneth P Sun              Expense Reimbursement             102204
  5/3/2004   Kenneth P. Sun, MD         Expense Reimbursement              50304
10/18/2006   Kenneth P. Sun, MD         Expense Reimbursement             101806
10/11/2007   Kenneth P. Sun, MD         Expense Reimbursement             101107
 5/19/2008   Kenneth P. Sun, MD         /0805 - expense reimbursement      51908
 5/19/2008   Kenneth P. Sun, MD         /0805 - expense reimbursement      51908
 8/11/2003   Kenneth Sullivan           Expense Reimbursement              81103
  8/3/2003   Kent Vosler                Expense Reimbursement              80303
11/10/2006   Kevin Drew                 /Expense Reimbursement            111006
 4/20/2003   Kevin Drew, MD             Expense Reimbursement              42003
 4/25/2004   Kevin Drew, MD             Expense Reimbursement              42204
 8/24/2003   Kevin Fitzgerald                                              82403
 8/24/2003   Kevin Fitzgerald                                              82403
 8/24/2003   Kevin Fitzgerald                                              82403
 8/24/2003   Kevin Fitzgerald                                              82403
10/23/2005   Kevin G. Drew              Expense Reimbursement             102305
 2/19/2003   Kevin J. Kane                                                 21903
 2/19/2003   Kevin J. Kane                                                 21903
  8/3/2003   Kevin Tracy                Expense Reimbursement              80303
 4/11/2003   Kim G. LoBue               Expense Reimbursement              41103
10/19/2003   Kiran Tamirisa             Expense Reimbursement             101903
 5/20/2005   Kirk E. Harum, MD          Expense Reimbursement              52005
 5/20/2005   Kirk E. Harum, MD          Expense Reimbursement              52005
 5/20/2005   Kirk E. Harum, MD          Expense Reimbursement              52005
  6/9/2003   Kirkpatrick, Lynn                                          exp060903
  6/9/2003   Kirkpatrick, Lynn                                          exp060903
  6/9/2003   Kirkpatrick, Lynn                                          exp060903
  6/9/2003   Kirkpatrick, Lynn                                          exp060903
  6/9/2003   Kirkpatrick, Lynn                                          exp060903
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  6/9/2003   Kirkpatrick, Lynn                                           exp060903
  6/9/2003   Kirkpatrick, Lynn                                           exp060903
  6/9/2003   Kirkpatrick, Lynn                                           exp060903
  6/9/2003   Kirkpatrick, Lynn                                           exp060903
  6/9/2003   Kirkpatrick, Lynn                                           exp060903
  6/9/2003   Kirkpatrick, Lynn                                           exp060903
  6/9/2003   Kirkpatrick, Lynn                                           exp060903
  6/9/2003   Kirkpatrick, Lynn                                           exp060903
 5/26/2008   Krishna Nadar               /0805 - expense reimbursement      52608
 5/26/2008   Krishna Nadar               /0805 - expense reimbursement      52608
  5/5/2004   Kurt Gold                   Expense Reimbursement              50504
 5/18/2005   Kurt V. Gold, MD            Expense Reimbursement              51805
 5/18/2005   Kurt V. Gold, MD            Expense Reimbursement              51805
 8/14/2006   Kurt V. Gold, MD            Expense Reimbursement              81406
 8/14/2006   Kurt V. Gold, MD            Expense Reimbursement              81406
 6/19/2008   Kurt V. Gold, MD            /0806 Expense Reimbursement     061908 rm
 12/1/2003   Lance McKitrick             Expense Reimbursement             120103
11/21/2005   Larry A. Pearce, MD         Expense Reimbursement             112105
12/14/2006   Larry Adams                 /Expense Reimbursement            121406
 4/20/2007   Larry Bence                 /Expense Reimbursement             42007
 7/15/2007   Larry C. Driver             /Expense Reimbursement             71507
10/10/2007   Larry Eckstein              /Expense Reimbursement            101007
  8/6/2003   Larry Pearce                Expense Reimbursement              80603
 3/22/2004   Laura Audell                Expense Reimbursement              32204
11/13/2005   Laura Giffin Audell, MD     Expense Reimbursement             111305
 9/29/2003   Laura Hogan                 Expense Reimbursement              92903
  5/1/2006   Lawrence Aronowitz          Expense Reimbursement              50106
 1/29/2004   Lawrence Dell               Boca Expense Reimbursement         12904
  5/2/2006   Lawrence Epstein            /Expense Reimbursement             50206
 8/28/2007   Lawrence Epstein            /Expense Reimbursement             82807
  9/4/2006   Lawrence Epstein            /Expense Reimbursement             90406
 6/13/2004   Lawrence Kirschenbaum       Expense Reimbursement              61304
 5/18/2003   Lawrence Probes, MD, PLLC   Expense Reimbursement              51803
  2/6/2004   Lawrence Rowlands           Expense Reimbursement              20604
 6/15/2008   Lawrence Rowlands           /0806 Expense Reimbursement     061508 rm
 6/15/2008   Lawrence Rowlands           /0806 Expense Reimbursement     061508 rm
 10/3/2004   Lawrence Weil               Expense Reimbursement             100304
10/21/2006   Lawrence Weil, MD           /Expense Reimbursement            102106
11/10/2004   Leland Lou                  Expense Reimbursement             111004
 8/11/2003   Leonard Albert              Expense Reimbursement              81103
  6/9/2003   Leonard Kaplan              Expense Reimbursement              60903
  5/5/2003   Leonard Lucas               Expense Reimbursement              50503
 4/27/2003   Lido Chen MD, Inc.          Expense Reimbursement              42703
  6/5/2006   Lido Chen, MD               Expense Reimbursement              60506
10/22/2004   Lillian R Mandl             Expense Reimbursement             102204
10/27/2003   Lily Voepel                 Expense Reimbursement             102703
 4/23/2004   Lily Yuan                   Expense Reimbursement              42304
 5/19/2003   Lisa Banchik                Expense Reimbursement              51903
11/19/2005   Lisa Banchik, MD            Expense Reimbursement             111905
10/12/2004   Lisa Bellner                Expense Reimbursement             101204
 1/27/2004   Lisa Columbia               Boca Expense Reimbursement         12704
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  3/1/2004   Lisa Columbia            Expense Reimbursement            30104
 11/6/2006   Liza Leal, MD            Expense Reimbursement           110606
 11/6/2006   Liza Leal, MD            Expense Reimbursement           110606
 6/11/2007   Liza Leal, MD            Expense Reimbursement            61107
 6/11/2007   Liza Leal, MD            Expense Reimbursement            61107
 6/10/2007   Liza Leal, MD            Expense Reimbursement            61007
 4/15/2008   Liza Leal, MD            /0804                         041508 rm
 4/16/2007   Liza Leel                Expense Reimbursement            41607
 4/16/2007   Liza Leel                Expense Reimbursement            41607
10/31/2007   Lorraine Rudder          /0710 Expense Reimbursement     103107
10/31/2007   Lorraine Rudder          /0710 Expense Reimbursement     103107
 6/15/2008   Lorraine Rudder          /0806 Expense Reimbursement   061508 rm
 6/15/2008   Lorraine Rudder          /0806 Expense Reimbursement   061508 rm
  9/1/2003   Lorraine Scott                                            90103
 8/12/2006   Louis Spagnoletti        Expense Reimbursement            81206
 4/13/2008   Louis Spagnoletti        /0804 Expense Reimbursement   041308 rm
 4/13/2008   Louis Spagnoletti        /0804 Expense Reimbursement   041308 rm
10/12/2003   Lowell Reynolds          Expense Reimbursement           101203
 9/21/2003   Luba Rosen               Expense Reimbursement            92103
 4/15/2007   Lucy Moore               Expense Reimbursement            41507
  6/6/2007   Luigi DeSantis           /Expense Reimbursement           60607
10/25/2003   Lynn Columbus            Expense Reimbursement           102503
  4/8/2003   Lynn F. Dahl             Expense Reimbursement            40803
10/30/2004   Lynn Sutton              Expense Reimbursement           103004
  5/5/2003   Lynn Webster, MD                                          50503
 8/10/2003   Lynn Webster, MD         Expense Reimbursement            81003
 8/10/2003   Lynn Webster, MD         Expense Reimbursement            81003
10/11/2004   Lynn Webster, MD         Expense Reimbursement           101104
 6/15/2005   Lynn Webster, MD         Expense Reimbursement            61505
 6/15/2005   Lynn Webster, MD         Expense Reimbursement            61505
  9/3/2003   Lynnda Schiermann                                         90303
 5/16/2005   M. Brennan, MD           Expense Reimbursement            51605
10/13/2007   Mahmond Ahmad            /0710 Expense Reimbursement     101307
  6/9/2003   Mahmood Nasir            Expense Reimbursement            60903
  5/6/2003   Maia U. Chakerian        Expense Reimbursement            50603
 2/11/2004   Maia Chakerian           Expense Reimbursement            21104
 5/16/2004   Maia Chakerian           Expense Reimbursement            51604
11/15/2005   Maia Chakerian           Expense Reimbursement           111505
11/15/2005   Maia Chakerian           Expense Reimbursement           111505
 9/20/2004   Malady S. Kodgi          Expense Reimbursement            92004
10/22/2006   Manish K. Singh          /Expense Reimbursement          102206
 7/16/2007   Manish K. Singh          /Expense Reimbursement           71607
 4/30/2008   Manish K. Singh          /0804 Expense Reimbursement   043008 rm
 4/30/2008   Manish K. Singh          /0804 Expense Reimbursement   043008 rm
 4/30/2008   Manish K. Singh          /0804 Expense Reimbursement   043008 rm
 4/30/2008   Manish K. Singh          /0804 Expense Reimbursement   043008 rm
 11/6/2006   Manjul D. Derasari, MD   Expense Reimbursement           110606
 1/29/2003   Manjul Derasari          Expense Reimbursement         012903 lb
10/22/2006   Mannie Joel              Expense Reimbursement           102206
 1/29/2004   Marc Duerden             Boca Expense Reimbursement       12904
 9/13/2004   Marc Gerber              Expense Reimbursement            91304
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 1/15/2007   Marc Gerber               Expense Reimbursement         011507b
  5/7/2008   Marc Gerber               /0804 Expense Reimbursement   050708 rm
  5/5/2003   Marc Hines                Expense Reimbursement            50503
  5/5/2003   Marc Hines                Expense Reimbursement            50503
11/28/2005   Marc Irwin Sharfman, MD   Expense Reimbursement           112805
 9/20/2004   Marc Levine               Expense Reimbursement            92004
 4/16/2003   Marc R. Gerber, MD        Expense Reimbursement            41603
 4/20/2004   Marc R. Gerber, MD        Expense Reimbursement            42004
 1/24/2003   Marc Sharfman, MD         Expense Reimbursement         012403 lb
11/17/2003   Marc Sharfman, MD         Expense Reimbursement           111703
 1/29/2004   Marc Sharfman, MD         Boca Expense Reimbursement       12904
 5/17/2005   Marcia D. Wolf, MD        Expense Reimbursement            51705
 5/17/2005   Marcia D. Wolf, MD        Expense Reimbursement            51705
 5/22/2006   Marcia D. Wolf, MD        Expense Reimbursement            52206
 5/22/2006   Marcia D. Wolf, MD        Expense Reimbursement            52206
10/16/2006   Marcia D. Wolf, MD        Expense Reimbursement           101606
10/16/2006   Marcia D. Wolf, MD        Expense Reimbursement           101606
 10/5/2003   Marcia Elfenbaum          Expense Reimbursement           100503
  6/8/2003   Marcia Wolf               Expense Reimbursement            60803
  8/8/2003   Marguerite Smith          Expense Reimbursement            80803
 5/26/2006   Marilou Oh, PAC           Expense Reimbursement            52606
 8/10/2003   Mark A. Kallgrew          Expense Reimbursement            81003
 5/17/2003   Mark Bailey               Expense Reimbursement            51703
 5/17/2003   Mark Bailey               Expense Reimbursement            51703
 3/31/2004   Mark Bodack               Expense Reimbursement            33104
 9/22/2003   Mark Bohn                                                  92203
 6/13/2004   Mark C. Hines             Expense Reimbursement            61304
 6/26/2006   Mark C. Hines, MD         Expense Reimbursement            62606
 6/26/2006   Mark C. Hines, MD         Expense Reimbursement         hon062606
 4/25/2004   Mark Coleman              Expense Reimbursement            42504
 5/18/2004   Mark Coleman              Expense Reimbursement            51804
 4/14/2003   Mark Cruciani, MD         Expense Reimbursement            41403
 4/15/2007   Mark F. Brooks            Expense Reimbursement            41507
  3/1/2004   Mark G. Kantzler, D.O.    Expense Reimbursement            30104
11/29/2005   Mark G. Kantzler, D.O.    Expense Reimbursement           112905
  4/8/2006   Mark Holtsman             Expense Reimbursement            40806
 4/29/2008   Mark Holtsman             /0804 Expense Reimbursement   042908 rm
11/26/2003   Mark Katzler              Expense Reimbursement           112603
10/10/2007   Mark Phillips             Expense Reimbursement           101007
 10/8/2004   Mark Rottenberg           Expense Reimbursement           100804
  6/3/2007   Mark Thimineur            Expense Reimbursement            60307
 8/22/2003   Mark Thomas                                                82203
 3/22/2004   Mark Wheaton              Expense Reimbursement            32204
10/27/2003   Mark Workman              Expense Reimbursement           102703
 8/16/2004   Mark Workman              Expense Reimbursement            81604
 9/15/2004   Mark Workman              Expense Reimbursement            91540
11/24/2005   Mark Workman              Expense Reimbursement           112405
 8/13/2006   Mark Workman              Expense Reimbursement            81306
 5/24/2006   Martin Hale, MD           Expense Reimbursement            52406
 8/31/2003   Martin Tamler                                              83103
 7/17/2007   Mary Carter               /Expense Reimbursement           71707
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 9/17/2007   Mary Jean Walker             /Expense Reimbursement              91707
 9/17/2007   Mary Jean Walker             /Expense Reimbursement              91707
10/19/2003   Mary Jo Curran               Expense Reimbursement             101903
 10/2/2005   Mary Jo Curran, MD           Expense Reimbursement             100205
 10/2/2005   Mary Jo Curran, MD           Expense Reimbursement             100205
 9/17/2007   Mary Lou Callerame           /Expense Reimbursement              91707
 9/17/2007   Mary M. Liter                /Expense Reimbursement              91707
  8/3/2003   Mary Paris                   Expense Reimbursement               80303
 5/10/2004   Mary Stegman                 Expense Reimbursement               51004
 5/10/2004   Mary Stegman                 Expense Reimbursement               51004
 6/11/2005   Mary Stegman, MD             ACTIQ National Speaker Trng.    exp061105
 9/19/2003   MaryJo Bishop                Expense Reimbursement               91903
 1/28/2003   Matthew L. Black             Expense Reimbursement           012803 lb
11/10/2003   Matthew L. Black             Expense Reimbursement             111003
 5/16/2005   Matthew L. Black, MD         Expense Reimbursement               51605
 10/5/2005   Matthew L. Black, MD         Expense Reimbursement             100505
 10/5/2005   Matthew L. Black, MD         Expense Reimbursement             100505
 8/16/2006   Matthew L. Black, MD         Expense Reimbursement               81606
 8/16/2006   Matthew L. Black, MD         Expense Reimbursement               81606
 7/16/2007   Matthew L. Black, MD         /Expense Reimbursement              71607
 7/16/2007   Matthew L. Black, MD         /Expense Reimbursement              71607
 4/15/2008   Matthew L. Black, MD         /0804 Exp Reimbursement         exp041508
  6/4/2007   Maureen M. Aaron             Expense Reimbursement               60407
11/14/2005   Mazin Elias, MD              Expense Reimbursement             111405
 7/15/2007   Mazin Elias, MD              /Expense Reimbursement              71507
 4/28/2008   Mazin Elias, MD              /0804 Expense Reimbursement     exp 042808
10/22/2006   Mazin Ellias, MD             Expense Reimbursement             102206
 5/25/2006   Mervet K. Saleh, MD          Expense Reimbursement               52506
10/16/2006   Mervet K. Saleh, MD          Expense Reimbursement             101606
10/16/2006   Mervet K. Saleh, MD          Expense Reimbursement             101606
 5/22/2005   Michael Aines                Expense Reimbursement               52205
10/15/2006   Michael Aines                Expense Reimbursement             101506
10/15/2006   Michael Aines                Expense Reimbursement             101506
 9/21/2003   Michael April                Expense Reimbursement               92103
10/18/2005   Michael April                Expense Reimbursement             101805
  6/4/2006   Michael Azevedo, MD          Expense Reimbursement               60406
 6/13/2007   Michael Azevedo, MD          Expense Reimbursement               61307
 9/20/2005   Michael Baskin, MD           Expense Reimbursement               92005
 5/23/2006   Michael Brennan              Expense Reimbursement               52306
 10/7/2007   Michael Brennan              /0710 Expense Reimbursement       100707
 4/14/2008   Michael Brennan              /0804 Exp Reimbursement         exp041408
 5/19/2008   Michael Brennan              /0805 - expense reimbursement       51908
 10/6/2005   Michael C. Fitzpatrick, MD   Expense Reimbursement             100605
 4/28/2006   Michael C. Fitzpatrick, MD   Expense Reimbursement               42806
  2/5/2007   Michael C. Fitzpatrick, MD   /Expense Reimbursement              20507
  2/5/2007   Michael C. Fitzpatrick, MD   /Expense Reimbursement              20507
 6/17/2007   Michael C. Fitzpatrick, MD   Expense Reimbursement               61707
 6/17/2007   Michael C. Fitzpatrick, MD   Expense Reimbursement               61707
  7/2/2008   Michael C. Fitzpatrick, MD   /0807 - expense reimbursement       70208
  7/2/2008   Michael C. Fitzpatrick, MD   /0807 - expense reimbursement       70208
 5/12/2008   Michael C. Fitzpatrick, MD   /0805 - expense reimbursement       51208
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 5/12/2008   Michael C. Fitzpatrick, MD   /0805 - expense reimbursement      51208
10/29/2004   Michael Doust                Expense Reimbursement             102904
 3/12/2003   Michael Fitzpatrick, MD      Expense Reimbursement              31203
11/27/2006   Michael Gutkin               /Expense Reimbursement            112706
 9/20/2004   Michael Holda                Expense Reimbursement              92004
 4/15/2004   Michael J. Schwartz          Expense Reimbursement              41504
 9/21/2003   Michael Kaplan               Expense Reimbursement              92103
 9/21/2004   Michael Kaplan               Expense Reimbursement              92104
 4/30/2004   Michael Kaplan               Expense Reimbursement              43004
11/13/2006   Michael L. Whitworth, MD     Expense Reimbursement             111306
 10/4/2004   Michael Lepis                Expense Reimbursement             100404
  6/6/2006   Michael Lepis, MD            Expense Reimbursement              60606
 6/12/2003   Michael Lowenstein           Expense Reimbursement              61203
 2/18/2004   Michael Luvin                Expense Reimbursement              21804
 8/20/2005   Michael Newberry, MD         Expense Reimbursement              82005
 8/20/2005   Michael Newberry, MD         Expense Reimbursement              82005
 8/20/2005   Michael Newberry, MD         Expense Reimbursement              82005
 8/20/2005   Michael Newberry, MD         Expense Reimbursement              82005
10/22/2003   Michael O'Connell            Expense Reimbursement             102203
  5/9/2003   Michael O'Connell            Expense Reimbursement              50903
 11/6/2004   Michael Orzo                 Expense Reimbursement             110604
12/31/2006   Michael Paquette             /Expense Reimbursement            123106
 6/23/2003   Michael Rivera-Weiss         Expense Reimbursement              62303
 5/16/2005   Michael Rivera-Weiss, MD     Expense Reimbursement              51605
 4/30/2006   Michael Rivera-Weiss, MD     Expense Reimbursement              43006
10/15/2006   Michael Rivera-Weiss, MD     Expense Reimbursement             101506
 4/16/2008   Michael Rivera-Weiss, MD     /0804 Expense Reimbursement     041608 rm
 4/16/2008   Michael Rivera-Weiss, MD     /0804 Expense Reimbursement     041608 rm
 4/16/2008   Michael Rivera-Weiss, MD     /0804 Expense Reimbursement     041608 rm
 4/16/2008   Michael Rivera-Weiss, MD     /0804 Expense Reimbursement     041608 rm
 8/11/2003   Michael Robinson             Expense Reimbursement              81103
 4/30/2006   Michael S. Kaplan            Expense Reimbursement              43006
 6/25/2007   Michael S. Kaplan            /Expense Reimbursement             62507
 4/30/2006   Michael Schou                Expense Reimbursement              43006
 8/29/2006   Michael Schou, MD            Expense Reimbursement              82906
 6/13/2007   Michael Schou, MD            Expense Reimbursement              61307
 3/19/2003   Michael Schwartz             Expense Reimbursement              31903
 6/13/2005   Michael T. Wheeler, DO       Expense Reimbursement              61305
 11/9/2005   Michael T. Wheeler, DO       Expense Reimbursement             110905
 11/9/2005   Michael T. Wheeler, DO       Expense Reimbursement             110905
10/20/2004   Michael Toscani              Expense Reimbursement             102004
11/28/2005   Michael Toscani              Expense Reimbursement             112805
11/28/2005   Michael Toscani              Expense Reimbursement           112805b
11/28/2005   Michael Toscani              Expense Reimbursement           112805c
12/15/2006   Michael Toscani              expenses                        exp121506
12/15/2006   Michael Toscani              expenses                        exp121506
12/15/2006   Michael Toscani              expenses                        exp121506
 9/27/2007   Michael Toscani              /Expense Reimbursement             92707
 6/14/2008   Michael Toscani              /0806 Expense Reimbursement     061408 rm
  6/4/2008   Michael Toscani              /0806 Expense Reimbursement     060408 rm
  6/4/2008   Michael Toscani              /0806 Expense Reimbursement     060408 rm
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  9/3/2003   Michael Toshok                                                  90303
 7/26/2004   Michael Toshok                 Expense Reimbursement            72604
 9/11/2004   Michael Toshok                 Expense Reimbursement            91104
 8/17/2005   Michael Tschickardt, MD        Expense Reimbursement            81705
 8/17/2005   Michael Tschickardt, MD        Expense Reimbursement            81705
 5/20/2003   Michelle Masterson             Expense Reimbursement            52003
10/16/2006   Michelle Rhiner                Expense Reimbursement           101606
 6/14/2007   Michelle Rhiner                Expense Reimbursement            61407
  5/5/2008   Michelle Rhiner                /0804 Expense Reimbursement   050508 rm
  5/5/2008   Michelle Rhiner                /0804 Expense Reimbursement   050508 rm
10/21/2003   Miguel Dominguez               Expense Reimbursement           102103
10/21/2003   Miguel Dominguez               Expense Reimbursement           102103
  6/3/2006   Miguel Dominguez, MD           Expense Reimbursement            60306
 9/23/2007   Mike Eastman                   /Expense Reimbursement           92307
 7/19/2007   Miles D. Hyman                 /Expense Reimbursement           71907
 7/19/2007   Miles D. Hyman                 /Expense Reimbursement           71907
 4/15/2008   Miles D. Hyman                 /0804 Exp Reimbursement       exp041508
 4/15/2008   Miles D. Hyman                 /0804 Exp Reimbursement       exp041508
 6/27/2006   Milton J. Klein, DO            Expense Reimbursement            62706
  6/3/2007   Mitchell Cohen                 Expense Reimbursement            60307
  6/8/2007   Mitchell Richman               Expense Reimbursement            60807
 1/27/2004   Moacir Schnapp                 Boca Expense Reimbursement       12704
 12/1/2005   Moacir Schnapp, MD             Expense Reimbursement           120105
 12/1/2005   Moacir Schnapp, MD             Expense Reimbursement           120105
10/28/2007   Moacir Schnapp, MD             /0710 Expense Reimbursement     102807
10/28/2007   Moacir Schnapp, MD             /0710 Expense Reimbursement     102807
10/25/2004   Mohammad Ismail                Expense Reimbursement           102504
 4/17/2003   Mohammed Ali Nematbakhsh, MD   Expense Reimbursement            41703
 5/24/2006   Mohammed Y. Alam, MD           Expense Reimbursement            52406
 2/12/2004   Mruthyunjaya Gonchigar         Expense Reimbursement            21204
 11/6/2006   Nancy C. Bratanow, MD          Expense Reimbursement           110606
11/13/2005   Nancy Sajben, MD               Expense Reimbursement           111305
 8/25/2003   Naren Lakshmipathy                                              82503
10/27/2004   Narinder Duggal                Expense Reimbursement           102704
 4/15/2003   Narinder Grewal, MD            Expense Reimbursement            41503
 11/7/2004   Nathan Brandon                 Expense Reimbursement           110704
 4/24/2006   Nathan Miller                  Expense Reimbursement            42406
 4/20/2003   Nathan Miller. MD, Inc.        Expense Reimbursement            42003
 9/15/2004   Nathan Singer                  Expense Reimbursement            91504
  6/7/2005   Nazim Ameer, MD                Expense Reimbursement            60705
 7/12/2006   Nazim Ameer, MD                Expense Reimbursement            71206
10/23/2006   Nazim Ameer, MD                Expense Reimbursement           102306
 11/5/2006   Neal Slatkin, MD               Expense Reimbursement           110506
10/16/2006   Neal Slatkin, MD               Expense Reimbursement           101606
10/16/2006   Neal Slatkin, MD               Expense Reimbursement           101606
 7/16/2007   Neal Slatkin, MD               /Expense Reimbursement           71607
 7/16/2007   Neal Slatkin, MD               /Expense Reimbursement           71607
 10/7/2007   Neal Slatkin, MD               Expense Reimbursement           100707
 10/7/2007   Neal Slatkin, MD               Expense Reimbursement           100707
  5/4/2008   Neal Slatkin, MD               /0804 Expense Reimbursement   050408 rm
  5/4/2008   Neal Slatkin, MD               /0804 Expense Reimbursement   050408 rm
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  5/4/2008   Neal Slatkin, MD          /0804 Expense Reimbursement     050408 rm
  5/4/2008   Neal Slatkin, MD          /0804 Expense Reimbursement     050408 rm
10/28/2007   Neil Halim                /0710 Expense Reimbursement        102807
 5/18/2008   Neil Jobalia              /0805 - expense reimbursement       51808
 5/23/2006   Nelson L. Kohn, MD        Expense Reimbursement               52306
  6/3/2007   Nelson L. Kohn, MD        Expense Reimbursement               60307
 3/21/2003   Nicholas Navato           Expense Reimbursement               32103
10/14/2006   Nichole Lopez, FNP-C      Expense Reimbursement              101406
10/23/2006   Nick Navato, MD           Expense Reimbursement              102306
  8/6/2007   Nok Keomahathai           /Expense Reimbursement              80607
  8/6/2007   Nok Keomahathai           /Expense Reimbursement              80607
 4/27/2004   Nolan Tzou                Expense Reimbursement               42704
 6/26/2006   Nolan Tzou                Expense Reimbursement               62606
  6/4/2007   Nolan Tzou                /Expense Reimbursement              60407
  6/4/2007   Nolan Tzou                /Expense Reimbursement              60407
  6/4/2007   Nolan Tzou                /Expense Reimbursement              60407
  6/4/2007   Nolan Tzou                /Expense Reimbursement              60407
 9/22/2003   Norman Marcus             Expense Reimbursement               92203
 9/22/2003   Norman Marcus             Expense Reimbursement               92203
 5/17/2005   Norman Marcus, MD         Expense Reimbursement               51705
 6/26/2006   Norman Marcus, MD         Expense Reimbursement               62606
 6/26/2006   Norman Marcus, MD         Expense Reimbursement               62606
  5/2/2006   Norman Marcus, MD         Expense Reimbursement               50206
  5/2/2006   Norman Marcus, MD         Expense Reimbursement               50206
 7/16/2007   Norman Pang               /Expense Reimbursement              71607
 7/16/2007   Norman Pang               /Expense Reimbursement              71607
  3/3/2004   Orlando Florete           Expense Reimbursement               30304
  3/3/2004   Orlando Florete           Expense Reimbursement               30304
 4/27/2003   Osama Malak, MD           Expense Reimbursement               42703
10/23/2006   Oscar A. DeLeon, MD       Expense Reimbursement              102306
 9/26/2004   Otto Dickman              Expense Reimbursement               92604
  4/8/2004   P. Bobby Dey              Expense Reimbursement               40804
 1/26/2004   Pacito V. Yabes           Boca Expense Reimbursement          12604
 5/23/2008   Pamela Renee Pope         /0805 - expense reimbursement       52308
 7/15/2007   Patricia Sutton           /0707 Expense Reimbursement         71507
 8/18/2008   Patricia Sutton           /0805                           081808 rm
 6/13/2008   Patricia Sutton           /0806 Expense Reimbursement     061308 rm
 6/13/2008   Patricia Sutton           /0806 Expense Reimbursement     061308 rm
11/16/2008   Patricia Sutton           /0811 exepnse report               111608
 6/21/2006   Patricia Wynnjones, MD    Expense Reimbursement               62106
 5/14/2005   Patrick E. McNamera       Expense Reimbursement               51405
 5/14/2005   Patrick E. McNamera       Expense Reimbursement               51405
 8/24/2006   Patrick McNamara          consulting service for pitch    ckr082406
10/14/2006   Patrick Reynolds, MD      Expense Reimbursement              101406
 1/26/2004   Paul A. Grant             Boca Expense Reimbursement          12604
 6/11/2007   Paul A. Grant             /Expense Reimbursement              61107
 6/11/2007   Paul A. Grant             /Expense Reimbursement              61107
 4/10/2008   Paul Brown                /0804                           041008 rm
11/13/2005   Paul E. Pilgram, MD, PC   Expense Reimbursement              111305
10/21/2006   Paul E. Pilgram, MD, PC   Expense Reimbursement              102106
 4/23/2004   Paul M. Spector           Expense Reimbursement               42304
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 5/23/2006   Paul M. Spector, DO       Expense Reimbursement              52806
 8/17/2006   Paul M. Spector, DO       Expense Reimbursement              81706
 7/19/2007   Paul M. Spector, DO       /Expense Reimbursement             71907
 7/19/2007   Paul M. Spector, DO       /Expense Reimbursement             71907
 5/18/2008   Paul M. Spector, DO       /0805 - expense reimbursement      51808
11/13/2008   Paul M. Spector, DO       /0811 expense report              111308
11/13/2008   Paul M. Spector, DO       /0811 expense report              111308
 3/21/2004   Paul Pilgram              Expense Reimbursement              32104
 4/13/2003   Paul R. Lafavore, MD      Expense Reimbursement              41303
 4/13/2003   Paul R. Lafavore, MD      Expense Reimbursement              41303
10/10/2004   Paul Raber                Expense Reimbursement             101004
 4/18/2007   Paul W. Knoll             Expense Reimbursement              41807
 10/7/2007   Paul Wand                 /0710 Expense Reimbursement       100707
11/12/2003   Pedro Oliveros            Expense Reimbursement             111203
 10/3/2004   Pelin Chang               Expense Reimbursement             100304
 5/11/2006   Perry G. Fine, MD         Expense Reimbursement              51106
 6/29/2007   Perry G. Fine, MD         /Expense Reimbursement             62907
10/13/2003   Peter Bardwick            Expense Reimbursement             101303
 6/11/2005   Peter Reusswig, MD        ACTIQ National Speaker Trng.    exp061105
 6/11/2005   Peter Reusswig, MD        ACTIQ National Speaker Trng.    exp061105
10/10/2005   Peter Reusswig, MD        Expense Reimbursement             101005
10/16/2006   Peter Reusswig, MD        Expense Reimbursement             101606
 6/28/2007   Peter Reusswig, MD        /Expense Reimbursement             62807
  5/1/2008   Peter Reusswig, MD        /0804 Expense Reimbursement     050108 rm
  5/1/2008   Peter Reusswig, MD        /0804 Expense Reimbursement     050108 rm
10/25/2003   Peter Silberstein         Expense Reimbursement              10250
12/14/2006   Peter Toscani             expenses                        exp121406
12/14/2006   Peter Toscani             expenses                        exp121406
  6/7/2004   Peyman Nazmi              Expense Reimbursement              60704
 4/15/2003   Philiip Morgan, MD        Expense Reimbursement              41503
 6/21/2004   Philip Savia              Expense Reimbursement              62104
 8/12/2003   Phillip Matthews          Expense Reimbursement              81203
 8/26/2006   Phyllis Cullen            Expense Reimbursement              82606
 6/13/2003   Prabaal Dey               Expense Reimbursement              61303
 6/13/2003   Prabaal Dey               Expense Reimbursement              61303
  8/9/2004   Pramod Kerkar             Expense Reimbursement              80904
 9/12/2004   Pramod Kerkar             Expense Reimbursement              91204
 6/20/2003   Pramod Yadhati            Expense Reimbursement              62003
 6/20/2003   Pramod Yadhati            Expense Reimbursement              62003
11/26/2005   R. Charles Brownlow, MD   Expense Reimbursement             112605
  8/3/2007   R. Charles Brownlow, MD   /Expense Reimbursement             80307
 2/17/2003   R. Steven Singer, MD                                         21703
10/20/2003   R. Steven Singer, MD      Expense Reimbursement             102003
10/20/2003   R. Steven Singer, MD      Expense Reimbursement             102003
 4/14/2003   R. Steven Singer, MD      Expense Reimbursement              41403
  5/5/2003   R. Steven Singer, MD      Expense Reimbursement              50503
  5/5/2003   R. Steven Singer, MD      Expense Reimbursement              50503
  6/9/2003   R. Steven Singer, MD      Expense Reimbursement              60903
  6/9/2003   R. Steven Singer, MD      Expense Reimbursement              60903
 10/6/2003   R. Steven Singer, MD      Expense Reimbursement             100603
 6/24/2003   R. Steven Singer, MD      Expense Reimbursement              62403
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 6/24/2003   R. Steven Singer, MD     Expense Reimbursement            62403
 6/24/2003   R. Steven Singer, MD     Expense Reimbursement            62403
  8/4/2003   R. Steven Singer, MD     Expense Reimbursement            80403
  8/4/2003   R. Steven Singer, MD     Expense Reimbursement            80403
 8/11/2003   R. Steven Singer, MD     Expense Reimbursement            81103
 8/11/2003   R. Steven Singer, MD     Expense Reimbursement            81103
 5/19/2003   R. Steven Singer, MD     Expense Reimbursement            51903
 9/30/2005   Rabia Khah, MD           Expense Reimbursement            93005
 5/17/2006   Rabia Khah, MD           Expense Reimbursement            51706
 5/17/2006   Rabia Khah, MD           Expense Reimbursement            51706
  4/4/2004   Rachel Feinberg          Expense Reimbursement            40404
10/29/2003   Radhika Ravula           Expense Reimbursement           102903
 3/30/2004   Rajan Gupta              Expense Reimbursement            33004
 5/17/2005   Rajbir Minhas, MD        Expense Reimbursement            51705
 10/3/2005   Rajesh K. Patel, MD      Expense Reimbursement           100305
 10/3/2005   Rajesh K. Patel, MD      Expense Reimbursement           100305
  2/2/2004   Rajesh Patel             Boca Expense Reimbursement       20204
 9/19/2004   Rakesh K Mathur          Expense Reimbursement            91904
 1/30/2003   Ralph Zwolinski          Expense Reimbursement         013003 lb
 1/30/2003   Ralph Zwolinski          Expense Reimbursement         013003 lb
11/15/2005   Ralph Zwolinski          Expense Reimbursement           111505
 9/29/2007   Randal Lewis             /Expense Reimbursement           92907
 6/23/2005   Randall E. Halley, DO    Expense Reimbursement            62305
 6/23/2005   Randall E. Halley, DO    Expense Reimbursement            62305
 8/16/2006   Randall E. Halley, DO    Expense Reimbursement            81606
 1/26/2004   Randall Rissman          Boca Expense Reimbursement       12604
 7/24/2004   Randall Rissman          Expense Reimbursement            72404
 9/17/2004   Randall Rissman          Expense Reimbursement            91704
11/13/2003   Randy Smith              Expense Reimbursement           111303
10/22/2007   Raymond Bedell           /0709 Expense Reimbursement     102207
 3/10/2003   Raymond Sorensen         Expense Reimbursement            31003
 7/16/2007   Raymond Sorensen         /Expense Reimbursement           71607
 6/13/2004   Rebecca Holdreu          Expense Reimbursement            61304
 8/22/2004   Rebecca Patchin          Expense Reimbursement            82204
 9/19/2007   Rebecca Wallace          /Expense Reimbursement           91907
 6/25/2004   Reno R. Cova Jr.         Expense Reimbursement            62504
10/28/2007   Rey Ximenes              /0710 Expense Reimbursement     102807
 4/26/2004   Riad Laham               Expense Reimbursement            42604
 6/13/2005   Riad Laham               Expense Reimbursement            61305
 6/13/2005   Riad Laham               Expense Reimbursement            61305
 6/13/2005   Riad Laham               Expense Reimbursement            61305
 5/22/2006   Riad Laham               Expense Reimbursement            52206
  5/1/2006   Riad Laham               Expense Reimbursement            50106
 8/14/2006   Riad Laham               Expense Reimbursement            81406
 6/10/2007   Riad Laham               Expense Reimbursement            61007
 6/10/2007   Riad Laham               Expense Reimbursement            61007
 4/15/2008   Riad Laham               /0804 Exp Reimbursement       exp041508
 4/15/2008   Riad Laham               /0804 Exp Reimbursement       exp041508
 4/15/2008   Riad Laham               /0804 Exp Reimbursement       exp041508
 4/14/2003   Riad Laham, MD           Expense Reimbursement            41403
 4/14/2003   Riad Laham, MD           Expense Reimbursement            41403
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 3/30/2004   Riad Laham, MD                Expense Reimbursement               33004
 6/27/2006   Ric Zarzuela, MD              Expense Reimbursement               62706
 1/26/2003   Ricardo I. Zarzuela, MD, PC   Expense Reimbursement           012603 lb
 2/17/2003   Richard A. Sandler, MD                                            21703
 5/30/2008   Richard Haddad                /0805 - expense reimbursement       53008
 10/7/2003   Richard Hood                  Expense Reimbursement             100703
11/25/2005   Richard Lowder                Expense Reimbursement             112505
 8/15/2006   Richard Lowder                Expense Reimbursement               81506
 6/11/2007   Richard Lowder                Expense Reimbursement               61107
 6/11/2007   Richard Lowder                Expense Reimbursement               61107
 4/13/2008   Richard Lowder                /0804 Expense Reimbursement     exp 041308
 5/18/2008   Richard Lowder                /0805 - expense reimbursement       51808
 6/24/2007   Richard M. Sabel              /Expense Reimbursement              62407
 6/24/2007   Richard M. Sabel              /Expense Reimbursement              62407
 6/25/2005   Richard M. Sobel, MD          Expense Reimbursement               62505
 6/25/2005   Richard M. Sobel, MD          Expense Reimbursement               62505
 6/25/2005   Richard M. Sobel, MD          Expense Reimbursement               62505
 4/28/2006   Richard M. Sobel, MD          Expense Reimbursement               42806
10/24/2006   Richard M. Sobel, MD          Expense Reimbursement             102406
10/24/2006   Richard M. Sobel, MD          Expense Reimbursement             102406
10/24/2006   Richard M. Sobel, MD          Expense Reimbursement             102406
 4/28/2008   Richard M. Sobel, MD          /0804 Expense Reimbursement     exp 042808
 4/28/2008   Richard M. Sobel, MD          /0804 Expense Reimbursement     exp 042808
 4/28/2008   Richard M. Sobel, MD          /0804 Expense Reimbursement     exp 042808
10/21/2006   Richard Radnovich             /Expense Reimbursement            102106
11/30/2006   Richard Radnovich             /Expense Reimbursement            113006
 6/10/2007   Richard Radnovich             /0706 Expense Reimbursement         61007
 3/23/2004   Richard Roseff                Expense Reimbursement               32304
10/31/2003   Rick Arnold                   Expense Reimbursement             103103
 5/23/2006   Robert A. Carabelli           Expense Reimbursement               52306
10/14/2006   Robert A. Carabelli           /Expense Reimbursement            101406
 10/7/2007   Robert A. Carabelli           Expense Reimbursement             100707
 10/7/2007   Robert A. Carabelli           Expense Reimbursement             100707
 4/15/2006   Robert A. Miller              Expense Reimbursement               41506
 11/1/2007   Robert Brown                  /0710 Expense Reimbursement       110107
 2/16/2003   Robert Brown, MD              Expense Reimbursement               21603
 2/18/2003   Robert Brown, MD                                                  21803
 2/18/2003   Robert Brown, MD                                                  21803
 4/25/2004   Robert Brown, MD              Expense Reimbursement               42504
  4/6/2004   Robert David Cannon           Expense Reimbursement               40604
 4/22/2004   Robert Fortier-Bensen         Expense Reimbursement               42204
 5/27/2004   Robert Kravitz                Expense Reimbursement               52704
 3/21/2004   Robert L Schneider                                                32104
  1/4/2006   Robert L. Schneider, MD       Expense Reimbursement               10406
  1/4/2006   Robert L. Schneider, MD       Expense Reimbursement               10406
10/21/2006   Robert L. Schneider, MD       Expense Reimbursement             102106
12/29/2003   Robert Lentz                  Expense Reimbursement             122903
12/20/2000   Robert M. Jacobson                                            exp122000
12/20/2000   Robert M. Jacobson                                            exp122000
 3/23/2004   Robert McAuley                Expense Reimbursement               32304
 6/12/2007   Robert Ong                    Expense Reimbursement               61207
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 4/28/2008   Robert Ong                   /0804 Expense Reimbursement     042808 rm
 4/28/2008   Robert Ong                   /0804 Expense Reimbursement     042808 rm
 4/28/2008   Robert Ong                   /0804 Expense Reimbursement     042808 rm
  2/1/2004   Robert Perkins               Expense reimbursement               20104
 2/17/2003   Robert S. Kahn, MD                                               21703
 5/27/2006   Robert Salvage, MD           Expense Reimbursement               52706
 9/21/2003   Robert Silverbrook           Expense Reimbursement               92103
 9/16/2007   Robert Smith                 /Expense Reimbursement              91607
 6/12/2005   Robert Steven Singer, MD     Expense Reimbursement               61205
 6/12/2005   Robert Steven Singer, MD     Expense Reimbursement               61205
  6/4/2006   Robert Steven Singer, MD     Expense Reimbursement               60406
  6/4/2006   Robert Steven Singer, MD     Expense Reimbursement               60406
10/22/2006   Robert Steven Singer, MD     Expense Reimbursement             102206
10/22/2006   Robert Steven Singer, MD     Expense Reimbursement             102206
 5/11/2006   Robert Twillman              Expense Reimbursement               51106
10/15/2004   Robert Venuti                Expense Reimbursement             101504
 6/29/2007   Robert Vrablik               /Expense Reimbursement              62907
 6/29/2007   Robert Vrablik               /Expense Reimbursement              62907
10/26/2005   Robert Wills, MD             Expense Reimbursement             102605
10/26/2005   Robert Wills, MD             Expense Reimbursement             102605
 3/24/2004   Robin R. Ockey               Expense Reimbursement               32404
 7/11/2005   Robin R. Ockey               Expense Reimbursement               71105
 4/26/2006   Robin R. Ockey               Expense Reimbursement               42606
 8/14/2006   Robin R. Ockey               Expense Reimbursement               81406
 4/26/2007   Robyn G. Young               /Expense Reimbursement              42607
 4/20/2007   Rocky Mazzo                  /Expense Reimbursement              42007
 4/20/2007   Rocky Mazzo                  /Expense Reimbursement              42007
 9/21/2003   Roderick Hines               Expense Reimbursement               92103
10/19/2003   Rodolfo Gari                 Expense Reimbursement             101903
 4/20/2004   Romanth Waghmarae            Expense Reimbursement               42004
 6/25/2006   Romanth Waghmarae            Expense Reimbursement               62506
10/23/2006   Romanth Waghmarae            Expense Reimbursement             102306
10/23/2006   Romanth Waghmarae            Expense Reimbursement             102306
 7/20/2007   Romanth Waghmarae            /Expense Reimbursement              72007
 7/20/2007   Romanth Waghmarae            /Expense Reimbursement              72007
 4/29/2008   Romanth Waghmarae            /0804 Expense Reimbursement     exp 042908
 4/29/2008   Romanth Waghmarae            /0804 Expense Reimbursement     exp 042908
 5/18/2008   Romanth Waghmarae            /0805 - expense reimbursement       51808
 5/18/2008   Romanth Waghmarae            /0805 - expense reimbursement       51808
10/23/2006   Ronald H. Bradley, DO, PhD   Expense Reimbursement             102306
 5/18/2006   Rosemary Hansen                                              06-112
 1/29/2003   Rudolph Panganiban, MD       Expense Reimbursement           012903 lb
 1/29/2003   Rudolph Panganiban, MD       Expense Reimbursement           012903 lb
 4/19/2004   Sadiq Sohani                 Expense Reimbursement               41904
 5/12/2003   Salim M. Hayek               Expense Reimbursement               51203
10/23/2006   Salvatore Campo              Expense Reimbursement             102306
 7/17/2007   Salvatore Campo              /Expense Reimbursement              71707
 6/22/2008   Salvatore Campo              /0806 Expense Reimbursement     062208 rm
 8/30/2005   Sam Jahani, DO               Expense Reimbursement               83005
 8/30/2005   Sam Jahani, DO               Expense Reimbursement               83005
 1/25/2004   Sam Kabbani, MD              Boca Expense Reimbursement          12504
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 3/28/2004   Sam Kabbani, MD          Expense Reimbursement              32804
 8/12/2006   Sami Moufawad, MD        Expense Reimbursement              81206
 6/25/2007   Sami Moufawad, MD        /Expense Reimbursement             62507
 4/14/2008   Sami Moufawad, MD        /0804 Exp Reimbursement         exp041408
 4/14/2008   Sami Moufawad, MD        /0804 Exp Reimbursement         exp041408
 4/14/2008   Sami Moufawad, MD        /0804 Exp Reimbursement         exp041408
 5/20/2008   Sami Moufawad, MD        /0805 - expense reimbursement      52008
 5/20/2008   Sami Moufawad, MD        /0805 - expense reimbursement      52008
 5/20/2008   Sami Moufawad, MD        /0805 - expense reimbursement      52008
11/20/2005   Samir Kabbani, MD        Expense Reimbursement             112005
 4/22/2004   Samuel Perov             Expense Reimbursement              42204
11/27/2005   Samuel Yue, MD           Expense Reimbursement             112705
10/16/2006   Samyaden Datta, MD       Expense Reimbursement             101606
 3/29/2004   Sanjay Gupta             Expense Reimbursement              32904
 8/15/2003   Sarah Zichella           Expense Reimbursement              81503
 9/18/2003   Sathish Modugu           Expense Reimbursement              91803
 6/20/2007   Scott Boyd               /Expense Reimbursement          062007b
 6/20/2007   Scott Boyd               Expense Reimbursement              62007
10/23/2006   Scott Hompland, DO       Expense Reimbursement             102306
 4/25/2004   Scott Mueller            Expense Reimbursement              42504
12/12/2006   Scott Mueller            /Expense Reimbursement            121206
10/30/2006   Scott Mueller            Expense Reimbursement             103006
  7/3/2007   Scott Mueller            /Expense Reimbursement             70307
  7/3/2007   Scott Mueller            /Expense Reimbursement             70307
 5/18/2008   Scott Mueller            /0805 - expense reimbursement      51808
 5/18/2008   Scott Mueller            /0805 - expense reimbursement      51808
 9/16/2007   Scott S. Ekdahl          /Expense Reimbursement             91607
 12/5/2006   Scott Strassels          Expense Reimbursement             120506
 12/5/2006   Scott Strassels          Expense Reimbursement             120506
 4/30/2006   Scott Tannenbaum, MD     Expense Reimbursement              43006
 7/23/2008   Scott Tannenbaum, MD     /0805 Expense Reimbursement     072308 rm
 2/23/2003   Scott Werner, MD                                            22303
 6/24/2004   Selina Yingai Xing       Expense Reimbursement              62404
  6/3/2007   Selina YingQi Xing       Expense Reimbursement              60307
  6/3/2007   Selina YingQi Xing       Expense Reimbursement              60307
  6/3/2007   Selina YingQi Xing       Expense Reimbursement              60307
10/22/2006   Seth Kaufman, MD         Expense Reimbursement             102206
 8/23/2004   Shaik Saheb              Expense Reimbursement              82304
11/13/2005   Shams M. Qureshi, MD     Expense Reimbursement             111305
11/13/2005   Shams M. Qureshi, MD     Expense Reimbursement             111305
10/11/2006   Shams M. Qureshi, MD     /Expense Reimbursement            101106
10/11/2006   Shams M. Qureshi, MD     /Expense Reimbursement            101106
10/11/2006   Shams M. Qureshi, MD     /Expense Reimbursement            101106
10/11/2006   Shams M. Qureshi, MD     /Expense Reimbursement            101106
10/11/2006   Shams M. Qureshi, MD     /Expense Reimbursement            101106
10/11/2006   Shams M. Qureshi, MD     /Expense Reimbursement            101106
 4/30/2004   Sharon Prohaska          Expense Reimbursement              43004
10/16/2004   Shawn Donatelli          Expense Reimbursement             101604
 9/28/2007   Shawn Platt              /Expense Reimbursement             92807
 5/26/2006   Shawn T. Howard          Expense Reimbursement              52606
 11/4/2003   Sheila McGukin           Expense Reimbursement             110403
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 6/12/2005   Sherif Nasef, MD          Expense Reimbursement               61205
 4/27/2008   Sherif Nasef, MD          /0804 Expense Reimbursement     exp 042708
 9/15/2003   Sherif Salama             Expense Reimbursement               91503
 6/20/2005   Sherri Steele             Expense Reimbursement               62005
 6/20/2005   Sherri Steele             Expense Reimbursement               62005
  7/6/2004   Sheryl Lavender           Expense Reimbursement               70604
11/17/2005   Sheryl Lavender, DO       Expense Reimbursement             111705
 6/16/2004   Shobhana Patodia          Expense Reimbursement               61604
  6/3/2007   Shriharsh Pole            Expense Reimbursement               60307
  8/3/2006   Siavash Nael, MD          Expense Reimbursement               80306
12/30/2006   Siavash Nael, MD          /Expense Reimbursement            123006
12/30/2006   Siavash Nael, MD          /Expense Reimbursement            123006
10/20/2003   Sidi Noor                 Expense Reimbursement             102003
 10/7/2005   Sidi Noors, MD            Expense Reimbursement             100705
  5/5/2003   Simmon Wilcox, MD         Expense Reimbursement               50503
10/24/2004   Sofia Lam                 Expense Reimbursement             102404
10/24/2004   Sofia Lam                 Expense Reimbursement             102404
10/21/2004   Son Le                    Expense Reimbursement             102104
10/21/2004   Son Le                    Expense Reimbursement             102104
11/14/2005   Son T. Dinh, MD           Expense Reimbursement             111405
 4/27/2003   Son T. Dinh, MD, Inc.     Expense Reimbursement               42703
  7/1/2003   Sophia D. Leonard-Burns   Expense Reimbursement               70103
10/22/2003   Sophia D. Leonard-Burns   Expense Reimbursement             102203
 4/30/2004   Sophia D. Leonard-Burns   Expense Reimbursement               43004
 5/26/2005   Sophia Leonard-Burns      Expense Reimbursement               52605
 6/14/2006   Sophia Leonard-Burns      Expense Reimbursement               61406
10/19/2006   Sophia Leonard-Burns      Expense Reimbursement             101906
  1/4/2007   Sophia Leonard-Burns      /Expense Reimbursement              10407
 7/19/2007   Sophia Leonard-Burns      /Expense Reimbursement              71907
 4/17/2008   Sophia Leonard-Burns      /0804 Exp Reimbursement         exp041708
 4/17/2008   Sophia Leonard-Burns      /0804 Exp Reimbursement         exp041708
 5/19/2008   Sophia Leonard-Burns      /0805 - expense reimbursement       51908
 6/15/2005   Srinivas Nalamachu, MD    Expense Reimbursement               61505
 8/12/2006   Srinivas Nalamachu, MD    Expense Reimbursement               81206
 6/10/2007   Srinivas Nalamachu, MD    Expense Reimbursement               61007
 6/10/2007   Srinivas Nalamachu, MD    Expense Reimbursement               61007
 4/15/2008   Srinivas Nalamachu, MD    /0804 Expense Reimbursement     exp 041508
 6/11/2005   Standiford Helm,MD        Expense Reimbursement               61105
 6/10/2007   Standiford Helm,MD        Expense Reimbursement               61007
 4/27/2008   Standiford Helm,MD        /0804 Expense Reimbursement     exp 042708
  6/5/2004   Stanley Golovac           Expense Reimbursement               60504
10/18/2004   Stefan Humphries          Expense Reimbursement             101804
 4/25/2004   Stephen Boyajian          Expense Reimbursement               42504
11/14/2006   Stephen David Watson      Expense Reimbursement             111406
11/14/2006   Stephen David Watson      Expense Reimbursement             111406
  7/7/2004   Stephen Hosman            Expense Reimbursement               70704
 1/25/2004   Stephen Kramarich         Boca Expense Reimbursement          12504
 4/24/2006   Stephen Landy             Expense Reimbursement               42406
10/16/2006   Stephen Landy             Expense Reimbursement             101606
 6/24/2007   Stephen Landy             /Expense Reimbursement              62407
 5/19/2008   Stephen Landy             /0805 - expense reimbursement       51908
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 4/18/2003   Stephen Landy, MD        Expense Reimbursement             41803
 4/18/2003   Stephen Landy, MD        Expense Reimbursement             41803
 4/27/2003   Stephen Landy, MD                                          42703
10/20/2004   Stephen Latman           Expense Reimbursement           102004
10/27/2003   Stephen Lester           Expense Reimbursement           102703
 9/22/2003   Stephen Martin           Expense Reimbursement             92203
 6/10/2007   Stephen Pociask          Expense Reimbursement             61007
 6/24/2003   Stephen Segall           Expense Reimbursement             62403
 4/16/2004   Stephen Wilson           Expense Reimbursement             41604
 6/13/2005   Stephen Wilson, MD       Expense Reimbursement             61305
 10/6/2005   Stephen Wilson, MD       Expense Reimbursement           100605
  5/3/2006   Stephen Wilson, MD       Expense Reimbursement             50306
10/24/2006   Stephen Wilson, MD       Expense Reimbursement           102406
 4/15/2008   Stephen Wilson, MD       /0804                         041508 rm
 4/15/2008   Stephen Wilson, MD       /0804                         041508 rm
 6/11/2007   Stephen Zebrowski        /Expense Reimbursement            61107
 6/11/2007   Stephen Zebrowski        /Expense Reimbursement            61107
 9/22/2004   Stephen Zuckerman        Expense Reimbursement             92204
 4/16/2007   Steve Colucci            Expense Reimbursement             41607
 10/2/2005   Steve Fanto, MD, PC      Expense Reimbursement           100205
 4/27/2008   Steve Fanto, MD, PC      /0804 Expense Reimbursement   exp 042708
 10/3/2003   Steve Litman             Expense Reimbursement           100303
 2/19/2003   Steve Shoemaker, MD                                        21903
 2/19/2003   Steve Shoemaker, MD                                        21903
 2/19/2003   Steve Shoemaker, MD                                        21903
 2/26/2003   Steve Shoemaker, MD      Expense reimbursement             22603
 1/26/2003   Steve Shoemaker, MD      Expense Reimbursement         012603 lb
 2/16/2003   Steve Shoemaker, MD                                        21603
 2/16/2003   Steve Shoemaker, MD                                        21603
 2/16/2003   Steve Shoemaker, MD                                        21603
 4/14/2003   Steve Shoemaker, MD      Expense Reimbursement             41403
10/20/2003   Steve Shoemaker, MD      Expense Reimbursement           102003
 5/12/2003   Steve Shoemaker, MD      Expense Reimbursement         051203b
 5/12/2003   Steve Shoemaker, MD                                        51203
 5/12/2003   Steve Shoemaker, MD                                        51203
 10/7/2003   Steve Shoemaker, MD      Expense Reimbursement           100703
10/31/2003   Steve Shoemaker, MD      Expense Reimbursement           103103
11/17/2003   Steve Shoemaker, MD      Expense Reimbursement           111703
11/17/2003   Steve Shoemaker, MD      Expense Reimbursement           111703
 8/19/2003   Steve Shoemaker, MD                                        81903
 8/19/2003   Steve Shoemaker, MD                                        81903
 9/16/2003   Steve Shoemaker, MD      Expense Reimbursement             91603
 9/16/2003   Steve Shoemaker, MD      Expense Reimbursement             91603
 6/23/2003   Steve Shoemaker, MD      Expense Reimbursement             62303
 8/13/2003   Steve Shoemaker, MD      Expense Reimbursement             81303
 8/13/2003   Steve Shoemaker, MD      Expense Reimbursement             81303
 5/19/2003   Steve Shoemaker, MD      Expense Reimbursement             51903
 1/28/2004   Steve Shoemaker, MD      Boca Expense Reimbursement        12804
 3/22/2004   Steve Shoemaker, MD      Expense Reimbursement             32204
 6/18/2004   Steve Shoemaker, MD      Expense Reimbursement             61804
 10/4/2004   Steve Shoemaker, MD      Expense Reimbursement           100404
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10/27/2004   Steve Shoemaker, MD      Expense Reimbursement              102704
 5/11/2004   Steve Shoemaker, MD      Expense Reimbursement                51104
 5/11/2004   Steve Shoemaker, MD      Expense Reimbursement                51104
  4/5/2004   Steve Shoemaker, MD      Expense Reimbursement                40504
11/14/2006   Steven Bennett, D.O.     /Expense Reimbursement             111406
 4/25/2004   Steven Chun              Expense Reimbursement                42504
 5/18/2005   Steven Chun, MD          Expense Reimbursement                51805
  5/1/2006   Steven Chun, MD          Expense Reimbursement                50106
 7/19/2007   Steven Chun, MD          /Expense Reimbursement               71907
 7/19/2007   Steven Chun, MD          /Expense Reimbursement               71907
 5/21/2008   Steven Chun, MD          /0805 - expense reimbursement        52108
 5/21/2008   Steven Chun, MD          /0805 - expense reimbursement        52108
 5/21/2008   Steven Chun, MD          /0805 - expense reimbursement        52108
 5/16/2005   Steven Grenell           Expense Reimbursement                51605
 1/15/2007   Steven Grenell           Expense Reimbursement                11507
 1/15/2007   Steven Grenell           Expense Reimbursement                11507
 7/16/2007   Steven Grenell           /Expense Reimbursement               71607
 7/16/2007   Steven Grenell           /Expense Reimbursement               71607
 4/29/2008   Steven Grenell           /0804 Expense Reimbursement      exp 042908
 4/29/2008   Steven Grenell           /0804 Expense Reimbursement      exp 042908
10/14/2006   Steven Litman            /Expense Reimbursement             101406
 10/7/2007   Steven Litman            /0710 Expense Reimbursement        100707
 4/18/2008   Steven Litman            /0804 Expense Reimbursement      exp 041808
 6/15/2005   Steven M. Simon, MD      Expense Reimbursement                61505
 6/15/2005   Steven M. Simon, MD      Expense Reimbursement                61505
 7/31/2005   Steven M. Simon, MD      Expense Reimbursement                73105
 10/5/2005   Steven M. Simon, MD      Expense Reimbursement              100505
 10/5/2005   Steven M. Simon, MD      Expense Reimbursement              100505
  5/3/2006   Steven M. Simon, MD      Wait, doesn't Patrick have the       50306
  5/3/2006   Steven M. Simon, MD      Wait, doesn't Patrick have the       50306
 8/15/2006   Steven M. Simon, MD      Expense Reimbursement                81506
 8/15/2006   Steven M. Simon, MD      Expense Reimbursement                81506
 1/17/2007   Steven M. Simon, MD      Expense Reimbursement                11707
 1/17/2007   Steven M. Simon, MD      Expense Reimbursement                11707
 6/13/2007   Steven M. Simon, MD      Expense Reimbursement                61307
 4/29/2008   Steven M. Simon, MD      /0804 Expense Reimbursement      exp 042908
 4/29/2008   Steven M. Simon, MD      /0804 Expense Reimbursement      exp 042908
 4/29/2008   Steven M. Simon, MD      /0804 Expense Reimbursement      exp 042908
 9/14/2007   Steven Passik            /Expense Reimbursement               91407
10/28/2007   Steven Passik            /0710 Expense Reimbursement        102807
 4/27/2008   Steven Passik            /0804 Expense Reimbursement      042708 rm
 4/27/2008   Steven Passik            /0804 Expense Reimbursement      042708 rm
10/15/2006   Steven Rosen, MD         Expense Reimbursement              101506
 2/16/2004   Steven Shoemaker         Expense Reimbursement                21604
 3/11/2004   Steven Shoemaker         Expense Reimbursement                31104
  4/5/2004   Steven Shoemaker         Expense Reimbursement                40504
 4/27/2004   Steven Shoemaker         Expense Reimbursement                42704
 6/18/2004   Steven Shoemaker         Expense Reimbursement                61804
 6/18/2004   Steven Shoemaker         Expense Reimbursement                61804
 7/27/2004   Steven Shoemaker         Expense Reimbursement                72704
 7/27/2004   Steven Shoemaker         Expense Reimbursement                72704
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 10/4/2004   Steven Shoemaker         Expense Reimbursement        100404b
 5/17/2004   Steven Shoemaker         Expense Reimbursement           51704
 10/4/2004   Steven Shoemaker         Expense Reimbursement          100404
 10/4/2004   Steven Shoemaker         Expense Reimbursement          100404
 5/16/2005   Steven Shoemaker         Expense Reimbursement           51605
 5/16/2005   Steven Shoemaker         Expense Reimbursement           51605
 6/15/2005   Steven Shoemaker         Expense Reimbursement           61505
 6/15/2005   Steven Shoemaker         Expense Reimbursement           61505
 6/15/2005   Steven Shoemaker         Expense Reimbursement           61505
 6/15/2005   Steven Shoemaker         Expense Reimbursement           61505
 12/2/2005   Steven Shoemaker         Expense Reimbursement          120205
 12/2/2005   Steven Shoemaker         Expense Reimbursement        120205b
 6/10/2006   Steven Shoemaker         Expense Reimbursement           61006
 6/10/2006   Steven Shoemaker         Expense Reimbursement           61006
 7/14/2006   Steven Shoemaker         Expense Reimbursement        071406b
 7/14/2006   Steven Shoemaker         Expense Reimbursement           71406
 12/7/2006   Steven Shoemaker         /Expense Reimbursement         120706
 4/30/2007   Steven Shoemaker         /Expense Reimbursement          43007
 4/30/2007   Steven Shoemaker         /Expense Reimbursement          43007
 4/30/2007   Steven Shoemaker         /Expense Reimbursement          43007
  6/5/2007   Steven Shoemaker         /Expense Reimbursement          60507
 6/25/2007   Steven Shoemaker         /Expense Reimbursement          62507
 7/14/2007   Steven Shoemaker         /Expense Reimbursement          71407
 7/14/2007   Steven Shoemaker         /Expense Reimbursement          71407
 2/18/2003   Steven Simon, MD                                         21803
 3/17/2003   Steven Simon, MD         Expense Reimbursement           31703
 2/18/2003   Steven Simon, MD                                      021803b
 4/24/2003   Steven Simon, MD         Expense Reimbursement           42403
10/22/2003   Steven Simon, MD         Expense Reimbursement          102203
10/22/2003   Steven Simon, MD         Expense Reimbursement          102203
  5/5/2003   Steven Simon, MD         Expense Reimbursement           50503
  4/8/2003   Steven Simon, MD         Expense Reimbursement           40803
 6/11/2003   Steven Simon, MD         Expense Reimbursement           61103
 4/29/2003   Steven Simon, MD                                         42903
 10/7/2003   Steven Simon, MD         Expense Reimbursement          100703
10/28/2003   Steven Simon, MD         Expense Reimbursement          102803
11/11/2003   Steven Simon, MD         Expense Reimbursement          111103
11/11/2003   Steven Simon, MD         Expense Reimbursement          111103
 8/19/2003   Steven Simon, MD                                         81903
 8/25/2003   Steven Simon, MD                                         82503
 9/30/2003   Steven Simon, MD         Expense Reimbursement          102903
 9/16/2003   Steven Simon, MD         Expense Reimbursement           91603
 6/23/2003   Steven Simon, MD         Expense Reimbursement           62303
  8/5/2003   Steven Simon, MD         Expense Reimbursement           80503
 8/12/2003   Steven Simon, MD         Expense Reimbursement           81203
 5/19/2003   Steven Simon, MD         Expense Reimbursement           51903
 1/26/2004   Steven Simon, MD         Boca Expense Reimbursement      12604
 3/23/2004   Steven Simon, MD         Expense Reimbursement           32304
 6/25/2004   Steven Simon, MD         Expense Reimbursement           62504
 9/20/2004   Steven Simon, MD         Expense Reimbursement           92004
10/18/2004   Steven Simon, MD         Expense Reimbursement          101804
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 4/20/2004   Steven Simon, MD            Expense Reimbursement            42004
 4/10/2004   Steven Simon, MD            Expense Reimbursement            41004
 6/18/2005   Steven Stanos               Expense Reimbursement            61805
 6/25/2007   Steven Stanos               /Expense Reimbursement           62507
  8/4/2003   Steven Urban                Expense Reimbursement            80403
  5/2/2004   Stuart Hartman              Expense Reimbursement            50204
10/17/2006   Stuart Krost, MD            Expense Reimbursement           101706
10/17/2006   Stuart Krost, MD            Expense Reimbursement           101706
10/17/2006   Stuart Krost, MD            Expense Reimbursement           101706
 2/16/2003   Stuart M. Rosenblum                                          21603
 2/16/2003   Stuart M. Rosenblum                                          21603
  4/9/2004   Stuart M. Rosenblum         Expense Reimbursement            40904
 9/10/2004   Stuart Rosenblum            Expense Reimbursement            91004
 6/12/2005   Stuart Rosenblum            Expense Reimbursement            61205
 8/15/2006   Stuart Rosenblum            Expense Reimbursement            81506
 6/12/2007   Stuart Rosenblum            Expense Reimbursement            61207
 6/12/2007   Stuart Rosenblum            Expense Reimbursement            61207
 4/27/2008   Stuart Rosenblum            /0804 Expense Reimbursement   042708 rm
 4/27/2008   Stuart Rosenblum            /0804 Expense Reimbursement   042708 rm
 9/23/2003   Sudhir Diwan                Expense Reimbursement            92303
 1/21/2004   Sunil Arora                 Boca Expense Reimbursement       12104
 2/10/2004   Sunil Arora                 Expense Reimbursement            21004
 4/14/2006   Sunny Linnebur              Expense Reimbursement            41406
 9/16/2007   Susan Dickson               /Expense Reimbursement           91607
 9/16/2007   Susan Dickson               /Expense Reimbursement           91607
  6/6/2006   Susan Fleming, MD           Expense Reimbursement            60606
10/23/2006   Susan Fleming, MD           Expense Reimbursement           102306
10/23/2006   Susan Fleming, MD           Expense Reimbursement           102306
  5/5/2008   Susan Fleming, MD           /0804 Expense Reimbursement   050508 rm
 10/7/2003   Susan Flemming              Expense Reimbursement           100703
 5/26/2006   Susan I. Moreno, MD         Expense Reimbursement            52606
10/20/2006   Susan I. Moreno, MD         Expense Reimbursement           102006
 3/29/2004   Susan Pendergrass           Expense Reimbursement            32904
 2/22/2003   Susanti Chowdhury           Expense Reimbursement            22203
 5/19/2005   Suzette Walker              Expense Reimbursement            51905
 3/21/2004   Syed Rafique                Expense Reimbursement            32104
  4/2/2004   T. Mark Seidelmann          Expense Reimbursement            40204
11/14/2005   T.Z. Chen, MD               Expense Reimbursement           111405
11/14/2005   T.Z. Chen, MD               Expense Reimbursement           111405
10/20/2003   Tamara A. Miller, MD        Expense Reimbursement           102003
11/20/2005   Terrance R. Hartsock PA-C   Expense Reimbursement           112005
 6/28/2004   Terry Ramnanan              Expense Reimbursement            62804
 8/21/2006   Terry White                 Expense Reimbursement            82106
10/14/2006   Thalia Segal                Expense Reimbursement           101406
 8/10/2004   Theodore Toglratti          Expense Reimbursement            81004
 5/20/2005   Theodore W. Nicholas, MD    Expense Reimbursement            52005
 5/20/2005   Theodore W. Nicholas, MD    Expense Reimbursement            52005
 6/15/2004   Theresa Lawrence Ford       Expense Reimbursement            61504
  3/6/2003   Thomas A. McKnight, MD                                       30603
  5/7/2003   Thomas Ashcraft, MD         Expense Reimbursement            50703
  5/7/2003   Thomas Ashcraft, MD         Expense Reimbursement            50703
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  6/4/2006   Thomas Beamer, MD        Expense Reimbursement           60406
 5/22/2006   Thomas J. Whalen, DO     Expense Reimbursement           52206
10/15/2006   Thomas J. Whalen, DO     Expense Reimbursement          101506
  6/1/2006   Thomas L. Whillen, MD    Expense Reimbursement       060106b
  6/1/2006   Thomas L. Whillen, MD    Expense Reimbursement           60106
 8/24/2003   Thomas Lazoff                                            82403
 8/24/2003   Thomas Lazoff                                            82403
10/20/2004   Thomas Lee               Expense Reimbursement          102004
 4/17/2003   Thomas M. Hart, MD       Expense Reimbursement           41703
 10/7/2003   Thomas McBreen           Expense Reimbursement          100703
  8/2/2003   Thomas Miller            Expense Reimbursement           80303
 4/20/2004   Thomas Miller            Expense Reimbursement           42004
  6/7/2004   Thomas P. Miller         Expense Reimbursement           60704
 6/30/2006   Thomas P. Miller         Expense Reimbursement           63006
 10/4/2005   Thomas R. Greene, MD     Expense Reimbursement          100405
 10/4/2005   Thomas R. Greene, MD     Expense Reimbursement          100405
 5/19/2005   Thomas S. Lee, MD        Expense Reimbursement           51905
  8/6/2003   Thomas Sachy             Expense Reimbursement           80603
 6/13/2005   Thomas Sachy             Expense Reimbursement           61305
 6/13/2005   Thomas Sachy             Expense Reimbursement           61305
 7/25/2006   Thomas Sachy             Expense Reimbursement           72506
 6/11/2007   Thomas Strouse           Expense Reimbursement           61107
11/16/2005   Tim Grange, MD           Expense Reimbursement          111605
11/16/2005   Tim Grange, MD           Expense Reimbursement          111605
 10/5/2005   Timothy F. Noonan                                    ckr100505
 3/22/2004   Timothy Lynch            Expense Reimbursement           32204
 6/20/2004   Timothy Silver           Expense Reimbursement           62004
  6/1/2005   Timothy Silver, MD       Expense Reimbursement           60105
 6/27/2003   Timothy Smith            Expense Reimbursement           62703
11/14/2006   Todd Handel, MD          Expense Reimbursement          111406
10/29/2003   Todd Koppel              Expense Reimbursement          102903
 11/6/2006   Todd M. Hess             Expense Reimbursement          110606
 11/6/2006   Todd M. Hess             Expense Reimbursement          110606
10/21/2003   Todd Simpson             Expense Reimbursement          102103
 9/17/2004   Tom Kaufman                                              91704
 4/13/2006   Tracy L. Skaer           Expense Reimbursement           41306
10/20/2003   Tzer-Hwa Chen            Expense Reimbursement          102003
  6/3/2007   Vabian L. Paden          Expense Reimbursement           60307
12/29/2003   Van Vu                   Expense Reimbursement          122903
 6/16/2004   Vannette Perkins         Expense Reimbursement           61604
 11/1/2004   Ved Aggarwal             Expense Reimbursement          110104
11/25/2005   Venkatesh Movva, MD      Expense Reimbursement          112505
  7/5/2005   Vernon Williams          Expense Reimbursement           70505
 6/11/2005   Vibeke H. Arentz         Expense Reimbursement           61105
 6/11/2005   Vibeke H. Arentz         Expense Reimbursement           61105
12/28/2005   Victor Contreras, MD     expense reimbursement          122805
 5/12/2006   Victor Contreras, MD     Expense Reimbursement           51206
 11/8/2004   Victor Ramon             Expense Reimbursement          110804
  6/7/2004   Vidya R. Bethi           Expense Reimbursement           60704
 9/17/2004   Vidyasagar Mokureddy     Expense Reimbursement           91704
10/26/2003   Vijay Arvind             Expense Reimbursement          102603
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 6/13/2005   Vincent Carlesi, MD            Expense Reimbursement              61305
 6/13/2005   Vincent Carlesi, MD            Expense Reimbursement              61305
  5/6/2006   Vincent Carlesi, MD            Expense Reimbursement              50606
10/20/2006   Vincent Carlesi, MD            Expense Reimbursement             102006
10/27/2003   Vincent Forte                  Expense Reimbursement             102703
10/31/2007   Vipul Kabaria                  /0710 Expense Reimbursement       103107
 9/12/2004   Viren Desai                    Expense Reimbursement              92504
11/13/2007   Vivian Hernandez-Popp          /0710 Expense Reimbursement       111307
11/13/2007   Vivian Hernandez-Popp          /0710 Expense Reimbursement       111307
  2/8/2004   Vladimir Fiks                  Expense Reimbursement              20804
 6/20/2008   Volodimir Z. Markiv            /0806 Expense Reimbursement     062008 rm
10/29/2007   Waddah Nassar                  /0710 Expense Reimbursement       102907
 6/13/2007   Wadid Azer                     /Expense Reimbursement             61307
 6/13/2007   Wadid Azer                     /Expense Reimbursement             61307
 9/20/2003   Wagody Aziz                    Expense Reimbursement              92003
 9/25/2004   Walter B. Flesner III, D.O.    Expense Reimbursement              92504
 5/21/2006   Walter B. Flesner III, D.O.    Expense Reimbursement              52106
 1/25/2003   Walter B. Flesner, III         Expense Reimbursement           012503 lb
 4/28/2003   Walter W. Strauser, MD, Inc.   Expense Reimbursement              42803
  2/8/2004   Wayne Anderson                 Expense Reimbursement              20804
 5/19/2004   Wayne Anderson                 Expense Reimbursement              51904
 6/24/2005   Wayne Anderson                 Expense Reimbursement              62405
  6/5/2006   Wayne Anderson                 Expense Reimbursement              60506
  6/5/2006   Wayne Anderson                 Expense Reimbursement              60506
 11/5/2006   Wayne Anderson                 Expense Reimbursement             110506
 11/5/2006   Wayne Anderson                 Expense Reimbursement             110506
 11/5/2006   Wayne Anderson                 Expense Reimbursement             110506
 11/5/2006   Wayne Anderson                 Expense Reimbursement             110506
 7/15/2007   Wayne Anderson                 /Expense Reimbursement             71507
 7/15/2007   Wayne Anderson                 /Expense Reimbursement             71507
  6/4/2008   Wayne Anderson                 /0805 - expense reimbursement      60408
  6/4/2008   Wayne Anderson                 /0805 - expense reimbursement      60408
 5/14/2003   Wayne Anderson, DO             Expense Reimbursement              51403
 4/26/2004   Wayne Anderson, DO             Expense Reimbursement              42604
 8/18/2003   William Ackermam               Expense Reimbursement              81803
 1/25/2004   William Acosta                 Boca Expense Reimbursement         12504
 9/16/2007   William B. Lujan               /Expense Reimbursement             91607
 9/30/2004   William Barrett                Expense Reimbursement              93004
  6/9/2003   William Biskup                 Expense Reimbursement              60903
 4/30/2004   William Biskup                 Expense Reimbursement              43004
 4/30/2004   William Biskup                 Expense Reimbursement              43004
  7/1/2006   William Crumbley, MD           Expense Reimbursement              70106
  7/1/2006   William Crumbley, MD           Expense Reimbursement              70106
 4/15/2007   William E. Ashby               Expense Reimbursement              41507
  4/7/2003   William F. Keeton              Expense Reimbursement           exp040703
  4/7/2003   William F. Keeton              Expense Reimbursement           exp040703
 9/29/2004   William Hedrick                Expense Reimbursement              92904
 1/28/2004   William Knight                 Boca Expense Reimbursement         12804
 8/15/2006   William Knight, DO             Expense Reimbursement              81506
 6/15/2004   William Kole                   Expense Reimbursement              61504
10/24/2004   William Madison                Expense Reimbursement             102404
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 9/15/2003   William Pachas, MD        Expense Reimbursement              91503
  2/8/2004   William R. Work           Expense Reimbursement              20804
  7/2/2008   William R. Work           /0806 Expense Reimbursement     070208 rm
10/23/2004   William Schlesinger       Expense Reimbursement             102304
 6/26/2006   William Schlesinger, MD   Expense Reimbursement              62606
 4/10/2008   William Tham              /0804                           041008 rm
 4/10/2008   William Tham              /0804                           041008 rm
10/30/2006   Xiulu Ruan                Expense Reimbursement             103006
10/30/2006   Xiulu Ruan                Expense Reimbursement             103006
 6/25/2007   Xiulu Ruan                /Expense Reimbursement             62507
 6/25/2007   Xiulu Ruan                /Expense Reimbursement             62507
 4/27/2008   Xiulu Ruan                /0804 - expense reimbursement      42708
 4/27/2008   Xiulu Ruan                /0804 Expense Reimbursement     042708 rm
 4/27/2008   Xiulu Ruan                /0804 Expense Reimbursement     042708 rm
 9/21/2004   Yiyan Hong                Expense Reimbursement              92104
 4/19/2004   Yogendra Bharat           Expense Reimbursement              41904
  8/8/2004   Yogendra Bharat           Expense Reimbursement              80804
 9/13/2004   Yogendra Bharat           Expense Reimbursement              91304
 11/6/2006   Yong Jian Lin, MD         Expense Reimbursement             110606
  5/1/2003   Yong-Jian Lin             Expense Reimbursement              50103
 10/5/2004   Yong-Jian Lin             Expense Reimbursement             100504
 6/12/2005   Yong-Jian Lin, MD         Expense Reimbursement              61205
  6/6/2006   Yong-Jian Lin, MD         Expense Reimbursement              60606
  6/6/2006   Yong-Jian Lin, MD         Expense Reimbursement              60606
 11/7/2006   Yuting Xiong, MD, PhD     Expense Reimbursement             110706
 6/22/2007   Yuting Xiong, MD, PhD     /Expense Reimbursement             62207
 6/22/2007   Yuting Xiong, MD, PhD     /Expense Reimbursement             62207
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function   amount       AP check date AP check #
reimbu      $    163.72      7/14/2004 54000264
reimbu      $     65.40     11/20/2007 54003367
travex      $     28.00       6/9/2004 50106463
travex      $     14.85     11/24/2003 50104742
travex      $     31.04     10/31/2007 54003274
reimbu      $     38.20     10/16/2007 54003205
travex      $     33.00     11/24/2003 50104764
travex      $     52.50       6/9/2004 54000193
reimbu      $     88.08      11/9/2005 54000838
travex      $     92.20       6/9/2004 50106443
travex      $     82.54       6/9/2004 50106473
reimbu      $     89.80      11/9/2005 54000858
travex      $    301.40     11/24/2003 50104767
reimbu      $     19.50      7/14/2004 50106752
reimbu      $     42.00     10/27/2004 50107475
travex      $     39.04      3/26/2003 50102526
reimbu      $    125.92      9/28/2005 54000714
reimbu      $     62.96      9/30/2005 54000728
reimbu      $     62.34      7/26/2006 54001465
travex      $     16.50      6/18/2003 50103555
travex      $    296.40      5/26/2004 50106384
reimbu      $    147.92       6/6/2007 54002613
reimbu      $     24.00      7/13/2005 54000513
reimbu      $    106.65      5/28/2008 54003953
travex      $    141.80      2/26/2003 50102216
travex      $     12.00       6/9/2004 50106462
reimbu      $     35.00      6/14/2006 54001294
reimbu      $     28.94      7/11/2007 54002879
travex      $     75.73     12/10/2003 50104859
reimbu      $     65.00      6/27/2007 54002733
travex      $    191.40     11/24/2003 50104708
travex      $     25.84       9/3/2003 50104069
meals       $  3,772.51      4/30/2004        16
reimbu      $     73.43      11/9/2005 54000854
travex      $    333.50       6/4/2003 50103216
reimbu      $     99.50      11/3/2004 50107497
reimbu      $     72.00      7/14/2004 50106753
reimbu      $    204.00      6/27/2007 54002752
meals       $     26.06      8/15/2007 54003007
travex      $    220.00      8/15/2007 54003007
travex      $     54.25      6/30/2004 54000230
travex      $     48.00      6/30/2004 54000230
travex      $     47.80      4/14/2004 50106091
reimbu      $     52.23      7/13/2005 54000504
travex      $    211.38      7/23/2003 50103743
travex      $    105.69       9/3/2008       478
travex      $    150.15     11/24/2003 50104738
reimbu      $     32.57      9/27/2006 54001664
reimbu      $     83.20     10/31/2007 54003271
reimbu      $    220.70     10/27/2004 50107441
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reimbu   $      69.00   10/27/2004   50107442
reimbu   $      81.00    7/13/2005   54000511
travex   $      43.90    9/30/2003   50104258
reimbu   $     100.02    7/26/2006   54001486
reimbu   $      21.00    6/14/2006   54001291
reimbu   $      49.24    5/21/2008   54003904
travex   $     205.00   11/24/2003   50104745
travex   $      93.41    5/26/2004   50106415
reimbu   $     105.56    7/12/2006   54001442
reimbu   $     166.46    9/28/2005   54000718
reimbu   $      83.23    9/30/2005   54000732
reimbu   $      45.75   10/27/2004   50107466
meshot   $     643.10   11/10/2004   50107577
travex   $     238.00   11/24/2003   50104715
meals    $     122.21     9/3/2003   50104021
travex   $     165.61     9/3/2003   50104021
reimbu   $      85.00    9/29/2004   50107240
travex   $      99.40    2/26/2003   50102210
reimbu   $      65.00    7/13/2005   54000508
reimbu   $      30.00    6/14/2006   54001274
reimbu   $      49.74    9/27/2006   54001660
reimbu   $      57.10    7/11/2007   54002872
reimbu   $      94.72    6/14/2006   54001264
reimbu   $      61.05    9/27/2006   54001652
travex   $   1,700.00    6/11/2003   50103489
mestrn   $     105.68    7/26/2006   54001477
travex   $     500.00    7/26/2006   54001477
travex   $     187.50    5/14/2003   50102961
reimbu   $     160.00    7/14/2004   54000276
reimbu   $     157.50   10/13/2004   54000395
travex   $     186.90    7/26/2006   54001485
travex   $      99.00   12/31/2003   50105107
reimbu   $      10.00   12/12/2007   54003425
travex   $     434.76   12/12/2007   54003425
reimbu   $      49.50    7/26/2006   54001475
reimbu   $      30.00   10/27/2004   50107464
reimbu   $      67.62   11/21/2006   54002002
reimbu   $     414.50    9/29/2004   54000377
travex   $      12.00    3/17/2004   50105770
reimbu   $      81.20   12/14/2005   54000911
travex   $      62.90     6/4/2003   50103203
travex   $      32.00    9/30/2003   50104239
travex   $     122.55    2/26/2001   45100730
travex   $   1,402.62     6/4/2003   50103198
reimbu   $   1,079.54    9/29/2004   54000370
reimbu   $      30.00   11/17/2004   50107621
travex   $     110.60    3/17/2004   50105731
travex   $     160.00    4/14/2004   54000113
reimbu   $      68.40    7/13/2005   54000506
reimbu   $     125.90    11/9/2005   54000849
reimbu   $      89.40    9/27/2006   54001657
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reimbu   $      65.10     7/2/2007   54002772
meals    $      44.23    5/28/2008   54003936
reimbu   $      48.30    5/28/2008   54003936
reimbu   $      66.20    6/11/2008   54004056
teleph   $     105.48   10/10/2001   45103067
travex   $       8.70   10/10/2001   45103067
travex   $      37.00    3/13/2002   50100009
clmdse   $      58.85    4/24/2002   50100297
travex   $      34.90   12/10/2003   50104879
reimbu   $      69.00    12/6/2006   54002140
reimbu   $      34.50   12/13/2006   54002173
reimbu   $      24.00    6/14/2006   54001290
travex   $     153.63    8/22/2007   54003017
reimbu   $     201.91    5/21/2008   54003903
travex   $     517.50    5/21/2008   54003903
reimbu   $     214.70   10/27/2004   54000403
reimbu   $     262.50    11/3/2004   54000411
meals    $      50.00     6/6/2007   54002617
reimbu   $     218.25     6/6/2007   54002617
travex   $      72.90   12/10/2003   50104836
meals    $     272.00    9/28/2005   54000712
meals    $     136.00    9/30/2005   54000726
reimbu   $     599.40    9/28/2005   54000712
reimbu   $     299.70    9/30/2005   54000726
reimbu   $      63.60    7/12/2006   54001407
reimbu   $     352.44    6/14/2006   54001261
reimbu   $     137.25    9/27/2006   54001650
reimbu   $      91.62   11/14/2007   54003306
reimbu   $      87.40    6/11/2008   54004044
reimbu   $      28.35    7/13/2005   54000537
reimbu   $     120.00    9/27/2006   54001685
reimbu   $      53.98    6/27/2007   54002756
travex   $     236.80    6/27/2007   54002756
reimbu   $     226.01    11/9/2005   54000852
travex   $     384.00     6/4/2003   50103221
reimbu   $      54.00    9/28/2005   54000711
reimbu   $      27.00    9/30/2005   54000725
travex   $     108.64   10/31/2007   54003280
reimbu   $      65.44   11/21/2006   54002047
meals    $      38.67   11/14/2007   54003326
reimbu   $     113.10   11/14/2007   54003326
travex   $      81.96     6/4/2003   50103226
meals    $      58.90     7/2/2007   54002787
travex   $     368.60     7/2/2007   54002787
travex   $      42.42    7/23/2008   54004214
reimbu   $      73.00   12/14/2005   54000924
reimbu   $      75.37    6/14/2006   54001316
reimbu   $      39.69    9/27/2006   54001686
reimbu   $      61.66     8/8/2007   54002987
reimbu   $     193.00     7/9/2008   54004172
meals    $      74.74    5/28/2008   54003972
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meals    $      37.37     5/28/2008   54003995
reimbu   $     218.88     5/28/2008   54003972
reimbu   $     109.44     5/28/2008   54003995
travex   $      66.00    11/24/2003   50104714
reimbu   $      66.00    11/21/2006   54001996
travex   $     270.60    11/21/2006   54001996
reimbu   $      95.10    10/31/2007   54003262
travex   $     194.80    10/31/2007   54003262
reimbu   $     329.20     6/27/2007   54002726
travex   $     127.40      6/6/2007   54002612
travex   $      46.72     5/26/2004   50106373
travex   $      82.50    11/11/2003   50104554
travex   $     126.12    11/11/2003   50104558
reimbu   $     171.72    12/14/2005   54000922
reimbu   $      47.36     7/13/2005   54000512
reimbu   $     122.62      1/4/2006   54000981
reimbu   $      61.31    11/20/2007   54003366
travex   $   2,054.80      1/4/2006   54000981
travex   $   1,027.40    11/20/2007   54003366
reimbu   $      50.79     6/14/2006   54001280
meals    $       6.13    10/31/2007   54003270
reimbu   $      40.74    10/31/2007   54003270
travex   $      52.50     4/14/2004   54000116
reimbu   $     150.42     6/14/2006   54001308
reimbu   $      48.15     7/26/2006   54001480
travex   $     281.25     4/14/2004   54000114
reimbu   $     172.50     6/27/2007   54002746
reimbu   $     120.00     6/11/2008   54004085
travex   $     323.20     6/11/2008   54004085
reimbu   $     247.50     12/6/2006   54002134
travex   $     109.80    12/31/2003   50105066
travex   $      33.00    12/10/2003   50104843
reimbu   $      89.00     7/14/2004   50106739
reimbu   $      60.67     6/14/2006   54001258
travex   $     300.00     5/14/2003   50102962
travex   $     470.60     3/17/2004   50105840
reimbu   $      32.90     9/27/2006   54001663
travex   $      84.40     5/26/2004   50106393
travex   $      28.80     3/26/2003   50102525
reimbu   $     115.00      5/2/2007   54002472
travex   $     512.80      5/2/2007   54002472
reimbu   $      14.00     9/27/2006   54001651
travex   $      82.00     4/14/2004   54000123
travex   $      97.00     4/14/2004   54000123
travex   $     107.50      6/9/2004   54000200
reimbu   $     110.50     7/14/2004   54000273
travex   $    (471.20)
reimbu   $      85.50     9/29/2004   54000375
reimbu   $      85.50    10/13/2004   54000390
reimbu   $      90.25    10/13/2004   54000390
travex   $     108.40     4/14/2004   50106128
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travex   $    162.47      6/9/2004   50106479
reimbu   $     45.25     6/11/2008   54004040
travex   $     42.50     4/14/2004   54000108
mestrn   $    105.95    12/21/2005   54000935
reimbu   $     91.10    12/21/2005   54000935
travex   $    125.65     5/14/2003   50102944
travex   $     92.00    11/24/2003   50104733
reimbu   $     54.75    10/13/2004   54000392
reimbu   $     61.50     6/11/2008   54004072
reimbu   $    250.13     9/29/2004   54000367
reimbu   $     10.67      8/8/2007   54002972
travex   $     79.58    11/11/2003   50104534
meals    $     29.60     3/17/2004   50105771
travex   $    106.84     3/17/2004   50105771
reimbu   $    107.05    11/10/2004   50107560
travex   $    434.41    11/10/2004   50107560
reimbu   $    123.13    12/14/2005   54000919
reimbu   $    228.44    12/21/2005   54000952
reimbu   $    115.58    12/21/2005   54000952
reimbu   $    109.25     7/26/2006   54001473
reimbu   $     49.35     7/26/2006   54001474
reimbu   $     98.46    11/29/2006   54002111
reimbu   $    126.74     6/14/2006   54001296
reimbu   $    114.97    12/27/2006   54002216
reimbu   $     27.00     7/11/2007   54002882
travex   $      9.70     7/11/2007   54002882
reimbu   $    102.46    10/16/2007   54003210
reimbu   $    102.46    11/14/2007   54003320
meals    $    216.74      7/9/2008   54004162
reimbu   $    151.50      7/9/2008   54004162
miscel   $     10.95     6/11/2008   54004073
reimbu   $     69.16     6/11/2008   54004073
travex   $    138.60     9/17/2003   50104148
reimbu   $    240.11     6/14/2006   54001303
travex   $    150.60    11/24/2003   50104775
reimbu   $     54.93     6/14/2006   54001267
reimbu   $     47.82     9/27/2006   54001655
reimbu   $     54.37      7/2/2007   54002769
travex   $     18.00     6/30/2004   50106636
reimbu   $     48.01      7/2/2007   54002794
travex   $     57.91     5/26/2004   50106395
reimbu   $     92.50     6/14/2006   54001283
travex   $    274.06     9/30/2003   50104248
travex   $     29.03     5/14/2003   50102939
travex   $     30.29      6/9/2004   50106445
travex   $    165.30    12/10/2003   50104825
travex   $     45.00     9/17/2003   50104161
reimbu   $     60.25    11/10/2004   50107580
reimbu   $     78.75    10/27/2004   50107451
reimbu   $     29.47     7/12/2006   54001415
reimbu   $     29.10     6/27/2007   54002750
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travex   $      42.00     6/4/2003   50103194
travex   $      51.00    5/26/2004   50106387
reimbu   $      49.32   10/27/2004   50107438
travex   $     393.90     6/4/2003   50103239
meals    $      11.25    9/30/2003   50104241
travex   $     165.00    9/30/2003   50104241
travex   $      65.10    5/14/2003   50102938
travex   $     307.20    3/26/2003   50102522
travex   $      53.10     6/4/2003   50103210
travex   $     148.10    6/18/2003   50103524
travex   $      57.10     6/4/2003   50103272
meals    $     112.39    9/30/2003   50104193
travex   $     289.20    9/30/2003   50104193
travex   $     433.74   12/31/2003   50105070
travex   $     660.19   12/31/2003   50105070
meals    $     102.13    9/30/2003   50104193
travex   $     288.00    9/30/2003   50104193
meals    $      81.01    9/30/2003   50104193
travex   $      68.10    9/30/2003   50104193
meals    $      76.20   10/13/2004   50107317
reimbu   $     528.95   10/13/2004   50107317
meals    $      33.36    4/14/2004   50106081
travex   $     796.10    4/14/2004   50106081
meals    $      38.87    12/8/2004   50107785
reimbu   $      51.50    12/8/2004   50107785
teleph   $      17.12    12/8/2004   50107785
meals    $     150.66    6/30/2004   50106634
travex   $      66.75    6/30/2004   50106634
meals    $      30.64    6/30/2004   50106634
travex   $     284.06    6/30/2004   50106634
travex   $     679.08    3/17/2004   50105705
reimbu   $      82.93    7/13/2005   54000507
reimbu   $      73.92     8/8/2007   54002964
reimbu   $      24.00    6/22/2005   54000471
reimbu   $      47.00    6/14/2006   54001273
reimbu   $      34.00    9/27/2006   54001659
reimbu   $     276.62   11/21/2006   54002052
reimbu   $      71.40   11/29/2006   54002120
travex   $     105.60     6/4/2003   50103238
meals    $      12.00    7/27/2005   54000546
reimbu   $      90.33    7/27/2005   54000546
travex   $     200.00    7/27/2005   54000546
reimbu   $      48.00    1/16/2008   54003483
travex   $     174.60    1/16/2008   54003483
reimbu   $      10.00    7/16/2008   54004195
travex   $      40.40    7/16/2008   54004195
travex   $     227.78    7/23/2003   50103739
reimbu   $      29.90     8/3/2004   50106866
reimbu   $      33.80   11/21/2006   54002025
reimbu   $     305.54     5/2/2007   54002473
reimbu   $     150.00    11/3/2004   54000410
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reimbu   $     16.00    11/29/2006   54002093
travex   $    953.50    12/10/2008   54004442
travex   $     43.00     2/26/2003   50102212
reimbu   $     10.40     9/29/2004   54000365
reimbu   $     75.20      8/8/2007   54002994
travex   $    540.00      8/8/2007   54002993
travex   $    347.00     6/18/2003   50103544
reimbu   $     60.65    10/16/2007   54003203
reimbu   $     74.10     7/11/2007   54002858
reimbu   $     71.30     5/28/2008   54003931
travex   $     72.50     2/26/2003   50102215
travex   $    104.00      6/9/2004   50106455
reimbu   $     99.90    12/21/2005   54000938
travex   $     14.00     6/30/2004   54000224
reimbu   $     13.17     7/12/2006   54001447
travex   $     73.30      9/3/2003   50104052
travex   $     48.40      6/9/2004   50106478
meals    $      9.15     4/14/2004   54000125
travex   $     22.00     4/14/2004   54000125
travex   $     70.50     6/30/2004   54000227
reimbu   $     87.77    12/21/2005   54000963
reimbu   $     47.10      8/8/2007   54002983
meals    $     35.16     5/21/2008   54003915
reimbu   $     59.88     5/21/2008   54003915
reimbu   $     26.19      5/2/2007   54002475
travex   $    568.30     6/18/2003   50103533
reimbu   $    109.00     7/14/2004   54000271
reimbu   $     67.90      1/4/2006   54000980
travex   $    299.79      1/4/2006   54000980
reimbu   $    102.00    10/13/2004   50107335
reimbu   $    176.90    10/13/2004   50107335
reimbu   $     58.28    12/12/2007   54003429
travex   $    113.08     5/26/2004   50106372
reimbu   $    186.75     7/14/2004   54000267
reimbu   $     33.00     6/14/2006   54001271
reimbu   $     36.00      8/8/2007   54002963
travex   $     78.30    11/24/2003   50104776
travex   $    500.00    10/16/2007   54003206
reimbu   $     36.00     7/14/2004   50106738
travex   $     31.00     5/26/2004   50106375
meals    $      5.26     7/13/2005   54000499
reimbu   $     41.25     7/13/2005   54000499
reimbu   $     19.40     1/25/2006   54000988
reimbu   $     16.74     6/14/2006   54001259
reimbu   $     43.40      8/8/2007   54002949
reimbu   $     44.20     5/21/2008   54003882
reimbu   $     27.00     7/14/2004   50106750
travex   $     71.20     7/23/2003   50103750
reimbu   $     59.10    10/16/2007   54003213
travex   $    120.20     2/26/2003   50102213
travex   $     90.00     4/14/2004   54000110
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reimbu   $      37.50    9/29/2004   50107249
reimbu   $      43.65   12/21/2005   54000942
travex   $     352.44    7/26/2006   54001467
reimbu   $      99.84   12/28/2005   54000973
travex   $     100.00   12/28/2005   54000973
travex   $      50.50    4/14/2004   54000117
travex   $      34.20    5/14/2003   50102951
reimbu   $      33.00    6/14/2006   54001311
reimbu   $      44.00   11/21/2006   54002054
reimbu   $      22.00   11/29/2006   54002121
reimbu   $      34.50    1/31/2007   54002326
reimbu   $      34.50    6/27/2007   54002749
reimbu   $      46.00     8/8/2007   54002985
reimbu   $      36.00     7/9/2008   54004168
reimbu   $      36.00    5/21/2008   54003916
reimbu   $      30.30    6/11/2008   54004091
meals    $      60.00    9/17/2003   50104150
travex   $     169.49    9/17/2003   50104150
travex   $      23.00    9/30/2003   50104244
travex   $      30.25    2/26/2003   50102223
travex   $     204.27    5/14/2003   50102960
meals    $       9.38    7/23/2003   50103766
travex   $      33.00    7/23/2003   50103766
travex   $      33.00   12/10/2003   50104933
travex   $      82.50     9/3/2003   50104056
travex   $      26.12     6/4/2003   50103207
travex   $      44.00    3/17/2004   50105824
travex   $      33.00     6/9/2004   50106480
reimbu   $      61.88     5/2/2007   54002457
travex   $     225.79     5/2/2007   54002457
reimbu   $      90.25    9/29/2004   54000369
reimbu   $     268.50   10/13/2004   50107337
reimbu   $      31.55    6/29/2005   54000489
travex   $     102.67     9/3/2003   50104036
reimbu   $      77.40    6/14/2006   54001300
reimbu   $      69.33   12/10/2008   54004451
reimbu   $       1.88    9/29/2004   54000366
travex   $      60.60    7/23/2003   50103751
travex   $      66.00     6/9/2004   50106468
travex   $     173.39    5/26/2004   50106389
reimbu   $      92.00    5/28/2008   54003941
reimbu   $     171.60   11/14/2007   54003331
travex   $     207.82   12/10/2003   50104915
travex   $      48.50   11/14/2007   54003321
reimbu   $     147.46    9/29/2004   54000373
reimbu   $      40.00   11/21/2006   54002039
travex   $     474.60   11/21/2006   54002039
reimbu   $      38.00    7/11/2007   54002886
reimbu   $     185.46    5/28/2008   54003958
reimbu   $      92.73    5/28/2008   54003981
travex   $   2,396.00    5/28/2008   54003958
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travex   $   1,198.00    5/28/2008   54003981
travex   $      40.00     6/4/2003   50103234
reimbu   $     144.00   11/10/2004   50107594
reimbu   $      63.40   11/21/2006   54001985
travex   $      39.60    5/26/2004   50106367
travex   $     201.30   12/10/2003   50104841
reimbu   $      54.00    11/9/2005   54000842
reimbu   $      65.00     7/9/2008   54004159
reimbu   $      94.00   11/21/2006   54002027
reimbu   $      36.00    7/11/2007   54002878
travex   $      15.52    7/11/2007   54002878
meals    $      50.00    5/28/2008   54003947
reimbu   $     160.00    5/28/2008   54003947
reimbu   $      95.87   12/21/2005   54000951
reimbu   $      60.75   11/10/2004   50107571
travex   $     548.79   11/10/2004   50107571
travex   $      89.30    7/23/2003   50103765
reimbu   $      64.35    6/14/2006   54001307
reimbu   $      81.16     7/2/2007   54002791
travex   $     516.80     7/2/2007   54002791
reimbu   $      11.91   10/16/2007   54003195
travex   $     234.44    7/23/2003   50103732
travex   $      58.00     6/9/2004   50106482
reimbu   $     110.10   11/29/2006   54002101
reimbu   $      56.80    6/27/2007   54002744
reimbu   $      61.60     5/2/2007   54002474
reimbu   $     163.50   11/21/2006   54002003
travex   $     231.40    7/23/2003   50103735
reimbu   $      51.75   11/21/2006   54002011
reimbu   $      71.10   10/31/2007   54003269
reimbu   $      71.22    6/11/2008   54004057
reimbu   $      34.13   11/21/2006   54002026
reimbu   $      46.30    7/11/2007   54002876
reimbu   $     138.75    7/13/2005   54000500
travex   $     378.30    7/13/2005   54000500
miscel   $      74.80    7/13/2005   54000500
travex   $     158.30    2/26/2003   50102218
reimbu   $      50.02    6/27/2007   54002734
reimbu   $      24.00   10/13/2004   50107312
travex   $      88.00    7/23/2003   50103737
reimbu   $     558.71    6/27/2007   54002758
reimbu   $      70.00   11/10/2004   50107556
travex   $      54.55     6/4/2003   50103211
reimbu   $     431.00   11/30/2004   50107762
reimbu   $      99.00   12/12/2007   54003416
reimbu   $      90.00    1/11/2006   54000984
travex   $     377.40    1/11/2006   54000984
reimbu   $     791.32   11/21/2006   54002037
meals    $      37.00     8/8/2007   54002977
reimbu   $     111.00     8/8/2007   54002977
travex   $     444.98     8/8/2007   54002977
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reimbu   $     80.00    11/21/2006   54001989
reimbu   $     40.00     12/4/2008        204
travex   $    350.00     7/23/2003   50103754
travex   $     95.20     3/17/2004   50105825
reimbu   $    124.00    12/14/2005   54000913
travex   $    139.00    12/10/2003   50104835
travex   $     42.75     5/26/2004   50106408
travex   $    218.00    12/10/2003   50104935
travex   $     28.00     6/25/2003   50103637
travex   $     75.20     9/30/2003   50104260
travex   $     22.00    11/24/2003   50104761
travex   $     45.00      6/9/2004   50106471
reimbu   $     99.00      7/2/2007   54002782
travex   $    307.94     7/12/2006   54001432
reimbu   $     31.00     7/14/2004   50106743
reimbu   $    240.00     7/11/2007   54002866
reimbu   $     38.25     7/14/2004   50106755
travex   $    541.75    10/16/2007   54003215
reimbu   $     60.00     8/15/2007   54003000
travex   $     97.00    10/16/2007   54003196
reimbu   $     57.76     9/29/2004   54000371
reimbu   $    962.15     7/14/2004   50106768
meals    $     77.48     7/13/2005   54000539
reimbu   $     83.00     7/13/2005   54000539
travex   $    839.35     7/13/2005   54000539
reimbu   $     78.90    12/21/2005   54000967
travex   $    648.40    12/21/2005   54000967
reimbu   $     74.68     6/14/2006   54001318
travex   $    886.19     6/14/2006   54001318
reimbu   $    188.29     9/27/2006   54001688
reimbu   $    159.25     7/26/2006   54001463
travex   $    125.12     3/17/2004   50105769
reimbu   $     22.50    10/13/2004   50107320
travex   $    169.99     5/14/2003   50102946
reimbu   $     51.00     11/9/2005   54000840
travex   $    214.80    12/10/2003   50104905
travex   $     96.75     4/14/2004   54000118
reimbu   $    164.80     7/13/2005   54000521
reimbu   $    336.29    12/27/2006   54002217
meals    $     72.37     7/11/2007   54002883
reimbu   $     65.96     7/11/2007   54002883
reimbu   $    184.32     5/21/2008   54003908
reimbu   $    404.50     9/28/2005   54000710
reimbu   $    202.25     9/30/2005   54000724
reimbu   $     39.15     9/27/2006   54001646
reimbu   $     36.22      8/8/2007   54002948
reimbu   $     66.75     7/12/2006   54001451
travex   $    100.00    11/24/2003   50104704
meals    $      7.50     9/30/2003   50104191
travex   $     88.00     9/30/2003   50104191
meals    $     81.12     9/30/2003   50104191
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travex   $     45.00     9/30/2003   50104191
travex   $     97.00    11/24/2003   50104704
travex   $     96.00     7/23/2003   50103733
travex   $     96.00     5/26/2004   50106369
travex   $     77.00     6/30/2004   50106633
reimbu   $     67.94      8/3/2004   50106859
reimbu   $     75.00     8/15/2007   54003005
travex   $     17.46     8/15/2007   54003005
travex   $     58.40    11/24/2003   50104749
travex   $     42.00     5/14/2003   50102955
reimbu   $      4.45    11/29/2006   54002096
reimbu   $    182.05     6/27/2007   54002755
reimbu   $    137.75    10/27/2004   50107478
reimbu   $     74.52     7/12/2006   54001448
reimbu   $    101.68    11/21/2006   54002051
travex   $    113.32     6/11/2008   54004089
travex   $     37.90    11/24/2003   50104735
travex   $     59.00      6/4/2003   50103225
reimbu   $    133.95     7/12/2006   54001414
reimbu   $    163.05     7/11/2007   54002859
meals    $     41.10     6/11/2008   54004049
reimbu   $    130.34     6/11/2008   54004049
travex   $     62.00      6/4/2003   50103209
reimbu   $     13.58    12/21/2005   54000957
reimbu   $     24.60     7/14/2004   50106757
reimbu   $     33.16    11/21/2006   54002008
reimbu   $     93.95     7/11/2007   54002869
reimbu   $     95.36     5/21/2008   54003892
reimbu   $     43.30     6/11/2008   54004055
reimbu   $    125.10    12/10/2008   54004445
travex   $     60.00     3/17/2004   50105780
travex   $     30.00    12/28/2005   50110725
reimbu   $    150.00     6/27/2007   54002731
reimbu   $     12.00    11/21/2006   54002032
reimbu   $     32.49      7/2/2007   54002784
travex   $     86.40    11/11/2003   50104570
reimbu   $     39.00    11/14/2007   54003309
reimbu   $     35.00    11/21/2006   54001990
reimbu   $    150.95    10/31/2007   54003260
reimbu   $    148.20     11/9/2005   54000850
reimbu   $    127.40     12/6/2006   54002139
reimbu   $    104.20      7/2/2007   54002773
reimbu   $     32.62     5/28/2008   54003938
reimbu   $     99.00    10/27/2004   50107470
meals    $     46.97    11/10/2004   50107514
reimbu   $    158.70     7/12/2006   54001398
reimbu   $     93.12    11/14/2007   54003304
reimbu   $     46.56    11/20/2007   54003362
reimbu   $     96.00     8/22/2007   54003018
meals    $     20.00     7/23/2003   50103759
travex   $    314.00     7/23/2003   50103759
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reimbu   $     212.85    7/14/2004   50106740
meals    $       5.38    7/13/2005   54000502
reimbu   $      50.00    7/13/2005   54000502
mestrn   $     124.56    5/21/2008   54003886
reimbu   $      76.00    5/21/2008   54003886
travex   $     604.00    3/17/2004   50105838
reimbu   $      35.00    12/6/2006   54002141
reimbu   $      18.00    8/15/2007   54003009
reimbu   $     270.00    7/14/2004   54000266
reimbu   $     180.67   11/21/2006   54001999
reimbu   $      66.00   10/27/2004   50107429
travex   $     114.00    9/30/2003   50104259
reimbu   $     137.00   12/17/2008   54004470
reimbu   $     108.00    6/14/2006   54001276
reimbu   $      60.00    5/21/2008   54003895
reimbu   $      31.15    7/12/2006   54001412
reimbu   $     153.25   11/21/2006   54001997
reimbu   $     505.95    7/14/2004   50106744
reimbu   $     582.19   10/27/2004   50107439
meals    $      80.96   11/10/2004   50107539
reimbu   $      50.74   11/10/2004   50107539
reimbu   $      21.00    7/14/2004   50106748
travex   $      15.67   12/12/2007   54003419
reimbu   $      60.30    6/11/2008   54004080
travex   $      62.42     6/4/2003   50103233
travex   $     186.20    5/26/2004   50106394
travex   $      34.20     6/4/2003   50103208
travex   $     313.70    6/30/2004   54000228
travex   $     140.17    6/30/2004   54000228
reimbu   $      75.90    6/14/2006   54001309
reimbu   $     169.90    9/27/2006   54001680
reimbu   $     179.20    5/28/2008   54003967
reimbu   $      89.60    5/28/2008   54003990
reimbu   $      82.40    7/12/2006   54001449
reimbu   $     105.45     8/8/2007   54002984
reimbu   $      75.05     8/8/2007   54002957
travex   $     696.00     7/9/2008   54004148
reimbu   $      80.70    6/14/2006   54001272
reimbu   $     170.50   11/21/2006   54002009
travex   $     122.50    4/14/2004   54000121
travex   $      25.00     6/4/2003   50103232
meals    $      22.90   11/21/2006   54002043
reimbu   $     260.12   11/21/2006   54002043
travex   $     328.60   11/21/2006   54002043
travex   $      48.00     6/9/2004   50106474
travex   $      61.25     6/9/2004   54000192
reimbu   $      71.60   11/29/2006   54002110
meals    $      69.84   10/16/2007   54003204
reimbu   $     147.75   10/16/2007   54003204
travex   $      44.38    6/18/2003   50103528
reimbu   $      34.16     7/9/2008   54004147
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reimbu   $     18.00     5/28/2008   54003929
reimbu   $     86.10    11/21/2006   54002019
travex   $     16.33      9/3/2003   50104015
reimbu   $     79.25    11/17/2004   50107613
reimbu   $     46.25     7/26/2006   54001471
travex   $     92.20    11/11/2003   50104538
travex   $     61.25     6/30/2004   54000219
travex   $     44.00     6/30/2004   54000219
reimbu   $     40.80     7/12/2006   54001416
reimbu   $     40.02     6/14/2006   54001266
reimbu   $     30.00    10/13/2004   50107381
reimbu   $     24.00    10/27/2004   50107430
reimbu   $     78.85    11/29/2006   54002105
reimbu   $    164.94      8/8/2007   54002962
reimbu   $     59.85     6/22/2005   54000476
meals    $     11.70     1/31/2007   54002323
reimbu   $     76.10     1/31/2007   54002323
reimbu   $     66.10     7/11/2007   54002877
reimbu   $    113.28    12/14/2005   54000915
reimbu   $    121.32    11/21/2006   54002018
travex   $    339.10    11/21/2006   54002018
mestrn   $     66.37      8/1/2007   54002930
reimbu   $    165.52      8/1/2007   54002930
travex   $    274.80      8/1/2007   54002930
travex   $    468.20      6/9/2004   50106444
reimbu   $     82.50     9/27/2006   54001648
travex   $    345.59     9/27/2006   54001648
reimbu   $     51.40     7/12/2006   54001405
reimbu   $    134.80     11/9/2005   54000844
travex   $    346.60     11/9/2005   54000844
reimbu   $    222.31     6/14/2006   54001301
travex   $    538.74      6/4/2003   50103229
reimbu   $    237.65     11/9/2005   54000857
travex   $    361.59      7/9/2008   54004165
reimbu   $    177.76     5/28/2008   54003956
reimbu   $     88.88     5/28/2008   54003979
reimbu   $     39.00    11/30/2004   50107764
reimbu   $     21.86     6/22/2005   54000465
reimbu   $     43.40     11/9/2005   54000845
reimbu   $     33.80     9/27/2006   54001654
reimbu   $     72.13     1/31/2007   54002318
reimbu   $     45.96     7/11/2007   54002861
reimbu   $     44.26     5/21/2008   54003887
travex   $    132.00     9/30/2003   50104254
travex   $     19.80     7/23/2003   50103768
reimbu   $    164.99     7/26/2006   54001487
travex   $    189.54     7/26/2006   54001487
reimbu   $    250.11     6/14/2006   54001287
reimbu   $     72.94    11/29/2006   54002104
travex   $     55.00     3/26/2003   50102529
travex   $    122.30      6/4/2003   50103206
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travex   $     126.36   12/10/2008   54004441
travex   $      69.50    5/12/2004   50106268
reimbu   $      21.00     7/9/2008   54004173
reimbu   $     182.00   11/21/2006   54002005
travex   $     459.50   11/21/2006   54002005
reimbu   $      74.80    7/11/2007   54002863
reimbu   $     100.40    5/28/2008   54003933
travex   $     525.36   12/10/2003   50104866
teleph   $       9.95     6/4/2003   50103218
travex   $   1,086.00     6/4/2003   50103218
meals    $      23.93     7/9/2003   50103671
teleph   $      10.00     7/9/2003   50103671
travex   $     757.00     7/9/2003   50103671
travex   $     763.50   12/31/2003   50105083
travex   $     891.50   11/24/2003   50104734
travex   $     528.00   12/10/2003   50104866
meals    $      15.32    9/30/2003   50104205
travex   $     153.00    9/30/2003   50104205
meals    $      29.80   11/11/2003   50104547
travex   $     147.00   11/11/2003   50104547
meals    $      27.00    9/17/2003   50104132
travex   $     705.50    9/17/2003   50104132
reimbu   $     117.08   10/13/2004   50107334
meals    $      72.71   11/10/2004   50107538
reimbu   $     333.00   11/10/2004   50107538
travex   $     885.90   11/10/2004   50107538
reimbu   $     228.00   11/10/2004   50107538
travex   $     901.90   11/10/2004   50107538
meals    $      20.00    6/30/2004   50106641
travex   $     962.70    6/30/2004   50106641
reimbu   $      18.00    7/12/2006   54001424
travex   $     416.70    7/12/2006   54001424
reimbu   $      83.60    6/14/2006   54001299
travex   $     363.60    6/14/2006   54001299
reimbu   $      82.16   11/29/2006   54002112
travex   $     258.61   11/29/2006   54002112
reimbu   $      84.95    8/15/2007   54003003
travex   $     326.80    8/15/2007   54003003
reimbu   $      99.42    6/11/2008   54004078
travex   $     648.00    6/11/2008   54004078
reimbu   $      78.55   10/31/2007   54003278
travex   $      72.20     6/9/2004   50106472
reimbu   $     161.08   12/27/2006   54002208
reimbu   $      75.61    6/22/2005   54000472
travex   $     863.61    6/22/2005   54000472
reimbu   $     245.00    7/13/2005   54000509
miscel   $   1,166.80    7/13/2005   54000509
reimbu   $     254.36    1/11/2006   54000983
travex   $     580.80    1/11/2006   54000983
reimbu   $      41.71   12/21/2005   54000941
travex   $     442.40   12/21/2005   54000941
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meals    $       8.38    9/28/2005   54000715
meals    $       4.19    9/30/2005   54000729
mestrn   $     670.00    9/28/2005   54000715
mestrn   $     335.00    9/30/2005   54000729
reimbu   $      31.90    9/28/2005   54000715
reimbu   $      15.95    9/30/2005   54000729
travex   $   2,033.82    9/28/2005   54000715
travex   $   1,016.91    9/30/2005   54000729
meals    $      29.70   12/14/2005   54000914
reimbu   $     134.50   12/14/2005   54000914
reimbu   $     398.15    7/12/2006   54001421
travex   $     617.10    7/12/2006   54001421
reimbu   $     235.00    7/12/2006   54001421
travex   $     804.60    7/12/2006   54001421
reimbu   $     275.00   10/19/2006   54001854
travex   $     506.60   10/19/2006   54001854
reimbu   $     227.00    7/12/2006   54001421
travex   $     817.09    7/12/2006   54001421
meals    $       0.30   12/14/2005   54000914
reimbu   $     220.00    7/12/2006   54001421
travex   $     811.83    7/12/2006   54001421
reimbu   $     353.98    6/14/2006   54001275
reimbu   $     263.50    9/27/2006   54001661
travex   $     341.60    9/27/2006   54001661
reimbu   $     208.06   12/27/2006   54002210
meals    $     139.72   11/21/2006   54002010
reimbu   $     285.00   11/21/2006   54002010
travex   $     818.60   11/21/2006   54002010
reimbu   $     387.58    4/25/2007   54002449
travex   $     529.61    4/25/2007   54002449
meals    $      12.60    7/11/2007   54002873
travex   $     925.11    7/11/2007   54002873
reimbu   $     100.00    7/11/2007   54002873
travex   $     425.40    7/11/2007   54002873
meals    $      10.99   12/12/2007   54003413
reimbu   $     297.00   12/12/2007   54003413
travex   $     237.30   12/12/2007   54003413
meals    $      65.86     8/1/2007   54002927
reimbu   $     396.00     8/1/2007   54002927
travex   $     504.80     8/1/2007   54002927
meals    $      15.00    8/29/2007   54003041
reimbu   $     231.00    8/29/2007   54003041
travex   $     504.80    8/29/2007   54003041
reimbu   $     256.00    4/16/2008   54003714
travex   $     187.00    4/16/2008   54003714
reimbu   $     258.95   12/12/2007   54003413
travex   $     604.80   12/12/2007   54003413
reimbu   $     359.00    7/16/2008   54004185
travex   $     658.50    7/16/2008   54004185
reimbu   $     231.00    5/21/2008   54003894
travex   $     327.50    5/21/2008   54003894
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reimbu   $      95.00     7/9/2008   54004152
reimbu   $     140.93   12/14/2005   54000916
meals    $       4.75     7/2/2007   54002775
travex   $      95.47     7/2/2007   54002775
reimbu   $     105.51     8/6/2008   54004244
reimbu   $     101.51    5/28/2008   54003943
meals    $      12.00    7/13/2005   54000523
mestrn   $      61.19    7/13/2005   54000523
reimbu   $      91.40    7/13/2005   54000523
reimbu   $     101.64    2/14/2007   54002343
travex   $      45.00    4/14/2004   54000119
travex   $      78.40    3/26/2003   50102545
travex   $      21.03     6/4/2003   50103200
reimbu   $      19.31    7/13/2005   54000526
miscel   $     106.90    7/13/2005   54000526
reimbu   $      27.33    6/14/2006   54001302
travex   $     906.70    6/14/2006   54001302
reimbu   $      20.59    9/27/2006   54001675
travex   $     292.10    9/27/2006   54001675
travex   $     126.34    7/26/2006   54001484
reimbu   $     567.15    7/14/2004   50106767
reimbu   $     166.20   11/21/2006   54002038
reimbu   $      51.00     8/8/2007   54002978
travex   $     573.60     8/8/2007   54002978
reimbu   $      56.00    5/21/2008   54003910
travex   $     392.00    5/21/2008   54003910
reimbu   $       3.80    6/11/2008   54004082
travex   $     104.50    6/11/2008   54004082
travex   $      62.70   12/10/2003   50104883
travex   $     205.60    9/30/2003   50104220
reimbu   $      79.40   11/14/2007   54003327
travex   $     111.20     9/3/2003   50104028
travex   $     104.94    9/17/2003   50104120
reimbu   $      96.80   12/14/2005   54000918
reimbu   $      61.30    6/14/2006   54001295
reimbu   $      60.35    9/27/2006   54001671
travex   $      29.10    7/11/2007   54002881
travex   $     154.37    7/23/2003   50103746
reimbu   $      63.76   11/10/2004   50107535
reimbu   $      33.00    7/12/2006   54001425
reimbu   $      68.89    7/12/2006   54001428
reimbu   $     103.02    6/22/2005   54000469
reimbu   $      44.00   10/31/2007   54003267
travex   $     144.50   10/31/2007   54003267
travex   $      47.91   11/24/2003   50104699
reimbu   $      47.36    6/27/2007   54002723
travex   $     139.56    9/30/2003   50104192
travex   $      99.00    9/17/2003   50104116
meals    $      49.48    6/18/2003   50103527
travex   $      29.45    6/18/2003   50103527
reimbu   $      90.00    12/6/2006   54002146
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travex   $    140.94    11/11/2003   50104536
travex   $    473.20     3/17/2004   50105723
travex   $    297.75     4/14/2004   54000109
reimbu   $     29.10     6/27/2007   54002724
reimbu   $     66.00      5/2/2007   54002467
travex   $     60.72      9/3/2003   50104030
reimbu   $     71.10    11/14/2007   54003313
travex   $     55.00      6/4/2003   50103219
travex   $    189.52    12/31/2003   50105085
travex   $     83.00     6/18/2003   50103556
reimbu   $     42.00     6/11/2008   54004065
travex   $    483.00     6/11/2008   54004065
travex   $     12.00      6/4/2003   50103192
travex   $    214.10      7/2/2007   54002779
reimbu   $    134.00     5/28/2008   54003949
travex   $     68.00     5/28/2008   54003949
reimbu   $     72.00     7/26/2006   54001476
travex   $    800.00     7/26/2006   54001476
travex   $    202.29     6/11/2003   50103487
travex   $    167.50      6/4/2003   50103231
travex   $    105.60     9/17/2003   50104151
travex   $     35.00     4/14/2004   54000126
reimbu   $    324.03     7/14/2004   54000275
mestrn   $    117.19     6/11/2008   54004093
reimbu   $     24.00     6/11/2008   54004093
travex   $     50.37     4/14/2004   54000120
reimbu   $     58.41    12/21/2005   54000959
reimbu   $     99.75     7/14/2004   50106769
travex   $    145.99    12/12/2007   54003410
travex   $    507.50      6/4/2003   50103213
travex   $     32.60      6/9/2004   50106456
reimbu   $     31.00     7/14/2004   54000269
reimbu   $     78.72    12/21/2005   54000940
reimbu   $     63.40     7/12/2006   54001420
reimbu   $    291.75     6/27/2007   54002730
osothr   $    300.00     8/30/2006   50111778
reimbu   $     15.00     7/12/2006   54001403
travex   $    258.10     7/12/2006   54001403
travex   $    113.00     6/18/2003   50103529
reimbu   $    123.50    11/10/2004   50107559
meshot   $    202.37    12/27/2006   54002209
meals    $     32.20     7/13/2005   54000528
reimbu   $     33.00     7/12/2006   54001444
reimbu   $    135.53    11/21/2006   54002045
reimbu   $    115.80     1/31/2007   54002324
travex   $    128.53      7/2/2007   54002789
meals    $     50.00     5/21/2008   54003911
reimbu   $     83.33     5/21/2008   54003911
reimbu   $    251.13     9/29/2004   54000380
reimbu   $    128.00    10/13/2004   54000394
reimbu   $    160.24     6/22/2005   54000482
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reimbu   $     145.86    7/12/2006   54001457
reimbu   $     144.31    6/14/2006   54001313
reimbu   $     131.31    9/27/2006   54001682
reimbu   $     348.48    6/27/2007   54002753
reimbu   $     133.12   10/31/2007   54003283
reimbu   $     152.62    5/21/2008   54003918
reimbu   $      12.50   12/10/2008   54004456
travex   $     173.75   12/10/2008   54004456
travex   $      94.50     6/4/2003   50103240
travex   $     163.13     6/9/2004   50106481
travex   $      10.00   12/10/2003   50104949
reimbu   $      66.25    9/29/2004   54000382
reimbu   $      60.63    9/27/2006   54001689
reimbu   $      63.73   11/21/2006   54002004
reimbu   $      69.90    7/11/2007   54002862
reimbu   $     128.05    5/21/2008   54003888
reimbu   $      89.16   11/21/2006   54002058
travex   $     185.00    9/30/2003   50104215
reimbu   $     124.74    7/13/2005   54000536
meals    $      24.78    7/13/2005   54000520
reimbu   $      24.30    7/13/2005   54000520
reimbu   $      55.35    6/14/2006   54001298
reimbu   $     183.26    9/27/2006   54001673
reimbu   $      23.40     8/8/2007   54002976
travex   $     115.50    9/17/2003   50104166
travex   $      30.00   11/24/2003   50104736
travex   $     480.70   11/21/2006   54002050
travex   $      22.30   10/31/2007   54003276
travex   $     167.01    2/26/2003   50102220
reimbu   $      12.00    7/12/2006   54001439
travex   $     153.08    7/12/2006   54001439
travex   $      59.70   11/11/2003   50104535
reimbu   $      60.00    7/11/2007   54002871
reimbu   $      50.00    7/12/2006   54001409
reimbu   $     180.00   10/27/2004   50107421
reimbu   $     111.48    7/13/2005   54000503
reimbu   $     125.00   11/21/2006   54001998
meals    $       5.83   10/16/2007   54003198
reimbu   $     143.91   10/16/2007   54003198
reimbu   $      64.60    6/14/2006   54001314
reimbu   $      81.00    9/27/2006   54001683
travex   $     181.81    9/17/2003   50104159
reimbu   $     131.00    6/14/2006   54001281
reimbu   $      52.50    7/14/2004   50106747
reimbu   $     123.70    6/27/2007   54002754
reimbu   $      63.42   11/21/2006   54002061
reimbu   $      27.00   10/27/2004   50107459
reimbu   $      27.00    12/6/2006   54002149
reimbu   $     109.40    11/9/2005   54000837
reimbu   $      96.00    5/28/2008   54003927
travex   $     313.00    5/28/2008   54003927
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reimbu   $      81.00    7/14/2004   50106746
travex   $      37.30     6/9/2004   50106461
reimbu   $     178.20    7/13/2005   54000505
reimbu   $      59.27    6/22/2005   54000467
reimbu   $      24.00    6/14/2006   54001268
reimbu   $      44.59    7/13/2005   54000522
reimbu   $     188.25   12/21/2005   54000958
meals    $      27.38    7/13/2005   54000517
reimbu   $      17.55    7/13/2005   54000517
travex   $     102.80     6/9/2004   50106457
travex   $      51.46     6/9/2004   50106453
reimbu   $      80.00    9/28/2005   54000713
reimbu   $      40.00    9/30/2005   54000727
travex   $      66.70   11/11/2003   50104561
reimbu   $      65.00    9/27/2006   54001647
travex   $     419.80    9/27/2006   54001647
travex   $     153.20     9/3/2003   50104034
reimbu   $      48.75   11/10/2004   50107533
reimbu   $     226.01    11/9/2005   54000853
travex   $      46.00     6/9/2004   54000197
travex   $     139.00     6/4/2003   50103195
reimbu   $      17.80   11/29/2006   54002113
reimbu   $      85.40   11/10/2004   50107586
travex   $     201.00    6/30/2004   54000229
reimbu   $      85.91   11/21/2006   54002053
reimbu   $     111.34   10/31/2007   54003281
reimbu   $       7.65    6/11/2008   54004090
travex   $      79.59    6/11/2008   54004090
travex   $     238.46     9/3/2003   50104054
travex   $     152.00     9/3/2003   50104065
travex   $     800.00    12/6/2006   54002137
travex   $      26.90     6/4/2003   50103214
travex   $      33.00     6/9/2004   50106452
meals    $     174.00   11/24/2003   50104729
meals    $      87.00   12/28/2005   50110719
travex   $     382.00   11/24/2003   50104729
travex   $     191.00   12/28/2005   50110719
travex   $   1,099.79   12/14/2005   54000912
meals    $      46.00    3/26/2003   50102534
travex   $     218.00    3/26/2003   50102534
travex   $     148.74     9/3/2003   50104058
travex   $      58.00    5/14/2003   50102950
travex   $     602.80   12/10/2003   50104932
mestrn   $     167.70    6/22/2005   54000473
reimbu   $      22.86    6/22/2005   54000473
travex   $     524.80    6/22/2005   54000473
meals    $       5.16    7/11/2003        372
travex   $      10.00    7/11/2003        372
meals    $       5.25    7/11/2003        372
travex   $      20.00    7/11/2003        372
meals    $      31.00    6/26/2003        356
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travex   $     30.00     6/26/2003        356
meals    $     55.08     7/11/2003        372
travex   $     30.00     7/11/2003        372
meals    $      5.16     7/11/2003        372
travex   $     30.00     7/11/2003        372
travex   $    169.00     7/11/2003        372
meals    $      9.26     6/26/2003        356
travex   $     30.00     6/26/2003        356
reimbu   $     94.00     6/11/2008   54004071
travex   $    733.50     6/11/2008   54004071
travex   $     36.00     6/30/2004   50106640
meals    $     15.11     6/22/2005   54000468
reimbu   $     48.20     6/22/2005   54000468
miscel   $     55.64     9/27/2006   54001658
reimbu   $     46.83     9/27/2006   54001658
reimbu   $     79.25      7/9/2008   54004151
travex   $    163.06    12/31/2003   50105092
reimbu   $     86.60    12/21/2005   54000954
reimbu   $    373.71    12/27/2006   54002205
reimbu   $     82.20     5/16/2007   54002496
reimbu   $     68.00      8/8/2007   54002958
reimbu   $     92.59    10/31/2007   54003263
travex   $    223.00      9/3/2003   50104042
travex   $     10.00     5/26/2004   50106371
reimbu   $     75.40    12/21/2005   54000931
travex   $    186.45    11/11/2003   50104549
reimbu   $    133.50     6/14/2006   54001260
travex   $    158.00     3/17/2004   50105717
travex   $    126.33     4/11/2007   54002430
travex   $    291.90      9/5/2007   54003078
travex   $    500.00     4/11/2007   54002430
reimbu   $    405.70     7/14/2004   50106749
travex   $    132.00      6/4/2003   50103199
travex   $     31.00     4/14/2004   54000122
reimbu   $     53.20     7/16/2008   54004193
travex   $    317.00     7/16/2008   54004193
reimbu   $     64.75    10/27/2004   50107477
reimbu   $     37.15     12/6/2006   54002151
reimbu   $     25.50     12/8/2004   50107807
travex   $     67.54     9/17/2003   50104113
travex   $    277.59     7/23/2003   50103745
travex   $     45.00     6/18/2003   50103543
travex   $     72.70      6/4/2003   50103191
travex   $     71.20     7/12/2006   54001410
reimbu   $     97.50    11/10/2004   50107555
travex   $    203.70    11/24/2003   50104784
travex   $     60.00     6/30/2004   54000232
travex   $    185.00     6/18/2003   50103522
reimbu   $     87.90     2/15/2006   54000995
reimbu   $     40.50    10/27/2004   50107410
travex   $     24.00     3/17/2004   50105712
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travex   $      24.00    4/14/2004   54000107
meals    $      20.57   11/21/2006   54002022
reimbu   $      84.39   11/21/2006   54002022
reimbu   $     156.00    6/27/2007   54002737
travex   $   1,083.70    6/27/2007   54002737
reimbu   $      90.41     7/2/2007   54002777
reimbu   $      97.52    5/28/2008   54003944
reimbu   $     155.00     5/2/2007   54002469
travex   $     466.30     5/2/2007   54002469
reimbu   $      37.00   12/12/2007   54003422
travex   $     258.80   12/12/2007   54003422
reimbu   $      30.00     7/9/2008   54004166
travex   $     424.00     7/9/2008   54004166
travex   $     165.00    9/30/2003   50104233
reimbu   $      75.97    9/27/2006   54001678
reimbu   $     142.40    5/28/2008   54003965
reimbu   $      71.20    5/28/2008   54003988
travex   $      43.14   11/24/2003   50104763
travex   $      77.00   11/24/2003   50104765
reimbu   $      78.90     5/2/2007   54002471
travex   $     235.68    7/11/2007   54002860
travex   $      61.40   11/24/2003   50104716
travex   $      15.00    5/14/2003   50102943
reimbu   $      80.00   11/17/2004   50107622
travex   $     283.50     6/4/2003   50103279
meals    $      29.00    9/17/2003   50104167
travex   $     958.62    9/17/2003   50104167
reimbu   $   1,110.20   10/27/2004   50107476
reimbu   $     105.00    7/13/2005   54000534
travex   $     579.30    7/13/2005   54000534
travex   $     505.69    9/30/2003   50104232
reimbu   $      44.55    6/22/2005   54000462
travex   $     574.42   11/14/2007   54003301
travex   $     153.00    7/23/2003   50103752
travex   $     111.62    6/18/2003   50103526
travex   $     229.70    4/14/2004   54000106
travex   $      70.00    6/30/2004   54000217
reimbu   $      75.61   12/21/2005   54000933
travex   $     169.90   12/21/2005   54000933
reimbu   $     239.51   10/13/2004   50107348
reimbu   $     181.30    4/25/2007   54002450
reimbu   $     167.30     8/8/2007   54002979
meals    $      49.86    5/28/2008   54003963
meals    $      24.93    5/28/2008   54003986
reimbu   $     337.80    5/28/2008   54003963
reimbu   $     168.90    5/28/2008   54003986
reimbu   $      38.80   11/29/2006   54002103
travex   $      98.11    2/26/2003   50102217
reimbu   $     133.05   11/21/2006   54002016
travex   $      72.00    3/17/2004   50105722
reimbu   $      37.00   10/13/2004   54000386
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reimbu   $     51.00     1/31/2007   54002320
reimbu   $     54.00     5/28/2008   54003937
meals    $      9.76     6/18/2003   50103538
travex   $     78.00     6/18/2003   50103538
reimbu   $    240.70    12/21/2005   54000961
reimbu   $    131.74    10/13/2004   50107352
travex   $     56.00      6/4/2003   50103215
travex   $    356.70      6/9/2004   50106454
travex   $    309.23     2/26/2003   50102221
travex   $    206.95    12/10/2003   50104919
travex   $    214.28     3/17/2004   50105812
reimbu   $     82.68     6/22/2005   54000484
travex   $    298.90     6/22/2005   54000484
reimbu   $    121.70     7/12/2006   54001454
travex   $    272.60     7/12/2006   54001454
reimbu   $     59.64    11/21/2006   54002063
travex   $    290.00    11/21/2006   54002063
travex   $     66.00    11/24/2003   50104727
travex   $    310.50     7/23/2003   50103769
travex   $     23.45     9/17/2003   50104156
reimbu   $     53.40     7/12/2006   54001436
travex   $     33.50     9/17/2003   50104137
meals    $     42.11     6/18/2003   50103521
travex   $     68.00     6/18/2003   50103521
travex   $    114.20      6/9/2004   50106448
travex   $     92.20    11/11/2003   50104523
reimbu   $     57.75      8/3/2004   50106871
travex   $    206.48     8/30/2006   54001618
travex   $    206.48     7/26/2006   54001466
travex   $    110.00     6/30/2004   54000218
travex   $    570.30     6/30/2004   54000218
travex   $     34.70      6/4/2003   50103212
reimbu   $    123.55      5/2/2007   54002460
travex   $    117.38     4/14/2004   54000115
reimbu   $    290.61    12/21/2005   54000946
reimbu   $    266.90     6/14/2006   54001278
reimbu   $     56.32     5/28/2008   54003940
travex   $    209.73    12/31/2003   50105087
reimbu   $     36.35    10/31/2007   54003275
reimbu   $     87.38    10/27/2004   50107461
reimbu   $    230.80     6/27/2007   54002751
travex   $    270.60     9/30/2003   50104245
travex   $     10.00     5/26/2004   50106425
travex   $    130.50    12/10/2003   50104947
reimbu   $    168.00     9/29/2004   54000381
reimbu   $    145.50    10/13/2004   54000396
reimbu   $    183.80    12/21/2005   54000966
reimbu   $    154.80     9/27/2006   54001687
reimbu   $    124.21     7/12/2006   54001422
travex   $    202.11     9/30/2003   50104243
reimbu   $     52.00      8/8/2007   54002954
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meals    $      15.40   10/16/2007   54003216
reimbu   $      17.50   10/16/2007   54003216
travex   $     508.50   11/24/2003   50104719
reimbu   $      20.00    11/9/2005   54000843
travex   $     476.40    11/9/2005   54000843
reimbu   $     145.50   10/16/2007   54003197
reimbu   $      66.68   10/16/2007   54003207
travex   $      74.70     9/3/2003   50104041
travex   $     182.00    6/30/2004   50106652
travex   $      91.00    6/30/2004   50106656
reimbu   $      63.95    7/13/2005   54000533
travex   $     114.00   11/11/2003   50104522
travex   $     111.77    2/26/2003   50102211
travex   $     254.72   12/10/2003   50104831
reimbu   $     121.46    6/22/2005   54000461
reimbu   $     108.64    11/9/2005   54000839
travex   $     362.10    11/9/2005   54000839
reimbu   $      52.26    9/27/2006   54001649
travex   $     260.10    9/27/2006   54001649
reimbu   $      59.10     8/8/2007   54002950
travex   $     525.60     8/8/2007   54002950
reimbu   $     185.60    5/21/2008   54003883
reimbu   $      61.25    6/27/2007   54002722
reimbu   $      44.56   12/21/2005   54000937
reimbu   $     245.40     8/8/2007   54002959
reimbu   $      48.24    5/21/2008   54003889
reimbu   $      70.94   11/21/2006   54002006
reimbu   $      68.00    7/12/2006   54001440
reimbu   $      20.00   11/21/2006   54002042
travex   $      25.00   11/21/2006   54002042
reimbu   $      18.00    6/22/2005   54000458
reimbu   $      36.00   11/21/2006   54001984
reimbu   $      18.00   11/21/2006   54002068
travex   $      89.20   11/11/2003   50104520
reimbu   $      88.50   12/14/2005   54000909
travex   $     293.70    7/12/2006   54001401
travex   $     220.19     7/2/2007   54002767
reimbu   $      79.88   12/14/2005   54000910
reimbu   $     209.28    7/12/2006   54001404
reimbu   $     165.17   11/14/2007   54003305
reimbu   $     138.05    5/21/2008   54003884
mestrn   $     121.61    6/11/2008   54004042
reimbu   $      61.25    11/9/2005   54000848
reimbu   $      59.12    6/14/2006   54001270
reimbu   $     133.50    2/21/2007   54002348
travex   $     362.50    2/21/2007   54002348
reimbu   $      97.10     7/2/2007   54002771
travex   $     449.80     7/2/2007   54002771
reimbu   $      69.30    7/23/2008   54004209
travex   $     365.00    7/23/2008   54004209
reimbu   $      86.30    6/11/2008   54004052
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travex   $    339.00     6/11/2008   54004052
reimbu   $     57.00    11/17/2004   50107612
travex   $    286.50     5/14/2003   50102945
reimbu   $    160.00    12/27/2006   54002211
reimbu   $     73.50    10/13/2004   50107338
travex   $    353.40      6/9/2004   54000199
travex   $     63.36    11/11/2003   50104552
reimbu   $     37.00    10/13/2004   50107346
travex   $     82.62      6/9/2004   50106465
travex   $    224.59    11/21/2006   54002060
reimbu   $     75.00    10/27/2004   50107445
reimbu   $    115.50     7/12/2006   54001431
travex   $     70.54     6/25/2003   50103612
travex   $     34.40     4/14/2004   50106108
meals    $    101.54     9/28/2005   54000717
meals    $     50.77     9/30/2005   54000731
reimbu   $     40.00     9/28/2005   54000717
reimbu   $     20.00     9/30/2005   54000731
travex   $    114.75    11/24/2003   50104758
travex   $     94.00     6/18/2003   50103548
reimbu   $     86.50    11/23/2004   50107722
meshot   $    124.45     1/17/2007   54002292
travex   $    379.58     7/23/2003   50103757
reimbu   $     69.30     6/22/2005   54000483
reimbu   $    101.30     6/14/2006   54001315
reimbu   $     80.85    11/21/2006   54002057
meals    $     56.64     5/28/2008   54003971
meals    $     28.32     5/28/2008   54003994
reimbu   $     94.40     5/28/2008   54003971
reimbu   $     47.20     5/28/2008   54003994
travex   $    271.18     9/17/2003   50104147
reimbu   $     75.95     6/14/2006   54001282
reimbu   $     57.69     7/11/2007   54002874
reimbu   $    171.00     6/14/2006   54001322
reimbu   $     44.25     9/27/2006   54001676
reimbu   $     25.00      7/2/2007   54002788
travex   $    331.36     5/14/2003   50102956
reimbu   $     14.00     7/13/2005   54000535
mestrn   $    107.11    12/21/2005   54000965
reimbu   $     35.00    12/21/2005   54000965
reimbu   $    272.76    11/10/2004   50107588
reimbu   $     68.50    12/14/2005   54000923
reimbu   $     68.50    12/21/2005   54000964
reimbu   $     78.50    12/21/2005   54000964
meshot   $    377.46    12/27/2006   54002222
reimbu   $     44.50    12/27/2006   54002222
travex   $    350.00    12/27/2006   54002222
reimbu   $     48.50    10/31/2007   54003282
reimbu   $    136.50     7/23/2008   54004215
reimbu   $     20.95      7/9/2008   54004170
travex   $     59.00      7/9/2008   54004170
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travex   $     72.60     9/30/2003   50104246
reimbu   $     44.50     9/29/2004   54000379
reimbu   $     17.25    10/13/2004   54000393
reimbu   $    296.00     9/28/2005   54000719
reimbu   $    148.00     9/30/2005   54000733
travex   $     16.00      6/4/2003   50103197
reimbu   $     97.33    11/21/2006   54002036
travex   $     58.20      7/2/2007   54002785
travex   $    191.90     5/28/2008   54003955
travex   $     95.95     5/28/2008   54003978
clmdse   $     23.85    11/24/2003   50104725
travex   $    293.29    11/24/2003   50104725
reimbu   $     46.60     7/12/2006   54001417
reimbu   $     39.00    10/16/2007   54003200
reimbu   $    133.52      8/8/2007   54002970
travex   $    363.80      8/8/2007   54002970
reimbu   $    173.42     5/21/2008   54003897
travex   $    611.00     5/21/2008   54003897
reimbu   $     27.66     7/26/2006   54001469
reimbu   $     65.55     6/27/2007   54002728
reimbu   $    335.51     6/27/2007   54002743
travex   $    436.20     3/17/2004   50105811
reimbu   $     54.00     2/15/2006   54000996
travex   $    327.90     2/15/2006   54000996
reimbu   $     31.00    11/14/2007   54003324
travex   $    484.28    11/14/2007   54003324
reimbu   $     52.75    11/10/2004   50107545
travex   $     43.00      6/4/2003   50103230
reimbu   $    290.06     6/14/2006   54001257
travex   $    332.70     4/14/2004   50106100
reimbu   $     66.90    11/29/2006   54002098
reimbu   $     63.20    12/21/2005   54000960
travex   $    279.00     9/30/2003   50104213
reimbu   $    203.75    11/10/2004   50107527
travex   $     81.00      6/4/2003   50103217
reimbu   $    376.40    11/23/2004   50107684
reimbu   $     42.00     6/14/2006   54001292
travex   $     31.00      6/4/2003   50103227
reimbu   $    368.75    10/27/2004   54000405
reimbu   $    110.90     6/22/2005   54000459
reimbu   $    210.20     7/26/2006   54001462
reimbu   $    137.68    11/21/2006   54001987
reimbu   $     45.14    11/29/2006   54002118
meals    $     95.14    11/21/2006   54002048
reimbu   $    120.60    11/21/2006   54002048
meals    $      8.75      8/8/2007   54002980
reimbu   $    119.68      8/8/2007   54002980
reimbu   $     72.22    10/31/2007   54003279
travex   $    262.80    10/31/2007   54003279
reimbu   $      8.00     5/28/2008   54003964
reimbu   $      4.00     5/28/2008   54003987
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travex   $    230.28     5/28/2008   54003964
travex   $    115.14     5/28/2008   54003987
reimbu   $     22.50    11/14/2007   54003312
reimbu   $     21.00     6/11/2008   54004062
reimbu   $     84.35     7/12/2006   54001427
reimbu   $     20.86     6/27/2007   54002736
travex   $     36.60     5/14/2003   50102953
reimbu   $     44.50    11/21/2006   54002024
reimbu   $     76.25    11/21/2006   54002030
meals    $     14.59     8/22/2007   54003016
reimbu   $    105.04     8/22/2007   54003016
travex   $     88.77     6/30/2004   54000231
reimbu   $     91.01     7/26/2006   54001482
reimbu   $     18.00     8/15/2007   54003008
reimbu   $      9.00    10/22/2008   54004365
travex   $    162.86     8/15/2007   54003008
travex   $     81.43    10/22/2008   54004365
travex   $     72.00    11/24/2003   50104750
travex   $     36.00    12/28/2005   50110723
reimbu   $      8.91     6/22/2005   54000475
reimbu   $    181.00     7/26/2006   54001470
reimbu   $     90.50    11/12/2008   54004403
reimbu   $     90.00     6/14/2006   54001289
travex   $    479.60     6/14/2006   54001289
reimbu   $    108.86      8/8/2007   54002975
travex   $    382.80      8/8/2007   54002975
meals    $     24.09     4/14/2004   54000112
travex   $    128.00     4/14/2004   54000112
travex   $     38.00      6/4/2003   50103224
reimbu   $     99.00    11/21/2006   54002001
reimbu   $    123.75    10/13/2004   50107327
travex   $    360.20      6/9/2004   50106451
travex   $     49.00     3/17/2004   50105842
reimbu   $     83.56     6/11/2008   54004079
meals    $     94.44    12/12/2007   54003426
reimbu   $     18.60     8/27/2008   54004288
meals    $     25.00      7/9/2008   54004167
reimbu   $    127.12      7/9/2008   54004167
travex   $     31.70    12/10/2008   54004455
travex   $    271.59     7/12/2006   54001455
meals    $     74.83     7/13/2005   54000516
reimbu   $     59.75     7/13/2005   54000516
osothr   $    300.00     8/30/2006   50111779
reimbu   $     50.70    11/21/2006   54002035
travex   $     37.00     3/17/2004   50105734
reimbu   $     80.10      8/8/2007   54002966
travex   $    328.80      8/8/2007   54002966
reimbu   $     78.00     5/28/2008   54003930
reimbu   $     35.43    12/21/2005   54000955
reimbu   $     31.14    11/21/2006   54002031
travex   $     48.50      6/9/2004   50106477
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reimbu   $      46.35    7/12/2006   54001446
reimbu   $      41.80    9/27/2006   54001679
reimbu   $      69.60     8/8/2007   54002982
travex   $     388.12     8/8/2007   54002982
reimbu   $      87.15    6/11/2008   54004088
reimbu   $      57.68   12/10/2008   54004453
travex   $     292.50   12/10/2008   54004453
travex   $      36.24    5/26/2004   50106409
teleph   $       4.50     6/4/2003   50103222
travex   $      56.30     6/4/2003   50103222
reimbu   $      75.00   10/27/2004   50107458
reimbu   $      98.80     5/2/2007   54002468
reimbu   $      80.00   11/14/2007   54003330
travex   $     142.48   12/10/2003   50104900
reimbu   $     156.00   10/27/2004   50107419
reimbu   $     264.00    6/14/2006   54001269
reimbu   $      38.80    7/11/2007   54002867
travex   $     295.46   11/24/2003   50104706
reimbu   $     208.74    7/13/2005   54000524
reimbu   $     104.37    1/30/2008   54003505
reimbu   $     189.65    11/9/2005   54000856
reimbu   $      83.60   11/21/2006   54002034
reimbu   $      89.65    7/11/2007   54002884
reimbu   $     166.90    5/28/2008   54003954
reimbu   $      83.45    5/28/2008   54003977
travex   $      21.00   11/24/2003   50104769
meshot   $     188.73   12/27/2006   54002223
reimbu   $      89.00   12/27/2006   54002223
reimbu   $     433.71    7/14/2004   54000272
travex   $      41.94     6/4/2003   50103228
reimbu   $      83.24    7/14/2004   50106758
travex   $     100.00    9/17/2003   50104140
reimbu   $     109.20    9/27/2006   54001653
meals    $      74.63    7/23/2003   50103736
travex   $      63.60    7/23/2003   50103736
reimbu   $      64.00    9/29/2004   54000368
reimbu   $      60.00   10/13/2004   54000387
meals    $      27.00    7/23/2003   50103770
travex   $     134.30    7/23/2003   50103770
reimbu   $     140.92   12/21/2005   54000932
reimbu   $      53.69    8/15/2007   54002997
travex   $     216.97    3/26/2003   50102557
meals    $      30.50   11/24/2003   50104772
travex   $     440.77   11/24/2003   50104772
travex   $     444.03     6/4/2003   50103237
meals    $      13.49    6/18/2003   50103554
travex   $     324.72    6/18/2003   50103554
meals    $       4.32    7/23/2003   50103763
travex   $     818.78    7/23/2003   50103763
travex   $     305.03   11/24/2003   50104772
meals    $      18.69    7/23/2003   50103763
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teleph   $      21.09    7/23/2003   50103763
travex   $      46.53    7/23/2003   50103763
meals    $      31.82     9/3/2003   50104050
travex   $     435.53     9/3/2003   50104050
travex   $   1,720.30    9/17/2003   50104155
travex   $     860.15   12/10/2003   50104925
travex   $     399.15     6/4/2003   50103204
reimbu   $     110.00   12/14/2005   54000917
mestrn   $     172.53    6/14/2006   54001284
reimbu   $      74.10    6/14/2006   54001284
travex   $      54.00     6/9/2004   54000195
travex   $      84.06   12/10/2003   50104910
travex   $     109.20     6/9/2004   50106458
reimbu   $      53.40    6/22/2005   54000477
reimbu   $      44.85   12/14/2005   54000920
travex   $     808.41   12/14/2005   54000920
travex   $      38.80    3/17/2004   50105790
reimbu   $     170.00   10/13/2004   50107354
travex   $     311.20    2/26/2003   50102225
travex   $     155.60   12/28/2004   50107972
reimbu   $     142.43   12/21/2005   54000969
reimbu   $      27.70   10/31/2007   54003272
meals    $     107.04    7/13/2005   54000510
reimbu   $      43.85    7/13/2005   54000510
reimbu   $      41.92    9/27/2006   54001662
travex   $     217.02    3/17/2004   50105801
reimbu   $     210.00    9/29/2004   54000372
reimbu   $      52.50   10/13/2004   54000388
travex   $      47.35   12/10/2003   50104926
reimbu   $     106.67   11/14/2007   54003303
travex   $      23.20    5/14/2003   50102959
reimbu   $      53.28     8/8/2007   54002981
reimbu   $      29.25    7/14/2004   50106745
reimbu   $      69.00    11/3/2004   54000412
reimbu   $      21.85   10/16/2007   54003217
reimbu   $      39.80    7/14/2004   50106741
reimbu   $      24.00   11/14/2007   54003332
travex   $     210.95    6/30/2004   54000223
meals    $      77.32    7/13/2005   54000514
reimbu   $      98.55    7/13/2005   54000514
travex   $     442.40    7/13/2005   54000514
reimbu   $      53.70    7/12/2006   54001430
reimbu   $      40.35    6/14/2006   54001285
reimbu   $      46.70    9/27/2006   54001667
reimbu   $      30.00     7/2/2007   54002776
travex   $     284.80     7/2/2007   54002776
mestrn   $      90.93    5/21/2008   54003900
reimbu   $      95.06    5/21/2008   54003900
travex   $     239.00    5/21/2008   54003900
meals    $      63.66     6/4/2003   50103223
travex   $     371.30     6/4/2003   50103223
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travex   $    536.00      6/9/2004   50106466
travex   $    207.37     7/26/2006   54001488
travex   $     54.07     2/26/2003   50102224
travex   $     27.98     3/26/2003   50102551
reimbu   $     90.60     7/16/2008   54004186
travex   $    286.20    12/10/2003   50104868
reimbu   $     20.00    12/21/2005   54000949
reimbu   $     40.20     9/27/2006   54001668
reimbu   $    101.42      7/2/2007   54002778
travex   $    150.00      7/2/2007   54002778
reimbu   $    108.90     5/21/2008   54003902
reimbu   $     59.20     6/11/2008   54004067
reimbu   $     30.00     7/11/2007   54002888
travex   $    305.55     7/11/2007   54002888
meals    $     14.87     7/13/2005   54000531
reimbu   $     34.00     7/13/2005   54000531
travex   $    436.40     7/13/2005   54000531
reimbu   $     45.00     6/14/2006   54001306
meals    $     35.33    11/21/2006   54002049
reimbu   $     66.00    11/21/2006   54002049
travex   $    491.60    11/21/2006   54002049
meals    $     15.37     5/21/2008   54003913
reimbu   $     52.40     5/21/2008   54003913
travex   $    686.00     5/21/2008   54003913
reimbu   $     31.60    12/27/2006   54002218
reimbu   $     68.81    12/27/2006   54002218
reimbu   $     37.60     1/16/2008   54003486
travex   $    208.52     5/26/2004   50106411
travex   $     15.00    12/10/2003   50104821
reimbu   $     83.05     7/12/2006   54001408
reimbu   $     63.85     12/6/2006   54002135
reimbu   $     80.10    10/31/2007   54003261
travex   $    407.80    10/31/2007   54003261
reimbu   $    250.00     6/14/2006   54001293
reimbu   $     36.00    11/20/2007   54003363
travex   $    311.50     5/14/2003   50102940
meals    $     69.42     3/26/2003   50102527
travex   $    381.90     3/26/2003   50102527
travex   $     21.50      6/9/2004   50106449
travex   $    390.90      6/9/2004   54000194
travex   $     40.00      6/9/2004   54000196
travex   $    443.40     6/30/2004   54000222
travex   $     19.00     5/26/2004   50106413
reimbu   $    171.33      2/8/2006   54000992
travex   $    395.90      2/8/2006   54000992
reimbu   $    180.02    11/29/2006   54002116
travex   $    322.86    12/31/2003   50105089
travex   $      9.00     1/18/2001   45100357
meals    $     14.00     1/18/2001   45100357
travex   $    115.60     5/26/2004   50106401
reimbu   $    100.90      7/2/2007   54002781
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meals    $      20.53    5/28/2008   54003950
reimbu   $      83.50    5/28/2008   54003950
travex   $     478.20    5/28/2008   54003950
travex   $      18.00    3/17/2004   50105794
travex   $     285.00    3/26/2003   50102533
reimbu   $      86.60    7/12/2006   54001441
travex   $     111.10   11/11/2003   50104575
travex   $     116.40   10/16/2007   54003214
reimbu   $      25.97    7/13/2005   54000530
travex   $     275.90    7/13/2005   54000530
reimbu   $      76.00    7/12/2006   54001445
travex   $     430.60    7/12/2006   54001445
reimbu   $      54.79   11/21/2006   54002046
travex   $     233.60   11/21/2006   54002046
reimbu   $     366.58    6/14/2006   54001312
reimbu   $      52.60    11/3/2004   50107506
reimbu   $      40.74    7/11/2007   54002891
travex   $     288.80    7/11/2007   54002891
reimbu   $      36.00   12/14/2005   54000925
travex   $     664.60   12/14/2005   54000925
travex   $      35.77    5/26/2004   50106405
reimbu   $      35.58    7/27/2005   54000547
reimbu   $      40.06    6/14/2006   54001297
reimbu   $      59.85    9/27/2006   54001672
reimbu   $      40.00    5/16/2007   54002501
meals    $      16.09    5/16/2007   54002499
reimbu   $      95.10    5/16/2007   54002499
travex   $      17.80   11/11/2003   50104548
travex   $     119.00   11/24/2003   50104731
travex   $      36.00     6/9/2004   50106483
reimbu   $      31.63    7/26/2006   54001483
meals    $      23.62   11/21/2006   54002056
reimbu   $      74.63   11/21/2006   54002056
meals    $      15.56     8/8/2007   54002986
reimbu   $      62.02     8/8/2007   54002986
meals    $      34.58    5/21/2008   54003920
reimbu   $      38.06    5/21/2008   54003920
meals    $      22.61    6/11/2008   54004095
reimbu   $      59.15    6/11/2008   54004095
reimbu   $      48.00   11/21/2006   54001991
osfree   $   1,125.00    5/31/2006   50111400
meals    $      27.10    2/26/2003   50102219
travex   $     418.37    2/26/2003   50102219
travex   $      51.85     6/9/2004   50106476
travex   $      59.00    6/18/2003   50103536
reimbu   $      48.37   11/21/2006   54001993
reimbu   $      80.22     8/8/2007   54002953
reimbu   $      89.08    7/16/2008   54004180
meals    $     431.62    9/28/2005   54000716
meals    $     215.81    9/30/2005   54000730
travex   $      34.00    3/17/2004   50105752
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travex   $      30.00     6/9/2004   50106464
reimbu   $      87.66    9/27/2006   54001669
reimbu   $      57.10    7/11/2007   54002880
mestrn   $     223.59    5/21/2008   54003905
reimbu   $      88.32    5/21/2008   54003905
travex   $     306.00    5/21/2008   54003905
meals    $      50.00    6/11/2008   54004069
reimbu   $      72.30    6/11/2008   54004069
travex   $     219.00    6/11/2008   54004069
reimbu   $      40.00   12/21/2005   54000945
travex   $      43.00     6/9/2004   50106470
reimbu   $      48.00   12/21/2005   54000968
reimbu   $      38.25   11/21/2006   54002000
travex   $      81.80     6/9/2004   50106459
travex   $      30.00    9/17/2003   50104169
travex   $      74.90   11/24/2003   50104755
travex   $     376.81     8/8/2007   54002951
reimbu   $      88.84     7/2/2007   54002768
reimbu   $      31.13   11/21/2006   54002015
travex   $     118.27    6/30/2004   54000225
reimbu   $     342.49   12/27/2006   54002215
reimbu   $     226.49   11/21/2006   54002029
reimbu   $      15.98    8/15/2007   54003001
travex   $     384.80    8/15/2007   54003001
reimbu   $      24.85    6/11/2008   54004070
travex   $     185.23    6/11/2008   54004070
travex   $     124.16   10/16/2007   54003201
meshot   $     195.16   12/27/2006   54002220
reimbu   $      31.00   12/27/2006   54002220
reimbu   $     123.25    6/14/2006   54001310
reimbu   $     120.30    7/30/2008   54004232
travex   $     140.00    3/26/2003   50102565
reimbu   $     204.43    7/14/2004   50106770
meals    $      18.50    6/27/2007   54002757
reimbu   $      47.00    6/27/2007   54002757
travex   $     175.00    6/27/2007   54002757
reimbu   $      68.00   11/21/2006   54002017
reimbu   $     183.40    9/29/2004   54000374
reimbu   $      42.68   12/21/2005   54000956
reimbu   $      21.34     9/3/2008        162
meshot   $   3,207.96    2/14/2007   54002342
meshot   $   1,603.98   11/12/2008   54004405
reimbu   $     600.00    2/14/2007   54002342
reimbu   $     300.00   11/12/2008   54004405
travex   $   1,457.20    2/14/2007   54002342
travex   $     728.60   11/12/2008   54004405
travex   $      80.25     6/9/2004   54000198
reimbu   $     340.85    11/3/2004   50107492
reimbu   $     104.76   10/31/2007   54003277
reimbu   $      35.60    7/12/2006   54001423
travex   $      54.12   12/31/2003   50105091
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reimbu   $     354.00    7/13/2005   54000519
reimbu   $     303.00    5/21/2008   54003907
travex   $     138.60   11/11/2003   50104569
meals    $      10.32    7/13/2005   54000532
reimbu   $      67.10    7/13/2005   54000532
reimbu   $     262.84     8/3/2004   50106876
reimbu   $     132.00   12/21/2005   54000948
reimbu   $      96.35    7/14/2004   50106754
reimbu   $      46.86    6/27/2007   54002742
travex   $     491.70    8/30/2006   54001619
reimbu   $      80.96    1/17/2007   54002291
travex   $     485.70    1/17/2007   54002291
travex   $      62.28   12/10/2003   50104897
reimbu   $      70.33    11/9/2005   54000855
travex   $     230.85    6/18/2003   50103557
reimbu   $      91.50   11/10/2004   50107549
travex   $   1,018.00   11/10/2004   50107549
reimbu   $     323.76   11/10/2004   50107551
travex   $     335.20   11/10/2004   50107551
reimbu   $     179.44   12/21/2005   54000936
travex   $     155.10     6/4/2003   50103193
travex   $     249.90    7/23/2003   50103747
travex   $     109.20   11/24/2003   50104746
travex   $      32.50    6/30/2004   50106643
reimbu   $      77.59    6/22/2005   54000463
reimbu   $      49.56    7/12/2006   54001406
reimbu   $      74.90   11/21/2006   54001992
meshot   $     342.49    1/17/2007   54002289
reimbu   $      29.10     8/8/2007   54002952
meals    $      30.67    5/21/2008   54003885
reimbu   $      55.10    5/21/2008   54003885
reimbu   $      50.00    6/11/2008   54004043
reimbu   $      60.50    7/13/2005   54000518
reimbu   $      68.50    9/27/2006   54001670
reimbu   $      92.50     7/2/2007   54002780
travex   $     343.30     7/2/2007   54002780
reimbu   $      92.50    5/21/2008   54003906
reimbu   $      44.50    7/20/2005   54000542
travex   $      72.75     7/2/2007   54002774
reimbu   $      50.50    5/21/2008   54003896
reimbu   $     300.00    7/14/2004   54000268
reimbu   $     109.50   11/10/2004   50107540
travex   $     139.75    6/30/2004   54000216
mestrn   $     134.22   11/29/2006   54002123
travex   $     540.21   11/29/2006   54002123
reimbu   $      25.50     8/3/2004   50106872
travex   $      60.80    3/17/2004   50105758
reimbu   $      69.70    6/14/2006   54001286
reimbu   $      48.70   11/21/2006   54002021
reimbu   $      57.10    7/11/2007   54002875
reimbu   $      55.30    6/11/2008   54004066
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meals    $      36.57    5/14/2003   50102948
travex   $      25.00    5/14/2003   50102948
travex   $      78.37     6/4/2003   50103274
reimbu   $      51.00    11/3/2004   50107499
travex   $      63.20   12/10/2003   50104881
travex   $      18.00   11/24/2003   50104751
reimbu   $      52.00     7/2/2007   54002783
travex   $     138.50    7/23/2003   50103760
travex   $      32.00    5/26/2004   50106426
reimbu   $      70.55    7/13/2005   54000538
reimbu   $     100.50    11/9/2005   54000860
reimbu   $     104.61    6/14/2006   54001317
reimbu   $     135.00   11/21/2006   54002062
reimbu   $     155.00    5/28/2008   54003973
reimbu   $      77.50    5/28/2008   54003996
meals    $      52.52    8/15/2007   54003010
travex   $     123.70    8/15/2007   54003010
reimbu   $      78.80   10/13/2004   50107383
reimbu   $      62.37     5/2/2007   54002463
reimbu   $      77.10    11/9/2005   54000847
reimbu   $      93.25    5/21/2008   54003890
travex   $      43.20   11/24/2003   50104747
travex   $      21.46    3/26/2003   50102553
travex   $      21.46     4/2/2003   50102674
travex   $      10.73     4/2/2003   50102679
travex   $     457.00    3/12/2003   50102435
travex   $     692.50    2/26/2003   50102222
travex   $   2,353.00    3/26/2003   50102552
travex   $   2,353.00     4/2/2003   50102674
travex   $   1,176.50     4/2/2003   50102678
travex   $       9.00     6/4/2003   50103235
travex   $      30.46   11/24/2003   50104768
travex   $      13.00    6/18/2003   50103552
meals    $       4.99     6/4/2003   50103329
travex   $      13.00     6/4/2003   50103329
travex   $       5.00   11/24/2003   50104768
travex   $       8.62   12/10/2003   50104922
meals    $      24.41   12/10/2003   50104922
travex   $      64.00   12/10/2003   50104922
meals    $      10.02    9/30/2003   50104235
travex   $     317.00    9/30/2003   50104235
meals    $       2.16   11/24/2003   50104768
travex   $      64.00   11/24/2003   50104768
travex   $       3.00    7/23/2003   50103761
meals    $       2.14    9/17/2003   50104153
travex   $     193.09    9/17/2003   50104153
travex   $      31.00     6/4/2003   50103201
travex   $     129.50    3/17/2004   50105813
travex   $     163.85    5/26/2004   50106416
reimbu   $      70.00    7/14/2004   50106759
reimbu   $     119.00   10/27/2004   50107467
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reimbu   $     29.00    11/10/2004   50107579
travex   $    127.00     6/30/2004   50106650
travex   $     63.50     6/30/2004   50106655
travex   $     45.00      6/9/2004   50106475
reimbu   $    260.00     12/6/2006   54002132
travex   $    457.40      6/9/2004   50106450
reimbu   $    229.00     6/22/2005   54000464
reimbu   $    133.50     6/14/2006   54001263
meals    $     23.91      8/8/2007   54002956
reimbu   $    191.25      8/8/2007   54002956
meals    $     16.50     6/11/2008   54004045
reimbu   $     58.00     6/11/2008   54004045
travex   $    145.46     6/11/2008   54004045
reimbu   $     68.15     6/22/2005   54000470
meals    $     11.87     1/31/2007   54002321
reimbu   $    118.40     1/31/2007   54002321
meals    $     26.45      8/8/2007   54002967
reimbu   $     97.02      8/8/2007   54002967
meals    $      8.11     5/21/2008   54003893
reimbu   $    152.85     5/21/2008   54003893
reimbu   $    123.00     12/6/2006   54002147
reimbu   $    263.00    11/14/2007   54003318
reimbu   $    243.00     5/21/2008   54003901
meals    $     39.00     7/13/2005   54000529
travex   $    378.90     7/13/2005   54000529
reimbu   $     76.69      8/3/2005   54000552
reimbu   $     51.59     11/9/2005   54000859
travex   $    616.40     11/9/2005   54000859
reimbu   $     60.00     6/14/2006   54001304
travex   $    573.50     6/14/2006   54001304
reimbu   $     65.00     9/27/2006   54001677
travex   $    263.10     9/27/2006   54001677
reimbu   $    140.00     1/31/2007   54002325
travex   $    505.40     1/31/2007   54002325
reimbu   $     36.00      7/2/2007   54002790
meals    $      9.72     5/21/2008   54003912
reimbu   $    130.00     5/21/2008   54003912
travex   $    455.00     5/21/2008   54003912
reimbu   $    150.00    10/16/2007   54003211
reimbu   $     60.00    12/12/2007   54003418
meals    $     20.00     5/28/2008   54003951
reimbu   $     85.00     5/28/2008   54003951
reimbu   $    117.90    11/21/2006   54002040
travex   $     50.00     4/14/2004   54000124
travex   $    147.26     4/14/2004   54000124
travex   $    629.20      6/9/2004   54000201
travex   $     48.40     6/30/2004   54000226
meals    $     20.97     7/14/2004   54000274
reimbu   $     10.00     7/14/2004   54000274
meals    $      6.29     9/29/2004   54000376
reimbu   $     56.00     9/29/2004   54000376
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reimbu   $     30.00    10/27/2004   54000404
travex   $     31.62     6/30/2004   54000226
meals    $      8.63    10/13/2004   54000391
reimbu   $     45.00    10/13/2004   54000391
reimbu   $    277.88     6/22/2005   54000479
reimbu   $    138.94     8/24/2005   54000578
meals    $     18.22     7/13/2005   54000527
meals    $      9.11     8/24/2005   54000578
reimbu   $     56.00     7/13/2005   54000527
reimbu   $     28.00     8/24/2005   54000578
reimbu   $    276.79    12/21/2005   54000962
reimbu   $     40.00    12/21/2005   54000962
reimbu   $      7.00     7/12/2006   54001443
travex   $    137.95     7/12/2006   54001443
reimbu   $    117.15     7/26/2006   54001479
reimbu   $    173.05     7/26/2006   54001479
reimbu   $     69.24    12/27/2006   54002219
meals    $     17.93      6/6/2007   54002620
reimbu   $      9.95      6/6/2007   54002620
travex   $     79.90      6/6/2007   54002620
reimbu   $     35.00     7/11/2007   54002889
reimbu   $     26.19     7/11/2007   54002889
reimbu   $     71.98     9/12/2007   54003085
travex   $    399.18     9/12/2007   54003085
travex   $    337.66     3/26/2003   50102554
travex   $    617.00     5/14/2003   50102957
travex   $    342.66     3/26/2003   50102555
travex   $     64.00      6/4/2003   50103236
meals    $     15.79    11/24/2003   50104770
travex   $    515.06    11/24/2003   50104770
travex   $    419.00     6/18/2003   50103553
travex   $     79.00     5/14/2003   50102958
travex   $     89.04     7/23/2003   50103762
travex   $    124.00      6/4/2003   50103277
travex   $    504.50    11/24/2003   50104770
travex   $    647.50    12/10/2003   50104923
meals    $     20.00    12/10/2003   50104923
travex   $    433.50    12/10/2003   50104923
travex   $    124.00     9/30/2003   50104236
travex   $    313.00     9/30/2003   50104236
travex   $    640.37    11/11/2003   50104576
travex   $     62.00    11/24/2003   50104770
travex   $    124.00     7/23/2003   50103762
travex   $    341.50      9/3/2003   50104049
travex   $    465.50     9/17/2003   50104154
travex   $     73.04      6/4/2003   50103202
travex   $    664.00     3/17/2004   50105816
travex   $    555.20     6/30/2004   50106651
reimbu   $    204.10     7/14/2004   50106761
reimbu   $    357.20    10/13/2004   50107371
reimbu   $     65.10    11/10/2004   50107581
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travex   $     379.20    6/30/2004   50106651
travex   $      64.00    6/30/2004   50106651
meals    $      65.10     8/3/2005   54000553
reimbu   $      56.00    7/11/2007   54002890
travex   $     244.14     9/3/2003   50104062
travex   $     571.40     6/9/2004   50106460
mestrn   $     314.38   11/21/2006   54002020
reimbu   $      36.00   11/21/2006   54002020
travex   $     177.10   11/21/2006   54002020
meals    $      28.58    3/26/2003   50102547
travex   $      36.80    3/26/2003   50102547
travex   $     615.20    6/30/2004   50106649
reimbu   $     108.00   10/13/2004   54000389
reimbu   $      44.20    7/13/2005   54000525
reimbu   $      72.13    9/27/2006   54001674
reimbu   $      63.70     7/2/2007   54002786
travex   $     524.20     7/2/2007   54002786
reimbu   $     116.00    5/28/2008   54003957
reimbu   $      58.00    5/28/2008   54003980
travex   $     115.50   12/31/2003   50105079
travex   $   1,033.90    3/17/2004   50105694
travex   $      45.32    4/14/2004   50106080
reimbu   $     418.61    6/14/2006   54001288
meals    $      50.00   10/16/2007   54003199
reimbu   $      91.18   10/16/2007   54003199
travex   $     382.70    7/12/2006   54001418
reimbu   $      11.57   11/21/2006   54002007
travex   $     409.05   11/21/2006   54002007
travex   $     424.20    5/28/2008   54003935
travex   $     108.39   11/24/2003   50104730
reimbu   $      83.58    7/12/2006   54001435
reimbu   $     143.15   11/21/2006   54002028
travex   $      11.40     6/9/2004   50106469
travex   $     133.41    5/14/2003   50102942
reimbu   $      90.50    6/22/2005   54000466
travex   $     129.80    5/26/2004   50106410
travex   $      21.00    5/26/2004   50106414
mestrn   $      88.70   12/21/2005   54000934
reimbu   $      63.90   12/21/2005   54000934
travex   $     101.50   11/24/2003   50104754
reimbu   $      75.29   12/21/2005   54000943
reimbu   $      70.90     8/3/2004   50106887
reimbu   $     133.98    9/27/2006   54001684
reimbu   $      64.10   11/21/2006   54002044
reimbu   $     308.20    9/29/2004   54000378
reimbu   $      76.70    6/22/2005   54000478
travex   $     308.30    6/22/2005   54000478
reimbu   $      48.00    7/14/2004   50106742
travex   $     552.50    3/26/2003   50102539
travex   $     137.74    6/18/2003   50103520
travex   $      68.87   12/21/2004   50107873
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travex   $     186.90    7/12/2006   54001402
reimbu   $      54.25    7/12/2006   54001452
reimbu   $     117.90   11/21/2006   54002059
reimbu   $     137.75    7/12/2006   54001453
reimbu   $      19.30    7/12/2006   54001453
travex   $     217.80    9/30/2003   50104214
travex   $     108.90     1/4/2006   50110760
reimbu   $      56.63   11/10/2004   50107550
travex   $     494.00     6/4/2003   50103220
travex   $      74.60   11/24/2003   50104752
travex   $     122.10     9/3/2003   50104073
travex   $      29.35     6/9/2004   50106467
reimbu   $      23.60    7/14/2004   54000270
reimbu   $     127.85    7/26/2006   54001472
reimbu   $      20.00    11/9/2005   54000851
travex   $     302.39    11/9/2005   54000851
reimbu   $     105.00    6/22/2005   54000474
travex   $      84.60     9/3/2003   50104045
meals    $      12.14    7/27/2005   54000548
reimbu   $     224.93    7/27/2005   54000548
travex   $     347.47    8/30/2006   54001621
reimbu   $      58.00     7/2/2007   54002792
reimbu   $      17.00   12/21/2005   54000939
travex   $     158.41   12/21/2005   54000939
mesent   $     600.00   10/12/2005   54000772
travex   $      47.90    5/26/2004   50106397
reimbu   $      51.75    7/14/2004   50106760
reimbu   $      51.04    6/22/2005   54000480
travex   $     257.40    7/23/2003   50103764
reimbu   $     110.50   11/29/2006   54002107
travex   $      51.64   11/24/2003   50104744
reimbu   $      55.12   11/21/2006   54002012
travex   $     353.10   11/21/2006   54002012
travex   $     393.37   11/24/2003   50104771
photog   $   1,950.00    9/22/2004   50107209
reimbu   $     249.16    6/14/2006   54001305
travex   $     219.79   11/24/2003   50104713
reimbu   $      48.50    6/27/2007   54002741
travex   $     502.00   12/31/2003   50105117
reimbu   $     291.37    7/14/2004   50106756
reimbu   $      63.25   11/30/2004   50107754
reimbu   $      35.64   12/21/2005   54000950
reimbu   $     110.30    7/27/2005   54000549
meals    $      44.15    6/29/2005   54000488
reimbu   $      62.40    6/29/2005   54000488
reimbu   $      97.00     1/4/2006   54000978
reimbu   $      71.50    6/14/2006   54001265
reimbu   $      63.00   11/23/2004   50107729
reimbu   $     373.65    7/14/2004   54000265
reimbu   $     255.00   10/13/2004   50107359
travex   $      54.75   12/10/2003   50104822
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reimbu   $     81.00     7/13/2005   54000501
reimbu   $     40.50      9/3/2008        161
reimbu   $     92.65     6/14/2006   54001262
travex   $    321.32    11/21/2006   54001994
travex   $    211.30    12/10/2003   50104862
reimbu   $     28.67    11/14/2007   54003316
reimbu   $    133.75    10/13/2004   50107326
reimbu   $     34.00    12/12/2007   54003420
travex   $     15.67    12/12/2007   54003420
travex   $     24.00     4/14/2004   54000111
reimbu   $     88.82      7/9/2008   54004160
travex   $    663.10    11/20/2007   54003368
reimbu   $     52.70     8/15/2007   54002996
travex   $     78.00     8/15/2007   54002996
travex   $    270.30    12/31/2003   50105069
reimbu   $     36.00    10/13/2004   54000385
travex   $    133.50     7/12/2006   54001419
travex   $     15.00     2/26/2003   50102214
travex   $     26.50      6/4/2003   50103205
travex   $    340.25     4/14/2004   54000105
travex   $     29.64     6/30/2004   54000214
reimbu   $    412.51     7/13/2005   54000498
reimbu   $      3.00     7/12/2006   54001400
travex   $    432.36     7/12/2006   54001400
reimbu   $    100.00    11/21/2006   54001988
reimbu   $     50.00    11/29/2006   54002095
travex   $    559.20    11/21/2006   54001988
travex   $    279.60    11/29/2006   54002095
reimbu   $     80.00     8/22/2007   54003013
travex   $    888.80     8/22/2007   54003013
reimbu   $      4.00     6/11/2008   54004038
travex   $    498.33     6/11/2008   54004038
travex   $    316.67     6/18/2003   50103519
travex   $    571.70     6/30/2004   50106632
travex   $    355.00      9/3/2003   50104009
travex   $     60.40     3/17/2004   50105684
travex   $    100.88    10/16/2007   54003208
reimbu   $    151.80    10/27/2004   50107409
travex   $    146.45     7/23/2003   50103734
travex   $     84.75      6/9/2004   50106447
travex   $    185.50     6/30/2004   54000215
mestrn   $    263.57     7/26/2006   54001464
reimbu   $     56.00     7/26/2006   54001464
reimbu   $     61.11      5/2/2007   54002459
meals    $      9.85     5/14/2003   50102947
travex   $     34.00     5/14/2003   50102947
reimbu   $    168.74    10/13/2004   50107336
travex   $     29.85     3/17/2004   50105756
reimbu   $     49.10     9/27/2006   54001666
reimbu   $     46.00     7/14/2004   50106751
reimbu   $     84.13    11/10/2004   50107553
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travex   $     155.20   11/24/2003   50104759
travex   $      24.00    4/14/2004   54000127
reimbu   $      24.00    7/16/2008   54004202
reimbu   $      25.00   11/10/2004   50107575
reimbu   $      59.41    7/26/2006   54001478
reimbu   $      80.00    5/28/2008   54003969
reimbu   $      40.00    5/28/2008   54003992
meals    $       8.75   11/21/2006   54002041
reimbu   $      56.70   11/21/2006   54002041
reimbu   $      96.20    7/11/2007   54002887
travex   $     666.10    7/11/2007   54002887
reimbu   $      25.25    6/11/2008   54004083
travex   $   1,091.00    5/28/2008   54003959
travex   $     545.50    5/28/2008   54003982
reimbu   $     262.50   10/13/2004   50107339
travex   $      50.40     6/9/2004   50106446
reimbu   $      73.50   10/27/2004   54000402
reimbu   $      45.00   10/13/2004   54000384
reimbu   $      35.00   11/21/2006   54002023
travex   $     168.00     6/4/2003   50103196
reimbu   $     236.00   10/27/2004   50107446
reimbu   $     101.25    7/13/2005   54000515
reimbu   $      20.00    7/12/2006   54001433
travex   $     222.50    7/12/2006   54001433
reimbu   $     100.21   11/29/2006   54002124
reimbu   $      31.00    7/11/2007   54002892
travex   $     194.00    7/11/2007   54002892
